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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

 CREIGHTON TAKATA, Individually and on        :
 behalf of all others similarly situated,     :   Civil Action No.: 18-2293(FLW)(ZNQ)
                                              :
                   Plaintiff,                 :   CONSOLIDATED ACTION
                                              :
       v.                                     :   CONSOLIDATED SECOND
                                              :   AMENDED CLASS ACTION
 RIOT BLOCKCHAIN, INC. F/K/A,                 :   COMPLAINT FOR VIOLATIONS OF
 BIOPTIX, INC., JOHN O’ROURKE, and            :   THE FEDERAL SECURITIES LAW
 JEFFREY G. MCGONEGAL,                        :
                                              :   JURY TRIAL DEMANDED
                   Defendants.                :
                                              :




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            Court-appointed Lead Plaintiff Dr. Stanley Golovac (“Lead Plaintiff”), individually and on

 behalf of all other persons and entities similarly situated, by Lead Plaintiff’s undersigned attorneys,

 alleges the following based upon personal knowledge as to Lead Plaintiff and Lead Plaintiff’s own

 acts, and upon information and belief as to all other matters based on the investigation conducted

 by and through Lead Plaintiff’s attorneys, which included, among other things, a review and

 analysis of filings by Riot Blockchain, Inc. (“Riot” or the “Company”) and other public companies

 with the U.S. Securities and Exchange Commission (“SEC”); press releases, analyst reports, news

 articles, investment industry commentary, media, and other public statements about Riot and other

 companies; corporation registrations and filings with state governments; the corporate websites of

 Riot and other companies; court filings in various ligation involving Defendants (defined below),

 including Securities and Exchange Commission v. Honig, et al., No. 1:18-cv-08175 (S.D.N.Y.)

 (the “Honig Action”); and an investigation conducted by and through Lead Plaintiff’s attorneys.

            The investigation of Lead Plaintiff’s attorneys is continuing, yet certain additional facts

 supporting these allegations are known only to Defendants or are exclusively within their custody

 or control. Lead Plaintiff believes that substantial evidentiary support will exist for the allegations

 set forth herein after a reasonable opportunity for discovery.

 I.         INTRODUCTION

            1.     This is a federal securities class action under Sections 10(b) and 20(a) of the

 Securities Exchange Act of 1934 (the “Exchange Act”) and Rule l0b-5 promulgated thereunder

 (17 C.F.R. § 240.10b-5) on behalf of Lead Plaintiff and all other persons or entities who purchased

 or otherwise acquired the securities of Riot and/or Bioptix (NASDAQ: RIOT, BIOP) between

 March 15, 2017, and September 6, 2018, inclusive (the “Class Period”), and were damaged

 thereby. Lead Plaintiff brings this action to pursue remedies against the Company, certain of its


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 current or former executive officers and/or directors, and several of Riot’s largest shareholders,

 including Barry Honig (“Honig”), who as a group conspired with one another and acted in concert

 with an undisclosed control group of other Riot shareholders to (1) amass a controlling interest in

 Riot; (2) conceal their control through false and misleading statements and omissions regarding

 the Company’s beneficial ownership in violation of Section 13(d) of the Exchange Act, Regulation

 13d, and Items 403 and 404 of Regulation S-K; (3) drive up the price and trading volume of Riot

 stock through manipulative trading, promotional activity, and false and misleading disclosures;

 (4) engage in undisclosed related-party transactions at the expense of the Company and its

 shareholders; and (5) dump their shares into the artificially inflated market on unsuspecting retail

 investors.

            2.   Defendants’ pump-and-dump scheme involved the purported transformation of

 Riot from a biotech company into an investor and “miner” of cryptocurrency such as Bitcoin. This

 scheme was orchestrated by Honig, a Florida-based investor who has been charged by the SEC for

 masterminding multiple other pump-and-dump schemes, John O’Rourke (“O’Rourke”), Riot’s

 Chief Executive Officer (“CEO”) during the Class Period, Michael Beeghley (“Beeghley”), also

 Riot’s CEO during the Class Period, as well as Mark Groussman (“Groussman”), John Stetson

 (“Stetson”), and Catherine DeFrancesco (“DeFrancesco”) – investors in Riot who participated in

 and facilitated the pump-and-dump scheme by misrepresenting and concealing both the Honig

 Group’s (defined below) cooperation as an undisclosed control group over the Company, as well

 as their own insider stock sales in violation of their obligations under the federal securities laws.

            3.   Despite grandiose promises that Riot would be a “pure play” in cryptocurrency that

 would “leverage our expertise, and network, to build and support blockchain technology

 companies,” in reality Defendants’ primary focus was to find ways to promote and increase the



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 liqutity of Riot’s thinly traded stock, and then once unsuspecting public investors piled in, to sell

 as quickly as they could before the Company’s public shareholders had figured out what happened.

 As SEC Chairman Jay Clayton testified before Congress – in what one reporter described as a

 “thinly-veiled sot at Riot” – “Nobody should think it is OK to change your name to something

 that involves blockchain when you have no real underlying blockchain business plan and try to

 sell securities based on the hype around blockchain.”

            4.   This, however, is precisely what Riot and its executives did: “hype” the Company’s

 prospects by issuing a flurry of press releases, SEC filings, and interviews with television and

 newspaper journalists – all designed to give investors the false impression that Riot was a serious

 cryptocurrency company. This was not true. Riot’s so-called investments in cryptocurrency were,

 in reality, related-party transactions with Honig and his associates and entities that were secretly

 owned and controlled by him. These related-party transactions, and the individuals behind them,

 mirrored similar schemes that Defendants and their associates have perpetrated at other public

 companies. Meanwhile, Defendants and more than 20 affiliated Selling Stockholders – each with

 confirmed ties to the Honig Group through past microcap stock investments – sold their Riot stock

 at inflated prices for millions of dollars in proceeds before the truth about their scheme was

 revealed – first by investigative journalists, and ultimately by the investigators and lawyers at the

 SEC.

            5.   Unbeknownst to Riot shareholders during the Class Period, Honig, O’Rourke,

 Groussman, and Stetson have a long history of co-investing in dozens and dozens of microcap

 public companies. As a result, in September 2018, the SEC brought suit against these four men

 (and others) related to three alleged microcap pump-and-dump schemes. Yet, during the Class

 Period Defendants went to great lengths to hide Honig’s ties to Company insiders and other Riot



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 shareholders by violating the Exchange Act and SEC rules related to the disclosure beneficial

 ownership, stock sales, and SEC rules requiring disclosure of transactions with related parties.

            6.   Indeed, so entrenched was Defendant Honig’s control over Riot that the Company’s

 principal executive offices were not in Colorado, as officially represented by the Company, but

 instead were effectively located in Boca Raton, Florida where Defendants O’Rourke, Honig,

 Groussman, and Stetson had recently shared the same office, which allowed them to closely

 collaborate in controling Riot and its operations, affairs, and public disclosures.

            7.   Unfortunately, as has become clear over the past few years, Defendants’ fraudulent

 actions are not limited to Riot. The SEC has charged Defendants Honig, O’Rourke, and Stetson

 with strickingly similar pump-and-dump schemes at several other publicly traded companies.

 Describing the group as “microcap fraudsters,” the SEC has alleged that “Honig was the primary

 strategist, calling upon other [affiliated co-investors] to buy or sell stock, arrange for the issuance

 of shares, negotiate transactions, or engage in promotional activity.” The SEC further alleged that

 “[i]n each scheme, Honig orchestrated his and his associates’ acquisition of a large quantity of the

 issuer’s stock at steep discounts, either by acquiring a shell and executing a reverse merger or by

 participating in financings on terms highly unfavorable to the company.” Defendant O’Rourke

 resigned as Riot’s CEO in the wake of these allegations and certain of the individuals charged by

 the SEC have already settled those charges. As a result of the SEC’s action, Honig, O’Rourke,

 Stetson, and Groussman have each agreed to disgorge their alleged illgotten gains, pay penalties

 and interest, and agree to be barred from participating in any offering of penny stock, prohibited

 from holding greater than 4.99% of any penny stock company, and prohibited from advertising,

 marketing, or otherwise promoting penny stocks.           Honig and O’Rourke’s prohibitions are

 permanent; Stetson and Groussman’s prohibitions are for ten and five years, respectively.



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             8.    As alleged herein, during the Class Period, each of the Defendants – pursuant to

  explicit or tacit agreements with each other and the Selling Stockholders – agreed to acquire, hold,

  vote, and/or dispose of shares they acquired in Riot in coordination with one another while

  knowingly or recklessly obtaining and exercising undisclosed control of the management and

  policies of Riot and while selling shares of Riot into the market at artificially inflated prices.

  Defendants did so in violation of Section 13(d) of the Exchange Act and Rule 13d-2, et seq.,

  promulgated thereunder, which required Defendants to disclose their status as a “group” (as

  defined by Section 13(d)(3)) on Schedule 13D and to “promptly” update any material changes in

  their beneficial ownership of Riot’s common stock in amendments (on Schedule 13D/A) to their

  Section 13(d) filings. See § IX.A, infra.

             9.    Defendants Honig, O’Rourke, and Stetson were familiar with their obligations

  under Section 13(d) – and the materiality of their disclosures to Riot’s investors regarding

  beneficial ownership of the Company’s stock – because they themselves had previously filed a

  lawsuit under this statute alleging that these disclosures were material to them. See § IX.B, infra.

             10.   Yet, despite this knowledge, Defendants failed to make timely and appropriate

  Section 13(d) filings and amendments reflecting their acquisition and disposition of Riot stock as

  part of scheme to defraud investors about their group’s control over the management and policies

  of, and the magnitude of their collective investment in, Riot. See § X.A, infra. And having

  concealed their group’s existence and control over Riot, Defendants proceeded to engage in

  manipulative trading in Riot’s securities (including massive sales of Riot’s common stock) while

  failing to make the necessary amendments to their Section 13(d) filings, which under the rules,

  should have promptly alerted Riot’s public investors that a group of insider shareholders (indeed,




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  an undisclosed control group) were collectively dumping their shares into the market. See §§ X.A

  & X.A, infra.

             11.   And as discussed below, Defendants Honig, Groussman, Stetson, and

  DeFrancesco’s violations of Section 13(d) were made knowingly, or at least recklessly, in light of

  their clear knowledge that they were acting together as a group in their scheme involving Riot.

  See §§ IX.C.1-4, infra.

             12.   Defendants could not have accomplished their scheme, however, without the

  assistance of Defendants O’Rourke and Beeghley from inside the Company. Specifically during

  the Class Period, Defendants O’Rourke and Beeghley, as officers and/or directors of Riot, pursuant

  to explicit or tacit agreements with Defendants Honig, Groussman, Stetson, and DeFrancesco,

  caused the Company to issue materially false and misleading public filings with the SEC –

  including on Forms S-3, S-3/A, and 10-K, and Schedule 14A – that materially misrepresented the

  Company’s beneficial ownership in violations of Section 13(d) and Item 403 of Regulation S-K

  by misrepresenting and concealing the fact that many of Riot’s largest shareholders – including

  Defendants Honig, Groussman, Stetson, and DeFrancesco, and the Selling Stockholders listed in

  Riot’s Forms S-3 and S-3/A – were members of a group with each other (as defined by Section

  13(d)(3)) through which they agreed to acquire, hold, vote, and/or dispose of their shares in

  coordination with each other. See § X.B, infra.

             13.   In causing Riot to issue its materially false and misleading Forms S-3 and S-3/A,

  O’Rourke and Beeghley well aware that the Honig Group (including themselves) was a closely

  coordinated “group” that amply fit that definition under Section 13(d)(3), and which was therefore

  engaged in a scheme to defraud the Company’s public investors. See § IX.C.5-6, infra.




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             14.   Defendants O’Rourke, Beeghley, and Riot also knowingly or recklessly violated

  Exchange Act Section 10(b) and Rule 10b-5(a) and (c) thereunder by issuing materially false and

  misleading Forms 8-k and 10-K that misrepresented and concealed various material related-party

  transactions between and among the Company and greater-than-5% shareholders of Riot including

  Defendants Honig and DeFrancesco. See § X.C, infra.

             15.   Defendants’ knowledge of their roles in the Honig Group’s fraudulent scheme is

  amply supported. As noted above, Honig, O’Rourke, and Stetson were well aware of their legal

  duties under Section 13(d) because they were involved in Honig’s 2015 lawsuit under that statute,

  yet utterly failed to comply with those duties. Defendants clearly knew they were a “group” as

  defined by Section 13(d). According to the SEC, between 2011 and August 2018, Honig invested

  alongside O’Rourke in over 75 issuers, alongside Stetson in over 65 issuers, alongside Brauser in

  over 40 issuers – and alongside “some combination of Stetson, Brauser, O’Rourke, [and]

  Groussman” in “nearly every scheme . . . .” If that were not enough, O’Rourke stated in a February

  3, 2014 email that “Barry Honig is the principal investor of our small group.” If O’Rourke’s own

  words were insufficient, the SEC has alleged that Honig, O’Rourke, Stetson, and often Grossman

  all worked together out of Honig’s office in Boca Raton, Florida, which is corroborated by the fact

  that a letter filed with the SEC from Honig to Riot’s outgoing Board indicated that O’Rourke and

  Stetson’s fax numbers were the same fax number that Honig listed on his letterhead for his Boca

  Raton office. And that is the same office where CNBC’s investigative journalists discovered

  O’Rourke on the day of Riot’s cancelled annual shareholder meeting. Finally, emails uncovered

  by the SEC, and attached hereto, reveal how Honig, O’Rourke, Stetson, and Groussman

  coordinated their investments in numerous public microcap companies. One such company was

  PolarityTE, in which Defendants Beeghley and DeFrancesco invested alongside Honig



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  (PolarityTE’s then Chairman and CEO) and Stetson (PolarityTE’s then CFO), as well as

  O’Rourke, Groussman, and many of the same Selling Stockholders (defined below) who, through

  the leadership and machinations of the Honig Group, became a undisclosed Section 13(d) group

  of investors in Riot.

             16.   Defendants’ scheme was revealed through a series of disclosures that revealed to

  the market what Defendants had taken such great lengths to misrepresent and conceal: that they

  were undisclosed control group engaging in undisclosed insider sales. On January 31, 2018, from

  The Wall Street Journal that “Mr. Honig has sold about 500,000 shares” and only “still owns about

  1% of the company.” “‘When stock goes up, you take a profit,’ [Honig] said.” On this news,

  Riot’s stock fell 14.26% over two days. Then, on February 16, 2017, CNBC published the article

  that revealed Honig as “the man behind the Riot Blockchain curtain”; that CEO O’Rourke worked

  out of Honig’s Boca Raton office; that the “true extent of Honig’s selling” of Riot stock was

  “[b]uried deep in the footnotes of Riot filings”; and revealed details about Riot’s suspicious

  related-party transactions. In response, Riot’s share price fell 33.4%. Next, on April 17, 2018,

  Riot filed an annual report disclosing the financial interests of Honig and DeFrancesco in various

  2017 related-party transactions, causing Riot’s stock price to fall another 5.8%. A May 25, 2018

  disclosure of yet further related-party transactions caused Riot’s shares to decline 6%. Finally, on

  September 7, 2018, the SEC filed the Honig Action against Defendants Honig, O’Rourke,

  Groussman, and Stetson, and their affiliates, revealing that, contrary to Defendants’ misleading

  Schedules 13D and 13G, and Riot’s misleading Forms S-3 and 10-K, the Honig Group was not

  only a “group” as defined by Section 13(d), but in fact a a highly-orchestrated and closely-knit

  partnership amongst Honig, O’Rourke, Groussman, and Stetson, who had been engaged in the

  same fraudulent modus operandi at Riot that they had perfected a dozens of previous including the



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  three pump-and-dump schemes described in detail by the SEC. On this news, Riot’s stock price

  dropped 26.1%.

  II.        JURISDICTION AND VENUE

             17.   The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

  the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17

  C.F.R. § 240.10b-5).

             18.   This Court has jurisdiction over the subject matter of this action pursuant to Section

  27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.

             19.   Venue is proper in this judicial district pursuant to Section 27 of the Exchange Act

  (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as the misleading statements entered into and the

  subsequent damages took place within this district.

             20.   In connection with the acts, conduct, and other wrongs alleged herein, Defendants,

  either directly or indirectly, used the means and instrumentalities of interstate commerce,

  including, but not limited to, the United States mails, interstate telephone communications, and

  the facilities of a national securities exchange.

  III.       PARTIES

             21.   Lead Plaintiff purchased Riot common stock at artificially inflated prices during

  the Class Period and was damaged upon the revelation of the alleged corrective disclosures.

             22.   Defendant Riot is a Nevada corporation with its principal executive offices

  purportedly located at 834-F South Perry Street, Suite 443, Castle Rock, Colorado 80104. The

  Company’s securities trade on NASDAQ under the symbol “RIOT,” and previously traded as

  “BIOP.” Riot purports to invest in various blockchain technologies and mine cryptocurrencies such

  as Bitcoin. As of April 13, 2018, Riot had 13,417,132 shares of common stock outstanding.



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             23.   Defendant Honig is a resident of Boca Raton, Florida, and, at all relevant times,

  worked at an office in Boca Raton with O’Rourke. Defendant Stetson, and at times Defendant

  Groussman, also worked out of Honig’s Boca Raton office. Honig is a defendant in the Honig

  Action and has been “permanently barred from participating in any offering of penny stock.”

  Honig, through his ownership of Riot securities, was in a position to exercise influence over Riot’s

  top executives, including O’Rourke and Beeghley, and Riot’s Board of Directors. Honig also was

  a fiduciary of Riot by, among other things, his actions calculated to dictate the structure of the

  Company. Honig, through his continuous course of business dealings with Riot, acted as a control

  person of the Company. Honig has been involved in dozens of small companies that issued public

  securities, primarily through mergers with the shells of failed or failing businesses, in return for

  significant amounts of stock or convertible notes. Honig sold at least 1,583,005 shares of his stock

  in the Company for at least $17 million in proceeds while maintaining close ties with Company

  insiders who had access to material, nonpublic information about Riot. As alleged herein, Honig

  has longstanding business ties and/or co-investments with O’Rourke, Beeghley, Stetson, and

  Groussman, and other Relevant Non-Parties listed below. Honig is a trustee of GRQ 401K, which

  has been a shareholder of Riot since at least September 14, 2016. Honig had voting and dispositive

  power over GRQ 401K’s securities of Riot. Honig has been a shareholder of Riot in his individual

  capacity since September 19, 2016. Honig was Chairman and CEO of Majesco (later called

  PolarityTE) from September 30, 2015, until December 1, 2016. Honig was formerly a Director of

  Pershing Gold.

             24.   Defendant O’Rourke, born in 1985, is a resident of Fort Lauderdale, Florida. After

  being nominated by Honig, O’Rourke was a Director of the Company beginning on January 6,

  2017. O’Rourke also served as Riot’s President, Secretary, and Treasurer since at least September



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  2017,1 and as Riot’s CEO and Chairman of the Board from November 3, 2017 until September 8,

  2018, when he resigned after the SEC charged him in the Honig Action along with Honig,

  Groussman, Stetson, Brauser, and others. As a result of the Honig Action, O’Rourke has been

  “permanently barred from participating in any offering of penny stock.” O’Rourke’s 2017

  executive compensation included a $60,000 salary, $2,322.00 in stock awards, $609,842 in option

  awards, which totaled to $2,991,842 in compensation. Additionally, O’Rourke sold at least 30,383

  shares of his stock for at least $869,256.35 of profit while he had access to material, nonpublic

  information about Riot. O’Rourke has longstanding business ties and/or co-investments with

  Honig, Groussman, and Stetson – including working out of the same office. O’Rourke used the

  same fax number as Honig and Stetson.          O’Rourke and Stetson reside in homes located

  approximately 800 feet apart. O’Rourke owns ATG.

             25.   Defendant Groussman is a resident of Miami Beach, Florida, and worked out of the

  same office in Boca Raton with Honig, O’Rourke, and Stetson. Groussman owns Melechdavid.

  Groussman purchased his house in Miami Beach, Florida, with a $700,000 mortgage loan from

  Honig, Groussman’s mortgage holder. Groussman is a “Selling Stockholder” in numerous Riot

  Forms S-3 during the Class Period. Groussman is a defendant in the Honig Action and has been

  barred for ten years from participating in any offering of penny stock.

             26.   Defendant Stetson is a resident of Fort Lauderdale, Florida, where Defendants

  Stetson and O’Rourke reside in houses approximately 800 feet apart. Stetson is the former CFO

  of PolarityTE.     Stetson has longstanding business ties and/or co-investments with Honig,


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     A December 20, 2017, filing by Riot with the Nevada Secretary of State (“Filing Number
  20170535413-91”) lists O’Rourke as Riot’s “President,” “Secretary,” and “Treasurer” for “the
  filing period of Sep, 2017 to Sep, 2018.” O’Rourke is also identified as “President” of “Riot
  Blockchain, Inc.” in “Articles of Merger” that O’Rourke signed and filed with the Nevada
  Secretary of State on October 3, 2017.

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  O’Rourke, and Groussman – including working out of the same office. Stetson used the same fax

  number as Honig and O’Rourke. Stetson owns Stetson Capital. Stetson is a “Selling Stockholder”

  in numerous Riot Forms S-3 during the Class Period. Stetson is a defendant in the Honig Action

  and has been barred for five years from participating in any offering of penny stock.

             27.   Defendant DeFrancesco was an 11%+ beneficial owner of shares in Riot through

  at least six different entities: DSB Capital, Ltd., a Turks & Caicos company; DeFrancesco

  Motorsports, Inc., an Ontario corporation; Delavalco Holdings, Inc., an Ontario corporation;

  Delavalco Holdings, Inc., a Florida corporation; Marcandy Investments Corp., an Ontario

  corporation; Namaste Gorgie, Inc., an Ontario corporation. DeFrancesco began acquiring Riot

  shares in August 2016. DeFrancesco is a “Selling Stockholder” in numerous Riot Forms S-3

  during the Class Period.

             28.   Defendant Beeghley was a Director of the Company since at least November 30,

  2016; became CEO on April 6, 2017; and became Chairman of the Company’s Board in January

  2017. Beeghley was Chairman and CEO until he was replaced by Defendant O’Rourke on

  November 3, 2017. Beeghley was Riot’s CEO from April 2017 to November 2017; Chairman of

  the Board from January 2017 to November 2017; and a Director from November 2016 to

  November 2017. In 2017, Riot paid Beeghley $339,739 in compensation, including $9,000 of

  salary, $270,000 in stock awards, and $60,739 in option awards. Beeghley was a Director of

  Majeso (later called PolarityTE) from December 18, 2015, until October 18, 2017.

             29.   Defendants Honig, O’Rourke, Groussman, Stetson, DeFrancesco, and Beeghley are

  collectively referred to herein as the “Honig Group.”

             30.   Defendants Riot, O’Rourke and Beeghley are collectively referred to herein as the

  “Riot Defendants.”



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  IV.        RELEVANT NON-PARTIES

             31.   2330573 Ontario Inc., whose President is Theofilos, was a Selling Stockholder in

  Riot’s January 5 and February 7, 2018 Registration Statements on Forms S-3 and S-3/A and party

  to the September 29, 2017 Coinsquare shareholders’ agreement with Riot.

             32.   Aifos Capital Management, LLC (“Afios”) is controlled by Karr, its Managing

  Member.

             33.   ATG Capital LLC (“ATG”) is a Florida corporation owned and operated by

  Defendant O’Rourke and for which O’Rourke makes investment decisions. ATG’s principal place

  of business is in Florida. ATG’s was incorporated in or around 2012.

             34.   Biozone Pharmaceuticals, Inc. (“Biozone”) is a Nevada corporation with principal

  place of business in Pittsburg, California. The SEC has sued Defendants Honig, O’Rourke, and

  Stetson in connection with their investment in Biozone.

             35.   Michael Brauser (“Brauser”) is a resident of Lighthouse Point, Florida. Brauser

  invested in Riot through Grander Holdings, Inc. 401K. Brauser also owned 112,499 shares of

  goNumerical Lftd. (“goNumerical”), a leading Canadian Blockchain company known as

  Coinsquare Ltd. The SEC sued Brauser along with Honig, O’Rourke, and Stetson for their pump-

  and-dump schemes involving Biozone, MGT, and MabVax.

             36.   Cresval Capital Corp. (“Cresval”) a Canadian mineral exploration company based

  in Vancouver, British Columbia, whose President is Lee Ann Wolfin.

             37.   Mike Dai (“Dai”) was a Director of Riot from January 2017 until November 3,

  2017. Dai was nominated to Riot’s Board by Defendants Honig and DeFrancesco in December

  2016. Before joining Riot’s Board, Dai already had established business ties with Defendant

  DeFrancesco’s husband, Andrew, and other relatives, as well as Defendants O’Rourke and Stetson,

  Jonathan Honig, and other members of the Honig Group. Specifically, as of December 1, 2016,

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  Dai “serve[d] as chief financial officer and Director of Santa Maria Petroleum Inc.

  (TSXV:SMQ.H) a position he ha[d] held since 2014,” according to Defendant Honig’s SEC filing

  nominating Dai to the Bioptix Board. Dai became CFO and a Director of Santa Maria on May 22,

  2014, the same day that Andrew DeFrancesco became Santa Maria’s “President and CEO.”

  According to a December 2, 2016 OTCQB Certification (which was “prepared by . . . Mike Dai,

  CFO” and “Andrew DeFrancesco, CEO”) that was filed on behalf of Santa Maria with the OTC

  Markets Stock Exchange, the “beneficial owners of more than five percent” of Santa Maria’s

  “equity securities” included Jonathan Honig, ATG (i.e., O’Rourke), Stetson Capital, and several

  of Defendant DeFrancesco’s relatives.

             38.   Global Bit Ventures, Inc. (“GBI”) is a Nevada corporation that Marathon planned

  but failed to merge with in order to convert Marathon into a “blockchain” company.

             39.   Grander Holdings, Inc. 401K (“Grander”) is a Florida corporation that Brauser

  owns and operates as Trustee. The SEC sued Grander with Brauser Honig, O’Rourke, and Stetson

  in connection pump-and-dump schemes involving Biozone, MGT, and MabVax.

             40.   GRQ Consultants, Inc. Roth 401K FBO Barry Honig (“GRQ 401K”) is an entity

  for which Honig serves as Trustee. As of September 14, 2016, GRQ owned at least 389,159 shares

  of common stock of Riot (then-Venaxis) (8.6% of voting stock), and later increased its stake to

  9.99%.

             41.   Michael Ho (“Ho”) was the President, Secretary, and Treasurer of both Kairos and

  Ingenium, which were both incorporated on the same day, October 19, 2017, in Nevada. Ho is

  also a Manager of Prive. In various corporate filings in Nevada and Florida, Ho has listed his

  address as either Dubai, Los Angeles, or Tampa.




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             42.   Alan Honig is the father of Barry Honig. As of at least September 25, 2017, Alan

  Honig personally owned 20,000 shares of Riot common stock representing approximately 0.33%

  of the Company’s common stock beneficially owned.

             43.   Jonathan Honig is the brother of Barry Honig and is the Manager of Titan Multi-

  Strategy Fund I Ltd. As at least September 25, 2017, Jonathan Honig beneficially owned, through

  Titan Multi-Strategy Fund I Ltd., 597,300 shares of Riot common stock representing 9.99% of the

  Company’s common stock beneficially owned.

             44.   Ingenium Global, Inc. (“Ingenium”) is a Nevada corporation that was incorporated

  on October 19, 2019 by Laxague, the same day as Kairos. Ho is Ingenium’s President, Secretary,

  and Treasurer. Pascual and Silverman are Directors of Ingenium.

             45.   JAD Capital Inc. (“JAD”) is a corporation located in Ontario, Canada, whose

  Director, with voting and dispositive control over JAD, is Theofilos.

             46.   Adrian James (“James”), a stock promoter who previously touted other Honig-

  backed companies, including Pershing Gold, MusclePharm Inc. (the parent of Biozone), and Valor

  Gold Corp. James is the President and CEO of Stockwire, through which James invested in Riot.

             47.   Kairos Global Technology Inc. (“Kairos”) is a Nevada corporation that was

  incorporated on October 19, 2019 by Laxague. Ho is Kairos’s President, Secretary, and Treasurer.

  Pascual and Silverman are Directors of Kairos.

             48.   Andrew Kaplan (“Kaplan”) was a director of Riot from May 5, 2017, until his

  resignation on October 22, 2018.        Kaplan was a member of the Audit Committee and

  Compensation Committee, and Chair of the Governance Committee. In 2017, Kaplan received

  total compensation of $88,220, including his fees paid in cash of $8,000 and stock awards of




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  $80,220. Kaplan previously served on the board of directors of Majesco/PolarityTE from October

  2015 until December 1, 2016, during the same time period that Honig was CEO of Majesco.

             49.   Edward M. Karr (“Karr”) is a Director of both Pershing Gold and Levon, and was

  a Director of Majesco Entertainment prior to its merger with PolarityTE. Specifically, Karr was

  appointed to Majesco/PolarityTE’s board on September 25, 2014, the same day as Honig, Brauser,

  and Kaplan. ¶ 119. Karr resigned as a director of Polarity on December 1, 2016, the same day

  that Honig and Brauser also resigned. Karr invested in Riot through Aifos, a company that Karr

  controls.

             50.   Harvey Kesner (“Kesner”) is the long-time lawyer of Defendant Honig. Kesner is

  the owner of Paradox Capital Partners (“Paradox”). Kesner represented Honig in connection with

  his investments in Riot and MabVax. Kenser and/or Paradox invested in Riot and MabVax.

  Kesner is an owner and manager of EST, which Kesner financed with more than $100,000 through

  Paradox. Kesner is a former partner with Haynes and Boone, LLP and Sichenzia Friedman

  Ference LLP (“Sichenzia”). In 2018, MabVax sued Sichenzia for malpractice due to Kesner’s

  allegedly conflicted legal representation of both Honig and MabVax. Acccording to a article in

  Barron’s, “nearly two dozen public companies backed by Honig, or other defendants in last

  month’s SEC complaint, used” Kesner “ until he retired . . . just before the [Honig] action. Those

  companies also happened to use [EST] . . . .”

             51.   Laxague Law Inc. (“Laxague”) is a law firm in Reno, Nevada, operated by Partner

  Joe Laxague, which incorporated both Kairos and Ingenium on October 19, 2018.

             52.   Jason Les (“Les”) has been a director of the Company since November 2017 and is

  a member of the Company’s Audit Committee and Governance Committee, and Chair of the

  Compensation Committee. According to the 2017 Proxy, Les is a professional poker player and



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  is qualified to serve as a director “based on the fact that he has been active in the industry as a

  miner, studying protocol development and evaluating a variety of crypto investment strategies.”

  Les received total compensation of $56,625 in 2017, which includes $6,000 of fees paid in cash

  and $50,625 of stock awards.

             53.   Bryan Pascual is a Director of Kairos and Ingenium Global, Inc. and a Manager of

  Prive.

             54.   Levon Resources Ltd. (“Levon”) is another mineral exploration company in which

  Defendant Honig is former Director and Karr is a current Director. Levon was founded by Arthur

  Wolfin, the father of Lee Ann Wolfin, the President of Cresval.

             55.   Eric So served as a director of the Company from October 2017 until February

  2018, and served as Chair of the Audit Committee and a member of the Compensation Committee

  and the Governance Committee. In 2017, So was paid $65,675 in compensation, including $2,000

  in fees paid in cash and $63,675 in stock awards. So was previously the chief legal and

  development officer at MUNDOmedia Ltd., a company in which Honig and O’Rourke have

  heavily invested.

             56.   MabVax Therapeutics Holdings, Inc. (“MabVax”) a Delaware corporation, with its

  principal place of business in San Diego County, California. The SEC has sued Defendants

  O’Rourke, Honig, and Stetson in connection with their investments in MabVax.

             57.   Marathon Patent Group Inc. (“Marathon”) is a public company that trades on the

  NASDAQ that Honig, O’Rourke, Groussman, Stetson, Brauser, and others also invested in an

  attempted to convert into a “blockchain” company.

             58.   Marcandy Investments Corp. (“Marcandy”) is an Ontario corporation owned and

  controlled by its President, DeFrancesco.



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             59.   Melechdavid Inc. (“Melachdavid”) is a Florida corporation whose principal place

  of business is Miami Beach, Florida, and whose President is Defendant Groussman.

             60.   MGT Capital Investments Inc. (“MGT”) is a Delaware corporation based in

  Durham, North Carolina. The SEC has sued Defendants O’Rourke, Honig, and Stetson in

  connection with their investments in MGT.

             61.   Richard Molinsky (“Molinksy”) is a former stockbroker at D.H. Blair & Co. who

  was barred from the industry in 2000 after pleading guilty2 to criminal charges related to market

  manipulation and fraudulent sales practices, was one such associate listed on the registration

  statement. Molinsky has been an investor in numerous Honig-backed companies, including

  PolarityTE, Pershing Gold, Vapor Corp., and Riot. Molinsky was a shareholder of Riot since at

  least September 25, 2017, when he disclosed owning 1.78% of Riot common stock.

             62.   MUNDOmedia Ltd. (“MUNDOmedia”) is a marketing company based in Toronto,

  Ontario, Canada founded by its CEO, Theofilos.

             63.   Namaste Gorgie Inc. (“Namaste”) is an Ontario corporation owned and controlled

  by its President, DeFrancesco.

             64.   Northurst Inc. (“Northurst”) is a Canadian company that owned 9.99% percent of

  Riot stock and was also an investor in Kairos. Northurst’s controlling shareholder, Jakub

  Malczewski, was managing director of Ahaka Capital with David Baazov, the former CEO of an

  online gambling company who Canadian authorities charged with insider trading and market

  manipulation.     Through Ahaka Capital, Messrs. Malczewski and Baazov were investors in



  2
    See In the Matter of Breitner et al., No. 3-11105 (S.E.C. May 5, 2003), available at
  https://www.sec.gov/litigation/admin/34-47797.htm (“Molinsky pled guilty to and was convicted
  of the charge of Attempt to Commit the Crime of Enterprise Corruption and one count of Martin
  Act securities fraud (see People of New York v. D.H. Blair, et al., Ind. No. 3282/00).”).

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  MUNDOMedia alongside Honig, O’Rourke, Stetson, and Groussman. Northurst was also an

  investor in GBV, which was nearly acquired by Marathon.

             65.   Paradox Capital Partners LLC (“Paradox”). The registered address in Florida for

  Paradox Capital Partners (owned by Kesner) is the same Boca Raton building that Honig uses as

  his business address.

             66.   Bryan Pascual (“Pascual”), a resident of Tampa, Florida, is a Director of Kairos

  and Ingenium, and a Manager of Prive.

             67.   Pershing Gold Corp. (“Pershing Gold”) is an emerging gold producer whose

  primary asset is the Relief Canyon Mine in Pershing County, Nevada. Defendant Honig was a

  Director of Pershing Gold.

             68.   PolarityTE Inc. (“PolarityTE”) was formerly a video game company known as

  Majesco Entertainment, and is now a purported biotechnology company based in Salt-Lake City,

  Utah. PolarityTE’s Co-Chairmen were Defendant Honig and Brauser. Honig was also Polarity’s

  CEO. Defendant Stetson was PolarityTE’s CFO. Karr and Defendant Kaplan were Directors of

  PolarityTE.

             69.   Prive Technologies LLC (“Prive”) is a Florida limited liability corporation that was

  incorporated on October 31, 2017, with its Principal Address at 218 S. Audobon Avenue, Tampa,

  Florida 33609. Prive’s Managers are Ho and Pascual.

             70.   Robert O’Braitis (“O’Braitis”), a part-time resident of Boca Raton, Florida, owned

  as of at least September 25, 2017, owned 80,410 shares of Riot common stock representing 1.46%

  of the Company’s common stock beneficially owned (the exact amount owned on that same date

  by Theofilos through JAD Capital Inc., and by Groussman in two separate UTMA accounts).

  O’Braitis has been an investor in other Honig-backed companies, including PolarityTE and



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  Marathon, in which he was party to a “Securities Purchase Agreement with proposed Riot Board

  member Jesse Sutton.

             71.   Moses D. Silverman (“Silverman”), a resident of Miami Beach, became a Director

  of Kairos and Ingenium on October 19, 2018.

             72.   Stetson Capital Management, LLC (“Stetson Capital”) is a Florida limited liability

  company incorporated in April 2016 whose manager and registered registered agent is Defendant

  Stetson. Stetson Capital’s Articles of Incorporation list Defendant Stetson’s previous residence

  less than one mile from Defendant O’Rourke’s residence in Fort Lauderdale, Florida. Stetson

  Capital invested in at least 4.99% of Riot’s common stock.

             73.   Stockwire Research Group, Inc. (“Stockwire”) is a Florida corporation whose

  principal place of business is in Miami-Dade County, Florida, and whose President and CEO is

  Adrian James.

             74.   Tess Inc. (“Tess”) is a company based in Toronto, Ontario, whose Chief Software

  Architect is Tanasescu.

             75.   Jason Theofilos (“Theofilos”) is the chief executive of MUNDOmedia Ltd., a

  digital advertising company in which Defendant Honig, Jonathan Honig, O’Rourke, Stetson, and

  Groussman each held shares. Theofilos is the Director of JAD Capital Inc. and the President of

  2330573 Ontario Inc. As of at least September 25, 2017, Theofilos owned JAD Capital Inc., which

  owned 80,410 shares of Riot common stock representing 1.46% of the Company’s common stock

  beneficially owned (the exact amount owned on that same date by O’Braitis and by Groussman in

  two separate UTMA accounts).




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             76.   Sorin Tanasescu was Tess’s Chief Software Architect and was concurrently a

  Director of an entity called Ingenium IT Compusoft and a Managing Director of a company called

  VoiceWay.

             77.   Titan Multi-Strategy Fund I, Ltd. (“Titan”) is a Florida corporation. Titan is owned

  and controlled by Jonathan Honig, who is Titan’s Manager.

             78.   WPCS International Incorporated (“WPCS”) was a global engineering,

  communications, and infrastructure “with over 500 employees in 10 operations centers on three

  continents.” In 2012, Defendant Honig, through GRQ 401, invested in WPCS when its stock was

  trading in excess of $1,000 per share. In 2013, WPCS purchased BTX Trader, a bitcoin trading

  platform, from Defendant O’Rourke. In January 2018, WPCS’s changed its name to “Dropcare,

  Inc.” and is now a cloud-services-for-cares company whose stock trades on NASDAQ under the

  ticker “DCAR” for approximately $2.01 per share.

  V.         BACKGROUND ON THE HONIG GROUP

             A.    The SEC Has Sued Honig, O’Rourke, Groussman, and Stetson for “Acting as
                   an Undisclosed Control Group” in Three Previous Fraudulent Pump-and-
                   Dump Schemes Involving the Same Modus Operandi They Used at Riot

             79.   On September 7, 2018, the SEC filed the Honig Action against Defendants

  O’Rourke, Honig, Groussman, and Stetson (as well as related-party Brauser and others) for

  violating the Exchange Act and Securities Act by engaging in “three highly profitable ‘pump-and-

  dump’ schemes . . . from 2013 through 2018 in the stock of three public companies (Company A,

  Company B, and Company C) that, while enriching Defendants by millions of dollars, left retail

  investors holding virtually worthless shares.” Cmpl. ¶ 1 (attached as Exhibit A).3




  3
   Citations to “Cmpl. ¶ __” are to paragraphs of the SEC’s initial complaint. See SEC v. Honig et
  al., No. 1:18-cv-08175-ER (S.D.N.Y. Mar. 8, 2009) (ECF No. 1).

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             80.   On March 16, 2020, the SEC filed a Second Amended Complaint, which is attached

  hereto as Exhibit B.4 In its complaint the SEC alleges that Defendants Honig, O’Rourke, Stetson

  and related-party Brauser, individually or through their entities, invested alongside one another in

  at least 19 issuers at or about the same time, from 2011 to the present. While this action concerns

  three of those issuers, in most cases in which Honig, Brauser, Stetson, and O’Rourke co-invested,

  the investments followed a pattern: Honig or Brauser would identify a target company and arrange

  a financing or financings that would give them and their chosen co-investors (including Stetson

  and O’Rourke, among others) a controlling position in the company’s outstanding common stock

  at lower-than-market prices. Honig, Brauser, Stetson, and O’Rourke would then exercise that

  control by dictating terms of the company’s material management decisions and policies, and

  voting together to direct the company’s major business decisions. When the group determined that

  the time had arrived to exit the investment, they would engineer a publicity-generating event that

  would both drive the price of the stock higher, and also create market demand and trading volume

  that would allow them to sell their positions. Typically, Honig, Brauser, Stetson and O’Rourke

  would dictate some kind of transaction for management to undertake – for example, an acquisition

  or merger, or a new investment by a well-known investor, like Investor 1 – and paid writers,

  bloggers or other public relations professionals to write about it. Once the publicity had its

  intended effect on the stock’s price and trading volume, Honig, Brauser, Stetson, O’Rourke and

  the other hand-picked co-investors would sell their respective positions – generally staggered over

  a course of weeks – into the artificially inflated market. 2d Am. Cmpl. ¶ 57.




  4
   Citations to “2d Am. Cmpl. ¶ __” are to paragraphs of the SEC’s Second Amended Complaint.
  See SEC v. Honig et al., No. 1:18-cv-08175-ER (S.D.N.Y. Mar. 8, 2009) (ECF No. 233).

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             81.   Throughout these stages, Honig, Stetson, and O’Rourke were in nearly daily

  contact because they worked out of the same office and were in frequent email and telephone

  contact, at times purposefully moving their conversations to the less permanent medium of text or

  instant messaging. Honig, Stetson and O’Rourke were each in frequent contact with Brauser, with

  whom they shared office space until late 2013. Id. ¶ 58.

             82.   Honig, Brauser, Stetson, and O’Rourke obtained their interests in these issuers at

  the same time, and agreed to act as a group in holding, disposing and voting the stock they

  acquired, with Honig leading the combined effort. As O’Rourke put it in a February 3, 2014 email

  to the officer of a potential merger target, “Barry Honig is the principal investor of our small

  group.” Honig carefully controlled his “small group’s” participants in the financings he arranged

  so that shares were held only by individuals and entities that (1) permitted Honig to direct how

  they voted their shares and/or acquiesced in Honig’s control of the management of the company,

  and (2) refrained from selling their shares until the optimal time for group members to profit from

  the planned post-pump dump. Id. ¶ 59.

             83.   Honig worked with Stetson to ensure that members of his groups voted their shares

  in unison. At times, members of the group reached out to Stetson to find out how they should vote

  on various proposals. For example, with respect to one of the issuers in which they had co-

  invested, in July 2015, Brauser forwarded an email request from a co-investor’s staffer to Stetson,

  asking whether to vote for or against a proposal. Stetson, in an email that same day, copying

  Honig, replied, “Yes, vote ‘For.’” In a November 2016 email to members of a Honig group of

  investors in another issuer, Stetson responded to a request for “instructions to vote” with “[v]oting

  in favor of [two named directors]. Against all other members and actions.” Id. ¶ 60.




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             84.   While Honig was the primary architect of the three schemes detailed below, email

  traffic among Honig, Brauser, Stetson, and O’Rourke demonstrates the various key roles each of

  these individuals played in the typical Honig-led investment. Id. ¶ 61.

             85.   Brauser is a long-time co-investor with Honig, investing (individually, through his

  entity, Grander, or through family members’ accounts) alongside Honig (and/or a Honig entity) in

  more than 40 issuers between approximately 2011 and mid-2018. From at least October 2010 to

  approximately 2013, Brauser rented an office with Honig at 4400 Biscayne Boulevard in Miami,

  Florida.     Brauser’s business association with Honig was sometimes noted by keen market

  observers: As early as 2013, a short seller published a report on a company in which the two had

  invested and noted that a factor negatively affecting the value of the company’s stock was the

  CEO’s close financial ties with “two serial stock promoters,” whom it identified as Honig and

  Brauser. Id. ¶ 62.

             86.   For some of the issuers in which Brauser co-invested alongside Honig, Brauser took

  an active role, at times directing the issuer’s management, finding and negotiating transactions for

  the issuer or bringing in additional investors. In others – particularly while Honig and Brauser

  worked through one of their periodic disputes about who owed whom money – Brauser was

  content to let Honig direct the steps in the scheme; since Brauser had been closely involved with

  respect to the other issuers in which he had co-invested with Honig, he was well-familiar with the

  playbook, knew that Honig would follow it and understood that Honig would signal to Brauser

  when it was time to sell his shares. Id. ¶ 63.

             87.   Stetson shared office space with Honig and O’Rourke at all relevant times.

  Individually, through his entity SCI, or through HSCI (the vehicle he nominally controlled),

  Stetson invested alongside Honig (and/or a Honig entity) in more than 65 issuers between 2011



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  and August 2018. In connection with most of these investments, Stetson executed Honig’s

  directions, managed the administrative aspects of the Honig group’s investments, and performed

  pre-investment due diligence. For example, Stetson communicated with brokers to effect Honig’s

  trades, deposited Honig’s shares with brokers, communicated investment terms and wire

  instructions to investors Honig had lined up, tracked the ownership of each group member in a

  particular issuer, corralled shareholder votes from co-investors (and, in some cases, even told co-

  investors how to vote), prepared financial analyses of proposed investments and conveyed Honig’s

  instructions to issuer management. From 2012 to 2013, Stetson also frequently managed Honig’s

  arrangements with Ford to write paid promotional articles about issuers in which Honig and his

  group had invested. Id. ¶ 64.

             88.   O’Rourke shared office space with Honig and Stetson at all relevant times,

  beginning in 2012. Through his entity, ATG, or individually, O’Rourke invested alongside Honig

  (and/or a Honig entity) in over 75 issuers between 2011 and August 2018. Beginning in 2013,

  O’Rourke managed the Honig group’s promotional efforts by working with writers and bloggers

  to publish favorable articles and posts about issuers the Honig group controlled. He arranged for

  those writers to be compensated for their promotional pieces. For example, in 2013 and 2014,

  O’Rourke compensated “Writer E” for writing positive promotional articles. O’Rourke made the

  payments through personal checks and/or sham stock purchases, designed to disguise the true

  purpose of the compensation. O’Rourke knew, or was reckless in not knowing, that Writer E did

  not disclose these payments in the promotional pieces he published on these issuers. Id. ¶ 65.

             89.   At times, and with Honig’s knowledge and consent, or at his direction, O’Rourke

  wrote and published the promotional articles himself. O’Rourke used a pseudonym for the byline




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  and did not disclose his relationship to the issuer being promoted or the compensation Honig was

  paying him for the articles. Id. ¶ 66.

             90.   In addition to his work with promoters and his own promotional activities, in at

  lease on instance, O’Rourke took the lead in negotiating a transaction for Company B, in which

  he, Honig, Brauser and Stetson and/or certain of their entities had invested. After about his first

  year with Honig, O’Rourke also began assisting Stetson with the administrative aspects of each

  group investment. Id. ¶ 67.

             91.   Stetson and O’Rourke knew that each participant in Honig’s deals – Honig’s

  “following” – had been invited to participate in these private transactions in exchange for some

  value each could bring to the deal, and that Ford was no different. For example, Groussman

  brought needed cash and a willingness to follow Honig’s directions on how to vote or when to sell.

  Id. ¶ 80.

             92.   Given his February 26, 2019 settlement with the SEC, Groussman is referred to in

  the SEC’s Second Amended Complaint as “Affiliate 1.” However, the SEC’s initial complaint,

  dated September 7, 2018, alleged that “[i]n every scheme, Honig, and some combination of

  Stetson, Brauser, O’Rourke, Groussman . . . either explicitly or tacitly agreed to buy, hold or sell

  their shares in coordination with one another, knowing that a pump and dump was in the offing

  that would allow them all to profit handsomely.” Cmpl. at ¶ 2. Groussman’s participation in the

  schemes involving Biozone, MGT, and MabVax included “pre-release manipulative trading” with

  Honig, Brauser, O’Rourke, Melechdavid and ATG. Id. ¶ 3. “Honig, Brauser, Stetson, O’Rourke,

  . . . and Groussman, as well as certain of their entities, also violated beneficial ownership reporting

  requirements of the federal securities laws by failing to disclose their group beneficial ownership

  of shares and the fact that as a group they were looking to exercise (and, in fact, did exercise)



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  control over the issuers.” Id. ¶ 4. “Groussman . . . work[ed] at an office in Boca Raton with

  Honig, Stetson and O’Rourke.” Id. ¶ 38.

             93.   As stated in a letter5 from counsel for the SEC filed with the court in SEC v Honig,

  the SEC recently reached additional settlements with several of the same Defendants and related

  parties in this case, including Defendants O’Rourke6 and Stetson,7 and Honig Group members

  Brauser,8 ATG Capital LLC, Stetson Capital Investments Inc., and Grander Holdings, Inc.

             94.   These settlements follow the SEC’s previous settlement with Defendant Honig, in

  which he agreed, among other things, to be “permanently barred from participating in any offering

  of penny stock”; “permanently prohibited” from holding greater than 4.99% of any penny stock

  company; “permanently prohibited” from “advertising, marketing, or otherwise promoting” any

  penny stock; and agreed to “pay disgorgement of ill-gotten gains, prejudgment interest thereon,

  and a civil penalty” yet to be determined upon a forthcoming motion by the SEC.9




  5
      SEC v. Honig, No. 1:18-cv-08175-ER (ECF No. 222) (Mar. 6, 2020) (attached as Exhibit C).
  6
    SEC v. Honig, No. 1:18-cv-08175-ER (Mar. 6, 2020) (ECF No. 228) (Final Judgment as to
  Defendant John R. O’Rourke III). O’Rourke’s settlement permanently bars him from participating
  in an offering of penning stock, holding greater than 4.99% of any penny stock, or advertising,
  marketing, or promoting any penny stock, and requires him to pay $1,153,326 in disgorgement,
  interest, and civil penalties. Id.
  7
    SEC v. Honig, No. 1:18-cv-08175-ER (Mar. 6, 2020) (ECF No. 227) (Final Judgment as to
  Defendant John Stetson). Stetson’s settlement bars him for ten years from participating in an
  offering of penning stock, holding greater than 4.99% of any penny stock, or advertising,
  marketing, or promoting any penny stock, and requires him to pay $1,154,669.28 in disgorgement,
  interest, and civil penalties. Id.
  8
    SEC v. Honig, No. 1:18-cv-08175-ER (Mar. 6, 2020) (ECF No. 224) (Final Judgment as to
  Defendant Michael Brauser). Brauser’s settlement permanently bars him from participating in an
  offering of penning stock, holding greater than 4.99% of any penny stock, or advertising,
  marketing, or promoting any penny stock, and requires him to pay $1,175,768.16 in disgorgement,
  interest, and civil penalties. Id.
  9
   SEC v. Honig, No. 1:18-cv-08175-ER (July 7, 2019) (ECF No. 152) (Judgment as to Defendant
  Barry Honig).

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             95.   On February 26, 2019, Defendant Groussman’s settled with the SEC. Groussman

  agreed to a similar five-year ban on participating in any offering of penning stock, holding greater

  than 4.99% of any penny stock, or advertising, marketing, or promoting any penny stock and

  required him to pay $ 1,381,914.78 in disgorgement, interest, and civil penalties.10

             96.   In connection with the Honig Action, the SEC filed with the court several emails

  among Honig, O’Rourke, Groussman, Stetson, and/or Brauser that confirm that these individuals

  personally coordinated their investments in numerous public companies. See Exs. D, E, F, G, H &

  I. For example, on July 2, 2014, Defendants Honig, O’Rourke, Stetson, Groussman, and Brauser

  received an email from a lawyer concerning a “Share Purchase” and requesting “broker

  representation letters” for the “transfer agency for Musclepharm Corp” for “each transferee.” See

  Ex. D at 7 of 21.11 That same day, this lawyer issued an opinion letter to the transfer agent stating

  that each of these same individuals had “executed representation letters that such parties are not

  affiliates and were not affiliates within the three months prior to the Purchase Date.” Ex. E at 17-

  18 of 25.




  10
    SEC v. Honig, No. 1:18-cv-08175-ER (Feb. 6, 2019) (“ECF No. 93) (Final Judgment as to
  Defendant Mark Groussman).
  11
     This July 2, 2014 email clearly identifies “John Stetson” and “Mike Brauser.” Honig’s email
  address is the same that he used in his September 13, 2016 letter to the Bioptix Board on Schedule
  13D/A. See Ex. J. O’Rourke’s email address is the same listed for him and his entity, ATG, in a
  December 17, 2013 Amended and Restated Limited Liability Company Agreement between
  O’Rourke        and     BTX       Trader      LLC     filed     with      the     SEC.         See
  https://www.sec.gov/Archives/edgar/data/1086745/000152153613001045/q1101368_ex10-
  1.htm. Groussman’s email address is the same listed for him and his entity, Melachdavid, in a
  November 13, 2013 Stock Purchase Agreement involving “Positive ID Corporation” signed by
  Groussman,             Honig,           Stetson,         and            Karr.                  See
  https://www.sec.gov/Archives/edgar/data/1347022/000139843213000739/exh10_1.htm. Hudson
  Bay Master Fund Ltd., a “Selling Stockholder” in Riot’s January and February 2018 Forms S-3,
  was also a party to this 2013 Stock Purchase Agreement.

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             97.   Similarly, a January 27, 2012 email from Stetson to Honig attaches a “Share

  Breakdown” of the shares that Honig, Stetson, Groussman, Brauser, and their affiliates would hold

  in IZEA Worldwide Inc after a stock split. Ex. H. Another January 20, 2011 email from Stetson

  provides a similar breakdown for himself, Honig, Brauser, and others for “Passport Potash, Inc.”

  Ex. G. Likewise, an October 2, 2013 letter shows how Honig, Grossman, Brauser, and Brauser’s

  relatives allotted their co-investments in Senesco Technologies, Inc. Ex. F.

             98.    The FBI and Department of Justice (“DOJ”) have also been pursuing a criminal

  investigation into the Honig Group’s pump-and-dump schemes, pursuant to which the FBI

  interviewed Defendant Honig and the DOJ made those FBI Form FD-30212 interview notes

  available to the SEC.13

                   1.     Biozone Pharmaceuticals, Inc. (a/k/a “Company A”)

             99.   The Honig Group’s three most recent schemes are also detailed in the SEC’s March

  8, 2019 First Amended Complaint14 filed against Honig, O’Rourke, Stetson, Brauser, and related

  defendants.      The SEC alleged that “Honig was the primary strategist, calling upon other

  Defendants to, among other things, acquire or sell stock, arrange for the issuance of shares,

  negotiate transactions, and/or engage in promotional activity.” Am. Cmpl. ¶ 2. The SEC alleged




  12
    “After FBI agents conduct a formal interview, they incorporate [ ] their handwritten notes into
  a more complete report of the interview on the FBI’s Interview Report Form FD-302, known
  colloquially as a ‘302.’” Palermo v. United States, 776 F. App’x 753, 754 (3d Cir. 2019) (quoting
  United States v. Lloyd, 807 F.3d 1128, 1158 n.11 (9th Cir. 2015) (alteration in original)).
  13
    See Ex. K at 21-25 (counsel informing the court that “the SEC has notes of [Barry] Honig’s [FBI
  Form FD-] 302s,” which the SEC “requested,” “reviewed,” and “gave the 302s back to the [DOJ]”
  and counsel for the SEC confirming that the SEC had “review[ed] the 302s” from Honig’s
  interview). See also Ex. L (Stipulation and Order in SEC v. Honig providing for disclosure by
  SEC of “notes taken by the [FBI] at an April 23, 2019 interview of a witness”).
  14
    Citations to “Am. Cmpl. ¶ __” are to paragraphs of the SEC’s First Amended Complaint. See
  SEC v. Honig et al., No. 1:18-cv-08175-ER (S.D.N.Y. Mar. 8, 2009) (ECF No. 105).

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  that Honig, O’Rourke, Stetson, Brauser engaged in pump-and-dump schemes at “Company A”

  (Biozone), “Company B” (MGT), and “Company C” (MabVax):

             All told, the three schemes earned Defendants and their associates millions of
             dollars: Company A’s pump and dump generated approximately $9.3 million in
             stock sales proceeds for Honig, Brauser, Stetson, O’Rourke, certain of their
             respective entities, and affiliates. Company B’s pump and dump generated more
             than $9.5 million for Honig, Brauser, Stetson, O’Rourke, certain of their respective
             entities, affiliates, and/or certain frequent co-investors. And, most recently, the
             pump and dump of [MabVax] brought in over $8.3 million in stock sales proceeds
             for Honig, Brauser, Stetson, O’Rourke, certain of their respective entities and/or
             certain frequent co-investors. These profits were made at the expense of investors
             who purchased shares in [Biozone], [MGT] and [MabVax] at artificially high prices
             based on misleading flattering articles or coverage in the media and matched trades
             that were orchestrated by the Defendants.

  Id. ¶ 8.

             100.   In the Biozone Scheme, Honig and Brauser generated approximately $9.3 million

  in proceeds for themselves and their co-investors by secretly paying for a misleading promotional

  campaign, engaging in manipulative trading, and then unlawfully selling Biozone share into the

  artificially inflated market that they had generated. Id. ¶ 80.

             101.   In November 2010, Honig, along with his nominees, including Stetson and

  Groussman, purchased one-third of a publicly traded shell company. Id. ¶ 82. Honig, Brauser,

  and Stetson each disguised his role in the acquisition through an intermediary entity.            Id.

  According to the SEC, “[s]ince part of Stetson’s role in working with Honig was to keep track of

  the amount of each associated investor’s holdings, and [Stetson] had reviewed [Biozone’s] Form

  10-K/A, setting out Honig and Brauser’s ownership and the number of [Biozone’s] outstanding

  shares, Stetson knew, or was reckless in not knowing, how much of [Biozone’s] stock Honig and

  Brauser controlled.” SEC 2d Am. Compl. ¶ 100.

             102.   In late 2010, Honig and Brauser approached the management of Biozone’s

  predecessor company to with a proposal to take the company public. Id. ¶ 83.


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             103.   Biozone’s Chief Scientific Officer, Brian Keller, explained that “[t]he real power

  is with Barry Honig and Mike Brauser. [Biozone CEO] Elliot [Maza] is just a mouthpiece,” id.

  ¶ 91, but that Honig and Brauser failed to keep their promises to invest in research and

  development at Biozone, id. ¶ 93.         Instead, “Honig and Brauser used the financings they

  orchestrated to amass more, ever-cheaper [Biozone] shares for themselves and their associates” so

  that by April 1, 2013, “Honig, Brauser and other co-investors, including Stetson . . . had amassed

  28,153,845 shares, or almost 45% of the [Biozone] shares outstanding, with Honig alone holding

  5,542,654 shares, or 8.8% of the company’s outstanding shares.” Id. ¶ 95.

             104.   To facilitate the pump and dump scheme, “[i]n September 2013, Honig directed

  O’Rourke to reach out to Ford to arrange for him to post his purportedly independent investment

  analysis of [Biozone] on the Seeking Alpha website pursuant to the understanding Honig and Ford

  had reached in 2012.” Id. ¶ 102. In turn, “O’Rourke contacted Ford and proposed that Ford write

  a [Biozone] article in exchange for Ford obtaining [Biozone] shares at a below-market price.”

  Id.¶ 103.

             105.   The SEC alleged that “[o]n Monday, September 23, 2013, Honig and some

  associates began trading [Biozone] shares to create the appearance of market activity and interest

  in [Biozone] in advance of the planned Ford article. That day, the trading volume of [Biozone]

  shares soared to 302,000 from zero volume the previous trading day.” Id. ¶ 104. “The September

  23rd trading also gave Honig a way to pay Ford surreptitiously for his upcoming favorable article

  on [Biozone]. On the morning of Friday, September 20, 2013, O’Rourke called Ford and told him

  to put in buy orders for [Biozone] stock at $0.40 per share to ensure his order was executed against

  the corresponding sell order later placed by Honig.” Id. ¶ 105. “O’Rourke joined the trading at

  the end of the trading day on September 23rd to ‘mark the close,’ i.e., to ensure that the last price



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  of the day would be higher, giving the false impression that [Biozone’s] share price was on an

  upward trajectory.” Id. ¶ 107.

             106.   As directed, “Ford published his [Biozone] article on the Seeking Alpha website

  less than half an hour before market close on September 26, 2013. . . . In it, Ford presented a

  bullish outlook for [Biozone] and concluded that ‘[Biozone] should be trading for more than twice

  today’s valuation.’” Id. ¶ 108.

             107.   Not surprisingly, Biozone’s “share price increased from an average of about $0.48

  during August 2013 to an intraday price of $0.97 on October 17, 2013.” Id. ¶ 111. At the same

  time, “[b]etween the start of the manipulative trading on September 23, 2013 and December 31,

  2013, Honig and his co-investors sold shares into the inflated market for proceeds of approximately

  $9,350,000.” Id. ¶ 112.

                    2.      MGT Capital Investments Inc. (a/k/a “Company B”)

             108.   With respect to MGT, the SEC alleged:

             During 2015 and 2016, Honig and his associates used [MGT], once a publicly
             traded shell, as another vehicle for their pump-and-dump schemes. Honig and his
             partners used many of the same tactics they had employed in the [Biozone] scheme:
             they bought millions of cheap shares, intending to exercise control over the
             management and policies of the company; exercised that control; orchestrated a
             misleading promotion of the company that drove up the price and the trading
             volume of the company’s shares; and dumped their shares for a profit in the inflated
             market.

  Id. ¶ 125.

             109.   As before, “Stetson, with the knowledge and consent of the Honig-led investor

  group, then enlisted Ford to write a promotional piece, published on the Seeking Alpha website on

  November 5, 2012, which touted MGT’s prospects for providing a “2X near-Term Return,” and

  predicting that MGT’s stock could rise to $18 a share (nearly triple its price on the previous trading

  day).” Id. ¶ 128.


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             110.   This was not sufficient for Defendant Honig, however, because “after Ford’s piece

  was published, MGT’s stock price failed to reach the level desired by the Honig-led group.” Id.

  ¶ 129. Accordingly, Honig directed Stetson and/or O’Rourke to retain Ford to write another

  Seeking Alpha article on [MGT].” Id. “This time Ford’s article had the desired effect, pushing

  [MGT’s] share price from $3.50 on April 10, 2013 to almost $4.50 on April 16, 2013, and

  increasing trading volume significantly. MGT’s market capitalization went from under $16

  million on April 10, 2013 to over $20 million on April 16, 2013. Honig sold approximately

  250,000 shares into the inflated market, earning $967,224.” Id. ¶ 130.

             111.   This was not the end of the pump-and-dump scheme at MGT. The SEC alleged

  that, “[i]n 2015, Honig and his associates began planning a new scheme to pump and dump

  [MGT’s] shares.” Id. ¶ 133. As part of this, “[o]n September 27, 2015, Honig directed Stetson to

  send the proposal to [Robert] Ladd, [MGT’s] CEO. The deal contemplated the issuance of 2.8

  million MGT shares, along with warrants to acquire an additional 5.6 million shares, subject to a

  4.99% conversion blocker. This deal structure allowed the investors repeatedly to convert and sell

  their shares while appearing individually to stay below the 5% threshold ownership at which

  Exchange Act Section 13(d) required public disclosure of holdings.” Id. ¶ 134. Then, “[h]aving

  coordinated the accumulation of stock with Brauser, Stetson and O’Rourke, Honig, with his

  partners’ knowledge and consent, then arranged for a promotion that included materially

  misleading information.” Id. ¶ 138.

             112.   The SEC alleged that MGT’s CEO, Robert Ladd, “knew” that Honig, O’Rourke,

  Stetson, and Brauser were “operating as a group” and had “acquired [MGT] shares together, and

  that they were collectively exercising control over the company.”           2d Am. Cmpl. ¶ 140.

  Specifically, the SEC alleged that “[i]n an email dated September 29, 2015 to [MGT] counsel,



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  Stetson, Honig and [MGT’s] CFO – and in his October 4, 2015 email to [MGT’s] Directors – Ladd

  referred to the potential investors as an “investor group . . . led by Barry Honig,” and attached a

  “term sheet” (to the September 29 email) that defined Honig as “Lead Investor.” Id. (emphasis

  added). Similarly, in November 2015, Ladd wrote Honig: “As for the cap table, we have 17.2

  million common shares outstanding, including your group’s 2.8 million . . . .” Id. (emphasis

  added). Yet, the SEC alleged that “Ladd nonetheless failed to disclose Honig’s, Brauser’s,

  Stetson’s and O’Rourke’s combined interest in, and control over, the company in Company B’s

  public filings.” Id.

             113.   The SEC further alleged that “on or around January 21, 2016, by which time Honig,

  Brauser, Stetson, O’Rourke and [Groussman] through [Groussman’s] Entity, had acquired at least

  16.3% of [MGT’s] outstanding stock:

             Honig directed Ladd to wire $125,000 to a well-known stock promoter as an up-
             front payment for the promotion of [MGT]. Shortly thereafter, the stock promoter
             paid a portion of the money he had received from [MGT] to a writer he instructed
             to publish a tout on [MGT]. On February 3, 2016, the writer published his piece
             online. In it, he described [MGT’s] rosy prospects in social and “real money”
             gaming sites and intellectual property relating to slot machines. The article did not
             disclose that the author had been paid by [MGT] - at Honig’s direction - to write
             the article. After the article was published on February 3, 2016, there was a 7000%
             increase from [MGT’s] previous day’s trading volume, and an intraday price
             increase of over 60%.

  Id. ¶ 139.

             114.   Following this, “Honig, Ladd, Stetson and O’Rourke took advantage of the

  promotion’s boost to [MGT’s] stock price and trading volume and sold over 430,000 shares into

  this inflated market for proceeds of approximately $198,800.” Id. ¶ 140.

             115.   The Honig group’s third scheme at MGT occurred in 2016 and involved O’Rourke,

  “[a]t Honig’s direction,” “t[aking] the lead on arranging a deal between [MGT] and [a]

  Cybersecurity Innovator.” Id. ¶ 142.


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             116.   As part of this, “[o]n May 9, 2016, at 8:30 a.m., [MGT] issued a press release

  announcing its merger with CI Company.” Id. ¶ 144. In connection with this, “[t]he press release

  misleadingly described the Cybersecurity Innovator’s prior financial success by falsely claiming

  that the Cybersecurity Innovator had ‘sold his antivirus company to Intel for $7.6 billion,’

  suggesting that [MGT] might achieve similar success. Yet . . . the sale of the Cybersecurity

  Innovator’s namesake company to Intel at that price had occurred over a decade after the

  Cybersecurity Innovator’s departure from that company.” Id.

             117.   Honig then began trading in MGT stock “later that morning . . . to create the

  misleading appearance of an active market.” Id. ¶ 145. A Honig affiliate at MGT “paid

  StockBeast.com for [an] article to ensure a wide distribution of the news of the impending merger

  with the CI Company.” Id. ¶ 146. This had the intended effect, with MGT’s share price increasing

  and its market capitalization increasing “from just over $8 million on May 6, 2016 to over $95

  million on May 17, 2016.” Id. ¶ 147. Honig, O’Rourke, Stetson, and Brauser, along with an

  affiliate, “pursuant to their tacit or explicit agreement to acquire, hold, vote, and/or disperse of

  their shares in concert, sold over 9.2 million [MGT] shares” and “grossed $9.4 millions from the

  May 2016 sales into the inflated market.” Id. ¶ 148.

             118.   In private emails, Honig freely accepted credit for his role in MGT’s strategic

  transactions. On May 12, 2016, for example, Honig received an email from an investment firm

  congratulating him on a recent transaction involving MGT and cybersecurity businessman John

  McAfee: “You’re involved [sic] with [MGT]? Impressive!” Honig responded that he was the

  “[l]argest shareholder, funder and [had the] relationship with [Mr. McAfee].” 2d Am. Cmpl. ¶ 157.

  In early August 2016, Honig celebrated his undisclosed role at MGT in a chat conversation with

  Stetson: “its great in [MGT] because we are behind the scenes.” Id. (emphasis added).



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             119.   On February 24, 2020, the court in the Honig Action, reviewed the SEC’s

  allegations regarding the Honig Group’s activities with respect to MGT, and held that the SEC had

  “amply” alleged “the agreement that is necessary for a group to come into existence, as defined in

  the SEC rules.”15 Specifically, the court found:

             The Amended Complaint describes a deal that came together through negotiations
             between Stetson and [MGT CEO] Ladd that resulted in at least four investors each
             owning 4.9% of the company. Stetson pursued that deal at Honig’s direction. The
             deal eventually included each member of the Honig Group, including Honig and
             Stetson, resulting in the Honig Group owning more than 16% of the company in
             January 2016. These facts alone make it plausible that at least Honig and Stetson
             comprised a group that triggered the need to file a Schedule 13G or 13D as a group.

             This finding is buttressed by the bevy of circumstantial evidence surrounding the
             Honig Group’s manipulation of MTG and its stock, including Honig and
             O’Rourke’s collaboration in orchestrating the McAfee deal in March 2016, the
             alleged coordination between Honig and Brauser to match trades and create the
             appearance of an active market in the early morning of the day the deal was
             announced, and the simultaneous negotiation between [MGT CEO] Ladd and each
             member of the Honig Group to allow the group to exercise their warrants
             immediately after the successful stock bump from the McAfee announcement.
             Placed in context with all of the pre-2015 conduct alleged as background, it is more
             than plausible that the four men [i.e., Honig, O’Rourke, Stetson, and Brauser] had
             agreed to work in concert on their schemes. Ladd does not dispute whether the
             conduct alleged against the members of the Honig Group would otherwise be a
             violation of the securities laws, and so, accordingly, the SEC has properly alleged
             the first element of aiding and abetting liability against him.16

                    3.      MabVax Therapeutics Holdings, Inc. (a/k/a “Company C”)

             120.   With respect to MabVax, the SEC alleged that “[i]n early 2014, Honig identified a

  publicly traded shell company that was unencumbered by debt, and sought an appropriate private

  company for purposes of a reverse merger and pump and dump scheme.” Am. Cmpl. ¶ 159. Honig

  was able to do so because that company’s CEO “was looking for funding for its research and

  development efforts in cancer therapies and diagnostic products.” Id. ¶ 160.


  15
       SEC v. Honig, No. 1:18-cv-08175-ER (S.D.N.Y.) (Opinion & Order) (ECF No. 211, at 23).
  16
       Id.

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             121.   Once Honig had taken control of MabVax through two entities (without disclosing

  his identity to MabVax), “[i]n approximately April 2014” Honig “first called up [MabVax’s] CEO,

  [and] announced in words or substance: ‘I’m the owner of your company. You better do what I

  tell you to do.’” Id. ¶ 162.

             122.   In March and April 2015, Honig orchestrated two private placement financings for

  MabVax that would tighten Honig’s, O’Rourke’s, Stetson’s, and Brauser’s and control of the

  company: two Series D and Series E offerings. Honig described the deal to Stetson, Brauser, and

  their co-investor in a March 5, 2015 email, characterizing it as a “real good opportunity” that would

  allow them to “make $35 million conservatively in 4 months and our money out [in] 4 weeks. . . .

  I will trade out of it for us.” 2d Am. Cmpl. ¶ 194 (emphasis added). As MabVax’s CFO

  understood, Honig structured both financings to avoid disclosing his, O’Rourke’s, Stetson’s, and

  Brauser’s holdings on Schedule 13D or 13G. Id. ¶ 196.

             123.   Honig’s control of this financing group was clear to MabVax’s management;

  indeed, when deciding whether a potential investor could take part in the March 2015 Series D

  financing round, MabVax’s CEO explicitly deferred to Honig on who could participate in the deal,

  writing in an email to Honig on March 19, 2015, “[h]e might be another party you might want to

  allow to invest along with the current group. Viewed this as your choice not mine. That is why I

  asked him to call you.” Id. ¶ 197.

             124.   Honig’s control of the financing group was clear to MabVax’s management;

  indeed, when deciding whether a potential investor could take part in the March 2015 Series D

  financing round, MabVax’s CEO explicitly deferred to Honig, writing in an email to Honig on

  March 19, 2015, “[h]e might be another party you might want to allow to invest along with the

  current group. Viewed this as your choice not mine. That is why I asked him to call you.”



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             125.   That Honig selected the investors who would be allowed to participate in MabVax’s

  financings was demonstrated by an email to Stetson and Brauser on March 13, 2015, in which

  Honig laid out a more detailed list of investors as well as the proposed investment amount and the

  method of investment for both the Series D and Series E financings: “Southern biotech [a Neveada

  corporation that Stetson incorporated at Honig’s direction and for which Honig was the sole officer

  and president, but which was co-owned by Honig, Brauser, and “Investor 1,” id. ¶ 48] will invest

  3 million to purchase [Entity H’s] notes – 1 million each,” and “[Investor 1] is going to lead pipe

  [private investment in public equity] for 1 million at .75 cents.” Id. ¶ 205.

             126.   Similarly, Honig himself demonstrated his control over the selection of investors

  when on April 1, 2025, Honig asked Brauser to “do [him] a favor” and forego his participation in

  the Series E financing because, as Honig explained, “I would like to let some of our friends do it

  . . . [I]t would be best if we let [Investor 1 and Investor 1 Company and an Investor 1 Company

  executive (“Investor 1 Co. Officer”)] take their full allocation.” Id. ¶ 203.

             127.   As part of the scheme at MabVax, the SEC alleges that “[o]n April 3, 2015,

  O’Rourke, acting at Honig’s direction, circulated a press release (with input from [MabVax’s]

  CEO, Honig and Brauser) announcing the $12 million private placement in which Investor 1 and

  his entities had participated, drawing on Investor 1’s reputation among retail investors as a

  successful biopharma investor.” Id. ¶ 185. “Honig, with the knowledge of Brauser and Stetson,

  then directed O’Rourke to write a promotional article, which O’Rourke published under the

  pseudonym ‘Wall Street Advisors’ on the Seeking Alpha website on April 8, 2015 at 11:13 a.m.

  The article, titled ‘Opko Spots Another Overlooked Opportunity in MabVax Therapeutics,’

  highlighted Investor 1 Company’s and Opko’s investment in MabVax, and was designed to inspire

  Investor 1’s retail investor devotees to follow his lead and buy MabVax stock. Despite his



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  involvement in facilitating the MabVax financing and his extensive business relationships with

  Honig, Brauser, Investor 1, and Stetson, in his article, O’Rourke knowingly and falsely claimed

  that ‘[t]he author has no business relationship with [MabVax].’ He also knowingly and falsely

  claimed that he was ‘not receiving compensation for [writing the article].’” Id. ¶ 186.

             128.   Accordingly, “[a]nticipating the release of O’Rourke’s Seeking Alpha article, ATG

  and O’Rourke engaged in early trading of [MabVax] shares on April 8, 2015 with the intention of

  creating a false appearance of market interest in the stock. That trading included at least one

  matched trade, with a Honig associate submitting the buy order and ATG submitting the sell order

  for the same price at 9:38 a.m. The share price of [MabVax] opened that day at $3.14 and reached

  $3.73 in the minutes before the promotional article was released.” Id. ¶ 187.

             129.   The SEC alleged that “[t]he promotional campaign was successful.” Id. ¶ 188. In

  particular:

             The trading volume of [MabVax] shares rose almost 7500% from 8,833 shares on
             April 2, 2015 to 667,454 shares on April 6, 2015, following the announcement of
             the Series E private placement involving Investor 1. The trading volume further
             increased to 858,709 on April 9, 2015, the day after O’Rourke’s article was
             published. [MabVax’s] share price went from a closing price of $1.91 on April 1,
             2015 to a closing price of $4.30 on April 9, 2015, increasing the company’s market
             capitalization by $23 million. Honig and his affiliates, listed below, acting pursuant
             to their agreement to acquire, hold, vote and/or dispose of their [MabVax] shares
             in concert, sold shares into the market from April 6 to June 30, 2015 for total
             proceeds of over $5.5 million.

  Id.

             130.   Then, “[i]n June 2015, when the market for [MabVax] shares had cooled from over

  $4 per share to closing prices hovering just above $2 per share, O’Rourke recruited Ford to publish

  another [MabVax] tout on Ford’s blog.” Id. ¶ 189. Ford obliged, and on July 1, 2015, “published

  an article titled ‘MabVax: Near-Term Catalysts Could Push Shares from $2 to over $5.’ The article

  contained materially false statements (as Honig, Brauser, Stetson and O’Rourke knew, or were


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  reckless in not knowing) including that a licensing deal was imminent, when it was not, and that

  there were near-term therapy development events that could take the share price to $5, when in

  fact clinical trials were only in early stages. As before, although Honig compensated Ford for

  writing the blog post, Ford did not disclose that he had been paid.” Id.

             131.   Once again, the SEC alleged that Honig’s scheme was successful:

             Ford’s article had the desired impact on the market: [MabVax] trading volume
             increased from 227,182 shares on June 30, 2015 to 798,213 shares on July 2, 2015.
             Likewise, [MabVax’s] share price went from a closing price of $2.32 on June 30,
             2015 to $2.71 on July 2, 2015. Pursuant to their agreement to acquire, hold, vote
             and/or dispose of their shares in concert, Honig and his affiliates sold shares into
             the market from July 1 to December 31, 2015 for proceeds of over $2.7 million.

  Id. ¶ 190.

             B.     The Honig Group Co-Invested in Other Public Microcap Companies

                    1.       The PolarityTE (f/k/a Majesco Entertainment)

             132.   PolarityTE is a biotechnology company based in Salt Lake City, Utah. PolarityTE

  was previously a company known as Majesco Entertainment, a company that designed video

  games for more than 25 years. In October 2015, Majesco Entertainment merged with another

  company called PolarityTE. At that point, Defendant Stetson, as Polarity’s CFO, appointed Honig

  and Brauser as Co-Chairmen of the Board of Directors and named Kaplan and Karr as Directors.

             133.        In August 2016, Honig, O’Rourke, GRQ 401K, Brauser, Grander, Melechdavid,

  Groussman, Paradox (Kesner), ATG, Stetson, and Stetson Capital were “Selling Stockholders” in

  an S-3 Registration Statement registering shares in PolarityTE for sale to the public.

             134.   As of September 2016, Beeghley and Honig had served together for one year as

  Director and Chairman/CEO, respectively, of PolarityTE. Specifically, Beeghley was a Director

  of Majesco from December 18, 2015 until October 18, 2017, and Honig was Chairman and CEO




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  of Majesco from September 30, 2015 until December 1, 2016. Thus, Beeghley joined PolarityTE’s

  board when Honig was already Chairman and CEO of that board.

             135.   On March 18, 2019, PolarityTE received a subpoena from the SEC, and its “shares

  tumble[d] after it says SEC is looking into possible manipulation,” according to a CNBC article.

  The subpoena “asked about the company’s lead product as well as communications and

  agreements between Polarity and its former CFO.

             136.   In the wake of the SEC’s charges against Stetson, PolarityTE immediately

  terminated Stetson, according to a press release by PolarityTE, stating that “the Company,

  management, and Board of Directors do not tolerate the behavior outlined in the complaint.”17

                    2.     YesDTC Holdings, Inc.

             137.   The allegations against Defendant Honig in the Honig Action, as well as the

  allegations in this case, are not one-off events. For example, in 2014, Joseph Noel (“Noel”)

  pleaded guilty to securities fraud in connection with a company named YesDTC Holdings, Inc.

  (“YesDTC”). As part of Noel’s plea agreement, Noel stated that Defendant Honig, who arranged

  a reverse merger of the company:

             wanted to use promotions to drive up the price of YesDTC shares and then sell his
             shares. Honig introduced me to David Zazoff who Honig said would promote
             YesDTC stock. Honig said Zazoff was a “magic maker,” who could make the price
             of YesDTC stock rise through his services. Honig made it clear that I should not
             ask questions about how Zazoff achieved his success.

                                                 * * *




  17
    See PolarityTE, Inc. Issues Statement Regarding Mr. John Stetson and his Termination from the
  Company, https://www.prnewswire.com/news-releases/polarityte-inc-issues-statement-regarding
  -mr-john-stetson-and-his-termination-from-the-company-300709106.html

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             At Honig’s direction I caused Sonoma Winston to send $45,000 of the proceeds
             to Zazoff as partial compensation for his promotion of YesDTC stock.

             In January 2011, Zazoff conducted a second promotion of YesDTC stock. At
             Honig’s direction, I caused YesDTC to compensate Zazoff as partial
             compensation for his promotion of YesDTC stock.

                                                 * * *

             In July 2011, Zazoff conducted a third promotion of YesDTC stock. . . . Honig
             instructed me to cause YesDTC to send compensation to Zazoff for the July
             2011 promotion of its stock, but I refused.18

             138.   In December 2011, Defendant Honig filed a federal lawsuit again Noel to recover

  “$150,000” that “Plaintiff Honig lent Defendant Noel” on or about August 24, 2011.19

                    3.     Marathon Patent Group, Inc.

             139.   This case is also not the only time that Defendants and their allies – including

  Honig, O’Rourke, Groussman, Stetson, Brauser, and others – have jointly engaged in pump-and-

  dump style scheme to transform a public company into a cryptocurrency company. Defendants

  engaged in a strikingly similar “blockchain” scheme as Riot with another NASDAQ-listed

  company called Marathon Patent Group, Inc. Honig and his associates were among Marathon’s

  biggest investors, but their familiar schemes did not benefit Marathon or its public shareholders.

             140.   Originally named “Verve Ventures, Inc.,” the company changed its name in

  December 2011 to “American Strategic Minerals Corporation.” During this time period, Honig,

  then a Director of Pershing Gold, invested in the company. In January 2012, the company entered

  into an agreement to “to acquire certain uranium exploration rights and properties held by

  Pershing.” By 2013, the company had changed its name to “Marathon Patent” and stated that it



  18
    United States v. Noel, No. CR 14-264 VC, ECF No. 11, at 3-5 (N.D. Cal. Nov. 19, 2014)
  (emphases added).
  19
       See Honig v. Noel, No. 3:11-cv-06706-JSW, ECF No. 1 (N.D. Cal.).

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  was “an intellectual property (‘IP’) company that serves patent owners ranging from individual

  inventors to Fortune 500 corporations.” Groussman and Stetson were Marathon’s former CEO

  and COO, respectively, until resigning in 2012.

             141.   On November 2, 2017 (the exact same day that Riot announced its purchase of

  1,200 bitcoin mining machines from Kairos), Marathon announced that it had agreed to acquire

  Global Bit Ventures Inc. (“GBI”), a company incorporated in Nevada in August 2017. A Uniform

  Commercial Code (UCC) filing shows that Defendant Stetson, through his entity Contrarian

  Investments LLC, had a security interest GBI. GBI’s CEO, Jesse Sutton (the former CEO of

  Majesco Entertainment, which later morphed into PolarityTE) was later nominated by Honig to

  the Board of Directors of Riot.

             142.   On November 27, 2017, Marathon’s auditor resigned. A November 29, 2017

  prospectus offering stock to the public showed that O’Rourke, through an entity he solely

  controlled, Revere Investments LP, held 41% of Marathon’s common stock.

             143.   In February 2018, Marathon announced that it had purchased “1,400 of Bitmain’s

  Antminer S9 miners” that were “purchased by [GBV].”

             144.   In February 2018, Marathon announced that it “Expands Cryptocurrency Mining

  Operations by Opening of Second Facility in Canada” where it “anticipates putting its recently

  purchased 1,400 Bitmain’s Antminer S9 miners (“Antminer S9s”) into production.”

             145.   On April 3, 2018, a merger agreement between Marathon and Global Bit

  Acquisition Corp. stated that a limited liability company managed by O’Rourke and registered at

  his home address, Azzura Holdings LLC, as holding 147,645 shares of “Series C Preferred” stock

  and 14,764,421 shares of “Common Underlying Series C Preferred” stock in Global Bit Ventures,

  Inc. The same agreement listed Northurst holding 147,645 shares of “Series C Preferred” stock



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  and 14,764,421 shares of “Common Underlying Series C Preferred” stock – the exact same amount

  as O’Rourke’s entity. The same agreement stated that Brauser, through Grander, stood to receive

  131,241 shares of Marathon common stock. “Mike Ho” stood to receive 131,241 shares of Global

  Bit Ventures, Inc. – the exact same amount as Brauser. Molinksy stood to receive 78,745 shares.

  O’Braitis stood to receive 65,621 shares. Erick Richardson (a 3.61% shareholder of Riot on

  September 25, 2018) stood to receive 65,621 shares – the exact same amount as O’Braitis.

             146.   In March 2018, Marathon announced that its “Facility in Quebec Has Commenced

  Bitcoin Mining Operations.”

             147.   In June 2018, Marathon walked away from its acquisition of GBI.

             148.   In July 2018, Marathon announced that it had “[r]eceive[d] Deficiency Letter from

  NASDAQ Related to Two Director Resignations . . . .” Marathon’s stock currently trades at less

  than $3.00 per share.

             149.   According to an article in Seeking Alpha by Hindenburg Investment Research,

  “Marathon has multiple concerning parallels to Riot Blockchain, which recently engineered a

  similarly dubious pivot to the ‘blockchain.’” The article noted that Marathon’s “blockchain focus

  has come about through a series of rapid shifts that are eerily similar to the questionable moves”

  undertaken by Riot. The article noted that “[b]oth Riot and Marathon seemingly paid above-

  market rates to acquire entities containing cryptomining equipment that could have been purchased

  directly.”

                    4.     WPCS International Incorporated and BXT Trader

             150.   Before Marathon, Honig, O’Rourke, and other associates also jointly engaged in

  pump-and-dump style scheme to transform another public company, WPCS International

  Incorporation, into a cryptocurrency operation. Before that, WPCS was a global engineering,

  communications, and infrastructure “with over 500 employees in 10 operations centers on three

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  continents.” In 2012, Defendant Honig, through GRQ 401K, invested in WPCS. On December

  17, 2013, WPCS purchased BTX Trader, a cryptocurrency company, from Defendant O’Rourke.

  In January 2018, WPCS’s changed its name to “DropCar, Inc.” and is now a cloud-services-for-

  cars company whose stock trades on NASDAQ under the ticker “DCAR” for approximately $2.01

  per share.

             151.   In its February 16, 2016 article, CNBC described Honig’s and O’Rourke’s

  involvement with WPCS and confirmed that both Honig and O’Rourke “acknowledge[d] the

  investment”:

             Riot is not O’Rourke and Honig’s first cryptocurrency investment.

             In 2013, they were owners in BTX Trader, a cryptocurrency company, which was
             acquired by WPCS, a publicly traded company in which Honig had invested,
             according to court records.

             WPCS bought BTX on Dec. 17, 2013, just 13 days after it was incorporated in
             Delaware, according to SEC filings.

             At the time, WPCS was a communications, infrastructure and contracting company.
             The stock went up to $435.60 on a split-adjusted basis. It’s now trading around $2
             after selling off BTX Trader in 2015, according to SEC filings.

             Just last month, the company changed its name to DropCar after a merger and is
             now a cloud-services-for-cars company.

             O’Rourke, through his lawyer, told CNBC in an email that he made several
             investments with Honig as co-investor. “BTX Trader was one of our first
             investments together in the blockchain sector in 2013,” he said. “I have a good
             relationship with Mr. Honig, and he has been a supportive shareholder of Riot.”

             Honig acknowledges the investment.

             152.   Honig’s lawyer, Kesner, was a Director of WPCS in 2013 and 2014.

                    5.     Pershing Gold Corp.

             153.   Pershing Gold is an emerging gold producer whose primary asset is the Relief

  Canyon Mine in Pershing County, Nevada. The company is listed on the NASDAQ Global Market

  and the Toronto Stock Exchange under the symbol PGLC. Defendant Honig was Chairman of

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  Pershing Gold until February 9, 2012, when he resigned but remained a Director. As of September

  19, 2018, Defendant Honig owned approximately 38% of the common stock of Pershing Gold,

  according to a Schedule 13S. Karr, an investor in Riot discussed below, was also a Director of

  Pershing Gold and owned 33% of its common stock as of August 31, 2018.

             154.   As of August 31, 2018, Defendants O’Rourke, Stetson, and Groussman – along

  with Jonathan Honig, Molinsky, and Riot shareholder Erick Richardson – were all shareholders of

  Pershing Gold seeking to sell their shares in an offering pursuant to a Prospectus.

             155.   On December 13, 2017, Hindenburg Research published an article stating that “the

  company’s key asset, Relief Canyon Mine, was purchased from a hedge fund whose executives,

  including Mark Nordlicht, were federal indicted for operating ‘like a Ponzi Scheme,’ according to

  prosecutors.”

             156.   On September 7, 2018, Seeking Alpha reported that “[t]hinly traded nano cap

  Pershing Gold (PGLC -14.7%) slumps on almost an 8x surge in volume in reaction to the SEC’s

  stock promotion charges against majority investors Phillip Frost and Barry Honig.”

             157.   According to a September 10, 2018 press release by Pershing Gold, released in

  response to the SEC’s announcement “that it has commenced a legal action against Honig and

  various other parties who are alleged to have violated federal securities laws,” Defendant Honig

  was a Director of Pershing Gold until he “resigned from the Company’s Board of Directors in

  August 2018.”

                    6.     MUNDOmedia Ltd.

             158.   MUNDOmedia is a marketing company based in Toronto, Ontario, Canada

  founded by its CEO, Jason Theofilos. On September 2, 2016, MUNDOmedia announced that a

  Theofilos had “led a buyout of 100% of the outstanding equity of [MUNDOmedia]” and that

  “Barry Honig is among the notable private equity investors that participated.” On July 28, 2017,

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  Private Capital Journal reported that MUNDOmedia had “withdrawn its proposed initial public

  offering” that “would have consisted of $30 million treasury offering” involving “selling

  shareholders” that included “Mansfield International Trade Ltd. (David Baazov/Ahaka Capital),

  Four Kids Investment Fund LLC, Stetson Capital Management LLC, ATG Capital LLC,

  Melechdavid Inc., Barry Honig, John O’Rourke and Jonathan Honig.”

             159.   The Honig Group’s co-investments in the companies discussed above are depicted

  in the following chart:

                                The Honig Group’s Prior Target Companies20
                        Biozone MGT MabVax PolarityTE Pershing Mundo Marathon
                                                      Gold
   Honig                   X     X    X        X         X      X       X
   O’Rourke                 X         X        X            X             X          X           X
   Groussman                X         X        X            X             X          X           X
   Stetson                  X         X        X            X             X          X           X
   DeFrancesco                                              X
   Beeghley                                                 X

             160.   The Honig Group’s interconnections through these prior target companies are

  depicted in the diagram attached hereto as Exhibit M.

  VI.        THE SELLING STOCKHOLDERS’ CONNECTIONS TO THE HONIG GROUP

             161.   During the Class Period, Riot filed a series of Securities Registration Statements on

  Forms S-3 and S-3/A that registered shares of Riot common stock for sale by certain “Selling

  Stockholders” to the investing public.         These Selling Stockholders included the following

  individuals and entities: Afios, ATG, Brauser, Karr, Kesner, Grander, GRQ 401K, Alan Honig,




  20
       The absence of a checked box is not intended to indicate the lack of a relationship.

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  Jonathan Honig, JAD, James, Marcandy, Melechdavid, MGT, Molinsky, Namaste, Northurst,

  Paradox, O’Braitis, Stetson Capital, Theofilos, and Titan, and other affiliated shareholders.

             162.   As illustrated in the chart below, each of these Selling Stockholders that registered

  shares of Riot stock for sale to the public invested in one or more of public companies affiliated

  with Honig, including: Biozone, MGT, MabVax, Marathon WPCS, PolarityTE, Pershing Gold,

  and/or MUNDOmedia Ltd.

                             The Selling Stockholders’ Prior Target Companies21

                            Biozone    MGT        MabVax PolarityTE Pershing Mundo Marathon
                                                                    Gold
  Aifos                                             X        X         X
  ATG                                     X         X        X         X
  Brauser                                           X        X         X              X
  Grander                       X         X         X        X         X              X
  GRQ 401K                      X         X         X        X         X              X
  Honig, Alan                                       X                  X              X
  Honig, Jonathan                                   X                  X      X
  JAD Capital Inc.                                                            X
  James                                                                X
  Karr                                              X        X         X              X
  Kesner                        X         X         X        X         X              X
  Marcandy
  Melechdavid                             X           X           X           X          X          X
  Molinsky                                                        X           X                     X
  Namaste                                                         X
  Northurst                                                                                         X
  O’Braitis                                                       X                                 X
  Paradox                                             X           X           X                     X
  Richardson                                                                  X                     X
  Stetson Capital                         X                       X           X          X          X
  Stockwire                                                                   X

             163.   The Honig Group’s interconnections through these prior target companies are

  depicted in the diagram attached hereto as Exhibit M.

  VII.       FACTUAL BACKGROUND ON THE FRAUDULENT SCHEME




  21
       The absence of a checked box is not intended to indicate the lack of a relationship.

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             A.     In 2016, Defendants Target Venaxis, Riot’s Predecessor, Using Their Typical
                    Pump-and-Dump Playbook

             164.   As noted above, Riot was once called “Venaxis.” Venaxis was a medical products

  company whose executives, Board, and employees sought to develop a blood test for determining

  which patients suffering from abdominal pain were less likely to be suffering from acute

  appendicitis than from other ailments.

             165.   In early 2015, the FDA denied approval for Venaxis’s developmental blood test,

  and Venaxis, without a marketable product, found itself facing delisting from the NASDAQ

  because its share price had fallen below the exchange’s minimum.

             166.   Venaxis still had plenty of cash, however, having raised $20 million in a stock

  offering the previous year. Therefore, in March 2016, Venaxis executed a 1-for-8 reverse stock

  split. That reduced its outstanding shares to less than 4 million and lifted its stock price well above

  $1 a share — enough for Venaxis to keep its listing on the NASDAQ. Shortly thereafter, Honig

  and his associates began buying Venaxis stock.

             167.   On September 12, 2016, Venaxis acquired BiOptix Diagnostics, Inc., and changed

  its name to “Bioptix.”

             168.   Displeased with this acquisition, on September 13, 2016, Defendants Honig and

  DeFrancesco both wrote letters to then-CEO Lundy, touting their combined 16.2% stake in the

  company. Honig also spoke several times on the telephone with members of Venaxis’s then-

  existing Board of Directors. During these telephone conversations, Honig implied that he had

  control of 40% of the Venaxis’s shares through his stock ownership and the stock ownership of

  Mr. Honig’s friends and relatives, according to a former Venaxis Board member present during

  the conversations.




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             169.   That same day, Honig attempted to nominate his own slate of new directors of

  Bioptix, including Defendants O’Rourke, Beeghley, and Stetson, and several other of Honig’s

  associates.

             170.   In his September 13, 2016 letter to then-CEO Lundy, Honig wrote that Venaxis was

  “wast[ing] precious resources with no clear direction or strategy . . . while board fees and

  management salaries continue to be paid”:

             Dear Mr. Lundy,

             As Venaxis’ largest shareholder, it has become increasingly clear to me that
             changes must be made to protect shareholders’ interests and attempt to create
             value from the company’s assets. Venaxis’ management and board of directors
             have failed in this regard. The current management and board own a nominal
             amount of equity in aggregate, and as a result they are not aligned with the
             company’s shareholders.

             The first change that needs to be made is to immediately reconstitute Venaxis’
             board . . . .

             Venaxis’ board has continued allowing the company to waste precious
             resources with no clear direction or strategy . . . .

             Meanwhile, Venaxis’ cash continues to dwindle while board fees and
             management salaries continue to be paid . . . .

             Shareholders cannot continue to wait around with question marks and a board that
             has proven to be distracted and ineffective.

             In the essence of preserving some of Venaxis’ cash for its rightful owners, the
             shareholders, we are also asking the shareholders to authorize a special dividend of
             $7,500,000 as a return of capital to the shareholders . . . .

             The cash dividend returns immediate value to shareholders and diverts a portion of
             Venaxis’ assets away from board discretion, who only have managed to deplete the
             cash available for shareholders through failed strategies, while entrenching their
             positions with the Company instead of maximizing shareholder value.

             My preference is working together with you on these courses of action to effectuate
             the proposals immediately with your support rather than going through the steps of
             voting to remove your board that we have today initiated through a special meeting.
             I believe working together we can most effectively protect and grow
             shareholders’ interests. I hope that you agree.


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             Sincerely yours,

             /s/ Barry Honig

             171.   The following day, on September 14, 2016, DeFrancesco sent a similar letter to

  Venaxis’ CEO in support of Honig and his demand for a special meeting of the shareholders.

  Ex. N. DeFrancesco followed up this demand with another letter, dated September 20, 2016 in

  which she “repeated [her] demand . . . for a special meeting of the shareholders” and “join[ed] in

  Mr. Honig’s prior nomination.” Ex. O. DeFrancesco further stated:

             The purposes of the meeting should be, as set forth in Mr. Honig’s meeting demand:
             (1) to vote on the removal of five (5) directors, aside from you, currently serving
             on the Board of Directors, (2) to vote on a $7,500,000 shareholder dividend, and
             (3) to set the size of the board at no more than six (6) directors and for the election
             of five (5) new directors as follows: John Stetson, John O’Rourke, Jesse Sutton,22
             Michael Beeghley, and David Danziger. I join in Mr. Honig’s prior nomination of
             these individuals to serve as members of the board of directors, a copy of which is
             attached as Exhibit C hereto and incorporated by reference.

             172.   DeFrancesco concluded by stating: “Should you have any questions regarding the

  foregoing, please do not hesitate to contact our counsel Harvey Kesner, Esq. . . . .” Thus,

  DeFrancesco’s letters made clear that she was working with Honig – and indeed, sharing the same

  counsel – in connection with her share ownership in Venaxis/Bioptix.

             173.   Following these letters, in late 2016, Honig and DeFrancesco waged a proxy fight

  for control of Bioptix, demanding the removal of five of Bioptix’s six directors and the payment

  of a $7.5 million special dividend.

             174.   As part of his proposal to “protect and grow shareholders’ interests,” Honig offered

  an alternative. In early discussions with Venaxis’s Board of Directors, Honig raised the possibility




  22
       Jesse Sutton is the former CEO of Majesco.

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  of turning Venaxis into a marijuana-related company, according to an individual present at the

  time.

             175.   Honig then filed a lawsuit in state court in Colorado, seeking to force a special

  meeting of shareholders that would include a vote on the proposed changes. Bioptix sought to

  placate Defendant Honig by appointing one of his allies – Defendant Beeghley – to its board of

  directors. When Venaxis’s then-existing Board of Directors were considering Beeghley as a

  nominee for election to the Board, Beeghley told them that he did not know Honig – according to

  an individual present at the time – despite the fact that Beeghley and Honig had recently served

  together on the board of directors of another public company, PolarityTE.

             176.   Honig and DeFrancesco continued acquiring shares and held nearly 23% of

  Bioptix’s stock as of January 2017 based on a 13D’s they filed with the SEC that same month.

  That same month, on January 6, 2017 O’Rourke and Mike Dai joined Bioptix’s board of directors.

  Shortly thereafter, three of Bioptix’s board members resigned, on the basis that Honig was likely

  to prevail in his legal fight and that mounting a defense would waste corporate recourses. Two

  months later, in March 2017, a longtime Bioptix director stepped down, and Honig and

  DeFrancesco found themselves aligned with with a majority of the seats on the board and defacto

  control of the company. Using that control, in April 2017 Lundy was forced out as CEO and

  Beeghley was named the Company’s CEO.




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             B.     A Few Months After Beeghley Assumed the Role as CEO, The Company
                    Announced A Special Dividend and Business Transformation to “Riot
                    Blockchain” – At the Same Time, Honig Secretly Acquires and Sells Hundreds
                    of Thousands of Shares of Riot

             177.   Five months after Beeghley took over as CEO of Bioptix, the Company announced

  that it was changing its focus away from bioscience and into the burgeoning cryptocurreny

  business. As part of this conversion, in a press release on October 4, 2017, Bioptix announced that

  the Company’s name would change to “Riot Blockchain.” The press release stated, in relevant

  part,

             CASTLE ROCK, Colo., Oct. 4, 2017 /PRNewswire/ -- Bioptix Inc. (Nasdaq:
             BIOP) today announced it is changing its name to Riot Blockchain, Inc., and has
             reserved and plans to change its Nasdaq ticker symbol to RIOT, in line with a shift
             in direction of the company. The name and symbol change are subject to Nasdaq
             approval. Moving forward, Riot Blockchain’s focus will be as a strategic investor
             and operator in the blockchain ecosystem with a particular focus on the Bitcoin and
             Ethereum blockchains.

             As part of this focus, the company announces it has made a strategic investment in
             Coinsquare Ltd., one of Canada’s leading exchanges for trading digital currencies.
             This investment into a blockchain-focused company is indicative of similar
             opportunities Riot Blockchain plans to pursue, including possible acquisitions of
             businesses serving the blockchain ecosystem.

             “At Riot Blockchain, our team has the insight and network to effectively grow and
             develop blockchain assets,” said Michael Beeghley, Chief Executive Officer of
             Riot Blockchain. “With new applications being developed for blockchain every
             day, this is a rapidly growing and evolving market. We are excited to have partnered
             with and led an investment in Coinsquare, a company we believe is well positioned
             to capitalize on the opportunity in this sector.”

             178.   The day before, on October 3, 2017, presumably in an effort to draw in new public

  investors into the stock, Riot announced a special dividend valued in the aggregate at $9.5 million,

  to be paid to all holders of Riot as of October 13, 2017. In a press release announcing the special

  dividend, Defendant Beeghley stated, “This special dividend is a positive step to return value to

  all Bioptix shareholders. We continue to explore options for delivering additional value to

  shareholders with our streamlined overhead and cash position.” Following this announcement, the

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  Company’s stock price increased by more than 25% in one trading day from an closing price of

  $6.44 per share on October 2, 2017, to a closing price of $8.09 per share on October 3, 2017.

             179.   Significantly, and unbeknownst to Riot’s public shareholders, over the next 11 days

  leading up to the October 13 record date for the special dividend, Honig began selling hundreds of

  thousands of shares of the Company – and his first sales in more than two months. For example,

  on October 4, 2017, Honig sold 47,420 shares at an average of $8.92 per share, collecting

  approximately $424,000. Over the next two days, October 5 and 6, Honig sold 21,400 for proceeds

  of approximately $162,000. Three days later, on October 9 and 10, Honig sold 202,544 shares

  for approximately $1.78 million. Finally, on October 11 and 12, Honig would sell over 300,000

  shares for proceeds of more than $3.3 million. All told, and as set forth in a Schedule 13-D/A filed

  more than five months later (see ¶ 316, infra), Honig sold more than 600,000 shares during the

  ten-day period following the announcement of the special dividend and the Company’s transition

  to cryptocurrency, collecting proceeds of nearly $5.7 million.

             C.     Prior to the Company’s Transition to Riot, Defendants O’Rourke and
                    Beeghley Caused the Company to Conceal Honig’s Group Status by Issuing
                    False and Misleading Registration Statements

             180.   In the lead up to Riot’s transformation from bioscience to cryptocurrency, from

  April 2017 to Sepetmeber 2017, set forth below, Defendants O’Rourke and Beeghley caused the

  Company to issue registration statements with the SEC that concealed that the Honig Group was

  in fact acting as a “group” of shareholders with respect to their shares of Riot.

             D.     Honig Groups Members Honig, DeFrancesco, Groussman and Stetson Fail to
                    File Schedules 13D

             181.   In order for the Honig Group to pull off their pump-and-dump scheme, and to

  deceive unsuspecting investors into purchasing Riot stock, the Honig Group required de facto

  control of Riot. They were able to accomplish this in two ways. First, they needed to amass a


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  significant number shares of the Company, giving them voting power to decide who would serve

  on Riot’s board of directors. Once in control of the board, the Honig Group then needed insiders

  to take steps to help (i) drive new public interest in the stock (thereby increasing liquidity); and

  (ii) increase the share price. This is precise modus operandi described by SEC at “Companies A,

  B and C” as set forth above (see § V.A., infra) and this is what precisely what occurred at Riot, as

  explainer herein.

             182.   Equally important as control, however, was that the Honig Group’s need to operate

  in secret so that existing public shareholders were not privy to their stock sales or close ties to

  insiders. In order to achieve this, during the Class Period and as set forth more fully herein (see

  § X.A., infra), Defendants Honig, Groussman, Stetson, and DeFrancesco (acting individually

  and/or through the investment entities they controlled) knowingly or recklessly made materially

  false and misleading filings under Section 13(d) – including on Schedules 13G, 13G/A, 13D, and

  13D/A – and/or failed to made necessary Section 13(d) filings – “promptly” or at all – in order to

  conceal both their control over Riot’s management and policies, as well as their membership in a

  control group. In doing so, these Defendants knowingly or recklessly violated Exchange Act

  Section 10(b) and Rule 10b-5(b) thereunder.

             E.     O’Rourke and Beeghley Caused the Company to Conceal Related Party
                    Transactions with Members of the Honig Group

             183.   A related-party transaction is a deal or arrangement between two parties who are

  joined by a preexisting business relationship or common interest. By way of example, a contract

  between a major shareholder of a corporation and that corporation, agreeing that the shareholder’s

  company will renovate the corporation’s offices would be a classic example of a related-party

  transaction. While transactions like this are permitted, the SEC and Generally Accepted

  Accounting Principles (“GAAP”) require that transactions between a corporation and interested


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  parties (such as company insiders or 5% or greater shareholders) be disclosed in financial

  statements. For example, under GAAP Accounting Standards Codification (“ASC”) 850,

  transactions between related parties, such as sales, acqusitions, purchases and transfers of real and

  personal property, are considered related party transactions even though they may not be given

  accounting recognition.

             184.   Disclosure under ASC 850 includes (1) the nature of the relationship; (2) a

  description of the transactions including transactions to which no amounts or nominal amounts

  were ascribed; (3) the amounts due from the related parties as of the date of each balance sheet

  presented; and (4) such other information deemed necessary to understand the effects of the

  transaction on financial statements. See also, J. David Spiceland et al., Intermediate Accounting

  124 (“When related-party transactions occur companies must disclose the nature of the

  relationship, provide a description of the transactions, report the dollar amounts of the transactions

  and any amounts due from or to related parties.”) (citing Related Party Disclosures, Fin.

  Accounting Standards Bd. FAS No. 57,superseded by ASC 850).

             185.   The SEC has also adopted an integrated disclosure system for publicly traded

  companies known as Regulation S-K. In promulgating Regulation S-K the agency sought to define

  what information is material in securities transactions and when and how such information should

  be disclosed to investors. Among other information, Regulation S-K requires disclosure of

  “related party transactions,” known as “Item 404” which requires an issuer to “[d]escribe any

  transaction . . . in which the registrant was or is to be a participant, and the amount exceeds

  $120,000, and in which any ‘related person’ had or will have a direct or indirect material interest.”

  17 C.F.R. § 229.404(a). A “related person” includes company insiders and any 5% or greater

  shareholder in the issuer.



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             186.   These same related-party disclosure principles are also present in the instructions

  provided by the SEC for issuers who file reports on Forms 8-K. These instructions require issuers

  following a completed transaction, acquisition, or other disposition of a significant transfer of

  assets, to “identity of the person(s) from whom the assets were acquired or to whom they were

  sold and the nature of any material relationship . . . between such person(s) and the registrant of

  any of its affiliates, or any director or officer of the registrant, or any associate of any such director

  or officer.”

             187.   As set forth below, during the Class Period Defendants O’Rourke and Beeghley

  caused the Company to conceal numerous related party transactions with Honig and members of

  the Honig Group, many of whom were greater than 5% shareholders of Riot. These omissions not

  only violated the federal securities laws and GAAP, as set forth above, but they also worked to

  conceal the share ownership of members of the Honig Group because in many of these transactions

  Honig Group members acquired notes, warrants, or preferred shares that converted to Riot

  common stock. Nevertheless, these transactions were not disclosed in the Company’s SEC filings

  as transactions with related parties until months later when Riot filed its Form 10-K after the close

  of trading on April 17, 2018. The following day, April 18, 2018, as the market learned of the

  Honig Group’s previously undisclosed activities, the Company’s stock declined significantly,

  closing down approximately 5.8%.

                    1.     The March 2017 Private Placement

             188.   On March 15, 2017, Riot (which at the time was still operating under the name

  “Bioptix”) announced on a Form 8-K filed with the SEC that the Company had entered into a

  securities purchase agreement pursuant to sell $2,250,000 of principal amount of promissory notes

  and three year warrants to purchase up to 700,000 shares of common stock (the “March 2017

  Private Placement Agreement”). The notes were convertible into shares of Riot common stock at

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  an initial conversion price of $2.50 per share and each warrant was exercisable into shares of

  common stock at an exercise price equal to $3.56 per share.

             189.    Absent from the Form 8-K and all subsequent Company SEC filings in 2017 about

  the March 2017 Private Placement Agreement, however, is any mention of Honig’s role as a

  related party even though at this time he held, according to a 13D he filed in January 2017, more

  than 10% of Riot’s outstanding shares at this time. As explained above, under applicable SEC

  regulations, specifically, Item 404 of Regulation S-K and ASC 850 under GAAP, the March 2017

  Private Placement Agreement should have been disclosed to the Company’s public shareholders

  in March 2017 as a related party transaction.

                     2.     The Coinsquare Agreement

             190.    On September 29, 2017, the Company entered into a series of agreements including

  a Subscription Agreement and Amended and Restated Unanimous Shareholder Agreement (the

  “Coinsquare Agreement”) in connection with the purchase of $3,000,000 of units of goNumerical

  Ltd., a privately held Canadian company known as Coinsquare Ltd. (“Coinsquare”). Each unit

  consisted of (i) one share of goNumerical Ltd.; and (ii) a purchase warrant exercisable into such

  number of shares of stock at the exercise price.

             191.    At the time, then-CEO Beeghley stated the following about Riot’s investment in

  Coinsquare, “[a]t Riot Blockchain, our team has the insight and network to effectively grow and

  develop blockchain assets. With new applications being developed for blockchain every day, this

  is a rapidly growing and evolving market. We are excited to have partnered with and led an

  investment in Coinsquare, a company we believe is well positioned to capitalize on the opportunity

  in this sector.”

             192.    Yet, undisclosed from investors – for over six months – was that (i) Defendant

  Honig received a cash payment of $50,000 from Riot for diligence services in connection with the

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  Coinsquare transaction; and (ii) several members of the Honig Group were also among the handful

  of investors who were parties to the Coinsquare Agreement. Indeed, the $50,000 payment to Honig

  was finally disclosed (and admitted by Riot to be related party transaction) in the Company’s April

  17, 2018 Form 10-K, while the Honig Group’s co-investment role in Coinsquare was not disclosed

  to investors until May 25, 2018 in a Form 8-K/A filed after the close of trading that corrected the

  October 4, 2017 Form 8-K that initially announced the transaction. The following trading day, on

  May 29, 2018, Riot stock declined nearly 6%.

             193.   As set forth in the chart below, which was attached to Riot’s May 25, 2018 Form

  8-K/A, Honig Group members Honig, DeFrancesco, Groussman and Stetson – like Riot – were

  among the 23 investors in Coinsquare:

      Name                                          Issued Share Capital
      Virgile Rostand                               10,000,000 Common Shares
      Cole Diamond                                  2,500,000 Common Shares
      Michael Diamond                               2,765,168 Common Shares
      Robert Furse                                  375,092 Common Shares
      Jazse Holdings Inc.                           265,168 Common Shares
      Tread Lightly, LLC                            265,168 Common Shares
      TWG Startup Investment 2 Corp.                300,018 Common Shares
      Bioptix Inc (a/k/a Riot)                      2,249,985 Common Shares
      2330573 Ontario Inc                           918,745 Common Shares
      Jeff Cordeiro                                 11,250 Common Shares
      Peter Simeon                                  15,000 Common Shares
      Eduardo Vivas                                 149,999 Common Shares
      Argyle LLC                                    149,999 Common Shares
      Eric So                                       93,749 Common Shares
      Ross Levinsohn                                37,500 Common Shares
      Sean Lai                                      11,250 Common Shares
      Michael Brauser                               112,499 Common Shares
      Barry Honig                                   112,499 Common Shares


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      GRQ Consultants Inc Roth 401K FBO              75,000 Common Shares
      Barry Honig
      Erica and Mark Groussman Foundation            37,500 Common Shares
      Titan Multi-Strategy Fund I, Ltd.              75,000 Common Shares
      Stetson Capital Investments Inc.               37,500 Common Shares
      Kent Farrell                                   37,500 Common Shares

             194.   Of course, according to Riot’s 13D filings, as of the date of this agreement and

  according to Forms 13D filed in January 2017, Honig and DeFrancesco were greater than 10%

  shareholders of Riot. Indeed, no changes in their share ownership since January 2017 had been

  filed with the SEC. Additionally, Groussman, who was also a signatory to the Coinsquare

  Agreement was a greater than 5% shareholder based on his Form 13D filings with the SEC. Lastly,

  Stetson’s name similarly appears on the Coinsqare shareholder agreement although according to

  Forms 13D he filed with the SEC, he held under 5% of the Company’s outstanding shares.

             195.   In any event, as the list above and the Honig Group’s various Forms 13D makes

  clear, under applicable SEC regulations, specifically, Item 404 of Regulation S-K and ASC 850

  under GAAP, the Coinsquare transaction should have been disclosed to Riot’s public investors as

  a related party transaction. In addition, Honig’s role as a consultant for Riot in the in the

  transaction and his and the Honig Group members’ participation in that transaction should have

  been disclosed to Riot’s public shareholders.

                    3.     The Kairos Transaction

             196.   On November 2, 2017, Riot issued a press release announcing that it had acquired

  “1,200 Bitcoin Mining Machines . . . consisting of 700 AntMiner S9s and 500 AntMiner L3s, all

  manufactured by industry leader Bitmain.” The next day, November 3, 2017, Riot disclosed in a

  Form 8-K that these machines were purchased through a share exchange agreement with Kairos

  Global Technology, Inc. (“Kairos”), a Nevada corporation formed only weeks earlier. Riot


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  announced that as consideration for the 100% interest in Kairos that the Company received it

  would pay Kairos’ stockholders – instead of cash – preferred shares of Riot stock that was

  convertible to 1,750,001 shares of Riot common stock.

             197.   Significantly, at this time, Riot stock was trading at approximately $7 per share.

  Thus, based on Riot’s trading price on the date that the transaction was announced the deal was

  valued at approximately $12,250,000. In addition, Riot also agreed to pay “certain” undisclosed

  shareholders of Kairos – in addition to preferred shares – a royalty from cash flow generated from

  Riot’s operations, which entitled such shareholders to receive 40% of the gross profits generated

  on a monthly basis until they have received a total of $1,000,000, at which point the royalty would

  be extinguished.

             198.   Once again, absent whatsoever from Riot’s November 3, 2017 Form 8-K describing

  the Kairos transaction, was that Kairos was owned in part by Honig and DeFrancesco. Indeed,

  nearly five months passed before Riot finally disclosed in the Company’s April 17, 2018 Form 10-

  K that “[e]ach of Mr. Honig and Ms. DeFrancesco was a shareholder of Kairos at the time of its

  acquisition by the Company, with Mr. Honig having owned approximately 8.6% of Kairos and

  Ms. DeFrancesco having owned approximately 6.3% of Kairos.”

             199.   In other words, Riot had entered into yet another transaction with related parties,

  namely Honig and DeFrancesco, and failed to disclose their involvement. By any measure, under

  applicable SEC regulations and GAAP, the Kairos transaction should have been disclosed as a

  related party transaction given Honig and DeFrancesco’s involvement. Instead, Riot’s public

  shareholders did not learn about Honig’s and DeFrancesco’s interest in Kairos, or the preferred

  shares of Riot that they received, until Riot filed its Form10-K on April 17, 2018.




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                    4.     The December 2017 Private Placement

             200.   On December 19, 2017, Riot filed a Form 8-K announcing that the Company had

  entered into private placement agreements with unnamed “accredited investors” to sell $37 million

  units of securities at a purchase price of $22.50 per unit. Each unit consisted of one share of the

  Company’s common stock and a three year warrant to purchase one share of common stock at

  $40.00 per share. In a press release announcing the transaction Riot stated that “[t]he $37 million

  in gross proceeds from the investment will be used for the expansion of the Company’s Bitcoin

  mining operations, strategic investments, and general working capital.”

             201.   Like the other related party transactions described above, the Form 8-K and press

  release omitted Honig’s and DeFrancesco’s participation as “accredited investors.” It was not until

  Riot’s April 17, 2018 Form 10-K that the Company disclosed for the first time that Honig and

  DeFrancesco were parties to the December Private Placement Agreement, having invested

  $500,000 and $360,000, respectively.

             F.     October 11, 2017 – Defendant Groussman and Defendant Honig’s Brother,
                    Jonathon Honig, Falsely Deny that Their Ownership in Riot Is Part of a
                    Control Group

             202.   Soon after Bioptix’s announcement that it had changed its name to Riot and was

  transitioning into a cryptocurrency business, on October 11, 2017, Jonathon Honig, who is

  Defendant Honig’s brother, filed a Form 13G with the SEC disclosing his beneficial ownership of

  9.5% of Riot’s common stock, not including 808,198 shares of common stock that he controlled

  and that were issuable upon the conversion of Series A Preferred A stock. Notably, the Form 13-

  G specifically disclaimed Jonathon Honig’s intent to influence or control Riot or that he was

  otherwise acting “in connection with or as a participant in” others’ attempts to influence control

  over Riot:



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             By signing below I certify that, to the best of my knowledge and belief, the
             securities referred to above were not acquired and are not held for the purpose
             of or with the effect of changing or influencing the control of the issuer of the
             securities and were not acquired and are not held in connection with or as a
             participant in any transaction having that purpose or effect.

             203.   The same statement appeared two days later in a Form 13G signed by Defendant

  Groussman wherein he disclosed beneficial ownership of 5.93% of Riot’s common stock.

  Groussman, like Jonathon Honig, maintained a close financial relationship with Defendant Honig.

  Public records indicate that Honig is the lender on Groussman’s $700,000 mortgage. Addtionally,

  Groussman has a long history of investing with Defendant Honig.

             G.     January 5, 2018 – Riot Fires Its Auditor

             204.   On January 5, 2018, Riot filed a Form 8-K with the SEC announcing that the

  Company had dismissed EisnerAmper LLP as its independent auditor and engaged MNP LLP.

             205.   On January 9, 2018, Seeking Alpha published an article titled, “Riot Blockchain:

  This Crypto Clown Car Continues Hurtling Toward the Abyss.” The article highlighted the

  dismissal of Riot’s auditor, noting that the Company had employed three different auditors over

  the course of a year.

             H.     December 29, 2017 – O’Rourke Sells 30,383 Shares for Proceeds of $869,256

             206.   On December 29, 2017, after the market closed and going into a three-day holiday

  weekend, Defendant O’Rourke sold 30,383 shares of Riot for proceeds of $869,256. O’Rourke’s

  sale was quickly picked up by media outlets.23




  23
     See, e.g., John R. O’Rourke III Sells 30,383 Shares of Riot Blockchain Inc (RIOT) Stock,
  American Banking and Market News (Dec. 30, 2017) (“CEO John R. O’Rourke III sold 30,383
  shares of the firm’s stock in a transaction dated Friday, December 29th. The shares were sold at
  an average price of $28.61, for a total transaction of $869,257.63.”).


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             207.   On January 2, 2018, Reuters published an article prior to the market open entitled,

  “BUZZ-Riot Blockchain down after CEO reports stock offering – RTRS.” The article stated that

  Riot’s stock price was down 4.44% in pre-market trading after Defendant O’Rourke had reported

  his sale of over 30,000 shares. An article published during early morning trading hours, on the

  popular investor website, The Motley Fool, entitled, “Riot Blockchain’s CEO Just Sold a Lot of

  Stock,” detailed Defendant O’Rourke’s suspicious trading, stating in relevant part:

             No one knows a company better than its insiders. For this reason, it’s my view that
             prices at which companies and their insiders buy and sell stock give a hint about a
             company’s true value.

                                                   * * *
             An insider dumps his shares

             Right before a holiday weekend, and two days after the company announced it was
             adjourning its annual shareholders meeting until February, Riot Blockchain’s chief
             executive officer, John R. O’Rourke III, filed a Form 4 with the SEC disclosing he
             and his firm, ATG Capital LLC, sold 30,383 shares of Riot on Dec. 29.

                                                  * * *
             These sales are material, representing about 37% of shares he and ATG Capital
             owned or would soon control prior to the transactions.

             O’Rourke now holds 12,500 shares through ATG Capital LLC, in addition to
             39,500 shares of stock in his own name that he currently owns, or will receive over
             the next 60 days from his role as Riot’s chief executive officer. (O’Rourke received
             344,000 restricted shares that vest in 24 monthly installments when he became CEO
             in November.)

             Hiding bad news

             These sales were curiously timed. O’Rourke sold his shares and filed the Form 4
             after market close before a major holiday weekend, when most investors would be
             thinking about their New Year’s Eve plans rather than their investment portfolios.

             Stock analysts, journalists, and political-types refer to this activity as a “Friday
             night dump,” a common practice of releasing otherwise newsworthy information at
             a time when people are least likely to be paying attention. One study from 2005
             found that “Friday announcements are 20 percent more likely to present negative
             earnings than announcements on other weekdays.” Insider selling certainly fits in
             the “negative” category.


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             O’Rourke has every reason to sell quietly. When taken together with Riot’s deeply
             discounted equity raise earlier this month, his sales suggest recent market prices are
             a better price at which to sell its shares than buy them. It’s also interesting to me
             that O’Rourke is selling before a postponed annual shareholders meeting in which
             Riot is asking shareholders for the right to add another 750,000 shares of stock to
             the company’s bonus pool for insiders.

             208.   On this news, Riot’s stock price declined $4.04 per share, or 14.45%, over two

  trading days, from $28.40 per share on December 29, 2017, to $24.36 per share on January 3,

  2018, damaging Lead Plaintiff and members of the Class.

             I.     January 4-5, 2018 –Riot Fires Its Independent Auditor and Files an Amended
                    Form 8-K/A Disclosing Audited Financial Statements of Kairos Revealing that
                    Riot Vastly Overpaid for Kairos’s Assets

             209.   On January 5, 2018, Riot filed a Form 8-K disclosing that on January 4, 2018 it had

  “dismissed EisnerAmper LLP . . . as its independent registered public accounting firm” and that

  on January 5, 2018, Riot had engaged MNP LLP.

             210.   Later on January 5, 2018, Riot filed an amended Form 8-K/A that disclosed

  “audited financial statements of Kairos Global Technology, Inc.” “as of November 3, 2017,” as

  prepared and audited by Riot’s new accountant (since the day before) MNP LLP. These financial

  confirmed that Kairos had paid $2,089,679 for the mining equipment it quickly turned around and

  sold to Riot for more than $13 million. The financial statements confirmed that Kairos “purchased

  equipment of $2,089,679 from a company controlled by the president24 of the Company,” and that

  this was a “[r]elated party transaction[].” The financial statements also stated that “as at November

  3, 2017 . . . the equipment purchased was not yet operational.”

             211.   The market reacted negatively to the January 5, 2018 news once trading began on

  Monday, January 8, 2018, with the Company’s stock price declining $1.01 per share, or 4.13%,


  24
       Michael Ho was the President of Kairos, according to the Nevada Secretary of State’s website.

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  from $24.41 per share on January 5, 2018, to $23.42 per share on January 8, 2018, damaging Lead

  Plaintiff and members of the Class.

  VIII. THE TRUTH ABOUT HONIG’S STOCK SALES AND THE FRAUDULENT
        SCHEME BEGINS TO EMERGE

             212.   On January 31, 2018, The Wall Street Journal published an article entitled “Investor

  Who Rode Pivot From Biotech to Bitcoin Sells Big Stake.”25 The article stated that “Mr. Honig

  has sold about 500,000 shares, he said, but declined to divulge his profit. He said he still

  owns about 1% of the company.” “‘When stock goes up, you take a profit,’ [Honig] said.”

             213.   As a result of this revelation by The Wall Street Journal of Honig’s previously

  undisclosed massive (and nearly complete) divestment of his shares of Riot stock (and other

  revelations of Honig’s role as an insider in the Company’s transformation and affairs and dubious

  history as a penny stock investor), the Company’s stock price fell from an opening price of $14.50

  per share on January 31, 2018, to close at $13.75 that same day, a decline of $0.75, or more than

  5%.

             214.   Later on January 31, 2018, Riot issued a press release announcing that the

  Company’s 2017 Annual Meeting of Stockholders was being postponed for a second time, without

  announcing a new date and time for its annual meeting. Riot also announced that it had received

  a notification from the NASDAQ that the Company had not held its annual meeting of shareholders

  within twelve months of the end of Riot’s fiscal year-end, in accordance with NASDAQ’s Listing

  Rules 5620(a) and 5810(c)(2)(G).




  25
    Ianthe Jeanne Dugan, Investor Who Rode Pivot From Biotech to Bitcoin Sells Big Stake; Barry
  Honig pares back stake in Riot Blockchain, whose shares soared last year after a change of name,
  The Wall Street Journal (Jan. 31, 2018).

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             215.   On February 16, 2018, CNBC published an article titled “CNBC investigates public

  company that changed its name to Riot Blockchain and saw its shares rocket,” reporting a slew of

  questionable practices and behavior at the Company. Among other information, the February 16,

  2018 CNBC expose revealed to the Riot’s pubic shareholders that O’Rourke, Riot’s CEO and

  Chairman, maintained a close business relationship with Honig, a greater than 10% shareholder of

  the Company. CNBC (and the market) was suspicious about O’Rourke’s previously undisclosed

  ties to Honig for good reason. Only two weeks earlier Honig stated to The Wall Street Journal

  that his share holdings had decreased significantly down to 1% (from 10%) while O’Rourke

  announced significant inside sales in early Janaury 2018. This suggests that the two were working

  in concert to manipulate Riot’s shareprice for their own personal gain.

             216.   The close relationship between Honig and O’Rourke was most prominently

  evidenced when CNBC visisted Honig’s office in Florida only to find O’Rourke and not Honig.

  This was also surprising given that at the time Riot listed it “principal executive offices” in its SEC

  filings as Castle Rock, Colorado. O’Rourke responded (after first shutting the door) that he was

  merely there to meet with Honig, that he did not work out of Honig’s office, and that he “ha[s] a

  good relationship with Mr. Honig and we speak often.”

             217.   Honig, who was later interviewed for the article, was quoted as saying that “at one

  time John O’Rourke had space in my office.” Honig also acknowledged that he and O’Rourke

  “speak often.”

             218.   In addition to the above, the article stated :

             As bitcoin hit record highs in late December, a hot new stock was making news on
             a daily basis. Riot Blockchain’s stock shot from $8 a share to more than $40, as
             investors wanted to cash in on the craze of all things crypto.

             But Riot had not been in the cryptobusiness for long. Until October, its name was
             Bioptix, and it was known for having a veterinary products patent and developing
             new ways to test for disease.

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             That might sound somewhat like the type of newly minted blockchain company
             that has gained SEC attention.

             “Nobody should think it is OK to change your name to something that involves
             blockchain when you have no real underlying blockchain business plan and try
             to sell securities based on the hype around blockchain,” SEC Chairman Jay
             Clayton said, speaking in generalities in recent testimony to Congress. The SEC
             declined to comment to CNBC about Riot Blockchain.

             The company did make an investment in a cryptocurrency exchange in September
             and two months later did purchase a company that has cryptocurrency mining
             equipment, but paying more than $11 million for equipment worth only $2 million,
             according to SEC filings.

             That purchase and the company’s name change aren’t Riot’s only questionable
             moves.

             A number of red flags in the company’s SEC filings also might make investors
             leery: annual meetings that are postponed at the last minute, insider selling soon
             after the name change, dilutive issuances on favorable terms to large investors,
             SEC filings that are often Byzantine and, just this week, evidence that a major
             shareholder was getting out while everyone else was getting in.

                                                  * * *

             Despite Riot Blockchain’s latest quarterly report showing a company in the red, its
             annual meeting was twice set to take place at the swanky Boca Raton Resort and
             Club in Florida. The resort is known as the “pink palace” and has luxury yachts
             lined up on its dock.

             But with less than one day’s notice, Riot twice “adjourned” its annual meeting,
             first scheduled for Dec. 28 and then for Feb. 1. It’s not clear the company ever
             planned to have the meeting. Numerous employees at the hotel told CNBC it had
             no reservations for either date under the name of Riot Blockchain or any
             affiliated entity.

             Riot’s filings reveal that Barry Honig may be the man behind the Riot Blockchain
             curtain.

             That would explain why a company formerly headquartered in Colorado might
             suddenly host its annual meeting in Boca Raton. That sunny location would
             certainly be convenient for Honig, once the company’s largest shareholder, whose
             office is a short drive from the hotel. He once owned more than 11 percent of the
             outstanding common stock, according to SEC filings.

             “My history of investing’s pretty good. I invest in public companies,” Honig told
             CNBC by phone. “It was an investment where I had a return. And I sold some
             shares. There’s nothing wrong with doing that.”

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             Honig became active in Riot in April 2016 when it was a veterinary testing
             company with a different name. He led an activist campaign to replace the board in
             September 2016 and won the fight in January 2017.

             After his victory, attorneys say, red flags began to appear.

             Until January, Honig had an extensive website filled with fawning descriptions of
             his investment acumen and what he does for companies when he gets involved.

             “Barry Honig’s investment portfolio includes a variety of exciting technology and
             biotech companies focused on innovation and progress,” barryhonig.com stated
             before it was taken down.

             “Typically, Barry Honig invests his hard-earned money into a company, and he
             also provides strategic guidance to the company pertaining [sic] a variety of aspects,
             including who should lead the company (he helps put the right people in the right
             places in most of his investments), what goals and timelines that company should
             work towards, and a plan for the best way to achieve those goals,” the website said.

             A visit to the site now only reveals the text: “Under construction.”

             From the outside, Honig’s office is nondescript. There does not appear to be any
             evidence of his company’s existence on the building’s directory or on the door of
             his office.

             When CNBC crew members walked into the office, they didn’t find Honig, they
             found O’Rourke. That’s the same O’Rourke who made headlines when — less
             than three months after the company changed names and business plans — he
             sold about $869,000 worth of shares, according to an SEC filing. He told the crew
             he was there for a meeting with Honig and that we had just missed him.

             O’Rourke initially agreed to a formal interview with CNBC and emailed later to
             say the interview was “confirmed,” adding “I think you’ll be impressed.” Then, late
             the night before, he backed out via email and said he needed to go to the Midwest
             to close an acquisition.

             He agreed to answer questions via email instead. One of CNBC’s first questions
             was whether he worked in the same office as Honig, which could raise eyebrows.

             “I have my own office in a separate location,” O’Rourke said in an email sent by
             his lawyer, Nick Morgan, a partner with Paul Hastings. “I do have a good
             relationship with Mr. Honig and we speak often.”

             “John O’Rourke does not work out of my office,” Honig said. “John O’Rourke
             has his own office . . . at one time John O’Rourke had space in my office . . . we
             speak often.”



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             Securities attorneys told CNBC that if a CEO were using the office of a major
             investor, it might raise concerns about the exchange of information.

             “You just can’t imagine that the CEO and the investor are going to have an
             appropriate wall between them where they’re not engaging in discussions or
             dialogue about what’s appropriate for the company on a day to day basis or in
             the future,” said Richard Birns, a corporate partner at Gibson, Dunn & Crutcher
             LLP.

             Despite Honig’s website saying he gives advice on who should lead a company,
             Honig said he had nothing to do with O’Rourke becoming CEO.

             “The board and Michael Beeghley [the CEO before O’Rourke] are the ones that
             made the decision in regards to John O’Rourke becoming the CEO, okay? John
             O’Rourke doesn’t work for me, okay?” he said.

             Birns analyzed Riot Blockchain’s SEC filings for CNBC and found additional
             concerns.

             “I see a company that has had a change of control of the board. I see a company
             that has had a change in business. I see a company that has had several dilutive
             issuances immediately following the change of the board and change of the
             business. And I see a stock that has gone zoom,” he said. “And what I understand
             a significant amount of insider selling. So yes, these are red flags.”

             Jacob Zamansky, founder of Zamansky LLC, which specializes in securities fraud,
             also expressed caution.

             “With the absence of revenue on the company’s current financial statements, I
             would think investors need to be very cautious of a highly speculative stock with a
             lot of red flags,” he said.

             Since Honig’s board shake-up, the company has increased its common stock share
             count from 4.5 million to more than 11.6 million. On Oct. 2, 2017, two days before
             announcing the name change to Riot Blockchain, the board approved a dividend
             payout of more than $9.5 million, according to SEC filings.

             Investors who own more than 5 percent of a company’s outstanding common stock
             are required to file a form known as a 13D, which outlines their holdings.
             Subsequent changes in holdings require a “timely” filing of any changes.

             SEC records spanning 14 months show that Honig filed two 13Ds, including one
             in January 2017 that shows he owned 11.19 percent. After Riot’s name change sent
             the company’s shares soaring, Honig cashed out and filed the second 13D in
             February showing he owned less than 2 percent of outstanding common stock along
             with a small number of warrants. His purchase price ranged from $2.77 to $5.32
             per share, according to the list of trades he provided to the SEC in 2017. Honig’s


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             investment dropped below 5 percent, the threshold for SEC filing, on Nov. 28. At
             that point, the stock had already climbed above $20.

             Honig did not disclose his dramatically reduced position in the stock until this
             week.

             But that may not be the true extent of Honig’s selling. Buried deep in the
             footnotes of Riot filings, it’s clear Honig also accumulated more than 700,000
             new warrants that he could convert to stock at $3.56 per share and more than
             700,000 promissory notes that he could convert to stock at $2.50 a share.

             What about those warrants and promissory notes? It’s not clear, as he never
             mentioned them in either 13D. But in another footnote from a recent Riot filing,
             there is no longer a mention of them.

             He declined to further clarify what happened to them.

             “It’s all disclosed in the public filings. And those are all the obligations I have,” he
             said. “I’m very comfortable with what I had to do and what I was obligated to do.
             . . . I’m not going to talk about my personal trading history or my bank account.”

             Birns questioned how Honig made his filings. “It’s clear that Mr. Honig, through
             himself and through the entities that he controls, owns at least a significant
             amount of stock. Or has the potential to own significant amount of stock in excess
             of what is reported on the 13D,” he said.

             This is not the first time Honig has faced questions over his actions. In 2000, he
             was alleged to have committed stock manipulation. Honig was fined $25,000 and
             suspended for 10 days, according to the Financial Industry Regulatory Authority.
             In 2003, he let his broker’s license lapse.

             “The answer’s no,” Honig said when asked if he still manipulates stocks.

             SEC filings suggest that when Honig began his charge to take over the board, he
             was represented by lawyer Harvey Kesner of Sichenzia Ross Ference Kesner LLP.
             A few months later, Kesner’s law firm appears on Riot Blockchain’s SEC filings.

             Kesner’s company, Paradox Capital Partners LLC, owns Riot stock, according to
             SEC filings.

             When reached by phone, Kesner said he didn’t know anything about Riot
             Blockchain and Barry Honig and hung up.

             Honig said Kesner was Riot’s attorney, but “his law firm has represented me in
             other issues in the past.”

             Since its name change, Riot has been a very active company, issuing 23 press
             releases about acquisitions and new divisions.

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             One of those acquisitions was Kairos Global Technology Inc., which had been
             founded less than two weeks before the purchase. Kairos’ main asset was $2
             million of mining equipment. Riot purchased Kairos for $11.9 million worth of
             preferred convertible stock, according to SEC filings.

             O’Rourke told CNBC the company paid a premium for the equipment due to a
             shortage of mining equipment and difficulties getting it directly from the
             manufacturer.

             Kairos appears to have many links to Riot. The company was incorporated by Joe
             Laxague of Laxague Law Inc., the same lawyer who, SEC filings suggest,
             represented another major investor in Riot who has owned more than 7.49 percent
             of the company.

             Laxague told CNBC he could not comment when reached by phone and hung up.

             Kairos’ president was Michael Ho, Nevada records show, a poker player who
             played at a tournament with two other professional poker players, both of whom
             are on Riot’s advisory board, according to records reviewed by CNBC.

             O’Rourke said Riot is using the equipment to mine and that the company is
             currently mining in Norway and Canada. Despite the many press releases, there has
             been no formal mining announcement.

             “We have launched our own Bitcoin mining operation and it will be a focal point
             for Riot’s expansion plans moving forward,” is all Riot says on its webpage
             dedicated to mining. SEC filings are silent on mining activity.

             As for professional poker players advising Riot? O’Rourke told CNBC the players
             are investors in the cryptocurrency space with more than 50,000 social media
             followers. He called them “thought leaders.”

             Riot is not O’Rourke and Honig’s first cryptocurrency investment.

             In 2013, they were owners in BTX Trader, a cryptocurrency company, which was
             acquired by WPCS, a publicly traded company in which Honig had invested,
             according to court records.

             WPCS bought BTX on Dec. 17, 2013, just 13 days after it was incorporated in
             Delaware, according to SEC filings.

             At the time, WPCS was a communications, infrastructure and contracting company.
             The stock went up to $435.60 on a split-adjusted basis. It’s now trading around $2
             after selling off BTX Trader in 2015, according to SEC filings.

             Just last month, the company changed its name to DropCar after a merger and is
             now a cloud-services-for-cars company.


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             O’Rourke, through his lawyer, told CNBC in an email that he made several
             investments with Honig as co-investor. “BTX Trader was one of our first
             investments together in the blockchain sector in 2013,” he said. “I have a good
             relationship with Mr. Honig, and he has been a supportive shareholder of Riot.”

             Honig acknowledges the investment.

             The questions continue for Riot Blockchain.

             On Tuesday, Riot filed to withdraw prior SEC filings.

             “It is not the result of any government inquiry,” O’Rourke said in an email. “It was
             just corporate clean up from our securities counsel.”

             As for the annual shareholders’ meeting, “We did not have a quorum of
             shareholders required for a vote,” O’Rourke said in the email from his lawyer.
             “We are also working on other corporate action items that would require
             shareholder approval and a shareholder meeting as well. We did not want to waste
             the time and expense of potentially having two shareholder meetings within a
             short period of time. Thus we adjourned the meetings, which is not an uncommon
             practice.”

             There is no new date for the shareholders’ meeting.

             “You see companies adjourn meetings in a context of a contested election and
             the like,” Birns said. “I just don’t think in this instance, there’s any reason to
             adjourn their annual meeting.”

             And as to O’Rourke selling stock in December?

             He told CNBC in the email: “I sold less than 10 percent of my overall position to
             assist with covering tax obligations as a result of so-called phantom income tax
             from the vesting of restricted stock awards. It is common for Executives to sell
             stock to cover such tax obligations. I could have sold more stock in that window
             but chose to sell just 30,383 shares.”

             O’Rourke welcomes increased regulation and transparency for the cryptocurrency
             industry. “Unfortunately, as with many new hot sectors, it [blockchain] has
             attracted some bad actors trying to capitalize on the hype,” he said. “Riot is all for
             increased transparency and properly imposed regulation.”

             Honig would not disclose how much he made on his investment in Riot, “I wasn’t
             fortunate enough to do as well as you might think and people might speculate . . .
             I don’t regret anything.”

  (Emphases added).




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             219.   Also on February 16, 2018, CNBC included the Riot Blockchain story referenced

  above during newscasts that day, entitled “CNBC Investigates Red Flags at Riot” which included

  in relevant part the following by CNBC’s Michelle Caruso Cabrera:

             We wanted to find out who was behind Riot Blockchain, but for weeks no one
             would talk to us. So we decided to see if we could get answers here at the swanky
             Boca Raton Resort and Club in Florida. That’s where Riot’s annual shareholders’
             meeting was set to take place. It would be an upscale setting for this upstart
             company with red ink, as far as their most recent quarterly report shows. But as we
             quickly learned, that annual meeting wasn’t going to take place. Twice Riot
             Blockchain announced they were going to hold their annual shareholders’ meeting
             here at the Boca Raton Resort and Club. Twice at the very last minute, in fact the
             night before, they announced that they were postponing the meeting. And in fact
             the hotel tells us there was never a meeting room ever booked under the name
             Riot Blockchain. So we drove to this nearby office building, trying to find Barry
             Honig. According to SEC filings, he may be the man behind the curtain. He was
             an early investor in Riot, back when it was Venaxis, a medical testing company,
             and then eventually Bioptix. He led an activist move to replace the board, and he
             eventually won. The new board changed the name from Bioptix to Riot
             Blockchain. “Hello? Hi. Michelle Caruso-Cabrera.” As the elevator door
             opened in front of us, not Barry Honig, but this man, John O’Rourke, the CEO
             of Riot Blockchain, the same John O’Rourke who made news in December for
             selling about $869,000 worth of Riot stock just two months after the company
             changed its name. O’Rourke quickly closed the door. Five minutes later he
             emerged and agreed to talk to us, but only off camera. He said he was here for a
             meeting with Honig when he arrived, and that we had just missed him. O’Rourke
             insisted that he does not work out of Barry Honig’s office, even though we found
             him there.

             220.   The CNBC broadcast narrated their encounter with Defendant O’Rourke:

             During that hour-long off-camera meeting, O’Rourke told us his Riot stock sale
             was merely to pay taxes on his restricted stock. And as for the sharp rise in shares
             of Riot, O’Rourke said that was unexpected and ridiculous. He also said he isn’t
             worried about the SEC because “we over-disclose.”

             221.   CNBC noted that when Honig “agree[d] to talk to [CNBC] by phone”, he

  “downplayed his influence with Riot and John O’Rourke”:




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             “MR. HONIG: John O’Rourke’s an adult, and he makes his own decisions,
             okay?

             [MS. CARUSO-CABRERA:] In 2000 you were fined for $25,000 and
             suspended ten days by FINRA for stock manipulation. You’re no longer a
             licensed broker. Do you still manipulate stocks?

             [MR. HONIG:] The answer’s no. Continue. I’m a successful investor. I’m a
             comfortable person. I don’t need to work today. I have a beautiful family that’s
             college educated, and I’m very comfortable. I am very comfortable. The truth
             will come out.”

             222.   CNBC’s Ms. Caruso-Cabrera further reported that “Honig acknowledged he’s

  done this before. Five years ago he and John O’Rourke were involved in another company that

  changed its business model to blockchain. That stock also skyrocketed. Today it’s trading

  around two bucks a share. Oh, and it’s changed its business model again, to cloud computing for

  cars.”

             223.   As CNBC’s Ms. Caruso-Cabrera noted, “Just this week a new filing from Barry

  Honig, which shows he sold a massive amount of shares, his common stock down to little more

  than 173,000. So as Riot was issuing press release after press release promising great plans for

  the company, Honig was selling, making millions of dollars along the way.”

             224.   On the news reported by CNBC, including revealing that “Barry Honig may be the

  man behind the Riot Blockchain curtain,” the price per share of Riot stock at closing fell

  approximately 33.4%, or $5.74 per share, on heavy volume, from closing at $17.20 per share on

  February 15, 2018, to close at $11.46 per share on February 16, 2018, causing damage to Lead

  Plaintiff and the other members of the Class.

             225.   On April 17, 2018, after trading ended that day Riot filed its Annual Report on

  Form 10-K. The report included for the first time several previously undisclosed related-party

  transactions between Honig and/or DeFrancesco and the Company that Riot, Honig, and

  DeFrancesco were required to disclose, including: (i) the March 2017 Private Placement; (ii) the

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  $50,000 payment Riot made to Honig related to his consulting role in the Coinsquare transaction;

  (iii) the Kairos transaction; and (iv) the December 2017 Private Placement. When the market

  opened the following day, on April 18, 2018, Riot’s stock dropped 5.8%. Also, on April 18, 2018,

  Honig filed an amended 13D/A that disclosed for the first time, certain details concerning: (i) his

  role in the March and December 2017 Private Placements; (ii) the preferred share conversion to

  common stock that occurred as part of the Kairos transaction; and (iii) his specific stock trades

  made during 2017. This 13D/A is incorporated by reference and attached hereto as Ex. P.

             226.   After the close of trading on May 25, 2018, Riot filed its amended Form 8-K/A that

  disclosed for the first time that various Honig Group members, including Defendants Honig,

  DeFrancesco, Groussman and Stetson were parties to the Coinsquare agreement – a transaction

  where Riot was also a party by virtue of its $3 million investment in Coinsquare. As discussed

  above, Riot, Honig, Groussman, Stetson, and DeFrancesco were obligated to disclose their interest

  in Coinsquare. On this news, on the following trading day, May 29, 2018, Riot’s stock price fell

  from an opening share price of $7.53 to a close of $7.08 per share, a decline of nearly 6%,

  damaging Class members.

             227.   On September 7, 2018, the SEC filed the Honig Action against Defendants

  O’Rourke, Honig, Groussman, and Stetson (as well as Honig Group affiliate Brauser and others)

  for violating the Exchange Act and Securities Act by engaging in “three highly profitable ‘pump-

  and-dump’ schemes . . . from 2013 through 2018 in the stock of three public companies (Company

  A, Company B, and Company C) that, while enriching Defendants by millions of dollars, left retail

  investors holding virtually worthless shares.” Cmpl. ¶ 1.

             228.   The SEC alleged that “Honig was the primary strategist, calling upon other

  Defendants to buy or sell stock, arrange for the issuance of shares, negotiate transactions, or engage



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  in promotional activity.” The SEC further alleged that “[i]n each scheme, Honig orchestrated his

  and his associates’ acquisition of a large quantity of the issuer’s stock at steep discounts, either by

  acquiring a shell and executing a reverse merger or by participating in financings on terms highly

  unfavorable to the company.” Id., ¶ 2.

             229.   The SEC also alleged that “[t]o profit from their investment, in each scheme, Honig

  and his associates would arrange and pay for the promotion of the stock, directing their co-

  defendants, or a similar promoter, to write favorable and materially misleading articles about the

  company whose stock price they wanted to inflate. In several instances, to magnify the intended

  boost to volume and price that would follow a promotional article’s release, Honig, Brauser,

  O’Rourke, Groussman, Melechdavid, and ATG engaged in pre-release manipulative trading to

  generate a misleading picture of market interest in the company’s stock, priming investor interest.”

  Id., ¶ 3.

             230.   In an accompanying press release, Sanjay Wadhwa, Senior Associate Director in

  the SEC’s Division of Enforcement, stated that “Honig and his associates engaged in brazen

  market manipulation that advanced their financial interests while fleecing innocent investors and

  undermining the integrity of our securities markets.”

             231.   On this news, the price of Riot’s stock declined $1.38 per share, or approximately

  26.1%, from the previous day’s closing price, to close at $4.30 per share on September 7, 2018, as

  additional corrective information that Defendants had previously failed to disclose regarding their

  membership in a group entered the market.

             232.   As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

  in the market value of the Company’s common shares, Class members have suffered significant

  losses and damages.



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  IX.        DEFENDANTS ENGAGED IN A MANIPULATIVE DEVICE, SCHEME,
             ARTIFICE, AND CONSPIRACY TO DEFRAUD RIOT’S PUBLIC
             SHAREDHOLDERS DURING THE CLASS PERIOD

             233.   During the Class Period, each of the Defendants – pursuant to explicit or tacit

  agreements with each other and the Selling Stockholders – agreed to acquire, hold, vote, and/or

  dispose of shares they acquired in Riot in coordination with one another while knowingly or

  recklessly obtaining and exercising undisclosed control of the management and policies of Riot

  and while selling shares of Riot into the market at artificially inflated prices. Defendants did so in

  violation of Section 13(d) of the Exchange Act and Rule 13d-2, et seq., promulgated thereunder,

  which required Defendants to disclose their status as a “group” (as defined by Section 13(d)(3))

  on Schedule 13D and to “promptly” update any material changes in their beneficial ownership of

  Riot’s common stock in amendments (on Schedule 13D/A) to their Section 13(d) filings. See

  § IX.A, infra.

             234.   Defendants Honig, O’Rourke, and Stetson were familiar with their obligations

  under Section 13(d) – and the materiality of their disclosures to Riot’s investors regarding

  beneficial ownership of the Company’s stock – because they themselves had previously filed a

  lawsuit under this statute alleging that these disclosures were material to them. See § IX.B, infra.

             235.   Yet, despite this knowledge, Defendants failed to make timely and appropriate

  Section 13(d) filings and amendments reflecting their acquisition and disposition of Riot stock as

  part of scheme to defraud investors about their group’s control over the management and policies

  of, and the magnitude of their collective investment in, Riot. See § IX.A, infra. And having

  concealed their group’s existence and control over Riot, Defendants proceeded to engage in

  manipulative trading in Riot’s securities (including massive sales of Riot’s common stock) while

  failing to make the necessary amendments to their Section 13(d) filings, which under the rules,

  should have promptly alerted Riot’s public investors that a group of insider shareholders (indeed,

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  an undisclosed control group) were collectively dumping their shares into the market. See § X.A,

  infra.

             236.   And as discussed below, Defendants Honig, Groussman, Stetson, and

  DeFrancesco’s violations of Section 13(d) were made knowingly, or at least recklessly, in light of

  their clear knowledge that they were acting together as a group in their scheme involving Riot.

  See §§ IX.C.1-4, infra.

             237.   Defendants could not have accomplished their scheme, however, without the

  assistance of Defendants O’Rourke and Beeghley from inside the Company. Specifically during

  the Class Period, Defendants O’Rourke and Beeghley, as officers and/or directors of Riot, pursuant

  to explicit or tacit agreements with Defendants Honig, Groussman, Stetson, and DeFrancesco,

  caused the Company to issue materially false and misleading public filings with the SEC –

  including on Forms S-3, S-3/A, and 10-K, and Schedule 14A – that materially misrepresented the

  Company’s beneficial ownership in violations of Section 13(d) and Item 403 of Regulation S-K

  by misrepresenting and concealing the fact that many of Riot’s largest shareholders – including

  Defendants Honig, Groussman, Stetson, and DeFrancesco, and the Selling Stockholders listed in

  Riot’s Forms S-3 and S-3/A were members of a group with each other (as defined by Section

  13(d)(3)) pursuant to their explicit or tacit agreement to acquire, hold, vote, and/or dispose of their

  shares in coordination with each other. See § X.B, infra.

             238.   In causing Riot to issue its materially false and misleading Forms S-3, S-3/A, 10-

  K, and other SEC filings, O’Rourke and Beeghley well aware that the Honig Group (including

  themselves) was a closely coordinated “group” that amply fit that definition under Section

  13(d)(3), and which was therefore engaged in a scheme to defraud the Company’s public investors.

  See § IX.C.5-6, infra.



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             239.   Defendants O’Rourke, Beeghley, and Riot also knowingly or recklessly violated

  Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by issuing materially false and

  misleading Forms 8-K and 10-K that misrepresented and concealed various material related-party

  transactions between and among the Company and greater-than-5% shareholders of Riot including

  Defendants Honig, Groussman, and DeFrancesco. See § X.C, infra.

             A.     Owners and Issuers of Securities Have Well-Known Disclosure Duties Under
                    Section 13(d), Regulation 13d, and Item 403 of Regulation S-K

             240.   The federal securities laws are designed to ensure transparency by requiring that

  investors be provided with timely, accurate information about companies and persons who own

  large amounts of company stock and thus are in a control relationship with the company. The

  Securities Act and the Exchange Act have several provisions designed to ensure that companies,

  their officers, and large shareholders provide the marketplace with adequate information about

  their holdings and their purchases and sales of their companies’ stock. For example, when a person

  or group of persons acquires beneficial ownership of more than 5% of a voting class of a

  company’s equity securities registered under Section 12 of the Exchange Act, such person

  (colloquially known as a Section 13(d) filer) or group is required to make a filing under Exchange

  Act Section 13(d) with the SEC within ten days.26 These rules are meant to prevent evasion of the

  disclosure requirement when two or more persons act together but keep their individual holdings

  below the reporting threshold.

             241.   Under Section 13(d)(3), “[w]hen two or more persons act as a partnership, limited

  partnership, syndicate, or other group for the purpose of acquiring, holding, or disposing of


  26
     Section 13(d)(1) of the Exchange Act and Rule 13d-1 thereunder require any person who
  acquires more than 5% of the aggregate shares of any issuer’s stock to file a Schedule 13D (or 13G
  if permissible under the rules) within ten days. See 15 U.S.C. § 78m(d)(1); 17 C.F.R. § 240.13d–
  1(a) and (c).

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  securities of an issuer, such syndicate or group shall be deemed a ‘person’ for the purposes of this

  subsection.” 15 U.S.C. § 78m(d)(3). Under Rule 13d-5, “[w]hen two or more persons agree to

  act together for the purpose of acquiring, holding, voting or disposing of equity securities of an

  issuer, the group formed thereby shall be deemed to have acquired beneficial ownership, for

  purposes of sections 13(d) and (g) of the Act, as of the date of such agreement, of all equity

  securities of that issuer beneficially owned by any such persons.” 17 C.F.R. § 240.13d-5(b)(1).

             242.   These rules are meant to prevent evasion of the disclosure requirement when two

  or more persons act together but keep their individual holdings below the reporting threshold.

  Indeed, the rules specifically contemplate those who would use a “plan or scheme to evade the

  reporting requirements of section 13(d) or (g)” by providing that “[a]ny person who, directly or

  indirectly, creates or uses a trust, proxy, power of attorney, pooling arrangement or any other

  contract, arrangement, or device with the purpose of effect of divesting such person of beneficial

  ownership of a security or preventing the vesting of such beneficial ownership as part of a plan or

  scheme to evade the reporting requirements of section 13(d) or (g) of the Act shall be deemed for

  purposes of such sections to be the beneficial owner of such security. 17 C.F.R. § 240.13d-3(b).

             243.   When a group of persons agrees to act together to acquire, sell, vote or hold more

  than 5% in the aggregate of any issuer’s stock, they must each file a disclosure, even if their

  individual ownership is below 5%.27 When the holdings of a person or group of persons materially

  change, Section 13(d) and Rule 13d-2 thereunder [17 C.F.R. § 240.13d-2] require that Section



  27
     Under Rule 13d-101, the “person” filing a Schedule 13D must “[s]tate the aggregate number
  and percentage of the class of securities . . . beneficially owned” by that “filing person,” and this
  “information should also be furnished with respect to persons who, together with any of the
  persons named in [the Schedule 13D], comprise a group within the meaning of section 13(d)(3) of
  the Act[.]” 17 C.F.R. § 240.13d-101 (“Item 5. Interest in the Securities of the Issuer.”) (emphasis
  added).

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  13(d) filers “promptly”28 make an amended Schedule 13D filing to update the market about that

  “material change” in their holdings.29

             244.   A person who would otherwise be obligated to file a statement on Schedule 13D

  may instead file a “short-form statement on Schedule 13G” if that person can attest that they

  “[have] not acquired the securities with any purpose, or with the effect, of changing or influencing

  the control of the issuer, or in connection with or as a participant in any transaction having that

  purpose or effect, including any transaction subject to § 240.13d-3(b) . . . .” 17 C.F.R. § 240.13d-

  1(c).

             245.   These disclosure provisions are intended to alert the company’s stockholders and

  the marketplace to changes in securities ownership that indicate potential for changes in control of

  the company. Indeed, the SEC’s rules warn potential filers of Schedules 13D or Schedules 13G

  that the disclosures are “mandatory” and can lead to civil or criminal litigation:

             Disclosure of the information specified in this schedule is mandatory. The
             information will be used for the primary purpose of determining and disclosing the
             holdings of certain beneficial owners of certain equity securities. This statement


  28
     The SEC has noted that “promptly” means that an investor must amend its disclosure as soon as
  “reasonably practicable.” In the Matter of Sequa Corp., Release No. 26839 (May 19, 1989).
  “[C]ourts have approved amendments filed within five to ten days of the material changes that
  triggered the need to amend.” Standard Fin., Inc. v. LaSalle/Kross Partners, L.P., No. 96 C 8037,
  1997 WL 80946, at *6 (N.D. Ill. Feb. 20, 1997); see also Scott v. Multi–Amp Corp., 386 F.Supp.
  44, 61 (D.N.J.1974) (filing within five days of material change was “prompt”); D–Z Inv. Co. v.
  Holloway, 1974 WL 440, at *3 (S.D.N.Y. Aug. 23, 1974)) (filing within “10 days” of material
  change was “prompt”).
  29
    Under Rule 13d-2(a), “If any material change occurs in the facts set forth in the Schedule 13D
  (§ 240.13d–101) required by § 240.13d–1(a), including, but not limited to, any material increase
  or decrease in the percentage of the class beneficially owned, the person or persons who were
  required to file the statement shall promptly file or cause to be filed with the Commission an
  amendment disclosing that change. An acquisition or disposition of beneficial ownership of
  securities in an amount equal to one percent or more of the class of securities shall be deemed
  ‘material’ for purposes of this section; acquisitions or dispositions of less than those amounts may
  be material, depending upon the facts and circumstances.” 17 C.F.R. § 240.13d-2(a) (emphases
  added).

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             will be made a matter of public record. Therefore, any information given will be
             available for inspection by any member of the public.

             Because of the public nature of the information, the Commission can use it for a
             variety of purposes, including referral to other governmental authorities or
             securities self-regulatory organizations for investigatory purposes or in connection
             with litigation involving the federal securities laws or other civil, criminal or
             regulatory statutes or provisions.

  17 C.F.R. § 240.13d-101 (Special Instructions for Complying With Schedule 13D).

             246.   Similar disclosure obligations are also imposed on issuers, such as Riot. Exchange

  Act Section 13(a) requires all issuers whose securities are registered pursuant to Exchange Act

  Section 12 (such as Riot) to file periodic reports with the SEC, and Exchange Act Rule 13a-1

  requires such issuers to file annual reports – i.e., a “Form 10-K.” Exchange Act Regulation S-K

  at Item 10 sets out the information that must be disclosed in both Forms S-1 (Registration

  Statements) and 10-K. 17 C.F.R. § 229.10(1). Item 403 of Regulation S-K, in turn, requires issuers

  to provide a table listing:

             any person (including any “group” as that term is used in section 13(d)(3) of the
             Exchange Act) who is known to the registrant to be the beneficial owner of more
             than five percent of any class of the registrant’s voting securities.

  17 C.F.R. § 229.403(a).

             247.   Thus, potential investors reviewing an issuer’s annual report on Form 10-K or

  registration statement on Form S-3 can expect to see a table describing all persons – and all

  “groups” of persons – who beneficially own more than 5% of Riot’s stock. Officers who sign

  public filings on behalf of their companies have a duty to ensure their completeness and accuracy.

             248.   Collectively, these and other provisions30 of the federal securities laws protect

  investors from pump-and-dump schemes and ensure that investors understand who is controlling



  30
    Similarly, Section 16(a) and Rule 16a–3 require people – including “persons in a group” – who
  have beneficial ownership of more than 10% of a company to report their ownership with the SEC

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  a company and whether any large shareholders have amassed a position that will allow them to

  control or influence the company and its securities. When these required disclosures are evaded

  or issued in a misleading fashion, investors are deprived of material information about an issuer.

             B.     Honig, O’Rourke, and Stetson Were Familiar with Section 13(d)

             249.   Honig, O’Rourke, and Stetson all understood their respective reporting obligations

  under Exchange Act Section 13(d), and that the information included in such filings is material to

  investors. Specifically, in February 2015, Honig and Brauser filed a lawsuit in Harris County,

  Texas, alleging that counter-parties had violated Exchange Act Section 13(d) by failing to make

  requisite Section 13(d) filings for the more than 5% position they controlled as a group, and that

  that failure constituted a material omission that defrauded Honig and Brauser in their purchase of

  securities from those defendants. In their complaint in that lawsuit, Brauser v. Sanders Morris

  Harris, Inc., No. 2015-11227 (Tex. Dist. Ct. Feb. 26, 2015), Honig and Brauser alleged that “the

  beneficial ownership table” of a “Registration Statement on Form S-4” had failed to disclosed

  “material, non-public information” regarding the defendants’’ “significant beneficial ownership

  interest” in a company in which Honig and Brauser had invested. Honig and Brauser alleged that

  the “omission” of this “information” “was materially misleading”:

             A significant beneficial owner’s sale of shares in [an] entity . . . is a negative
             indication regarding the prospects of the . . . company. Such information regarding
             a significant beneficial ownership interest in [the issuer’s stock] was material. It is
             the kind of information that the SEC requires to be disclosed in connection with


  in a Form 3. 15 U.S.C. § 78p(a); 17 C.F.R. § 240.16a-3(a). Any subsequent “change in such
  ownership” must also be reported in a Form 4 “before the end of the second business day following
  the day on which the subject transaction has been executed.” 15 U.S.C. § 78p(a)(2)(C); 17 C.F.R.
  § 240.16a-3. “Where persons in a group are deemed to be beneficial owners of equity securities
  pursuant to § 240.16a–1(a)(1) due to the aggregation of holdings, a single Form 3, 4 or 5 may be
  filed on behalf of all persons in the group.” 17 C.F.R. § 240.16a-3. As more than 10%
  shareholders, Defendants Honig and DeFrancesco were therefore required to File Forms 3 and 4
  and report any changes in their ownership within two business days. But neither Honig nor
  DeFrancesco ever did.

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             solicitations for mergers and in various other filings (e.g., Schedules 13D and/or
             13G) precisely because of its materiality. Defendants’ failure to disclose to
             plaintiffs their significant beneficial ownership interest in [the issuer] . . . is a
             material and materially misleading omission. . . . Plaintiffs would not have
             purchased the Shares if they had known the undisclosed facts that [defendants]
             controlled such a large interest in [the issuer’s] stock . . . .31

             250.   In email exchanges leading up to filing this complaint (as alleged by the SEC in the

  Honig Action32) Honig and Brauser discussed drafts of their complaint, and circulated them to

  Stetson and O’Rourke (non-parties to the lawsuit) seeking their comments. Honig and Brauser

  also discussed with Stetson and O’Rourke each of their respective understandings of the

  requirements imposed by Section 13(d) of the Exchange Act. Nonetheless, and despite their

  understanding of what Section 13(d) required them to disclose and how and why those disclosures

  were material to investors, neither Honig nor Stetson made the requisite Schedule 13D filings with

  respect to Riot, nor did O’Rourke as CEO cause Riot to made the requisite disclosure on in the

  Company’s Forms S-3, S-3/A, and 10-K, or its proxy statements. This knowledge goes directly to

  Defendants’ scienter in this action.

             C.     Defendants Acted as an Undisclosed Control Group to Pump-and-Dump Riot
                    Stock While Misrepresenting and Concealing their Beneficial Ownership in
                    Violation of Section 13(d), Rule 13d-2, and Item 403 of Regulation S-K

             251.   “Pump-and-dump” schemes typically have two parts. In the first, the fraudsters

  acquire a large amount of stock at little or no cost whereupon a promotion scheme is implemented

  to boost the price of the stock or create trading volume by stimulating market interest with false or

  misleading statements about the company. Once the stock price and trading volume have been

  pumped up, the fraudsters move on to the second part, in which they dump their large holdings of


  31
    Brauser v. Sanders Morris Harris, Inc., No. 2015-11227 (Tex. Dist. Ct. Feb. 26, 2015) at ¶¶ 39-
  40.
  32
    See SEC v. Honig, et al., No. 18-cv-08175-ER (2d Am. Cmpl.) (ECF No. 233) at ¶¶ 161-62
  (Exhibit B hereto).

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  the stock into the public market at an enormous profit for themselves. After the fraudsters dump

  their shares and stop hyping the stock, the price typically falls, trading volume dries up, and

  investors lose their money. Critical to the success of such a scheme is disguising the fact that the

  fraudsters beneficially own and control a large amount of the unrestricted stock which, if known

  to investors and market participants, would inform investors that control persons of the company

  were dumping their stock. Similarly critical to the success of such a scheme is concealing the fact

  that the members of such a group are selling that large amount of stock into the market during the

  “dump” phase of that scheme.

             252.   As discussed below, Defendants knowingly or recklessly engaged in precisely this

  type of manipulative device, scheme, artifice, and conspiracy to defraud Riot’s public shareholders

  in violation of the federal securities laws. Defendants pursued, or joined in the pursuit of, a

  common course of conduct, and acted in concert with and conspired with one another in

  furtherance of their wrongdoing.         Defendants accomplished their scheme by purposely

  misrepresenting and concealing (and causing the Company to misrepresent and conceal) material

  facts, failing to correct such misrepresentations, and violating the federal securities laws. As

  insiders, controlling shareholders, officers, and/or directors of Riot, each of the Defendants was a

  direct, necessary, and substantial participant in the conspiracy, common enterprise, and common

  course of conduct complained of herein. Each of the Defendants aided and abetted and rendered

  substantial assistance in the wrongs complained of herein. In taking such actions to substantially

  assist the commission of wrongdoing, each of the Defendants acted with actual or constructive

  knowledge of the primary wrongdoing, substantially assisted in the accomplishment of that

  wrongdoing, and was or should have been aware of his or her overall contribution to and

  furtherance of the wrongdoing. At all times relevant hereto, each of the Defendants was the agent



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  of each of the other Defendants and of Riot and was at all times acting within the course and scope

  of such agency.

                    1.     Honig Knowingly Engaged in the Fraudulent Scheme

             253.   During the Class Period, Honig committed deceptive acts by knowingly

  misrepresenting and concealing that he was part of an undisclosed group (as defined by Section

  13(d)(3)) while engaging in manipulative trading in Riot stock. Defendant Honig’s Section 13(d)

  filings during the Class Period misrepresented and omitted that his purported individual investment

  in Riot was actually part of a larger group. See § X.A.1, infra. Honig also repeatedly failed to

  make the necessary amendments to his Section 13(d) filings disclosing that he had materially

  changed his beneficial ownership in Riot through either purchases or (primarily) sales of Riot’s

  stock during the Class Period.

             254.   Honig did so knowingly or at least recklessly. First, as discussed above, Honig

  (together with Brauser) had previously brought suit against several individuals under Section 13(d)

  in Brauser v. Sanders Morris Harris, Inc., No. 2015-11227 (Tex. Dist. Ct.), in which Honig alleged

  that a violation of Section 13(d) is “material” and that he “would not have purchased the Shares if

  [he] had known the undisclosed facts that [the defendants] controlled such a largest interest in [the

  company’s] stock.” Leading up to this filing, Honig discussed drafts of this complaint with

  O’Rourke and Stetson, seeking their comments, and discussing their respective understandings of

  the requirements of Section 13(d).

             255.   Second, that Honig knowingly violated his obligation to disclose that his investment

  in Riot was part of a coordinated “group” is further supported by the fact that between 2011 and

  August 2018, Honig invested alongside O’Rourke in over 75 issuers, alongside Stetson in over 65

  issuers, and alongside Brauser in over 40 issuers. Because Honig was aware of his history of co-



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  investments with O’Rourke, Stetson, and Brauser he knew that his co-investment with these same

  individuals with respect to Riot was again part of a coordinated “group” under Section 13(d).

             256.   Third, that Honig knowingly violated his obligation to disclose that his investment

  in Riot was part of a coordinated “group” is further supported by O’Rourke’s statement in a

  February 3, 2014 email to the officer of a potential merger target that “Barry Honig is the principal

  investor of our small group,” as alleged by the SEC in its Amended Complaint in the Honig

  Action.

             257.   Fourth, Honig knew that, at a minimum, O’Rourke, Stetson, and Groussman were

  part of his investing group with respect to Riot because Honig shared his office with them in Boca

  Raton. In fact, a September 13, 2016 letter signed by Honig, in which he nominated O’Rourke

  and Stetson to the Company’s Board, lists the same fax number (with Palm Beach County, Florida

  area code 561) for O’Rourke and Stetson as the fax number listed on Honig’s letterhead for his

  office in Boca Raton, Palm Beach County, Florida. Indeed, O’Rourke was discovered by CNBC

  reporters inside Honig’s same Boca Raton office on or about the day of Riot’s recently cancelled

  annual meeting of shareholders in Boca Raton. Because they worked out of the same office, shared

  the same fax number from that office, and even met with O’Rourke in that office the day of Riot’s

  cancelled annual meeting of shareholders, Honig knew that he O’Rourke, Stetson, and Groussman

  were a “group” under Section 13(d).

             258.   Fifth, that Honig knowingly violated his obligation to disclose that his investment

  in Riot was part of a coordinated “group” is further supported by the fact that, as noted above,

  Honig, O’Rourke, Groussman, Stetson, and/or Brauser personally coordinated their investments

  in numerous public companies. See Exs. E, F, G, H, I & J. Indeed, Honig, O’Rourke, Groussman,

  and Stetson accomplished this coordination through private email correspondence amongst each



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  other, see Ex. D at 7 of 21, in which they would coordinate the precise number of shares that each

  of them would hold in their target companies, see Ex. H.

             259.   Sixth, that Honig knowingly violated his obligation to disclose that his investment

  in Riot was part of a coordinated “group” is further supported by the fact that Defendants

  Groussman, Stetson, and DeFrancesco also failed – like Honig – to report their membership in the

  same group with respect to the same company (Riot) during the same time period in 2017 in

  violation of Section 13(d).

             260.   Seventh, that Defendant Honig knowingly violated his obligation to disclose that

  his investment in Riot was part of a coordinated “group” that included, at a minimum, Defendant

  DeFrancesco is supported by the fact that Honig and DeFrancesco (both as 10%+ Riot

  shareholders) both engaged in an undisclosed related-party transaction in which Honig and

  DeFranscesco respectively owned of 8.6% and 6.3% (together 14.9%) of Kairos when Riot

  acquired all outstanding shares of Kairos in exchange of convertible preferred stock of Riot. Honig

  and DeFrancesco’s coordination of their related-party transactions with Riot O’Rourke is further

  supported by the fact that Riot paid more than $13 million to the owners of Kairos (including

  Honig and DeFrancesco) for assets worth less than $2 million.

             261.   Eighth, that Honig knowingly violated his obligation to disclose that his investment

  in Riot was part of a coordinated “group” is further supported by the fact that Honig, Groussman,

  and Stetson (and Jonathan Honig, through his entity, Titan) all invested together in the October 2,

  2017 related-party Coinsquare shareholders’ agreement with Riot (see § VII.E.2, infra) which was

  not disclosed to the Company’s shareholders until May 25, 2018.

             262.   Ninth, Honig’s knowledge of, and participation in, the Honig Group’s pump-and-

  dump scheme at Riot, including his role committing Section 13(d) disclosure violations by



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  concealing his membership in a group of affiliated Riot stockholders while engaging in massive

  undisclosed sales of Riot stock, is supported by the SEC’s allegations in the Honig Action. Indeed,

  as a result of that action, Honig has been “permanently barred from participating in any offering

  of penny stock”; “permanently prohibited” from holding greater than 4.99% of any penny stock

  company; “advertising, marketing, or otherwise promoting” any penny stock.

             263.   Finally, that Honig knowingly caused Riot to file materially misleading Forms S-3

  and other filings that misrepresented and omitted to disclose that the Honig Group’s and Selling

  Stockholders’ investments in Riot were part of a coordinated “group” is further supported by

  Honig’s past interconnections with the Honig Group and the Selling Stockholders, which are set

  forth in the charts provided above describing the “Honig Group’s Prior Target Companies” (see

  ¶ 162, supra) and the “Selling Stockholders’ Prior Target Companies” (see ¶ 163, supra), and

  further depicted in the diagram attached hereto as Exhibit M.

                    2.      Groussman Knowingly Engaged in the Fraudulent Scheme

             264.   During the Class Period, Groussman committed deceptive acts by knowingly

  misrepresenting and concealing that he was part of an undisclosed group (as defined by Section

  13(d)(3)) while engaging in manipulative trading in Riot stock without amending his beneficial

  ownership disclosures as required by Section 13(d) and Rule 13d-2 thereunder. See § IX.A.2,

  infra. For example, on October 13, 2017 Groussman filed with the SEC a Schedule 13G that

  included his signature and the following false and misleading statement:

             By signing below I certify that, to the best of my knowledge and belief, the
             securities referred to above were not acquired and are not held for the purpose
             of or with the effect of changing or influencing the control of the issuer [i.e.,
             Riot] of the securities and were not acquired and are not held in connection with or
             as a participant in any transaction having that purpose or effect. After reasonable
             inquiry and to the best of my knowledge and belief, I certify that the information
             set forth in this statement is true, complete and correct.



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             265.   Given Groussman’s prior connections to Honig, O’Rourke, Stetson, and other

  members of the Honig Group, the statement that “the securities referred to above were not acquired

  and are not held” in order to “change[]” or “influence[]” “control of the issuer” was false and

  misleading when made in violation of the federal securities laws.

             266.   Groussman’s knowledge of his violations of Section 13(d) and Rule 13d-2 is

  supported by numerous facts. First, as alleged by the SEC, Groussman’s participation in Honig’s

  previous schemes involving Biozone, MGT, and MabVax included “pre-release manipulative

  trading” with Honig, Brauser, O’Rourke, Melechdavid, and ATG.

             267.   Second, as alleged by the SEC, “Groussman . . . work[ed] at an office in Boca Raton

  with Honig, Stetson and O’Rourke.”          Thus, Groussman knew that, at a minimum, Honig,

  O’Rourke, and Stetson were part of his investing group with respect to Riot because Groussman

  shared Honig’s office with them in Boca Raton.

             268.   Third, that Groussman knowingly violated his obligation to disclose that his

  investment in Riot was part of a coordinated “group” is further supported by the fact that, as noted

  above, Groussman, O’Rourke, Stetson, and/or Brauser personally coordinated their investments in

  numerous public companies. See Exs. D, E, F, G, H & I. Indeed, Groussman, Honig, O’Rourke,

  and Stetson accomplished this coordination through private email correspondence amongst each

  other. See Ex. D at 7 of 21 (email among Groussman, Honig, O’Rourke, Stetson, Brauser, and

  others).

             269.   Fourth, that Groussman knowingly violated his obligation to disclose that his

  investment in Riot was part of a coordinated “group” is further supported by the fact that

  Defendants Honig, Stetson, and DeFrancesco also failed – like Groussman – to report their




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  membership in the same group with respect to the same company (Riot) during the same time

  period in 2017 in violation of Section 13(d).

             270.   Fifth, that Groussman knowingly violated his obligation to disclose that his

  investment in Riot was part of a coordinated “group” with Honig, in particular, is further supported

  by the fact that Groussman purchased his house in Miami Beach, Florida, with a $700,000

  mortgage loan from Honig, who is mortgage holder of Groussman’s house.

             271.   Sixth, that Groussman knowingly violating his obligation to disclose that his

  investment in Riot was part of a coordinated “group” is further supported by the fact that

  Groussman, Honig, and Stetson (and Jonathan Honig, through his entity, Titan) all invested

  together in the October 2, 2017 related-party Coinsquare shareholders’ agreement with Riot (see

  § VII.E.2, infra) which was not disclosed to the Company’s shareholders until May 25, 2018.

             272.   Seventh, Groussman’s knowledge of, and participation in, the Honig Group’s

  pump-and-dump scheme at Riot, including his role committing Section 13(d) disclosure violations

  by concealing his membership in a group of affiliated Riot stockholders while engaging (along

  with other group members) in massive undisclosed sales of that stock, is supported by the SEC’s

  allegations in the Honig Action. Indeed, as a result of that action, Groussman has been barred for

  five years from participating in an offering of penning stock, holding greater than 4.99% of any

  penny stock, and from advertising, marketing, or promoting any penny stock.

             273.   Finally, that Groussman knowingly caused Riot to file materially misleading Forms

  S-3 and other filings that misrepresented and omitted to disclose that the Honig Group’s and

  Selling Stockholders’ investments in Riot were part of a coordinated “group” is further supported

  by Groussman’s past interconnections with the Honig Group and the Selling Stockholders, which

  are set forth in the charts provided above describing the “Honig Group’s Prior Target Companies



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  (see ¶ 162, supra) and the “Selling Stockholders’ Prior Target Companies” (see ¶ 163, supra), and

  further depicted in the diagram attached hereto as Exhibit M.

                    3.     Stetson Knowingly Engaged in the Fraudulent Scheme

             274.   During the Class Period, as a purported “4.99%” shareholder of Riot, Stetson

  committed deceptive acts by knowingly misrepresenting and concealing that he was part of an

  undisclosed group (as defined by Section 13(d)(3)) and was therefore obligated to file a Schedule

  13D disclosing that fact and reporting any material acquisitions or dispositions of Riot’s stock. By

  not doing so, Stetson knowingly participated and facilitated the Honig Group’s fraudulent scheme

  to pump and dump Riot’s stock.

             275.   First, that Stetson knowingly violated his obligation to disclose that his investment

  in Riot was part of a coordinated “group” is further supported by the fact that Stetson invested

  alongside Honig in over 65 issuers between 2011and August 2018.

             276.   Second, as noted above, Honig (together with Brauser) – in in consultation with

  Stetson – previously brought suit against several individuals under Section 13(d) in Brauser v.

  Sanders Morris Harris, Inc., No. 2015-11227 (Tex. Dist. Ct.). In bringing the lawsuit, Honig

  alleged that a violation of Section 13(d) is “material” and that he “would not have purchased the

  Shares if [he] had known the undisclosed facts that [the defendants] controlled such a largest

  interest in [the company’s] stock.” Leading up to this filing, Honig discussed drafts of this

  complaint with Stetson and O’Rourke, seeking their comments, and discussing their respective

  understandings of the requirements of Section 13(d). Thus, Stetson was well aware of his

  disclosure obligations under Section 13(d).

             277.   Third, that Stetson knowingly violated his obligation to disclose that his investment

  in Riot was part of a coordinated “group” is further supported by the fact that, as noted above,

  Stetson, Honig, O’Rourke, Groussman, and/or Brauser personally coordinated their investments

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  in numerous public companies. See Exs. D, E, F, G, H & I. Indeed, Stetson, Honig, O’Rourke,

  and Groussman accomplished this coordination through private email correspondence amongst

  each other. See Ex. D at 7 of 21 (email among Stetson, Honig, O’Rourke, Groussman, Brauser,

  and others). Indeed, Stetson in particular knew that he, Honig, O’Rourke, and Groussman,

  accomplished this coordination through private email correspondence amongst each other, see

  Ex. D at 7 of 21, in which they would coordinate the precise number of shares that each of them

  would hold in companies, see Ex. H. For example, a January 27, 2012 email from Stetson to Honig

  attached a “Share Breakdown” of the shares that Honig, Stetson, Groussman, Brauser, and their

  affiliates would hold in IZEA Worldwide Inc. after a stock split. Ex. H. Another January 20, 2011

  email from Stetson provided a similar breakdown for himself, Honig, Brauser, and others for

  “Passport Potash, Inc.” Ex. G.

             278.   Indeed, Stetson’s emails corroborate the SEC’s allegations that Stetson worked

  with (or for) Honig to ensure that members of his groups voted their shares in unison, and that

  members of such groups would reach out to Stetson to find out how they should vote on various

  proposals. For example, in July 2015, Stetson emailed a co-investor, in response to an inquiry on

  how to vote, by copying Honig and replying “Yes, vote ‘For.” Similarly, in November 2016,

  Stetson emailed members of a Honig group of investors in an issuer in response to a request for

  “instructions to vote” by instructing those investors: “[v]oting in favor of [two named directors].

  Against all other members and actions.” 2d Am. Cmpl. ¶ 60.

             279.   Fourth, that Stetson knowingly violated his obligation to disclose that his

  investment in Riot was part of a coordinated “group” is further supported by the factthat

  Defendants Honig, Groussman, and DeFrancesco also failed – like Stetson – to report their




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   membership in the same group with respect to the same company (Riot) during the same time

   period in 2017 in violation of Section 13(d).

              280.   Fifth, that Stetson knowingly violated his obligation to disclose that his investment

   in Riot was part of a coordinated “group” is further supported by the fact that Stetson, Honig and

   Groussman (and Jonathan Honig, through his entity, Titan) all invested together in the October 2,

   2017 related-party Coinsquare shareholders’ agreement with Riot (see § VII.E.2, infra), which was

   not disclosed to the Company’s shareholders until May 25, 2018.

              281.   Sixth, Stetson’s knowledge of, and participation in, the Honig Group’s pump-and-

   dump scheme at Riot, including his role committing Section 13(d) disclosure violations by

   concealing his membership in a group of affiliated Riot stockholders who were engaging in

   massive undisclosed sales of that stock, is supported by the SEC’s allegations in the Honig Action.

   Indeed, as a result of that action, Stetson has been barred for ten years from participating in an

   offering of penning stock, holding greater than 4.99% of any penny stock, and from advertising,

   marketing, or promoting any penny stock.

              282.   Finally, that Stetson knowingly caused Riot to file materially misleading Forms S-

   3 and other filings that misrepresented and omitted to disclose that the Honig Group’s and Selling

   Stockholders’ investments in Riot were part of a coordinated “group” is further supported by

   Stetson’s past interconnections with the Honig Group and the Selling Stockholders, which are set

   forth in the charts provided above describing the “Honig Group’s Prior Target Companies (see

   ¶ 162, supra) and the “Selling Stockholders’ Prior Target Companies” (see ¶ 163, supra), and

   further depicted in the diagram attached hereto as Exhibit M.

                     4.     DeFrancesco Knowingly Engaged in the Fraudulent Scheme

              283.   During the Class Period, DeFrancesco engaged in deceptive acts by knowingly

   misrepresenting and concealing that she was part of an undisclosed group (as defined by Section

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   13(d)(3)) while engaging in manipulative trading in Riot stock – including massive stock sales that

   she failed to disclose despite being one of the Company’s largest shareholder.

              284.   Several facts support that DeFrancesco knowingly violating Section 13(d) and Rule

   13d-2, et seq., thereunder, as part of the Honig Group’s scheme. First, DeFrancesco’s scienter in

   failing to “promptly” report her changes in beneficial ownership of Riot’s common stock is

   supported by the fact that she filed nine Schedules 13D or 13D/A between September 12, 2016

   and January 10, 2017 – demonstrating that she knew it was her legal obligation, as a more than

   10% Riot shareholder, to report her holdings (and changes therein) to the market. Yet, after

   January 10, 2017, and to this day, DeFrancesco has never filed another Schedule 13D/A.

              285.   Second, that DeFrancesco was knowingly violating her obligation to “promptly”

   report her changes in beneficial ownership of Riot’s common stock as required by Section 13(d)

   and Rule 13d-2, et seq., is supported by the fact that Defendant Honig, as Riot’s other largest

   (10%+) shareholder, with whom DeFrancesco coordinated with in a proxy fight (and letter-writing

   campaign) for control of Riot’s Board, also committed similar violations of Section 13(d) and Rule

   13d-2 by failing to promptly disclose his sales of Riot stock during the same time period.

              286.   Third, that DeFrancesco knew that her investment in Riot was part of a coordinated

   “group” that involved, at a minimum, Honig, Stetson, and Brauser because she invested in

   PolarityTE between at least January 20, 2017 and April 25, 2017, during which time Honig was a

   Director of PolarityTE, Stetson was a Director and CFO of PolarityTE, Beeghely was a Director

   of PolarityTE, and Brauser was a Director of PolarityTE. In addition, O’Rourke and Groussman

   were also investors in PolarityTE, as were the majority (if not all) of the other Selling Stockholders

   listed in Riot’s 2017/2018 Forms S-3/A. (See ¶¶ 132-36, 162-63, supra.)




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              287.   Fourth, that DeFrancesco knowingly violated her obligation to disclose that her

   investment in Riot was part of a coordinated “group” is further supported by the fact that

   Defendants Honig, Groussman, and Stetson also failed – like DeFrancesco – to report their

   membership in the same group with respect to the same company (Riot) during the same time

   period in 2017 in violation of Section 13(d).

              288.   Fifth, that DeFrancesco knew that she was investing alongside the Honig Group is

   supported by the appointment by Honig of Mike Dai to Riot’s Board on December 1, 2016, and

   Dai’s subsequent election to the Board. Before joining Riot’s Board, Dai already had established

   business ties with DeFrancesco’s husband, Andrew, and other relatives, as well as O’Rourke and

   Stetson, Jonathan Honig, and other members of the Honig Group. Specifically, as of December 1,

   2016, Dai “serve[d] as chief financial officer and Director of Santa Maria Petroleum Inc. . . . a

   position he ha[d] held since 2014,” according to Honig’s SEC filing nominating Dai to the Bioptix

   Board. Dai became CFO and a Director of Santa Maria on May 22, 2014, the same day that

   Andrew DeFrancesco became Santa Maria’s “President and CEO.” On December 2, 2016, Santa

   Maria filed an OTCQB Certification with the OTC Markets stock exchange. According to Santa

   Maria’s OTCQB Certification, the following individuals and entities were “control persons [who]

   are beneficial owners of more than five percent (5%) of any class of [Santa Maria’s] equity

   securities)”: ATG Capital (i.e., O’Rourke) (6.7%); GT Capital (Andrea DeFrancesco) (10%);

   Jonathan Honig (6.8%); Stetson Capital (i.e., Stetson) (6%); and Sunnybrook Preemie Investments

   Inc. (Carmella DeFrancesco) (5.3%). In other words, Dai was the CFO and director of the same

   company, Santa Maria, that DeFrancesco’s husband was also the President, CEO, and Director,

   and whose largest shareholders were O’Rourke, Stetson, and Jonathan Honig, as wells as Selling

   Stockholder Carmella DeFrancesco.          Moreover, Santa Maria’s OTCQB Certification was



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   “prepared by . . . Mike Dai, CFO” and “Andrew DeFrancesco, CEO” and was signed by “/s/ MIKE

   DAI” as “Certifying . . . CFO.” In sum, Dai’s connections to DeFrancesco and the Honig Group

   further support a cogent inference that DeFrancesco knew that these individuals were working

   together (including by selecting the Company’s Board members) as a shareholder “group” (as

   defined by Section 13(d)) and that she needed to disclose that group as such under Section 13(d)

   in her beneficial ownership filings with respect to Riot.

              289.   Finally, that DeFrancesco knowingly caused Riot to file materially misleading

   Forms S-3 and other filings that misrepresented and omitted to disclose that the Honig Group’s

   and Selling Stockholders’ investments in Riot were part of a coordinated “group” is further

   supported by DeFrancesco’s past interconnections with the Honig Group and the Selling

   Stockholders (including through PolarityTE), which are set forth in the charts provided above

   describing the “Honig Group’s Prior Target Companies (see ¶ 162, supra) and the “Selling

   Stockholders’ Prior Target Companies” (see ¶ 163, supra), and further depicted in the diagram

   attached hereto as Exhibit M.

                     5.    O’Rourke Knowingly Engaged in the Fraudulent Scheme

              290.   During the Class Period, O’Rourke, as Riot’s Director, President, Treasurer,

   Secretary, and, eventually, CEO, had full knowledge that Honig, DeFrancesco, Groussman, and

   Stetson (together with Beeghley, and other affiliated “selling stockholders”) were all acting in

   concert to coordinate their acquisition and voting of Riot stock, and to control direction of the

   management and policies of Riot. Yet, working from within the Company, O’Rourke knowingly

   or recklessly signed false and misleading public SEC filings that did not disclose that even the

   Honig Group constituted a “group” under Section 13(d)(3) and Item 403 of Regulation S-K, much

   less the full extent of the Honig Group’s coordination control of Riot.



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              291.   Specifically, in signing Riot’s April 20, July 19, August 24, and September 25,

   2017 Forms S-3/A, and other filings, O’Rourke knew, at a minimum, that Honig, Groussman, and

   Stetson were investing together as a group. Yet, O’Rourke signed the April 20, 2017 Form S-3/A

   without disclosing that these individuals were a group of which he himself was a member. In

   doing so, O’Rourke knowingly or recklessly committed deceptive acts in furtherance of his and

   the Honig Group’s pump-and-dump scheme with respect to Riot.

              292.   First, as noted above, O’Rourke (together with Stetson) discussed Honig’s (and

   Brauser’s) previous lawsuit, in Brauser v. Sanders Morris Harris, Inc., No. 2015-11227 (Tex. Dist.

   Ct.), which alleged that a violation of Section 13(d) is “material” and that Honig and Brauser

   “would not have purchased the Shares if [they] had known the undisclosed facts that [the

   defendants] controlled such a largest interest in [the company’s] stock.”

              293.   Second, O’Rourke knew that he and Honig were working together as a group

   because O’Rourke invested alongside Honig in over 75 issuers between 2011 and August 2018.

              294.   Third, that O’Rourke knowingly caused Riot to file materially misleading Forms

   S-3 and other filings that misrepresented and omitted to disclose that the Honig Group’s

   investments in Riot were part of a coordinated “group” is further supported by O’Rourke’s

   statement in a February 3, 2014 email to the officer of a potential merger target that “Barry Honig

   is the principal investor of our small group,” as alleged by the SEC in its Amended Complaint in

   the Honig Action.

              295.   Fourth, O’Rourke knew that, at a minimum, Honig, Stetson, and Groussman were

   part of his investing group with respect to Riot because O’Rourke shared Honig’s office with them

   in Boca Raton. In fact, a September 13, 2016 letter signed by Honig, in which he nominated

   O’Rourke and Stetson to the Company’s Board, provides the same fax number (with Palm Beach



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   County, Florida area code 561) for O’Rourke and Stetson as the fax number listed on Honig’s

   letterhead for his office in Boca Raton, Palm Beach County, Florida. Indeed, O’Rourke was

   discovered by CNBC reporters inside Honig’s same Boca Raton office on December 28, 2017, the

   day of Riot’s cancelled annual meeting of shareholders in Boca Raton. Because they worked out

   of the same office, shared the same fax number from that office, and O’Rourke even met with

   Honig (and unexpectedly, with CNBC) in that same office the day of Riot’s cancelled annual

   meeting of shareholders, O’Rourke knew that he, Honig, Stetson, and Groussman were a “group”

   under Section 13(d) – a statute they had previously used to bring lawsuits against other investors.

              296.   Fifth, that O’Rourke knowingly caused Riot to file materially misleading Forms S-

   3 and other filings that misrepresented and omitted to disclose that the Honig Group’s investments

   in Riot were part of a coordinated “group” is further supported by the fact that, as noted above,

   O’Rourke, Honig, Groussman, Stetson, and/or Brauser personally coordinated their investments

   in numerous public companies. See Exs. D, E, F, G, H & I. Indeed, O’Rourke, Honig, Groussman,

   and Stetson accomplished this coordination through private email correspondence amongst each

   other. See Ex. D at 7 of 21 (email among O’Rourke, Honig, Groussman, Stetson, Brauser, and

   others).

              297.   Sixth, O’Rourke’s knowledge of, and participation in, the Honig Group’s pump-

   and-dump scheme at Riot, including O’Rourke’s role as CEO in disseminating false and

   misleading statements about related-party transactions that involve Honig while, at the same time,

   the Honig Group committed Section 13(d) disclosure violations by concealing their group

   ownership of Riot stock and massive sales of that stock. O’Rourke’s scienter is also supported by

   the SEC’s allegations in the Honig Action. Indeed, as a result of that action O’Rourke has been




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   permanently barred from participating in an offering of penning stock, holding greater than 4.99%

   of any penny stock, and from advertising, marketing, or promoting any penny stock.

              298.   Finally, that O’Rourke knowingly caused Riot to file materially misleading Forms

   S-3 and other filings that misrepresented and omitted to disclose that the Honig Group’s and

   Selling Stockholders’ investments in Riot were part of a coordinated “group” is further supported

   by O’Rourke’s past interconnections with the Honig Group and the Selling Stockholders, which

   are set forth in the charts provided above describing the “Honig Group’s Prior Target Companies

   (see ¶ 162, supra) and the “Selling Stockholders’ Prior Target Companies” (see ¶ 163, supra), and

   further depicted in the diagram attached hereto as Exhibit M.

                     6.     Beeghley Knowingly Engaged in the Fraudulent Scheme

              299.   During the Class Period, Beeghley, as Riot’s CEO and Director, had full knowledge

   that Honig, O’Rourke, DeFrancesco Groussman, and Stetson (and other affiliated “selling

   stockholders”) were all acting in concert to coordinate their acquisition and voting of Riot stock,

   and to control direction of the management and policies of Riot. Yet, working from within the

   Company, Beeghley knowingly or recklessly signed false and misleading public SEC filings that

   did not disclose that even the Honig Group constituted a “group” under Section 13(d)(3) and Item

   403 of Regulation S-K, much less the full extent of the Honig Group’s coordination control of

   Riot.

              300.   Specifically, in signing Riot’s April 20, July 19, August 24, and September 25,

   2017 Forms S-3/As, Beeghley knew, at a minimum, that Honig, Groussman, and Stetson were

   investing together as a group. Yet, Beeghley signed the April 20, 2017 Form S-3/A without

   disclosing that these individuals were a group of which he himself was a member. In doing so,

   Beeghley knowingly or recklessly committed deceptive acts in furtherance of his and the Honig

   Group’s pump-and-dump scheme with respect to Riot.

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              301.   First, in signing Riot’s Forms S-3/As, Beeghley knew that Honig, Groussman, and

   Stetson, together with Aifos, Titan, Molinksy, O’Braitis, Paradox, and Stockwire, were all

   previously affiliated because those same individuals and/or entities had all invested in PolarityTE

   when Beeghley was a Director of PolarityTE, a company of which Honig had been Chairman and

   CEO and Stetson had been CFO. Thus, Beeghley knew the S-3/A violated Section 13(d) and was

   materially false and misleading.

              302.   Second, that Beeghley knowingly caused Riot to file materially misleading Forms

   S-3 and other filings that misrepresented and omitted to disclose that the Honig Group’s and

   Selling Stockholders’ investments in Riot were part of a coordinated “group” is further supported

   by Beeghley’s past interconnections with the Honig Group and the Selling Stockholders (including

   through PolarityTE), which are set forth in the charts provided above describing the “Honig

   Group’s Prior Target Companies (see ¶ 162, supra) and the “Selling Stockholders’ Prior Target

   Companies” (see ¶ 163, supra), and further depicted in the diagram attached hereto as Exhibit M.

              303.   Finally, as the Chairman and CEO of the Company (which had only about nine

   employees), Beeghley would have been aware of the March 15, 2017 Private Placement in which

   Riot entered into agreements to sell Honig warrants and notes to purchase up to 700,000 shares of

   common stock. See Exhibit P at 5. Beeghley also would have been aware when, on August 18,

   2017, Honig “waived the requirement for the occurrence of a Qualified Transaction and gross

   proceeds of the Note Private Placement were released to [Riot] and the Notes and the March 2017

   Warrants were released to [Honig] . . . .” Id. Despite this fact, and the fact that the March 2017

   Private Placement required Honig to file an amended Schedule 13D/A,33 Beeghley also knew that



   33
       See https://www.sec.gov/divisions/corpfin/guidance/reg13d-interp.htm (“Exchange Act
   Sections 13(d) and 13(g) and Regulation 13D-G Beneficial Ownership Reporting”) (stating that
   “a Schedule 13D reporting person [is] required to file an amended Schedule 13D if it acquires

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   Honig had not filed any Schedule 13D/A since January 5, 2017. Thus, Beeghley knew that Honig

   was violating his disclosure obligations under Section 13(d).

   X.         DEFENDANTS’ FALSE AND MISLEADING STATEMENTS AND OMISSIONS
              DURING THE CLASS PERIOD34

              304.   In connection with Defendants’ efforts to defraud Riot’s public shareholders during

   the Class Period as part of their fraudulent scheme and plan in violation of Rule 10b-5(a) and (c),

   Defendants also disseminated materially false and misleading statements, and otherwise violated

   an obligation to disclose material information in violations of Rule 10b-5(b). Below, Defendants

   false and misleading statements and omissions are grouped into three main categories:

              305.   First, Defendants Honig, DeFrancesco, Groussman, and Stetson in their beneficial

   ownership reports filed on Schedule 13D and 13G, and amendments thereto on Schedules 13G/A

   and 13D/A. See § X.A, infra.

              306.   Second, the Company – at the direction of O’Rourke and Beeghley as officers and

   directors – issued materially false and misleading public filings with the SEC – including on Forms

   S-3, S-3/A, and 10-K, and Schedule 14A – that materially misrepresented Riot’s beneficial

   ownership in violations of Section 13(d) and Item 403 of Regulation S-K by misrepresenting and

   concealing the fact that many of Riot’s largest shareholders – including Defendants Honig,

   Groussman, Stetson, and DeFrancesco, and the Selling Stockholders listed in Riot’s Forms S-3

   and S-3/A were members of a group with each other (as defined by Section 13(d)(3)) pursuant to




   warrants from an issuer,” even if “not exercisable for six months” and must disclose the warrants
   in its “Item 6 (contracts) disclosures and file the warrant agreement as an exhibit pursuant to Item
   7 of Schedule 13D. [Sep. 14, 2009]”).
   34
     In this section, statements that are bold and italicized are specifically alleged to be false and
   misleading. Statements that are only bold are to indicate emphasis. Statements that are neither
   bold nor italicized are provided for context.

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   their explicit or tacit agreement to acquire, hold, vote, and/or dispose of their shares in coordination

   with each other. See § X.B, infra.

              307.   Third, the Company – at the direction of O’Rourke and Beeghley as officers and

   directors – issued materially false and misleading statements with the SEC that misrepresented and

   concealed various material related-party transactions between and among the Company and

   greater-than-5% shareholders of Riot including Defendants Honig, Groussman, and DeFrancesco.

   See § X.C, infra.

              A.     Defendants’ Materially False and Misleading Statements and Omissions in
                     Benificial Ownership Reports on Schedules 13D and 13G

              308.   During the Class Period, Defendants Honig, Groussman, Stetson, and DeFrancesco

   (acting individually and/or through the investment entities they controlled, including GRQ 401K,

   ATG, Melechdavid, Stetson Capital, and Namaste, among others) knowingly or recklessly made

   materially false and misleading filings under Section 13(d) – including on Schedules 13G, 13G/A,

   13D, and 13D/A – and/or failed to made necessary Section 13(d) filings and thereby concealed

   both their control over Riot’s management and policies, as well as their membership in a group

   with each other (and with the Selling Stockholders) pursuant to their explicit or tacit agreement to

   acquire, hold, vote, and/or dispose of their shares in coordination with each other. In doing so,

   these Defendants knowingly or recklessly violated Exchange Act Section 10(b) and Rule 10b-5(b)

   thereunder.

              309.   Defendants further violated Exchange Act Section 10(b) and Rule 10b-5(b)

   thereunder by knowingly or recklessly by failing to make timely and appropriate Section 13(d)

   filings and amendments (i.e., on Schedule 13D/A) reporting (whether individually or as a group)

   their purchases and sales of Riot stock. Defendants’ disclosure violations under Section 13(d)

   facilitated their scheme to defraud Riot’s public investors about their group’s control over the


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   management and policies of, and the magnitude of the collective investment in, Riot. While failing

   to make the necessary amendments to their Section 13(d) filings or disclosing their membership

   with each other in a “group” as defined by Section 13(d)(3), Defendants engaged in manipulative

   trading in Riot stock – including massive undisclosed stock sales that easily exceeded the 1%

   minimum threshold for materiality set forth in Rule 13d-2(a) [17 C.F.R. § 240.13d-2(a)].

                     1.     Honig’s Beneficial Ownership Reports on Schedule 13D Were
                            Materially False, Misleading, Deficient, and Untimely and Facilitated
                            His Manipulative Trading in Riot’s Common Stock

              310.   During the Class Period, Defendant Honig facilitated and concealed the Honig

   Group’s pump-and-dump scheme at Riot through material misrepresentations and omissions on

   Schedule 13D, and his amendments thereto on Schedule 13D/A. Honig’s violations of his duties

   under Section 13(d) of the Exchange Act 915 U.S.C. § 78m(d), and Rule 13d-1(a) thereunder [17

   C.F.R. § 240.13d-1(a)], also constituted violations Section 10(b) of the Exchange Act [15 U.S.C.

   § 78j(b)], and Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)].

              311.   Honig’s Class Period filings on Schedule 13D/A (and lack thereof) were materially

   false and misleading in at least four ways. First, Honig’s Schedule 13D filings improperly failed

   to disclose his membership in a “group” (i.e., the Honig Group) as required by Section 13(d)(3)

   and Rules 13d-2, 13d-5,35 and 13d-101.36 Because they acted in concert to control the management

   and policies of Riot and pursuant to an agreement to acquire, hold, vote, and/or dispose of Riot


   35
      See 17 C.F.R § 240.13d-5(b)(1) (“When two or more persons agree to act together for the
   purpose of acquiring, holding, voting or disposing of equity securities of an issuer, the group
   formed thereby shall be deemed to have acquired beneficial ownership, for purposes of sections
   13(d) and (g) of the Act, as of the date of such agreement, of all equity securities of that issuer
   beneficially owned by any such persons.”) (emphasis added).
   36
      See 17 C.F.R § 240.13d-101 (“Item 5. Interest in Securities of the Issuer”) (“The above
   information should also be furnished with respect to persons who, together with any of the persons
   named in Item 2, comprise a group within the meaning of section 13(d)(3) of the Act . . . .”)
   (emphasis added).

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   shares in coordination with one another, each of Honig, O’Rourke, Groussman, and Stetson were

   each members of a group that was considered a single “person” under Exchange Act Section

   13(d)(3). As group members, each individual was required to satisfy the group’s reporting

   obligation by making a Schedule 13D filing disclosing that each was a member of that group and

   disclosing the number of shares each of them beneficially owned. However, neither Honig,

   O’Rourke, Groussman, nor Stetson ever made a Schedule 13D filing disclosing their respective

   ownership or membership in a group, acting intentionally to conceal from the market the size of

   their group’s position and their coordination and thereby to deceive investors. Instead, in each and

   every Schedule 13D/A that Honig filed before and during the Class Period, Honig only identified

   himself (and his closely related personal entities such as GRQ 401K) as the only relevant beneficial

   owner.

              312.   Second, Section 13(d)(2) and Rule 13d-1(a) thereunder required Honig to make

   amended Schedule 13D/A filings “promptly” as material changes occurred in any such disclosures

   Honig had made. In that regard, the acquisition or disposition of one percent or more of a

   company’s common stock “shall be deemed ‘material’” under Rule 13d-2(a). Yet, after filing his

   January 5, 2017 Schedule 13D/A, and throughout 2017, Honig engaging in numerous massive

   acquisitions and dispositions of Riot stock – in considerable excess of 1%, whether considered

   collectively or looking at individual day’s trading – but Honig did not file another Schedule 13D/A

   for the rest of 2017 and not until February 13, 2018.

              313.   As background, starting before the Class Period, between April 4 and January 5,

   2017, Honig filed a series of Schedule 13Gs and 13Ds disclosing his increasing stake in Riot’s

   common stock. During this time, Honig’s filings disclosed his share holdings (and percentage

   stake in the Company) as follows:



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                 April 4, 2016 – Schedule 13G – 335,175 shares (8.65%);
                 May 16, 2016 – Schedule 13G/A – 386,581 shares (9.97%);
                 September 8, 2016 – Schedule 13D – 373,899 shares (9.6%);
                 September 14, 2016 – Schedule 13D/A – 389,159 shares (10.04%);
                 November 9, 2016 – Schedule 13D/A – 452,585 shares (10.05%);
                 December 1, 2016 – Schedule 13D/A – 500,000 shares (11.10%);
                 January 5, 2017 – Schedule 13D/A – 504,000 shares (11.19%) (Exhibit Q hereto);

              314.    Thereafter, Honig did not file another Schedule 13D/A for the rest of 2017.

   Unbeknownst to Riot’s public investors, however, after January 5, 2017, and throughout the rest

   of 2017, Honig engaged in numerous material changes in his beneficial ownership of Riot common

   stock – primarily massive sales outside of the public view because Honig violated Section 13(d)

   and Rule 13d-2(a) by failing to disclose any of these transactions to the market.

              315.    Honig’s failure to file any further amendments during 2017 after his January 5,

   2017 Schedule 13D/A violated Section 13(d)(2) and Rule 13d-1(a) thereunder because, as set forth

   below, Honig engaged in numerous transactions in which he either acquired or disposed of more

   1% of Riot’s then-outstanding shares based on the information he later disclosed in his January 5,

   2017 Schedule 13D/A (Exhibit Q) and his next Schedule 13D/A filed on April 18, 2018 (attached

   hereto as Exhibit P).

              316.    Honig’s 2017 trading is set forth in the following chart, which details Honig’s

   puchases and (sales) and the percent change those sales constituted in Riot’s total outstanding

   shares during that time period:

                                                BARRY HONIG
        EVENT         SEC FORM (FILED          SHARES     % OF                         % CHANGE
                                                                      SHARES
         DATE              DATE)                HELD       ALL
                                                                   BOUGHT|(SOLD)
                                                         SHARES
    01/04/17          Form 4 (Jan. 4, 2017)    443,585                 4,000             N/A
    01/04/17         13D/A (Jan. 5, 2017) 37   504,000    11.19%                        +1.34%



   37
        Based on 4,403,971 shares foutstanding as of November 11, 2016 (Jan. 5, 2017 Sched. 13D/A).

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                                               BARRY HONIG
        EVENT       SEC FORM (FILED         SHARES       % OF                                  % CHANGE
                                                                         SHARES
         DATE            DATE)               HELD         ALL
                                                                      BOUGHT|(SOLD)
                                                        SHARES
    03/15/1738    13D/A (April 18, 2018)     March 2017 Private Placement Agreement                  N/A
    03/29/17      13D/A (April 18, 2018)                                    35,000                 +0.77%
    03/31/17      13D/A (April 18, 2018)                                    (4,200)                -0.09%
    04/05/17      13D/A (April 18, 2018)                                     (800)                 -0.01%
    04/13/17      13D/A (April 18, 2018)                                    (4,100)                -0.09%
    04/18/17      13D/A (April 18, 2018)                                    (4,900)               -0.09%39
    04/25/17      13D/A (April 18, 2018)                                    (1,200)               -0.02%40
    04/26/17      13D/A (April 18, 2018)                                     (100)                  0.00%
    04/28/17      13D/A (April 18, 2018)                                    (2,100)                -0.04%
    05/01/17      13D/A (April 18, 2018)                                    (4,000)                -0.08%
    05/09/17      13D/A (April 18, 2018)                                    (5,500)                -0.11%
    05/10/17      13D/A (April 18, 2018)                                    (2,500)                -0.05%
    05/16/17      13D/A (April 18, 2018)                                    (1,000)                -0.02%
    05/23/17      13D/A (April 18, 2018)                                    (1,800)                -0.03%
    05/31/17      13D/A (April 18, 2018)                                    (9,900)                -0.20%
    06/02/17      13D/A (April 18, 2018)                                    (1,971)                -0.04%
    06/08/17      13D/A (April 18, 2018)                                   (11,301)               -0.21%41
           61,672 shares sold between January 4 and June 8, 2017 = 1.14% of 5,371,185 shares outstanding
    06/12/17      13D/A (April 18, 2018)                                    (1,300)                -0.02%
    06/13/17      13D/A (April 18, 2018)                                     (400)                  0.00%
    06/14/17      13D/A (April 18, 2018)                                    (3,251)                -0.06%
    06/15/17      13D/A (April 18, 2018)                                    (1,307)                -0.02%
    06/19/17      13D/A (April 18, 2018)                                    (7,412)                -0.13%
    06/20/17      13D/A (April 18, 2018)                                    (2,027)                -0.03%
    06/22/17      13D/A (April 18, 2018)                                    (9,744)                -0.18%
    06/23/17      13D/A (April 18, 2018)                                    (5,000)                -0.09%
    06/30/17      13D/A (April 18, 2018)                                    (3,000)                -0.05%
    07/01/17      13D/A (April 18, 2018)                                    (1,000)                -0.01%
    07/10/17      13D/A (April 18, 2018)                                    (1,200)               -0.02%42
    07/13/17      13D/A (April 18, 2018)                                     1,502                 +0.02%
    07/17/17      13D/A (April 18, 2018)                                    (1,200)               -0.02%43
    07/18/17      13D/A (April 18, 2018)                                     (975)                 -0.01%
    07/19/17      13D/A (April 18, 2018)                                    (1,114)                -0.02%
    08/04/17      13D/A (April 18, 2018)                                      (7)                   0.00%



   38
     “The date of event which required the filing of an amendment to the Schedule 13D after
   Amendment No. 5 [Honig’s January 5, 2017 13D/A] was March 15, 2017,” the date of the March
   2017 Private Placement Agreement (Apr. 18, 2018 Sched. 13D/A).
   39
        Based on 4,903,971 shares outstanding as of March 31, 2017 (Apr. 20, 2017 S-3).
   40
        Based on 4,903,971 shares outstanding as of April 20, 2017 (Apr. 27, 2017 10-K/A).
   41
        Based on 5,371,179 shares outstanding as of June 5, 2017 (June 6, 2017 PRER14A).
   42
        Based on 5,371,170 shares outstanding as of July 3, 2017 (July 10, 2017 DEF14A).
   43
        Based on 5,392,503 shares outstanding as of July 14, 2017 (July 19, 2017 Form S-3/A).

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                                               BARRY HONIG
        EVENT       SEC FORM (FILED         SHARES        % OF                                  % CHANGE
                                                                         SHARES
         DATE            DATE)               HELD          ALL
                                                                      BOUGHT|(SOLD)
                                                         SHARES
    10/04/17       13D/A (April 18, 2018)                                    (47,250)               -0.86%44
        86,187 shares sold between June 12 and October 4, 2017 = 1.58% of Riot’s 5,436,503 shares outstanding
    10/05/17       13D/A (April 18, 2018)                             (11,400) | 235,96045      -0.20% | +4.34%
    10/06/17       13D/A (April 18, 2018)                               (10,000) | 58,990      -0.18% | +1.08%
    10/09/17       13D/A (April 18, 2018)                                   (136,028)                -2.50%
    10/10/1746     13D/A (April 18, 2018)                                    (66,529)                -0.98%
    10/11/17       13D/A (April 18, 2018)                            (293,916) | 634,11247     -4.36% | +9.42%
    10/12/17       13D/A (April 18, 2018)                                    (41,600)                -0.61%
    10/17/17       13D/A (April 18, 2018)                                     (4,000)                -0.05%
    10/18/17       13D/A (April 18, 2018)                                     (3,088)                -0.04%
    10/19/17       13D/A (April 18, 2018)                                     (3,700)                -0.05%
    10/20/17       13D/A (April 18, 2018)                                    (45,000)                -0.66%
          97,388 shares sold between October 12 and 20, 2017 = 1.44% of Riot’s 6,730,272 shares outstanding
    11/07/17       13D/A (April 18, 2018)                                     (3,800)                -0.05%
    11/09/17       13D/A (April 18, 2018)                                      (800)                 -0.01%
    11/10/17       13D/A (April 18, 2018)                                     (3,972)                -0.05%
    11/13/17       13D/A (April 18, 2018)                                     (9,500)               -0.11%48
    11/14/17       13D/A (April 18, 2018)                                     (5,000)                -0.06%
    11/15/17       13D/A (April 18, 2018)                                     (5,268)                -0.06%
    11/16/17       13D/A (April 18, 2018)                                    (61,000)                -0.73%
           89,340 shares sold between November 7 - 16, 2017 = 1.07% of Riot’s 8,321,137 shares outstanding
    11/17/17       13D/A (April 18, 2018)                                (18,588) | 1,500       -0.22% | +0.01%
    11/20/17       13D/A (April 18, 2018)                                   (262,293)                -3.15%
    11/21/17       13D/A (April 18, 2018)                            (143,475) | 202,05049     -1.72% | +2.42%
    11/24/17       13D/A (April 18, 2018)                                   (266,940)                -3.20%
    11/28/17       13D/A (April 18, 2018)                                    (88,000)                -1.05%
    11/29/17       13D/A (April 18, 2018)                               15,000 | (45,835)       +0.18% | -0.55%
    11/30/17       13D/A (April 18, 2018)                                     (5,752)                -0.06%




   44
        Based on 5,436,503 shares outstanding as of September 20, 2017 (Sept. 25, 2017 S-3/A).
   45
    “Represents shares of Common Stock acquired from the Issuer upon exercise of [Honig’s]
   March 2017 Warrants at an exercise price of $3.56 per share” (Apr. 18, 2018 Sched. 13D/A).
   46
        Based on 6,730,272 shares outstanding as of October 10, 2017 (Oct. 13, 2017 Sched. 13G).
   47
     “Represents [128,988] shares of Common Stock acquired from [Riot] upon exercise of [Honig’s]
   March 2017 Warrants at an exercise price of $3.56 per share” and “[505,124] shares of Common
   Stock acquired from [Riot] upon conversion of [Honig’s] Series A Preferred Shares at a conversion
   price of $2.50 per share” (Apr. 18, 2018 Sched. 13D/A).
   48
        Based on 8,321,137 shares outstanding as of November 13, 2017 (Nov. 13, 2017 10-Q).
   49
     “Represents shares of Common Stock acquired from the Issuer upon conversion of [Barry
   Honig’s] Series A Preferred Shares at a conversion price of $2.50 per share” (Apr. 18, 2018
   13D/A).

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              317.   As set forth in the above chart, between January 4 and June 8, 2017, Honig sold

   61,672 shares of Riot common stock in 16 separate transactions, which together constituted 1.14%

   of Riot’s 5,371,185 shares outstanding as of June 5, 2017. Between June 12 and October 4, 2017,

   Honig sold a further 86,187 shares in another 16 transactions, amounting to 1.58% of the

   Company’s outstanding shares during that time period. Yet Honig did not disclose any of these

   dozens sales to the market as required by Section 13(d) and Rule 13d-2(a). Thereafter, Honig

   continued to sell even more stock. Specifically, when the Company (through O’Rourke as its new

   CEO) announced on October 4, 2017, that it was changing its name to “Riot Blockchain,” Honig’s

   undisclosed transactions in Riot’s stock skyrocketed. For example, on the following days, Honig

   transacted in more than one percent of Riot’s outstanding shares of common stock:

                 Jan. 4 - June 8, 2017 – sales of 61,672 shares (1.14% disposition);
                 June 12 – Oct, 4, 2017 – sales of 86,187 shares (1.58% disposition);
                 Oct. 5, 2017 – purchases of 235,960 shares (4.34 % acquisition );50
                 Oct. 6, 2017 – purchases of 58,990 shares (1.08% acquisition);
                 Oct. 9, 2017 – sales of 136,028 shares (2.50 % disposition );
                 Oct. 11, 2017 – sales of 293,916 shares (4.36% disposition );
                 Oct. 11, 2017 – purchases of 634,112 shares (9.42% acquisition);51
                 Nov. 7-16, 2017 – sales of 89,340 shares (1.07% disposition);
                 Nov. 20, 2017 – sales of 262,293 shares (3.15% disposition);
                 Nov. 21, 2017 – sales of 143,475 shares (1.72% disposition);
                 Nov. 21, 2017 – sales of 202,050 shares (2.42%% acquisition);
                 Nov. 24, 2017 – sales of 266,940 shares (3.20% disposition); and
                 Nov. 28, 2017 – saless of 88,000 shares (1.05% disposition).



   50
     Honig’s purchases occurred at below market prices by exercising warrants that he obtained from
   the Company in an agreement on March 15, 2017, which he failed to disclose on a Schedule
   13D/A. For example, on October 5, 2017, Honig purchased 235,960 shares at $3.56 per share and
   sold 11,400 shares at $7.47 per share.
   51
      Similarly, Honig’s sales on October 11, 2017, were accomplished by exercising warrants at
   $3.56 per share and converting notes at $2.50 per share. Riot’s public shareholders had no way to
   know that this substantially increased daily trading volume was a 10%+ inside shareholder
   exercising warrants and notes at below market prices because Honig never disclosed his warrants,
   or notes, or even his trades – all in violation of Section 13(d) (and in violation of Section 16(a)).

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              318.   The market did not learn about Honig’s sales until January 31, 2018, when The

   Wall Street Journal published an article entitled “Investor Who Rode Pivot From Biotech to

   Bitcoin Sells Big Stake.”52 The article stated that “Mr. Honig has sold about 500,000 shares, he

   said, but declined to divulge his profit. He said he still owns about 1% of the company.”

   “‘When stock goes up, you take a profit,’ [Honig] said.”

              319.   As a result of this revelation by The Wall Street Journal of Honig’s previously

   undisclosed massive (and nearly complete) divestment of his shares of Riot stock (and other

   revelations of Honig’s role as an insider in the Company’s transformation and affairs and dubious

   history as a penny stock investor), the Company’s stock price fell from an opening price of $14.50

   per share on January 31, 2018, to close at $13.75 that same day, a decline of $0.75, or more than

   5%.53

              320.   In a February 16, 2018 interview with CNBC, former SEC Chairman Harvey Pitt

   stated that the length of time it Honig took to disclose his stock positions was not what he would

   consider to be “timely” disclosure. Former Chairman Pitt said: “Timely is, particularly if you

   have a critical position with the company or have already been disclosed as an owner, you’re

   supposed to file updates promptly, and certainly not longer than ten days at the most, so I think

   there is a serious problem with someone who is already over the threshold, not keeping current

   with his stock position movements.”54


   52
     Ianthe Jeanne Dugan, Investor Who Rode Pivot From Biotech to Bitcoin Sells Big Stake; Barry
   Honig pares back stake in Riot Blockchain, whose shares soared last year after a change of name,
   The Wall Street Journal (Jan. 31, 2018).
   53
     In contrast, on the same day that Riot’s stock price was falling, January 31, 2018, the price of
   Bitcoin increased $112.90 (approximately 1.1%) from opening at $10,108.20 to closing at
   $10,221.10.
   54
     Specifically, former-Chairman Pitt stated, “Timely is, particularly if you have a critical position
   with the company or have already been disclosed as an owner, you’re supposed to file updates
   promptly, and certainly not longer than 10 days at the most,” Pitt said. See CNBC, Former SEC

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              321.   Third, as a Riot shareholder with more than 10% of the Company’s outstanding

   shares, Honig violated his obligations under Exchange Act Section 16(a) and Rules 16a-2 and 16a-

   3 [17 C.F.R. § 240.16a-2 and 240.16a-2] to file Forms 4 by the end of the second business day

   following any day on which he transacted in Riot’s common stock. Indeed, Honig did file two

   Forms 4 on December 2, 2016, and January 4, 2017, but after that never filed another Form 4,

   despite the fact that Riot’s April 27, 2017 Form 10-K/A stated that Honig was a 11.20%

   shareholder as of April 20, and despite the fact that Honig’s April 18, 2018 Schedule 13D/A

   revealed that Honig had trading in Riot’s common stock on March 29, March 31, April 5, April

   13, April 14, and April 18, 2017. By not disclosing these trades within two business days, Honig

   clearly violated Section 16(a) and the rules thereunder.

              322.   Fourth, Honig’s January 5, 2017 Schedule 13D/A stated:

              Item 6. Contracts, Arrangements, Understandings or Relationships with
              Respect to Securities of the Issuer

              Other than as described herein, there are no contracts, arrangements,
              understandings or relationships (legal or otherwise) between the Reporting Person
              and any other person with respect to the shares.

              323.   This disclosure was materially false and misleading for at least two reasons. First,

   Honig failed to disclose his agreement – whether express or tacit – with the Honig Group and

   Selling Stockholders55 – to to acquire, hold, vote, and/or dispose of shares they acquired in Riot in

   coordination with one another while knowingly or recklessly obtaining and exercising undisclosed

   control of the management and policies of Riot and while selling shares of Riot into the market at


   chair on market manipulation and regulating cryptocurrency, available at
   https://www.cnbc.com/video/2018/02/16/former-sec-chair-on-market-manipulation-and-
   regulating-cryptocurrency.html.   See also https://www.sec.gov/fast-answers/answerssched
   13htm.html (“Any material changes in the facts contained in the [Schedule 13D] require a prompt
   amendment.”).
   55
        Such groups are “deemed a ‘person’ for purposes of [Section 13(d)].” 15 U.S.C § 78m(d)(2).

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   artificially inflated prices. Second, “a Schedule 13D reporting person [is] required to file an

   amended Schedule 13D if it acquires warrants from an issuer,” even if “not exercisable for six

   months” and must disclose the warrants in its “Item 6 (contracts) disclosures and file the warrant

   agreement as an exhibit pursuant to Item 7 of Schedule 13D.”56 Here, Honig has effectively

   admitted, in his April 18, 2018 Schedule 13D/A, that the “first date of event which required the

   filing of an amendment to the Schedule 13D after Amendment No. 5 (Honig’s previous January

   5, 2017 Schedule 13D/A) was March 15, 2017, which was the date of the March 15, 2017 Private

   Placement in which Riot entered into agreements with Honig to sell Honig warrants and notes to

   purchase up to 700,000 shares of common stock. Yet, Honig did not disclose this agreement until

   April 18, 2018. Instead, Honig’s January 5, 2017 Schedule 13D/A remained operative and

   informed investors that “there are no contracts, arrangements, understandings or relationships

   (legal or otherwise) between the Reporting Person and any other person with respect to the shares.”

   Thus, in addition to violating his obligations to amend his Schedule 13D/A to disclose his material

   acquisitions and dispositions of Riot’s common stock, Honig further violated Section 13(d) by

   failing to disclose the March 2017 Private Placement, and affirmatively disavowing that he had

   any “understandings or relationships” with respect to Riot’s common stock when in fact he was

   operating a fraudulent pump-and-dump scheme with the other members of the Honig Group, and

   the wider group of Selling Stockholders.

                     2.    Groussman’s Beneficial Ownership Reports on Schedule 13G Were
                           Materially False, Misleading, Deficient, and Untimely

              324.   During the Class Period, Defendant Groussman improperly made Schedule 13G

   filings that falsely represented him as a passive investor in violation of Rule 13d-1(c) and failed to


   56
       See https://www.sec.gov/divisions/corpfin/guidance/reg13d-interp.htm (“Exchange               Act
   Sections 13(d) and 13(g) and Regulation 13D-G Beneficial Ownership Reporting”).

                                                    113
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   disclose his membership in a “group” (i.e., the Honig Group) as required by Section 13(d)(3) and

   Rules 13d-2, 13d-5,57 and 13d-101.58

              325.   Because they acted in concert to control the management and policies of Riot and

   pursuant to an agreement to acquire, hold, vote, and/or dispose of Riot shares in coordination with

   one another, each of Honig, O’Rourke, Groussman, and Stetson were each members of a group

   that was considered a single “person” under Exchange Act Section 13(d)(3). As group members,

   each individual was required to satisfy the group’s reporting obligation by making a Schedule 13D

   filing disclosing that each was a member of that group and disclosing the number of shares each

   of them beneficially owned. However, Groussman never made a Schedule 13D filing disclosing

   his membership in a group, thus further concealing from the market the size of the Honig Group’s

   position and coordination and thereby deceiving Riot’s public investors.

              326.   Not only did Groussman fail to disclose that he was investing in a group, but he

   also failed to file a Schedule 13D at all, instead filing only a Schedule 13G, which is reserved only

   for “passive” investors – which he did not qualify to do under Rule 13d-1(c). Specifically, on

   October 13, 2017, Groussman filed a Schedule 13G reporting that he held 399,202 shares of Riot

   common stock constituting “5.93%” of shares “outstanding as of October 10, 2017.” Groussman’s

   13G checked a box indicating that it was filed pursuant to “Rule 13d-1(c),” which is the rule

   allowing a Schedule 13G to be filed in lieu of a Schedule 13D provided that the person “[h]as not


   57
      See 17 C.F.R § 240.13d-5(b)(1) (“When two or more persons agree to act together for the
   purpose of acquiring, holding, voting or disposing of equity securities of an issuer, the group
   formed thereby shall be deemed to have acquired beneficial ownership, for purposes of sections
   13(d) and (g) of the Act, as of the date of such agreement, of all equity securities of that issuer
   beneficially owned by any such persons.”) (emphasis added).
   58
      See 17 C.F.R § 240.13d-101 (“Item 5. Interest in Securities of the Issuer”) (“The above
   information should also be furnished with respect to persons who, together with any of the persons
   named in Item 2, comprise a group within the meaning of section 13(d)(3) of the Act . . . .”)
   (emphasis added).

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   acquired the securities with any purpose, or with the effect, of changing or influencing the control

   of the issuer, or in connection with or as a participant in any transaction having that purpose or

   effect . . . .” 17. C.F.R. § 204.13d-1(c).

              327.   Groussman’s October 13, 2017 Schedule 13G/A also stated, above his signature,

   that “I certify certify that, to the best of my knowledge and belief, the securities referred to above

   were not acquired and are not held for the purpose of or with the effect of changing or influencing

   the control of the issuer of the securities and were not acquired and are not held in connection with

   or as a participant in any transaction having that purpose or effect.”

              328.   In signing the Schedule 13G/As Groussman falsely identified himself as a passive

   13G investor without any intention to influence or control the Company, and omitted that he was

   a member of a group – and not only a member of a group holding more than 5% of the Company’s

   stock, but an undisclosed control group affiliated with O’Rourke as CEO.

              329.   Similarly, on February 15, 2018, Groussman filed a Schedule 13G/A (Amendment

   No. 1). Groussman’s 13G/A indicated that as of “December 31, 2017,” he had held 188,888 shares

   of Riot’s common stock constituting “1.62%” of shares “outstanding as of December 31, 2017.”

   As before, Groussman’s signed the Schedule 13G/A and checked the box indicating that it was

   filed pursuant to “Rule 13d-1(c),” and “certif[ied] that, to the best of my knowledge and belief, the

   securities referred to above were not acquired and are not held for the purpose of or with the effect

   of changing or influencing the control of the issuer of the securities and were not acquired and are

   not held in connection with or as a participant in any transaction having that purpose or effect.”

              330.   The chart below details Groussman’s reported holdings, together with the

   Company’s own reports of his holdings on Schedules 13G and 13G/A, and calculates the changes




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   in his holdings as a percentage of Riot’s most recently reported shares of common stock

   outstanding.

                                        MARK GROUSSMAN
    FILING DATE             SCHEDULE/FORM                   SHARES    % OF ALL          %
       (EVENT                  (SHARES                       HELD     SHARES          CHANGE
        DATE)                OUTSTANDING)


         04/20/17                   S-3                     500,000    9.04 %             N/A
                           (4,903,971 as of 03/31)
         07/19/17                  S-3/A                    500,000    9.05 %              0
                           (5,392,503 as of 07/14)
         08/24/17                  S-3/A                    500,000    9.05 %              0
                           (5,403,919 as of 08/21)
         09/25/17                  S-3/A                    500,000    8.98 %              0
                           (5,436,503 as of 09/20)
         10/13/17                   13G                     399,202    5.93 %          - 1.49 %
        (10/10/17)         (6,730,272 as of 10/10)
         01/05/18                    S-3                    131,945    1.13 %          - 2.29 %
        (12/28/17)         (11,622,112 as of 01/04)
         02/15/18                  13G/A                    188,888    1.62 %           0.48 %
        (12/31/17)       (11,622,112 as of 12/31/17)

              331.   As shown above, between at least April 20, 2017 and September 25, 2017,

   Groussman held 500,000 shares of Riot common stock, representing approximately 9% of the

   Company’s total outstanding shares, making Groussman one of the Company’s largest

   shareholders. Yet, during that time, Groussman never filed any report of his beneficial ownership

   on either Schedule 13G or 13D as required by Section 13(d) and Rule 13d-1.

              332.   On October 13, 2017 (after the Company had changed its name to “Riot

   Blockchain” and issued a flurry of announcements about its new strategy and strategic

   transactions, including Coinsquare on October 2, 2017, which Groussman was an undisclosed



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   party to a contract with Riot), Groussman finally filed a Schedule 13G disclosing that he held

   399,202 of Riot stock. But by this time, Groussman had already sold 100,798 shares of his initial

   500,000 shares, which amounted to 1.49% of Riot’s total outstanding common stock.

              333.   Thus, Groussman should have not only already filed a Schedule 13D disclosing his

   original 500,000 shares, but he should have “promptly” informed investors when he sold the

   100,798 as required by Rule 13d-2(a) (requiring persons to “promptly” disclose “any material

   increase or decrease in the percentage of the class beneficially owned” and stating that the

   “acquisition or disposition” of “one percent or more of the class of securities shall be deem

   ‘material’ for purposes of this section”). However, because the October 13, 2017 Schedule 13G

   was Groussman’s first report, it is impossible to know when he sold the 100,798 shares and

   whether that material sale of Riot stock was reported “promptly.”

              334.   It is clear, however, that Groussman’s subsequent sales 267,257 shares of Riot stock

   (representing 2.29% of Riot’s total outstanding shares) between October 13, 2017, and January 5,

   2018 were not promptly reported as required by Rule 13d-2(a). Instead, Groussman waited until

   February 15, 2018 to disclose that his stake in Riot (last reported on October 13, 2017 as 5.93 %

   had dropped to 1.62 %.59 By waiting to disclose his reduced beneficial ownership at least 49 days

   (since December 28, 2017) and likely much longer (assuming at least some of his sales occurred,

   like Honig’s sales, in October and November 2017), Groussman violated Section 13(d) and




   59
     Groussman may argue that he was allowed to file on February 15 by Rule 13d-2(b), which
   permits amendment of a Schedule 13G “[45] days after the end of the calendar year” but this rule
   only applies to persons who qualify to file a Schedule 13G because they are “passive” investors
   under Rule 13d-1(c). As noted above, however, Groussman was not a “passive” investor but a
   member of the Honig Group. Like Honig and DeFrancesco, Groussman was required to file a
   Schedule 13D and abide by the requirements for all 13D filers. Like Honig and DeFrancesco,
   Groussman failed to comply.

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   facilitated the Honig Group’s pump-and-dump scheme by concealing his stock sales from the

   market.

                      3.    DeFrancesco’s Beneficial Ownership Reports on Schedule 13D Were
                            Materially False, Misleading, Deficient, and Untimely

              335.    During the Class Period, Defendant DeFrancesco facilitated and concealed the

   Honig Group’s pump-and-dump scheme at Riot through material misrepresentations and

   omissions on Schedule 13D, and her amendments thereto on Schedule 13D/A, which violated not

   only DeFrancesco’s duties under Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and

   Rule 13d-1(a) thereunder [17 C.F.R. § 240.13d-1(a)], but also violated Section 10(b) of the

   Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)].

              336.    DeFrancesco filed her initial Schedule 13D on September 12, 2016, reporting

   holding 7.49% of Riot’s common stock as of September 2, 2016. DeFrancesco later filed amended

   Schedule 13D/As, reporting her percentage holdings of Riot’s common stock up until January 10,

   2017, when she reported owning 515,777 shares representing 11.45 % of Riot’s outstanding

   common stock. From January 10, 2017 to the present day, DeFrancesco has, inexplicably, never

   again reported her holdings of Riot common stock.

              337.    The chart below details DeFrancesco’s reported holdings, together with the

   Company’s own reports of her holdings, and calculates change in her holdings as a percentage of

   Riot’s most recently reported shares of common stock outstanding.

                                     CATHERINE DEFRANCESCO
     FILING DATE             SCHEDULE/FORM                  SHARES     % OF ALL         %
    (EVENT DATE)                (SHARES                      HELD      SHARES         CHANGE
                              OUTSTANDING)
          09/12/16                   13D                    290,404       7.49 %         NA
          (9/02/16)          (3,876,961 as of 8/10)



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                                   CATHERINE DEFRANCESCO
     FILING DATE           SCHEDULE/FORM                   SHARES      % OF ALL      %
    (EVENT DATE)              (SHARES                       HELD       SHARES      CHANGE
                            OUTSTANDING)
               09/14/16           13D/A                    341,17660    8.80 %      1.30 %
              (09/13/16)   (3,876,961 as of 8/10)
               09/20/16           13D/A                    341,17661    8.80 %         0
              (09/20/16)   (3,876,961 as of 8/10)
              10/07/16            PRE 14A                  341,17662    7.60 %         0
                           (4,503,971 as of 09/30)
              10/17/16            DEF 14A                  341,17663    7.60 %         0
                           (4,503,971 as of 09/30)
               10/20/16           13D/A                    362,835      9.36 %      0.55 %
              (10/18/16)   (3,876,961 as of 8/10)
               10/25/16           13D/A                    364,435      9.40 %      0.04 %
              (10/25/16)   (3,876,961 as of 8/10)
               12/05/16            13D/A                   470,676      10.45 %     2.35 %
              (11/30/16)   (4,503,971 as of 11/11)
               12/09/16            13D/A                   475,777      10.56 %     0.11 %
              (12/07/16)   (4,503,971 as of 11/11)
               12/13/16            13D/A                   478,277      10.62 %     0.05 %
              (12/09/16)   (4,503,971 as of 11/11)
               01/10/17            13D/A                   515,777      11.45 %     0.83 %
              (01/05/17)   (4,503,971 as of 11/11)
              04/27/17             10-K/A                  515,77764    11.5 %65       0
                           (4,903,971 as of 04/20)

   60
      States that DeFrancesco’s 341,176 shares “is based upon holdings reported on Schedule 13D
   filing and amendments, the most recent filed on September 20, 2016.”
   61
        Id.
   62
        Id.
   63
        Id.
   64
      States that DeFrancesco’s 515,777 shares “is based upon holdings reported on Schedule 13D
   filing and amendments, the most recent filed on January 10, 2017.”
   65
        Id.

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                                        CATHERINE DEFRANCESCO
     FILING DATE                 SCHEDULE/FORM                  SHARES      % OF ALL        %
    (EVENT DATE)                    (SHARES                      HELD       SHARES        CHANGE
                                  OUTSTANDING)
              04/28/17                 PRE14A                   515,77766    11.5 %67         0
                                (4,903,971 as of 04/20)
              06/06/17                PRER14A                   515,77768    9.60 %69         0
                                (5,371,179 as of 06/05)
              06/28/17                PRER14A                   515,77770    9.60 %71         0
                                (5,371,179 as of 06/05)
              06/29/17                PRER14A                   515,77772    9.60 %73         0
                                (5,371,179 as of 06/05)
              07/10/17                 DEF 14A                  515,77774    9.60 %75         0
                                (5,371,170 as of 07/03)
               01/05/18                  S-3                    155,904       1.3 %        - 3.09 %
              (12/28/17)       (11,622,112 as of 01/04)
               02/07/18                 S-3/A                   155,904       1.3 %           0
              (02/05/18)       (11,652,270 as of 02/05)

                338.     As shown above, in each of her nine Schedule 13D or 13/D filings, DeFrancesco

   reported holding an increasing stake in the Company’s outstanding shares of common stock.




   66
        Id.
   67
        Id.
   68
        Id.
   69
        Id.
   70
        Id.
   71
        Id.
   72
        Id.
   73
        Id.
   74
        Id.
   75
        Id.

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              339.   Yet, after filing her January 10, 2017 Schedule 13D/A, and reporting her 11.45%

   stake in Riot, DeFrancesco never filed another disclosure, despite having reported that she was a

   Riot major 10%+ shareholder (and thus insider) to report her subsequent holdings – or subsequent

   stock sales – to the market.76

              340.   Although DeFrancesco never filed a Schedule 13D/A after January 10, 2017, she

   appears to have sold nearly all of her stake in Riot stock between January 10, 2017 and December

   28, 2017. Specifically, on January 5, 2018, Riot filed a Form S-3 reporting that as of December

   28, 2017, DeFrancesco had only held 139,904 shares of Riot stock representing only 1.20 of Riot’s

   outstanding shares. Thus, between January 10, 2017, and December 28, 2017, DeFrancesco sold

   375,873 shares of Riot stock, representing 3.22% of the Company’s overall shares of common

   stock,77 without ever disclosing to the market her highly material change in beneficial ownership

   of Riot stock (which she had last reported as 11.45%). By failing to ever amend her January 10,

   2017 Schedule 13D/A, DeFransco violated required by Section 13(d) and Rule 13d-1(a), but more

   importantly, actively facilitated the Honig Group’s pump-and-dump scheme by denying material

   information to the Company’s public investors she and others in Honig Group sold their shares

   into the market. In sum, by violating her disclosure obligations under the federal securities laws,

   while engaging in manipulative trading, DeFrancesco violated Section 10(b) and Rule 10b-5.




   76
      In addition, as a Riot shareholder with more than 10% of the Company’s outstanding shares,
   DeFrancesco violated her obligations under Exchange Act Section 16(a) and Rules 16a-2 and 16a-
   3 [17 C.F.R. § 240.16a-2 and 240.16a-2] to file Forms 3 and 4 and to file an updated Form 4 within
   the end of the second business day following any day on which she transacted in Riot’s common
   stock.
   77
     This percentage is highly conservative because it uses as its denominator the 11,622,112 shares
   of Riot common stock outstanding as of January 4, 2018. In contrast, when DeFrancesco last
   reported her 11.45% stake in Riot stock, the Company had last reported having 4,503,971 as of
   November 11, 2016.

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                     4.     Stetson Failed to File Beneficial Ownership Reports with the SEC
                            Despite Co-Investing Alongside the Undisclosed Honig Group

              341.   Because Defendant Stetson acted in concert with Honig, O’Rourke, and

   Groussman, to control the management and policies of Riot and pursuant to an agreement to

   acquire, hold, vote, and/or dispose of Riot shares in coordination with one another, each of them

   were each members of a group that was considered a single “person” under Exchange Act Section

   13(d)(3). As group members, each individual was required to satisfy the group’s reporting

   obligation by making a Schedule 13D filing disclosing that each was a member of that group and

   disclosing the number of shares each of them beneficially owned. However, Stetson never made

   a Schedule 13D filing disclosing his membership in a group, thereby concealing from the market

   the size of their group’s position and their coordination and thereby deceiving investors.

              342.   Each of Riot’s April 20, July 19, August 24, and September 25, 2017 Forms S-3/A

   identified Stetson Capital as holding 4.99% of Riot’s common stock before each of those four

   offerings. Specifically, Stetson’s reported shares on each date were April 20 (283,400) July 19

   (283,300), August 24 (283,300), and September 25 (285,150). By purportedly keeping his

   holdings below 4.99%, Stetson appeared to stay below the 5% threshold ownership at which

   Exchange Act Section 13(d) required public disclosure of holdings. In other words, by ostensibly

   staying close to but immediately below the 5% ownership threshold, and evading the public

   reporting requirements, Stetson increased the likelihood that he and his associates (including

   Honig, DeFrancesco, and Groussman) could conceal the millions of shares that they had amassed

   and thereby mask their scheme to pump up Riot’s share price and trading volume in anticipation

   of a profitable sell-off to unsuspecting investors.

              343.   Structuring his shareholding in this manner was itself misleading, however, because

   as a member of a group, Stetson himself was required (under Section 13(d)(3) and Rules 13d-2,


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   13d-5, and 13d-101) to file a Schedule 13D identifying himself a group member. Yet, Stetson

   never made any filing under Schedule 13G or 13D as a Riot stockholder. Because Stetson never

   filed a Schedule 13D or amended 13D/A, Riot’s public investors were not notified when, as a

   group member, Stetson sold his shares into the market during the group’s pump-and-dump scheme.

              B.     Defendants’ Materially False and Statements and Omissions Regarding the
                     Company’s Beneficial Ownership and Related-Party Transactions

              344.   As discussed above in § IX.A, similar beneficial ownership obligations as those

   imposed on stockholders (such as Honig, DeFrancesco Groussman, and Stetson) are also imposed

   on issuers (such as Riot) pursuant to Section 13(a) and Item 403 of Regulation S-K. In violation

   of these obligations, Honig, O’Rourke, Groussman, Stetson, and DeFrancesco knowingly and/or

   recklessly concealed their concerted “group” investment in Riot from the investing public.

              345.   Likewise, O’Rourke and Beeghley, as Riot executives and/or Board members who

   signed Riot’s SEC filings, had full knowledge of that Honig, DeFrancesco Groussman, and Stetson

   (together O’Rourke and Beeghley, and other affiliated “selling stockholders”) were all acting in

   concert to coordinate their acquisition and voting of Riot stock, and to control the direction of the

   management and policies of Riot. Yet, working from within the Company, O’Rourke and

   Beeghley kept the Honig Group’s scheme to control Riot a secret by signing false and misleading

   public SEC filings that did not disclose that even the Honig Group constituted a “group” under

   Section 13(d)(3) and Item 403 of Regulation S-K, much less the full extent of the Honig Group’s

   coordination control of Riot.

              346.   As discussed below, during the Class Period, O’Rourke and Beeghley knowingly

   caused Riot to issue materially false and misleading Securities Registration Statements on Form

   S-3/A, Annual Reports on Form 10-K, and Proxy Statements on Form DEF 14A. When the true

   facts about the Honig Group’s connections and scheme to control Riot were revealed – including


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   O’Rourke’s role (while CEO of Riot) as a key member and collaborator of the Honig Group who

   had been taking directions from Honig himself – Riot’s shareholders sustained substantial financial

   losses.

                     1.     April 20, 2017 – Registration Statement (Form S-3/A)

              347.   On April 20, 2017 the Company filed a Form S-3/A, signed by Defendants

   O’Rourke and Beeghley, registering for sale to the investing public 5,657,161 shares of common

   to be sold by the certain “Selling Stockholders.” The Form S-3/A contained a “table” that

   purported to list “of April 14, 2017, . . . the number of shares held of record or beneficially by the

   selling stockholders as of such date” of Riot common stock, as the Form S-3/A was required to

   pursuant to Item 403 of Regulation S-K.




              348.   As noted above (see § IX.A, supra) this disclosure was required by Exchange Act

   Section 13(a) and Exchange Act Regulation S-K at Item 403, which requires issues to provide a

   disclosure in “tabular form” of “any person (including any ‘group’ as that term in used in section

   13(d)(3) of the Exchange Act) who is known to the registration to be the beneficial owner of more

   than five percent of any class of the registrants voting securities.” 17 C.F.R. § 229.403.

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              349.   The disclosures relating to the Selling Stockholders in the April 20, 2017 Form S-

   3/A were materially false and misleading. First, the April 20, 2017 Form S-3/A listed Defendants

   Honig, Groussman, and Stetson (along with their related entities including GRQ 401K,

   Melachdavid, Groussman’s two UTMA funds, and Stetson Capital) as Selling Stockholders, but

   did not disclose, as required by Exchange Act Section 13(a) and Exchange Act Regulation S-K at

   Item 403, that Honig, Groussman, and Stetson constituted a “‘group’ as that terms is defined and

   used in Section 13(d)(3) of the Exchange Act.” 17 C.F.R. § 229.403(a). Specifically, although

   the S-3/A listed Honig as a 9.99% beneficial owner; Groussman (through Melachdavid and the

   two UTMA accounts) as a 9.04% beneficial owner; and Stetson (through Stetson Capital) as a

   4.99% owner, it failed to disclose the combined group ownership of Honig, DeFrancesco,

   Groussman, and Stetson (or their entities) that formed the Honig Group.

              350.   Similarly, the S-3/A misrepresented and omitted that Selling Stockholders Aifos,

   Titan, Molinksy, O’Braitis, Paradox (i.e., Honig’s longtime lawyer, Kesner), and Stockwire were

   all previously affiliated with the Honig Group through investments in previous companies (see

   § X.B, supra) and through those prior investments and relationships, had in fact been selected and

   invited by the Honig Group to invest in Riot.

              351.   Second, the majority (if not all) of the “selling stockholders” listed in the April 20,

   2017 Form S-3/A had invested together in multiple previous public companies, and were engaged

   in a common scheme and conspiracy to artificially inflate Riot’s stock at the expense of other

   would-be public shareholders. Altogether, this group of Honig-associated stockholders accounted

   for at least 55% of Riot’s common stock78 (and likely more) without taking into count the



   78
     Specifically, the following April 20, 2017 Selling Stockholders (and their percentage of stock
   owned) were associates of Honig and members of the Honig Group: Richardson (3.63%);
   Melechdavid (6.10%); Groussman (1.47% each in two UTMA funds for a total of 2.94%); Honig

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   approximately 11.45% of percent shares that Defendant DeFrancesco had owned as of January 10,

   2017.79

              352.   Third, the Selling Stockholders operated as a centrally organized “control group”

   that coordinated their trades down to the single share. In that regard, closer scrutiny of Riot’s

   April-September 2017 Forms S-3/A reveals how various members of the Honig Group precisely

   coordinated shareholdings, resulting in implausibly coincidental numbers of shares these

   purportedly “unrelated” stockholders (and their investment entities) held. For example, in the

   April 20, 2017 Form S-3/A, O’Braitis and JAD Capital (a corporation in Ontario owned by

   Theofilos, the CEO of MUNDOMedia Ltd., a company in which Defendant Honig, his brother,

   O’Rourke, Stetson, and Groussman each held shares, both reported beneficially owning “81,204”

   shares representing “1.48%” of the Company’s common stock. Id.

              353.   Fourth, April 20, 2017 S-3/A further stated that “[u]nless otherwise indicated

   below, to our knowledge, all persons named in the table have sole voting and investment power

   with respect to their shares of Common Stock, except to the extent authority is shared by their

   spouses under applicable law.” This disclosure was required by Exchange Act Section 13(a) and

   Exchange Act Regulation S-K at Item 403), which requires issuers to “[i]nclude such additional

   subcolumns or other appropriate explanation of column (3) [i.e., “Amount and Nature of Beneficial

   Ownership”] necessary to reflect amounts as to which the beneficial owner has (A) sole voting

   power, (B) shared voting power, (C) sole investment power, or (D) shared investment power.” 17

   C.F.R. § 229.403 (c)(2). However, this statement in the April 20, 2017 S-3/A was materially false



   (9.99%); GRQ 401K (9.99%); Titan (9.99%); O’Braitis (1.48%); Stockwire (i.e., James) (0.75%);
   Aifos (i.e., Theofilos) (2.20%); Stetson Capital (i.e., Stetson) (4.99%); JAD (1.48%); and
   Molinsky (1.80%).
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        See Riot Blockchain, Inc., Amended Annual Report (Form 10-K/A) at 52 (Jun 29, 2018).

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   and misleading when made because that Honig, Groussman, Stetson, toegether with Aifos, Titan,

   Molinksy, O’Braitis, Paradox, and Stockwire were investing as a group and thereby and agreed,

   either explicitly or implicitly, to share their voting and/or investment power with respect to Riot’s

   common stock.

              354.   Fourth, the April 20, 2017 S-3/A also stated that “[e]ach selling stockholder has

   informed us that it does not have any written or oral agreement or understanding, directly or

   indirectly, with any person to distribute the Common Stock.” However, this statement in the April

   20, 2017 S-3/A was similarly materially false and misleading when made because that Honig,

   Groussman, Stetson, toegether with Aifos, Titan, Molinksy, O’Braitis, Paradox, and Stockwire

   were investing as a group and thereby and agreed, either explicitly or implicitly, to share their

   voting and/or investment power with respect to Riot’s common stock.

              355.   As discussed above, O’Rourke and Beeghley knew, at a minimum, that Honig,

   Groussman, and Stetson were investing together as a group, but they signed the April 20, 2017

   Form S-3/A without disclosing theses individuals collective beneficial ownership of Riot.

              356.   Beeghley also knew that Honig, Groussman, Stetson, toegether with various Selling

   Stockholders – including at least Aifos, Titan, Molinksy, O’Braitis, Paradox, and Stockwire – were

   all previously affiliated because those same individuals and/or entities had all invested in

   PolarityTE when Beeghley was a Director of PolarityTE, a company of which that Honig had been

   Chairman and CEO and Stetson had been CFO. Thus, O’Rourke and Beeghley knew the S-3/A

   violated Section 13(d) and was materially false and misleading.

                     2.     April 27, 2017 – Annual Report (Form 10-K/A)

              357.   Riot’s 2016 Form 10-K, filed with the SEC on April 27, 2017, and signed by

   O’Rourke and Beeghley contained a table that purported to “set[] forth the beneficial ownership

   of the Company’s common stock as of April 20, 2017 by each Company director, director nominee

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   and each executive officer then serving, by all directors, director nominees and executive officers

   as a group, and by each person who owned of record, or was known to own beneficially, more than

   5% of the outstanding shares of common stock,” as required by Item 403 of Regulation S-K. The

   table is below




              358.   Although this table in Riot’s April 27, 2017 Form 10-K disclosed Honig as a

   beneficial owner of 11.2% of Riot’s outstanding common stock, and DeFrancesco as a beneficial

   owner of 11.5% of Riot’s outstanding common stock, it failed to disclose the combined group

   ownership of Honig, DeFrancesco Groussman, and Stetson (and their entities). O’Rourke and

   Beeghley knew that Honig, DeFrancesco Groussman, and Stetson were working together as a

   group, but they failed to disclose in the Form 10-K the Honig Group’s combined beneficial

   ownership of Riot’s stock.

              359.   Thus, Riot’s Form 10-K concealed from Riot’s public investors material

   information about the Honig Group’s coordinated investment in Riot as a group as defined by

   Section 13(d)(3). Such information is especially important to investors evaluating microcap

   issuers such as Riot, which are particularly susceptible to manipulation by undisclosed control

   persons.




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              360.   As discussed above, O’Rourke and Beeghley knew that Honig and DeFrancesco

   were investing with each others, with the other Honig Group members, and with various Selling

   Stockholders, which together constituted a group that required disclosure under Section 13(d).

                     3.     July 19, 2017 – Registration Statement (Form S-3/A)

              361.   On July 19, 2017, Bioptix filed a Form S-3/A registering for sale to the investing

   public, 5,657,161 shares of common to be sold by the following “Selling Stockholders”:




              362.   The July 19, 2017 Form S-3/A also stated that “[u]nless otherwise indicated below,

   to our knowledge, all persons named in the table have sole voting and investment power with

   respect to their shares of Common Stock, except to the extent authority is shared by their spouses

   under applicable law” and that “[e]ach selling stockholder has informed us that it does not have

   any written or oral agreement or understanding, directly or indirectly, with any person to distribute

   the Common Stock.”

              363.   The disclosures relating to the Selling Stockholders in the July 19, 2017 Form S-

   3/A, which was signed by Defendants O’Rourke and Beeghley, were materially false and

   misleading when made for the same reasons discussed above for the April 20, 2017 Form S-3/A.

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              364.   The July 19, 2017 S-3/A was also materially false and misleading because – like

   the April 20, 2017 Form S-3 – it failed to disclose that the majority (if not all) of the “selling

   stockholders” were members of the Honig Group, had invested together in multiple previous

   public companies, and were engaged in a common scheme and conspiracy to artificially inflate

   Riot’s stock at the expense of other would-be public shareholders. Altogether, this group of Honig-

   associated stockholders accounted for at least 55% of Riot’s common stock80 (and likely more)

   without taking into count the approximately 11.45% of percent shares that Defendant DeFrancesco

   had owned as of January 10, 2017.

              365.   Indeed, the Selling Stockholders operated as a centrally organized “control group”

   that coordinated their trades down to the single share. For example, in the July 19, 2017 Form S-

   3/A, O’Braitis and Aifos both reported beneficially owning “40,602” shares representing “0.75%”

   of the Company’s common stock. ¶ 220. Similarly, in the August 24, 2017 Form S-3/A,

   Stockwire, ¶ 72 (a Florida corporation owned by James, ¶ 51, a stock promoter who has touted

   various Honig-backed companies including Pershing Gold, MusclePharm Inc. (the parent of

   Biozone), and Valor Gold Corp.) and “Policy No. 2013-17,” ¶ 77, both reported owning “40,602”

   shares representing “[l]ess than 1%” of the Company’s common stock. ¶ 220.

                     4.     August 24, 2017 – Registration Statement (Form S-3/A)

              366.   On August 24, 2017, Bioptix filed a Form S-3/A registering, for sale to the investing

   public, 5,657,161 shares of common to be sold by the following “Selling Stockholders”:



   80
      Specifically, the following July 19, 2017 Selling Stockholders (and their percentage of stock
   owned) were associates of Honig and members of the Honig Group: Richardson (3.64%);
   Melechdavid (6.11%); Groussman (1.47% each in two UTMA funds for a total of 2.94%); Honig
   (9.99%); GRQ 401K (9.99%); Titan (9.99%); O’Braitis (1.48%); Northurst (9.99%); Stockwire
   (i.e., James) (0.73%); Aifos (i.e., Theofilos) (2.20%); Stetson Capital (i.e., Stetson) (4.99%); and
   JAD (1.46%); Molinsky (1.78%).

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              367.   The August 24, 2017 Form S-3/A also stated that “[u]nless otherwise indicated

   below, to our knowledge, all persons named in the table have sole voting and investment power

   with respect to their shares of Common Stock, except to the extent authority is shared by their

   spouses under applicable law” and that “[e]ach selling stockholder has informed us that it does not

   have any written or oral agreement or understanding, directly or indirectly, with any person to

   distribute the Common Stock.”

              368.   The disclosures relating to the Selling Stockholders in the August 24, 2017 Form

   S-3/A, which was signed by Defendants O’Rourke and Beeghley, were materially false and

   misleading when made for the same reasons discussed above for the April 20, 2017 Form S-3/A

   and July 19, 2017 Form S-3/A.

                     5.     September 25, 2017 – Registration Statement (Form S-3/A)

              369.   On September 25, 2017 Bioptix filed a Form S-3/A registering, for sale to the

   investing public, 5,677,102 shares of common to be sold by the following “Selling Stockholders”:




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              370.   The September 25, 2017 Form S-3/A also stated that “[u]nless otherwise indicated

   below, to our knowledge, all persons named in the table have sole voting and investment power

   with respect to their shares of Common Stock, except to the extent authority is shared by their

   spouses under applicable law” and that “[e]ach selling stockholder has informed us that it does not

   have any written or oral agreement or understanding, directly or indirectly, with any person to

   distribute the Common Stock.”

              371.   The disclosures relating to the Selling Stockholders in the September 25, 2017

   Form S-3/A, which was signed by Defendants O’Rourke and Beeghley, were materially false and

   misleading when made for the same reasons discussed above for the April 20, 2017 Form S-3/A.

              372.   Additionally, the September 25, 2017 Form S-3/A was materially false and

   misleading because it failed to disclose that the majority (if not all) of the “selling stockholders”

   were members of the Honig Group had invested together in multiple previous public companies

   and were engaged in a common scheme and conspiracy to artificially inflate Riot’s stock at the

   expense of other would-be public shareholders. Altogether, this group of Honig-associated

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   stockholders accounted for at least 55% of Riot’s common stock81 (and likely more) without taking

   into count the approximately 11.45% of percent shares that Defendant DeFrancesco had owned as

   of January 10, 2017.

              373.   Indeed, as in previous Forms S-3/A, the Selling Stockholders operated as a centrally

   organized “control group” that coordinated their trades down to the single share. For example, in

   the September 25, 2017 Form S-3/A, O’Braitis and JAD Capital both reported beneficially owning

   “80,410” shares representing “1.46%” of the Company’s common stock. And although Policy No.

   2013-17 and Stockwire both sold all of their 40,602 shares in the August 24, 2017 Form S-3/A,

   ¶225, the September 25, 2017 Form S-3/A disclosed that these two “Selling Stockholders” had

   returned and now both owned “40,205” shares representing “[l]ess than 1%” of the Company’s

   common stock, all of which they both planned to sell.

                     6.     January 5, 2018 – Registration Statement (Form S-3)

              374.   On January 5, 2018, after the close of trading on a Friday, leading into a weekend,

   Riot filed a Securities Registration Statement on Form S-3 registering, for sale to the investing

   public, 3,292,226 shares of common to be sold by the following “Selling Stockholders”:




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      Specifically, the following September 25, 2017 Selling Stockholders (and their percentage of
   stock owned) were associates of Honig and members of the Honig Group: Northurst (9.99%);
   Eric Richardson (3.63%); Melechdavid, Inc. (6.06%); Mark Groussman (1.46% each in two
   UTMA funds for a total of 2.94%); Honig (9.99%); Titan Multi-Strategy Fund I, Ltd. (9.99%);
   O’Braitis (1.46%); Stockwire (i.e., James) (0.75%); Aifos (i.e., Theofilos) (2.17%); Stetson
   Capital Management, LLC (i.e., Stetson) (4.99%); JAD Capital Inc. (1.48%); and Richard
   Molinsky (1.80%).

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              375.   The January 5, 2018 Form S-3/A also stated that “[u]nless otherwise indicated

   below, to our knowledge, all persons named in the table have sole voting and investment power

   with respect to their shares of Common Stock, except to the extent authority is shared by their

   spouses under applicable law” and that “[e]ach selling stockholder has informed us that it does not

   have any written or oral agreement or understanding, directly or indirectly, with any person to

   distribute the Common Stock.”


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              376.   The disclosures relating to the Selling Stockholders in the January 5, 2018 Form S-

   3, which was signed by Defendants O’Rourke and Beeghley, were materially false and misleading

   when made for the same reasons discussed above for the April 20, 2017 Form S-3/A.

              377.   Indeed, as in previous Forms S-3/A, the Selling Stockholders operated as a centrally

   organized “control group” that coordinated their trades down to the single share. In that regard, in

   the January 5, 2018 Form S-3 Form S-3/A, both Michael Ference (a Partner with Sichenzia, Ross

   Ference LLP) and Paradox Capital Partners LLC (owned by Harvey Kesner, another partner with

   Sichenzia, Ross Ference LLP and Defendant Honig’s long-time lawyer who represented Honig

   and DeFrancesco in their proxy fight to gain control of Riot), both reported owning exactly “4,444”

   shares of Riot’s common stock and both offered exactly “8,888” shares of the Company’s common

   stock for sale to the public, resulting in zeros shares held by them after each offering.

              378.   The January S-3 also provided representations and other information about the

   Selling Stockholders, including the following:

              None of the selling stockholders has held any position or office, or has otherwise
              had a material relationship, with us or any of our subsidiaries within the past
              three years other than as a result of the ownership of our shares or other securities.

              379.   Included among the list of Selling Stockholders (as depicted above) were GRQ

   Consultants, a Honig-controlled entity, numerous entities affiliated with DeFrancesco and her

   family members, and Melachdavid, an entity controlled by Groussman. Additionally the January

   5, 2018 Form S-3 stated the following about the definition of “us”: “In this prospectus, “Riot

   Blockchain,” “the Company,” “we,” “us,” and “our” refer to Riot Blockchain, Inc. (f/k/a: Bioptix,

   Inc.), a Nevada corporation, unless the context otherwise requires.”




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              380.   The January 5, 2018 Form S-3 also lists several Company transactions that occurred

   in the fourth quarter of 2017, including the Coinsquare transaction, the Kairos transaction and the

   December 2017 Private Placement.

              381.   The statement above from the January 5, 2018 Form S-3 that “none of the selling

   stockholders . . . has had any material relationship with us or an of our subsidiaries within the past

   three years” was materially false and misleading when made because several of the selling

   stockholders did in fact have a material relationship with “us or any of our subsidiaries” by virtue

   of their participation in at least three corporate transactions involving Riot: Coinsquare (Honig,

   DeFrancesco, and Groussman, § VII.E.2), Kairos (Honig and Groussman, § VII.E.3), and the

   December Private Placement (Honig and DeFrancesco, § VII.E.4). Yet, the Honig Group

   members’ involvement in these transactions was not disclosed in the January 5, 2018 Form S-

   3. Furth, with respect to the Kairos transaction, Kairos became a subsidiary of Riot as part of that

   transaction.

              382.   O’Rourke knew or should have known that the statement above was false and

   misleading because he was Chairman and CEO of Riot (a company that only about nine employees

   at this time, and would have been involved in each of these transactions and the preparation of the

   January 5, 2018 Form S-3, a document that he signed. Additionally, as set forth herein O’Rourke

   was a long-standing business partner of Honig (and Groussman) and by all accounts was in close

   contact with Honig even during his tenure as Riot’s CEO and Chairman. Thus, O’Rourke was in

   a position, consistent with the duties and obligations of directors under the federal securities laws,

   to ensure that the Company did not issue SEC filings that contained false and misleading

   statements or omitted material information like those included in the January S-3.




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                     7.     February 7, 2018 – Registration Statement (Form S-3/A)

              383.   On February 7, 2018, after the close of trading on a Friday, leading into a weekend,

   Riot filed a Securities Registration Statement on Form S-3 registering, for sale to the investing

   public, 3,292,226 shares of common to be sold by the following “Selling Stockholders”:




              384.   The February 7, 2018 Form S-3/A also stated that “[u]nless otherwise indicated

   below, to our knowledge, all persons named in the table have sole voting and investment power



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   with respect to their shares of Common Stock, except to the extent authority is shared by their

   spouses under applicable law” and that “[e]ach selling stockholder has informed us that it does not

   have any written or oral agreement or understanding, directly or indirectly, with any person to

   distribute the Common Stock.”

              385.   The disclosures relating to the Selling Stockholders in the February 7, 2018 Form

   S-3, which was signed by Defendants O’Rourke and Beeghley, were materially false and

   misleading when made for the same reasons discussed above for the April 20, 2017 Form S-3/A.

              386.   Indeed, as in previous Forms S-3/A, the Selling Stockholders operated as a centrally

   organized “control group” that coordinated their trades down to the single share. In that regard,

   in the February 7, 2018 Form S-3 Form S-3/A, both Michael Ference (a Partner with Sichenzia,

   Ross Ference LLP) and Paradox Capital Partners LLC (owned by Harvey Kesner, another partner

   with Sichenzia, Ross Ference LLP and Defendant Honig’s long-time lawyer who represented

   Honig and DeFrancesco in their proxy fight to gain control of Riot).both reported owning exactly

   “4,444” shares of Riot’s common stock and both offered exactly “8,888” shares of the Company’s

   common stock for sale to the public, resulting in zeros shares held by them after each offering.

              387.   As noted above, the February 7, 2018 Form S-3/A listed Selling Stockholders GRQ

   Consultants, DeFrancesco, and Groussman, and also stated:

              None of the selling stockholders has held any position or office, or has otherwise
              had a material relationship, with us or any of our subsidiaries within the past
              three years other than as a result of the ownership of our shares or other securities.

              388.   This representation was materially false and misleading for the same reasons

   described above with respect to the January 5, 2018 Form S-3.




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              C.     Defendants’ Materially False and Misleading Statements and Omissions
                     Regarding Riot’s Related-Party Transactions with Defendants

                     1.     March 16, 2017 – Current Report (Form 8-K)

              389.   On March 16, 2017, Riot announced in a Form 8-K filed with the SEC that the

   Company had entered into a securities purchase agreement pursuant to which it agreed to sell

   $2,250,000 of principal amount of promissory notes and three year warrants to purchase up to

   700,000 shares of common stock (referred to herein as the “March 2017 Private Placement

   Agreement”) to certain undisclosed accredited investors. One of these investors was later revealed

   to be Honig, who at the time the agreement was entered into was a greater than 10% shareholder

   of Riot.

              390.   The March 16, 2017 Form 8-K was false and misleading to Riot’s public investors

   because it failed to disclose, as is required by SEC Regulation S-K Item 404 and GAAP, that the

   March 2017 Private Placement Agreement was a transaction with a related party, namely Honig,

   a greater than 5% shareholder of Riot. The omission was particularly important here as it allowed

   Honig’s relationship with the Company, both in terms of shareholder ownership and numerous

   material agreements during the Class Period, to remain hidden from Riot’s public shareholders in

   violation of the federal securities laws.

              391.   Defendants O’Rourke and Beeghley would have been aware of the March 2017

   Private Placement Agreement, Honig’s role in the transaction, and his greater than 5% ownership

   in the Company at the time this 8-K was filed by virtue of their positions as members of the Riot’s

   Board and their long-standing business relationship with Honig, as set forth herein. Thus,

   O’Rourke and Beeghley were in a position, consistent with the duties and obligations of directors

   under the federal securities laws, to ensure that Honig’s participation in the March 2017 Private

   Placement Agreement was properly disclosed to Riot’s public shareholders.


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                     2.     March 31, 2017 – Annual Report (Form 10-K)

              392.   On March 31, 2017, Riot filed with the SEC its 2017 Annual Report under Form

   10-K (“2017 10-K”). The 2017 10-K describes the March 2017 Private Placement Agreement

   and, similar to the March 16, 2017 Form 8-K, fails to disclose that Honig, a greater that 5%

   shareholder in the Company, was a party to that agreement.

              393.   The 2017 10-K was false and misleading to Riot’s public investors because it failed

   to disclose, as is required by SEC Regulation S-K Item 404 and GAAP, that the March 2017

   Private Placement Agreement was a transaction with a related party, namely Honig, a greater than

   5% shareholder of Riot. The omission was particularly important here as it allowed Honig’s

   relationship with the Company, both in terms of shareholder ownership and numerous material

   agreements during the Class Period, to remain hidden from Riot’s public shareholders in violation

   of the federal securities laws.

              394.   Defendants O’Rourke and Beeghley signed the 2017 10-K and would have been

   aware of the March 2017 Private Placement Agreement, Honig’s role in the transaction, and his

   greater than 5% ownership in the Company by virtue of their positions as members of Riot’s Board

   and their long-standing business relationship with Honig, as set forth herein. Thus, O’Rourke and

   Beeghley were in a position, consistent with the duties and obligations of directors under the

   federal securities laws, to ensure that Honig’s participation in the March 2017 Private Placement

   Agreement was properly disclosed to Riot’s public shareholders.

                     3.     October 4, 2017 – Current Report (Form 8-K)

              395.   On October 4, 2017 Riot announced in a Form 8-K and press release (attached to

   the 8-K) filed with the SEC that the Company had entered into the Coinsquare Agreement, a

   transaction involving a small, privately-held Canadian company. As part of the Coinsquare

   Agreement, Riot invested $3 million alongside 22 other investors, including various members of

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   the Honig Group. The terms of the transaction were memorialized in written agreement that was

   signed by all participating Coinsquare investors. At the time the agreement was signed, O’Rourke

   served as Riot’s President, Secretary, Treasurer, and as a member of the Company’s Board. At

   the time, Beeghley served as Riot’s CEO and Chairman.

              396.   The 2017 10-K was false and misleading to Riot’s public investors because it failed

   to disclose, as is required by SEC Regulation S-K Item 404 and GAAP, that the Coinsquare

   Agreement included at least three related parties – Honig, Groussman, and DeFrancesco – each of

   whom were at this time greater than 5% shareholders of Riot. The omission was particularly

   important here because it allowed Honig, Groussman’s, and DeFrancesco’s relationships with the

   Company, both in terms of shareholder ownership and material agreements, to remain hidden from

   Riot’s public shareholders in violation of the federal securities laws.

              397.   Defendants O’Rourke and Beeghley would have been aware of the Coinsquare

   Agreement, Honig and DeFrancesco’s role in the transaction, and their greater than 5% ownership

   in the Company at the time this 8-K was filed, by virtue of their positions both as officers and

   members of Riot’s Board, and by virtue of their long-standing business relationships with Honig,

   as set forth herein. Thus, O’Rourke and Beeghley were in a position, consistent with their duties

   and obligations as officers and directors under the federal securities laws, to ensure that Honig’s,

   DeFrancesco’s, Groussman’s and Stetson’s participation in the Coinsquare Agreement was

   properly disclosed to Riot’s public shareholders.

                     4.     November 3, 2017 – Current Report (Form 8-K)

              398.   On November 3, 2017, Riot filed with the SEC a Form 8-K that announced the

   Company’s agreement with Kairos, a transaction that involved the Company’s purchase of various

   Bitcoin mining machines through a share exchange agreement. The 8-K and related exhibit stated

   that as consideration for the Kairos acquisition (which included the Bitcoin mining machines) Riot

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   would issue to Kairos’ stockholders preferred shares of Riot stock that were convertible to

   1,750,001 shares of Riot common stock. Also, as part of the transaction Riot agreed to pay

   “certain” undisclosed shareholders of Kairos a royalty from cash flow generated from the

   Company’s Bitcoin mining operations, which entitled such shareholders to receive 40% of the

   gross profits generated on a monthly basis until they have received a total of $1,000,000, at which

   point the royalty is extinguished.

              399.   The November 3, 2017 Form 8-K was false and misleading because it failed to

   disclose, as is required by SEC Regulation S-K Item 404 and GAAP, that the Kairos transaction

   included two related parties, namely Defendants Honig and DeFrancesco, both of whom were at

   this time greater than 5% shareholders of Riot. This omission was particularly important here

   because it allowed Honig’s and DeFrancesco’s material relationships with the Riot – both in terms

   of share ownership and material agreements – to remain hidden from Riot’s public shareholders

   in violation of the federal securities laws.

              400.   O’Rourke would have been aware of the details of the Kairos Agreement, Honig’s

   and DeFrancesco’s involvement in the transaction, and their greater than 5% share ownership by

   virtue of O’Rourke’s position as President, CEO, and Chairman of the Board of Directors of Riot.

   Indeed, the same day that the Kairos acquisition was publicly announced, O’Rourke (who was

   already the Company’s President, Secretary, and Treasurer, and thus an officer as well as a

   Director) was named CEO and Chairman of the Board. Additionally, O’Rourke would have been

   aware of Honig’s involvement in these transactions given his long-standing business relationship

   with Honig and other members of the Honig Group. O’Rourke’s relationship with Honig was

   most prominently evidenced by the February 16, 2018 CNBC expose where reporters at CNBC

   arrived at Honig’s office only to find O’Rourke. Thus, O’Rourke was in a position, consistent



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   with his duties and obligations as an officer and director under the federal securities laws, to ensure

   that Honig and DeFrancesco’s involvement in the Kairos transaction was properly disclosed to

   Riot’s public shareholders.

                     5.     November 13, 2017 – Quarterly Report (Form 10-Q)

              401.   On November 13, 2017 Riot filed with the SEC its November 13, 2017 10-Q (the

   “November 2017 10-Q”) for the period that ended September 30, 2017, a document that was signed

   by O’Rourke.

              402.   The November 2017 10-Q was false and misleading because while it described

   several transactions that occurred during the reporting period, including (1) March 2017 Private

   Placement Agreement, (2) the Coinsquare Agreement; and (3) the Kairos transaction, it failed to

   disclose as required by SEC Regulation S-K Item 404 and GAAP that these transactions – which

   were material to the Company given their size relative to Riot’s size and operations – included

   related parties, including Defendant Honig and others.          These omissions were particularly

   important here because they allowed Honig, DeFrancesco, Groussman and Stetson to take part in

   one or more of these transactions and, at the same time, hide from public view their material

   relationship with Riot as shareholders of the Company.

              403.   Defendant O’Rourke would have been aware of these transactions and the related

   parties involved, as set forth herein, by virtue of his position at this time as the President, CEO,

   and Chairman of the Board of Riot. O’Rourke would also have been aware given his long-standing

   business relationship with Honig and other members of the Honig Group, both prior to and during

   his tenure at Riot. This is most prominently evidenced by the February 16, 2018 CNBC expose

   where reporters at CNBC arrived at Honig’s office only to find O’Rourke. Thus, O’Rourke was

   in a position, consistent with his duties and obligations as an officer and director under the federal



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   securities laws, to ensure that these related parties’ involvement in the three transactions described

   above were properly disclosed to Riot’s public shareholders.

                      6.      December 12, 2017 – Proxy Statement (Form DEF 14A)

              404.    On December 12, 2017, Riot filed its Annual Definitive Proxy Statement under

   Schedule 14A (the “2017 Proxy”) with the SEC. The 2017 Proxy announced that the Company’s

   Annual Meeting would take place on December 28, 2017 and that Riot shareholders were invited

   to attend and encouraged to vote. In a letter to shareholders signed by O’Rourke and included at

   the beginning of the 2017 Proxy, he outlines the “primary business” of the shareholder meeting.

   Notably, virtually all of this business related to events taking place in fiscal year 2017. The letter

   states in relevant part:

                      The principal business of the meeting will be (i) to elect as
                      directors the nominees named in this proxy statement to serve until
                      2018 Annual Meeting of Shareholders and until their successors
                      are duly elected and qualified, (ii) to ratify the appointment of
                      EisnerAmper LLP as our independent public accountant for the
                      fiscal year ending December 31, 2017, (iii) to advise us as to
                      whether you approve the compensation of our named executive
                      officers (Say-on-Pay), (iv) to approve an amendment to the
                      Company’s 2017 Equity Incentive Plan to increase the reservation
                      of common stock for issuance thereunder to 1,645,000 shares from
                      895,000 shares and (v) to transact such other business as may be
                      properly brought before the Annual Meeting and any adjournments
                      thereof.

              405.    In addition to the above, numerous other events taking place in fiscal year 2017 are

   referenced in the 2017 Proxy including but not limited to the following:

              (i)     Tables setting forth current share ownership of insiders (i.e., current as of
                      December 2017);
              (ii)    Tables setting forth current share ownership of 5% or greater shareholders;

              (iii)   Information concerning the (alleged) independence of the current board members;




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              (iv)   Information concerning the Riot’s “Code of Conduct” which did not exist until
                     November 2017, and which was included under the “Audit Committee’s Report”.
              406.   Also included in the 2017 Proxy is information concerning “Section 16(a)

   Beneficial Ownership”:

                     Section 16(a) of the Securities Exchange Act of 1934 requires the
                     Company’s directors, executive officers, and shareholders who own
                     more than 10% of the Company’s stock to file forms with the SEC
                     to report their ownership of the Company’s stock and any changes
                     in ownership. . . . We have reviewed all forms provided to us. Based
                     on that review and on written information given to us by our
                     executive officers and directors, we believe that all Section 16(a)
                     filings during the past fiscal year were filed on a timely basis and
                     that all directors, executive officers and 10% beneficial owners
                     have fully complied with such requirements during the past fiscal
                     year.
              407.   Additionally, the 2017 Proxy stated the following about related party transactions:

                     Certain Relationships and Related Transactions
                     The Audit Committee has responsibility for reviewing and, if
                     appropriate, for approving any related party transactions that
                     would be required to be disclosed pursuant to applicable SEC
                     rules. This includes current or proposed transactions in which the
                     Company was or is to be a participant, the amount involved exceeds
                     the lower of either $120,000 or 1% of the average of the Company’s
                     total assets at year-end for the last two completed fiscal years, and
                     in which any of the Company’s executive officers, directors, or
                     greater than five percent shareholders, or any members of their
                     immediate families, has a direct or indirect material interest. Apart
                     from any transactions disclosed herein, no such transaction was
                     entered into with any director or executive officer during the last
                     fiscal year. Such transactions will be entered into only if found to
                     be in the best interest of the Company and approved in accordance
                     with the Company’s Code of Ethics, which are available on the
                     Company’s web site.
                     Except for the employment agreements previously entered into
                     between the Company and certain of its named executive officers,
                     since January 1, 2016, none of the directors or named executive
                     officers of the Company, nor any person who owned of record or
                     was known to own beneficially more than 5% of the Company’s
                     outstanding shares of its common stock, nor any associate or

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                     affiliate of such persons or companies, has any material interest,
                     direct or indirect, in any transaction, or in any proposed
                     transaction, which has materially affected or will affect the
                     Company.

              408.   The statement above from the 2017 Proxy about beneficial ownership, specifically

   the statement that “we believe that all Section 16(a) filings during the past fiscal year were filed

   on a timely basis and that all directors, executive officers and 10% beneficial owners have fully

   complied with such requirements during the past fiscal year” was false and misleading when made

   or otherwise omits material information because O’Rourke knew or should have known, in light

   of Schedules 13D filed by Honig and DeFrancesco in January 2017, that they were beneficial

   owners of greater than 10% of Riot’s outstanding shares. He also knew that throughout 2017

   Honig and DeFrancesco were acquiring additional shares without properly disclosing the

   transactions under the federal securities laws.

              409.   For example, O’Rourke knew as set forth herein, that Honig and DeFrancesco were

   involved in related-party transactions during 2017 that increased their share ownership. Indeed,

   Honig received convertible shares in both the March 2017 Private Placement and the Kairos

   transaction. Likewise, DeFrancesco received convertible shares of Riot as part of the Kairos

   transaction. Yet, as of the filing of the December 2017 Proxy, neither Honig nor DeFrancesco had

   updated their 13D filings since January 2017.

              410.   As explained above, O’Rourke was aware of these transactions by virtue of his role

   as an officer and director of the Company, and would have known given this role that they resulted

   in Honig and DeFrancesco increasing their share ownership in the Company. Of course, it was not

   until later than Riot’s public shareholders learned that – rather increase their share ownership

   during the Class Period (through related party transactions or otherwise) – they were instead selling

   shares at artificially inflated prices to unsuspecting investors.


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              411.   The statement other above about related party transactions, specifically that since

   “January 1, 2016 [no] person who owned of record or was known to own beneficially more than

   5% of the Company’s shares . . . has had any material interest, direct or indirect, in any transaction,

   or in any proposed transaction, which has materially affected or will affect the Company” was also

   false and misleading when made or otherwise omitted material information because, because

   several 5% or greater shareholders did in fact have a material interest transactions during 2017,

   including the March 2017 Private Placement, the Coinsquare transaction, and the Kairos

   transaction. O’Rourke’s failure to disclose these transactions in the 2017 Proxy is both an

   affirmative misstatement, as explained above, and a material omission for the same or similar

   reasons alleged herein.

              412.   Defendants may attempt to argue that in light of the statement below (“the year

   ended December 31, 2016”) along with the language above “during the last fiscal year” – that it

   was unambiguously clear to Riot investors that the “Section 16(a) Beneficial Ownership” and

   “Certain Relationships and Related Transactions” sections of the 2017 Proxy only concerns events

   taking place during fiscal year 2016:

                     We [Riot’s Audit Committee] hereby report to the Board of
                     Directors that, in connection with the financial statements for the
                     year ended December 31, 2016, we have:

                        reviewed and discussed the audited financial statements with
                         management and the independent accountants;
                        approved the appointment of the independent accountants;
                        discussed with the independent accountants the matters required
                         to be discussed by SAS 61 (Codification of Statements on
                         Auditing Standards, AU section 380), as modified by SAS 89
                         and SAS 90; and
                        received the written disclosures and the letter from the
                         independent accountants required by the applicable
                         requirements of the Public Company Accounting Oversight
                         Board regarding the independent accountant’s communications


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                        with the Audit Committee concerning independence, and
                        discussed with the independent accountant the accountant’s
                        independence.

                     Based on the discussions and our review discussed above, we
                     recommended to the Board of Directors that the audited financial
                     statements for the year ended December 31, 2016 be included in
                     the Company’s 2016 Annual Report to Shareholders on Form 10-
                     K for that fiscal year.

              413.   However, this interpretation of “during the last fiscal year” is at best ambiguous

   and at worst completely off-base. Indeed, as explained above, many other 2017 fiscal year events

   are referenced in the 2017 Proxy. For example, the “Code of Conduct” section of the proxy

   appears immediately before the “Section 16(a) Beneficial Ownership” section, which, as noted

   above, describes events taking place just one month earlier during fiscal year 2017. Additionally,

   among the bullet points that followed the statement “[w]e hereby report . . . in connection with the

   financial statements for the year that ended December 31, 2016” there is no reference whatsoever

   to whether the “report” included a review of related party transactions occurring during fiscal year

   2016. Instead, the report plainly concerns “audited financial statements” included in Riot’s 2017

   10-K, which was filed nine months earlier on March 31, 2017. In other words, the 2017 Proxy

   does not disclose to the Company’s shareholders – either way – that these specific sections of the

   proxy were unambiguously intended to cover a period of time in 2016 and exclude all transactions

   that may have taken place in the eleven months since that time (i.e., during preceding eleven

   months in 2017).

              414.   Given other references in the 2017 Proxy to events taking place in fiscal year 2017,

   and in light of the fact that O’Rourke’s opening letter in the proxy states that the “principle

   business” of the shareholder meeting occurred during 2017 and not 2016, Riot’s public




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   shareholders would not have known that the “during the last fiscal year” language meant in plain

   and unambiguous terms, fiscal year 2016 rather than fiscal year 2017.

                     7.      December 19, 2017 – Current Report (Form 8-K) and Press Release

              415.   On December 19, 2017, Riot filed an 8-K announcing that the Company had entered

   into private placement agreements with unnamed accredited investors to sell $37 million units of

   securities at a purchase price of $22.50 per unit. Each unit consisted of one share of the Company’s

   common stock and a three year warrant to purchase one share of common stock at an exercise

   price of $40.00 per share. In a corresponding press release Riot stated that “[t]he $37 million in

   gross proceeds from the investment will be used for the expansion of the Company’s Bitcoin

   mining operations, strategic investments, and general working capital.” The December 19, 2017

   Form 8-K stated in relevant part:

              On December 18, 2017, Riot Blockchain, Inc. (the “Company”) entered into
              agreements to sell $37 million units of its securities (the “Units”) pursuant to
              separate purchase agreements (the “Securities Purchase Agreements”) with
              accredited investors (the “Investors”), at a purchase price of $22.50 per Unit. Each
              Unit consists of one share (the “Shares”) of the Company’s common stock, no par
              value per share (the "Common Stock"), and a three year warrant (the "Warrants")
              to purchase one share of Common Stock, at an exercise price of $40.00 per share
              (such sale and issuance, the “Private Placement”). The closing of the Private
              Placement is subject to customary closing conditions. The news release announcing
              the Private Placement is attached as Exhibit 99.1.

              The Warrants are exercisable, at any time on or after the sixth month anniversary
              of the closing date of the Private Placement, at a price of $40.00 per share, subject
              to adjustment, and expire three years therefrom. The holders may, subject to certain
              limitations, exercise the Warrants on a cashless basis. The Company is prohibited
              from effecting an exercise of any Warrant to the extent that, as a result of any such
              exercise, the holder would beneficially own more than 9.99% of the number of
              shares of Common Stock outstanding immediately after giving effect to the
              issuance of shares of Common Stock upon exercise of such Warrant.

              The Company entered into separate registration rights agreements (the
              “Registration Rights Agreement”) with each of the Investors, pursuant to which the
              Company will undertake to file a registration statement to register the Common
              Stock issued as part of the Units and the Common Stock issuable upon exercise of
              the Warrants, within fourteen days following the closing, to cause such registration

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              statement to be declared effective by the Securities and Exchange Commission
              within ninety days of the filing date and to maintain the effectiveness of the
              registration statement until all of such shares of Common Stock registered have
              been sold or are otherwise able to be sold pursuant to Rule 144. In the event the
              Company fails to file, or obtain effectiveness of, such registration statement with
              the given period of time, the Company will be obligated to pay liquidated damages
              to the Investors for every thirty-days during which such filing is not made and/or
              effectiveness obtained, such fee being subject to certain exceptions.

              The offering was made pursuant to an exemption from registration under Section
              4(a)(2) of the Securities Act of 1933, as amended (the “Securities Act”) and/or
              pursuant to Rule 903 of Regulation S promulgated under the Securities Act.

              416.   The foregoing descriptions of the Securities Purchase Agreement, the Registration

   Rights Agreement and the Warrants are not complete and are qualified in their entireties by

   reference to the full text of the Form of Purchase Agreement, the Form of Registration Rights

   Agreement and the Form of Warrant, copies of which are filed as Exhibit 10.1, Exhibit 10.2 and

   Exhibit 4.1, respectively, to this Report and are incorporated by reference herein.

              417.   As with other related party transactions described herein, (i) the March 2017 Private

   Placement; (ii) the Coinsquare transaction; and (iii) the Kairos transaction, the December 19, 2017

   Form 8-K and press release failed to disclose that Honig and DeFrancesco, both of whom held

   greater than 5% of the outstanding shares of the Company, were among the so-called “accredited

   investors” invited to participate in the December 2017 Private Placement and Securities Purchase

   Agreement. Yet, it was not until months later, on April 17, 2018, that Riot first disclosed in a

   Form 10-K that Honig and DeFrancesco participated in this transaction and that they invested

   $500,000 and $360,000, respectively. As explained above, under SEC Regulation S-K Item 404

   and GAAP Honig and DeFrancesco should have been disclosed as related parties to this transaction

   given their ownership interest in the Company. O’Rourke was in a position, consistent with the

   duties and obligations of officers and directors under the federal securities laws, and as a close




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   business associate of Honig, to ensure that Honig and DeFrancesco’s participation in the December

   2017 Private Placement as related parties was properly disclosed to Riot’s public shareholders.

                     8.      January 5, 2018 – Registration Statement (Form S-3)

              418.   On January 5, 2018 Riot filed Registration Statement Form S-3 signed by

   Defendant O’Rourke announcing that certain “Selling Stockholders” would sell from time to time

   shares of common stock and convertible warrants at varying prices (“January S-3”). The January

   S-3 provided representations and other information about the Selling Stockholders, including the

   following:

                None of the selling stockholders has held any position or office, or has
              otherwise had a material relationship, with us or any of our subsidiaries within
              the past three years other than as a result of the ownership of our shares or other
              securities.

              419.   Included among the list of Selling Stockholders was GRQ Consultants, a Honig-

   controlled entity, numerous entities affiliated with DeFrancesco and her family members, and

   Melechdavid, an entity controlled by Groussman. Additionally the Janaury S-3 included the

   following definition of “us”: “[i]n this prospectus, ‘Riot Blockchain,’ ‘the Company,’ ‘we,’ ‘us,’

   and ‘our’ refer to Riot Blockchain, Inc. (f/k/a: Bioptix, Inc.), a Nevada corporation, unless the

   context otherwise requires.” The filing also lists several corporate transactions that occurred at

   Riot in the fourth quarter of 2017, including the Coinsquare transaction, the Kairos transaction and

   the December 2017 Private Placement.

              420.   Defendant O’Rourke knew or should have known that the statement above was

   false and misleading because he was Chairman and CEO of Riot (a company that only had only

   about nine employees at this time), and would have been involved in each of these transactions

   and the preparation of the January S-3, a document that he signed. Additionally, as set forth herein

   O’Rourke was a long-standing business partner of Honig and by all accounts was in close contact


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   with Honig even during his tenure as Riot’s CEO and Chairman. Thus, O’Rourke was in a

   position, consistent with the duties and obligations of directors under the federal securities laws,

   to ensure that the Company did not issue SEC filings that contained false and misleading

   statements or omitted material information like those included in the January S-3.

                     9.     February 7, 2018 – Registration Statement (Form S-3/A)

              421.   February 7, 2018 Riot filed Registration Statement on Form S-3 signed by

   Defendant O’Rourke announcing that certain “Selling Stockholders” would sell from time to time

   shares of common stock and convertible warrants at varying prices (“February S-3”). The

   February S-3 contained the same language as the January S-3 and included many of the same

   selling stockholders, incuding GRQ Consultants, DeFrancesco, and Groussman. Thus, for all the

   reasons the January S-3 is false and misleading the same applies, and is alleged herein, as to the

   February S-3.

                     10.    February 16, 2018 – Current Report (Form 8-K)
                            and Shareholder Letter

              422.   On February 16, 2018, after trading closed, Riot filed a Form 8-K with the SEC that

   attached letter which O’Rourke directly addressed the Company’s shareholders (“Shareholder

   Letter”). The purpose of the Shareholder Letter was to attempt to dismiss concerns raised earlier

   in the day by CNBC about O’Rourke’s connection to Honig, his recent insider stock sales, and the

   integrity of the Company’s SEC filings. The letter stated, in relevant part,

                     Dear Shareholders,

                     Thank you for your support in our vision to build a leading
                     blockchain technology company. I believe we are well positioned at
                     the forefront of this industry with many exciting opportunities on
                     the horizon.

                     Today, CNBC released a negative one-sided piece on companies
                     that seek to jump on the blockchain bandwagon by changing their
                     name and profiled our company. Had the journalist used even a

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                     modest amount of professional diligence, CNBC would have also
                     reported on the numerous achievements we have made in becoming
                     an early entrant in the support of blockchain and cryptocurrency
                     technologies. To my knowledge, we were also the first Nasdaq listed
                     company to have blockchain in its name and had no idea what the
                     market reaction would be when the transition was made.

                     Not to be deterred, I wish to provide an update of where Riot
                     Blockchain stands today and respond to some of their attacks. We
                     have made significant inroads in building a diversified portfolio of
                     investments and to begin securing digital assets.

                                               *      *       *

                     At the end of 2017, I personally sold some stock that I held in our
                     company. I sold less than 10% of my overall position and did so
                     to cover tax obligations. I could have sold more stock in the same
                     timeframe if I so desired. I truly believe in what we are building
                     and the shareholder value it will create.

                                               *      *       *

                     Barry Honig has been a supportive shareholder of Riot
                     Blockchain. Prior to my involvement with Bioptix, Mr. Honig
                     filed a lawsuit against the company and its management as a
                     shareholder because he believed the old management and board
                     was not properly deploying shareholders’ cash. This led to the
                     eventual re-examination by the board and management of the
                     failing business, which ultimately led to the board’s decision that
                     it was in shareholders’ best interest to evaluate other opportunities
                     with its cash on hand.

                                               *      *       *

                     We take our SEC reporting obligations seriously and diligently file
                     all reports and filings. We have expended enormous effort to
                     inform investors of the risks of our foray into uncharted territory.

              423.   O’Rourke’s statement above that “Barry Honig has been a supportive shareholder

   of Riot Blockchain,” among other statements referenced above, were false and misleading or

   otherwise omitted material information because while referring to Honig as “a supporting

   shareholder” of the Company he also failed to disclose that Honig was much than a passive

   shareholder. Indeed, as explained herein Honig was involved in at least four related party

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   transactions with the Company, none of which had been disclosed to Riot’s public shareholders,

   in this Form 8-K or any other public filings. In addition, O’Rourke knew or should have known

   as an officer and director of the Company – and as close business associate of Honig – that during

   2017 Honig repeatedly acquired shares (through share conversions that occurred through various

   related party transactions or other purchases) and sold shares of Riot without filing the requisite

   Schedules 13D and 13/A. In other words, O’Rourke’s Shareholder Letter attempted to paint a

   false picture of Honig’s true relationship and involvement with the Company.

              424.   Additionally, O’Rourke’s statement above that “[w]e take our SEC reporting

   obligations seriously and diligently file all reports and filings” was materially false and misleading

   and otherwise omitted material information because under O’Rourke’s leadership as a director and

   officer of Riot, the Company did not “take its obligations seriously” or “diligently file all

   reports.” Indeed, at least as early as March 16, 2017 the Company omitted to tell investors about

   a related party transaction with a 10% shareholder, namely Honig, as part of the Company’s

   announcement of the March 2017 Private Placement Agreement. As set forth herein, several other

   related party transactions, with Honig and other members of the Honig Group took place in 2017

   and were not disclosed until months later in April 2018. Likewise, as set forth herein, several

   Registration Statements also failed to disclose information about various related party transactions

   and the Honig Group’s participation as a group related to their share ownership in Riot.

                     11.    March 26, 2018 - Proxy Statement (Form DEF 14A)

              425.   On March 26, 2018, Riot filed its Definitive Proxy statement under Form 14 DEFA.

   Because both the March 2018 Proxy and 2017 Proxy include the same language, as referenced

   above, for all the reasons the 2017 Proxy is false and misleading the same is true for the March

   2018 Proxy.



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   XI.        POST-CLASS PERIOD DEVELOPMENTS

              426.   On December 20, 2018, the SEC filed a letter to inform the Honig Action court that

   “certain Defendants have agreed to settlements in principle” and that “[c]ertain other Defendants

   have approached the staff to discuss possible settlement and to share their views about the

   allegations in the existing Complaint.”

              427.   A week later, on December 27, 2018, the SEC announced a proposed settlement

   with one of the defendants, Frost, pursuant to which Frost will pay $5.5 million to the SEC and is

   permanently barred from participating in offerings of penny stocks (with limited exceptions).

              428.   On January 2, 2019, Opko settled the pump-and-dump charges with the SEC in the

   Honig Action and agreed to pay a $100,000 fine.

              429.   On January 10, 2019, the SEC filed a consent judgement of the charges against

   Opko. As part of that settlement, in addition to the penalty of $100,000, Opko also agreed to the

   following, among other things: (i) the establishment of a “Management Investment Committee”

   that will make recommendations to an “Independent Investment Committee” of the Board of

   Directors “to handle existing and future strategic minority investments for so long as Dr. Philip

   Frost (‘Frost’) is a shareholder in or holds any management or board-level position” at Opko; and

   (ii) retain an Independent Compliance Consultant to review “prior starategic minority investments

   by [Opko] made at the suggestion of and in tandem with Frost”; and (iii) review Opko’s “existing

   policies and procedures to determine whether they are sufficient to ensure compliance with

   Exchange Act Section 13(d).”

              430.   On January 18, 2019, Defendant Groussman settled the charges brought against

   him in the Honig Action. As part of the settlement, Defendant Groussman was barred from

   participating in any offering of penny stock for five years and ordered to pay disgorgement of



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   $1,051,360, plus prejudgment interest of $170,554.78, and a civil penalty of $160,000. See No.

   1:18-cv-08175-ER (S.D.N.Y.), ECF No. 93.

              431.   On March 8, 2019, the SEC filed a First Amended Complaint in the Honig Action,

   which substantially built on the allegations in the original complaint. Several weeks later, on April

   26, 2019, the SEC wrote to the court to request a stay of briefing following an “agreement in

   principle to settle the Commission’s claims for liability against Defendant Honig and his entity,

   GRQ Consultants, Inc.” See No. 1:18-cv-08175-ER (S.D.N.Y.), ECF No. 114.

   XII.       ADDITIONAL SCIENTER ALLEGATIONS

              432.   As alleged herein, Defendants acted with scienter since they knew that the public

   documents and statements issued or disseminated in the name of the Company were materially

   false and/or misleading; knew that such statements or documents would be issued or disseminated

   to the investing public; and knowingly and substantially participated or acquiesced in the issuance

   or dissemination of such statements or documents as primary violations of the federal securities

   laws. As set forth elsewhere herein in detail, Defendants, by virtue of their receipt of information

   reflecting the true facts regarding Riot, their control over, and/or receipt and/or modification of

   Riot’s allegedly materially misleading misstatements, and/or their associations with the Company,

   which made them privy to confidential proprietary information, participated in the fraudulent

   scheme alleged herein.

              433.   Defendants knew and/or recklessly disregarded the false and misleading nature of

   the information which they caused to be disseminated to the investing public. The fraudulent

   scheme described herein could not have been perpetrated during the Class Period without the

   knowledge and complicity or, at least, the reckless disregard of the personnel at the highest levels

   of the Company, including the Defendants.



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              434.   Several of the Defendants were members of Riot’s executive management group

   during the Class Period. Based on their roles at Riot, each of these Defendants would have been

   involved with, or had knowledge of, the wrongdoing alleged herein.

              435.   At a minimum, Defendants failed to review or check information that they had a

   duty to monitor, or ignored obvious signs that their statements were materially false and misleading

   or contained material omissions. Honig was privy to this information through his relationship

   with, and control over, the Defendants.

              436.   Likewise, certain of the Defendants, by virtue of their high-level positions with the

   Company, directly participated in the management of the Company, were directly involved in the

   day-to-day operations of the Company at the highest levels, and were privy to confidential

   proprietary information concerning the Company and its business, operations, financial

   statements, and financial condition, as alleged herein. Honig was privy to this information through

   his relationship with, and control over, the Defendants. Certain of the Defendants had the ultimate

   authority over and were involved in drafting, producing, reviewing, and/or disseminating the false

   and misleading statements and information alleged herein, were aware, or recklessly disregarded,

   that the false and misleading statements regarding the Company were being issued, and approved

   or ratified these statements, in violation of the federal securities laws.

              437.   Certain of the Defendants were senior executives involved in Riot’s daily

   operations with access to all material information regarding the Company’s core operations. These

   Defendants are presumed to have knowledge of all material facts regarding Riot’s core business.

   Honig was privy to this information through his relationship with, and control over, the

   Defendants.




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              438.   Defendants’ scienter is further demonstrated by the fact that cryptocurrency and, in

   particular, Bitcoin mining was allegedly a central part of the Company’s success. Bitcoin was

   allegedly the cornerstone of (and critically important to) the Company’s growth strategy and, as

   such, constituted a core operation of the Company. The fact that the misstatements and omissions

   at issue here pertained directly to Riot’s core operations further supports a strong inference of

   scienter.

              439.   When, as here, a senior officer of a company makes false and misleading public

   statements regarding its core operations, there is a strong inference that such officer knew the

   statement was materially false and misleading when made. Stated otherwise, knowledge of falsity

   can be imputed to key officers who should have known of facts relating to the core operations of

   their company. Moreover, as signatories to the Company’s SEC filings, certain of the Defendants

   had an affirmative obligation to familiarize themselves with the facts relevant to Riot’s core

   operations.

              440.   In addition, throughout the Class Period, Riot had very few employees, further

   strengthening the inference of scienter. For example, in the Company’s annual report filed on

   April 30, 2018, Riot stated that “[a]s of March 31, 2018, we had nine employees, all of whom are

   full-time.”

              441.   The allegations above also establish a strong inference that Riot, as an entity, acted

   with corporate scienter throughout the Class Period because its officers, management, and agents

   had actual knowledge of the misrepresentations and omissions of material facts set forth herein

   (for which they had a duty to disclose), or acted with reckless disregard for the truth because they

   failed to ascertain and to disclose such facts, even though such facts were available to them.




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              442.   Such material misrepresentations and/or omissions were done knowingly or with

   recklessness, and without a reasonable basis, for the purpose and effect of concealing Riot’s true

   operating condition and present and expected financial performance from investors. By concealing

   these material facts from investors, Riot maintained and/or increased its artificially inflated

   common stock price throughout the Class Period.

              443.   As executives of Riot, these Defendants are all candidates for imputing corporate

   scienter to the Company.

              444.   In addition, an executive’s insider sales can be probative of scienter. Here,

   Defendant O’Rourke’s massive insider sales during the Class Period reveals his motive to commit

   fraud. On December 29, 2017, Defendant O’Rouke sold 30,383 shares of Riot stock for proceeds

   of $869,256.35. These sales were not made pursuant to a 10(b)5-1 trading plan, further adding to

   the inference of scienter. These sales were made just days before the Company announced the

   dismissal of its auditor and a month before Riot canceled its annual meeting for the second time,

   causing the NASDAQ to inform the Company that it has violated the NASDAQ’s listing

   requirements. In addition, indicating that Defendant O’Rouke wanted to sell his stock with

   minimum attention, his sales were made on the Friday before a holiday weekend.

              445.   Likewise, the SEC investigation and filing of the Honig Action and subsequent

   settlements add to the inference of scienter. On April 9, 2018, the SEC issued a subpoena pursuant

   to a formal order of investigation. According to Riot, the SEC’s “inquires include the proper asset

   classification, applicability of the Investment Company Act [of] 1940, to the Company’s business

   and affairs and accounting treatment of its cryptocurrency.”

              446.   Then, on August 14, 2018, Riot filed a Form 10-Q with the SEC, in which it

   provided more details about the SEC’s investigation. In particular, the Company reported that the



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   SEC was looking into a number of Riot’s registration statements, as well as its acquisition of a

   minority stake in Coinsquare (the entity in which Defendant Honig had a personal stake).

              447.   As noted above, Defendants caused Riot to repeatedly issue stock to retail investors

   based on the misrepresentation that “none” of the “selling stockholders had a material relationship”

   with Riot or its subsidiaries. See Section V, supra. On September 10, 2018, a video was posted

   on YouTube82 showing Defendants Honig and O’Rourke together in the same room meeting with

   Groussman and Harvey Kesner, Honig’s longtime lawyer. The group appear to be recovering

   together in a hospital room after reportedly attending the 2014 Roth Capital Conference. The

   video depicted Riot’s CEO, O’Rourke, meeting with Honig in the same room. In the picture,

   Honig appears to be addressing O’Rourke.

              448.   The video, posted on Twitter on October 9, 2018, also showed Honig and Selling

   Stockholder Kesner, who was Honig’s lawyer representing Honig in his proxy fight against the

   Bioptix Board side by side, apparently unconscious, in the same room.

              449.   Groussman is also depicted meeting with Honig, O’Rourke, and Kesner. This

   meeting further confirm that Honig, O’Rourke, Groussman, and Kesner knew they were part of a

   concerted group of associates with a close “material relationship” outside the context of their being

   merely owners of Riot stock.



   82
       See https://www.youtube.com/watch?v=CrCpLJ5dZYE (“During a CNBC investigation into
   Riot Blockchain, attorney Harvey Kesner told reporters he didn’t know anything about Barry
   Honig, according to the article. This video shows otherwise. During the ‘14 Roth Capital
   conference Barry Honig & his attorney Harvey Kesner allegedly took a bunch of edibles. They got
   so high, according to our source, that Barry bugged out and called an ambulance on himself. This
   is the video of the aftermath. Also making an appearance in this video are former Riot Blockchain
   CEO John O’Rourke and Mark Groussman. Everyone depicted in the video (except for Kesner)
   were subsequently named in an SEC-complaint on September 7th 2018 alleging that the group
   (along with other individuals and entities) participated in multiple micro-cap pump & dump
   schemes.”).

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              450.   The above allegations are specifically included to contradict Kesner’s statement to

   CNBC: “When reached by phone, Kesner said he didn’t know anything about Riot Blockchain

   and Barry Honig and hung up.”83

              451.   In its November 13, 2018 Form 10-Q, the Company announced that the SEC’s

   investigation was still ongoing. According to Jake Zamansky, of the securities law firm Zamansky

   LLC: “Recent disclosure shows that a cloud still hangs over this company so long as the SEC

   investigation continues. The fact that the division of enforcement remains involved and a

   registration statement was withdrawn are ominous events for Riot Blockchain.” According to the

   Company’s annual report filed on April 2, 2019, the SEC’s investigation remains “ongoing.”

              452.   Finally, the fact that the SEC filed a complaint against Defendants O’Rourke,

   Honig, Stetson, and Groussman, as well as other Riot insiders for similar alleged wrongdoing with

   multiple other companies further adds to the inference of scienter. See Section V, above. That

   “multiple defendants”,” including Groussman, have already settled with the SEC – “and

   cumulatively paid more than $7.8 million in disgorgement of ill-gotten gains together with

   prejudgment interest thereon and civil penalties”84 – further adds to the inference of scienter.

              453.   These facts, in conjunction with the additional indicia of scienter detailed above,

   particularly Defendants’ specific and repeated statements and the nature of the alleged scheme,

   collectively support a strong inference of Honig and each Individual Defendant’s scienter.

   XIII. LOSS CAUSATION/ECONOMIC LOSS

              454.   As detailed herein, Defendants engaged in a scheme to deceive the market and a

   course of conduct that artificially inflated the price of Riot’s common stock and operated as a fraud


   83
        See https://www.cnbc.com/2018/02/16/public-company-changes-name-to-riot-blockchain-
   sees-shares-rocket.html.
   84
        See https://www.sec.gov/litigation/litreleases/2019/lr24431.htm.

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   or deceit on Class Period purchasers of the Company’s common stock. When Defendants’ prior

   misrepresentations and fraudulent conduct were disclosed and became apparent to the market, the

   trading price of Riot’s common stock fell precipitously as the artificial inflation was removed.

              455.   As a result of their purchases of Riot common stock during the Class Period, Lead

   Plaintiff and the other Class members suffered economic loss, i.e., damages, under the federal

   securities laws. Defendants’ false and misleading statements had the intended effect and caused

   the Company’s common stock to trade at artificially inflated levels throughout the Class Period,

   reaching as high as $46.20 per share on December 19, 2017, to close at $4.30 on September 7,

   2018, after the last day of the Class Period.

              A.     January 31 – The Wall Street Journal – “Investor Who Rode Pivot From
                     Biotech to Bitcoin Sells Big Stake”

              456.   On January 31, 2018, The Wall Street Journal published an article entitled “Investor

   Who Rode Pivot From Biotech to Bitcoin Sells Big Stake.”85 The article stated that “Mr. Honig

   has sold about 500,000 shares, he said, but declined to divulge his profit. He said he still

   owns about 1% of the company.” “‘When stock goes up, you take a profit,’ [Honig] said.”

              457.   These revelations corrected Honig’s and Riot’s material misrepresentations and

   omissions regarding Honig’s material changes in beneficial ownership of Riot’s common stock –

   particularly his grossly deficient Schedule 13D/A filings that failed to disclose his massive stock

   sales throughout 2017. See §§ IX.C.1 & X.A.1, supra.

              458.   As a result of the revelation by The Wall Street Journal that Honig sold nearly 90%

   of his holdings in the Company, the Company’s stock price fell from an opening price of $14.50



   85
     Ianthe Jeanne Dugan, Investor Who Rode Pivot From Biotech to Bitcoin Sells Big Stake; Barry
   Honig pares back stake in Riot Blockchain, whose shares soared last year after a change of name,
   The Wall Street Journal (Jan. 31, 2018).

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   per share on January 31, 2018, to close at $13.75 that same day, a decline of $0.75, or more than

   5%. The Company’s stock continued to decline in the following day, February 1, 2018, related to

   the revelations in The Wall Street Journal article, falling an additional 10% that day.

              459.   “Later that same day, at 5:28 p.m. (after the market closed) the Company issued a

   second press release, titled “Riot Blockchain Announces Adjournment of Annual Meeting of

   Stockholders.” The press release announced that the 2017 Annual Meeting of Stockholders, which

   was scheduled for the following day, had again been cancelled and “was adjourned for a second

   time . . . .”

              460.   Together, The Wall Street Journal’s revelations of Honig’s nearly total divestment

   of his holdings of Riot stock, Honig’s role in the Company’s affairs, and Riot’s abrupt cancellation

   (for the second time) of its annual shareholder meeting (which had been scheduled for the very

   next day), Riot’s stock price declined 14.26% ($1.98 per share) from a closing price of $14.28 per

   share on January 30, 2018, to close at $12.30 per share on February 1, 2018, damaging Lead

   Plaintiff and other members of the Class.

              B.     February 16, 2018 – “CNBC Investigates Red Flags Raised Over Riot
                     Blockchain”

              461.   On February 16, 2017, CNBC published the article “CNBC investigates public

   company that changed its name to Riot Blockchain and saw its shares rocket” regarding

   questionable practices at Riot. The revelations in CNBC’s article partially revealed the Honig

   Group’s Class Period scheme to misrepresent and conceal their control over the Company,

   including through O’Rourke’s connections with Honig as “the man behind the Riot Blockchain

   curtain.” For example, CNBC discovered O’Rourke in Honig’s office in Boca Raton on the day

   of the cancelled annual shareholder meeting; and shed further light on Honig’s 13D violations and

   highlighted the suspicious circumstances surrounding the Kairos transaction.


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              462.   In response, shares of Riot fell $5.74 per share, or approximately 33.4%, from

   closing at $17.20 on February 15, 2018, to closing at $11.46 per share on February 16, 2018,

   damaging Lead Plaintiff and Class members. This decline in price corresponded with a more than

   13-fold spike in trading volume, in which the daily shares traded increased from approximately

   1.7 million shares traded on February 15, 2015, to approximately 12.2 million shares traded on

   February 16, 2018.

              C.     April 17-18, 2018 – Riot Files Form 10-K Revealing Related Party
                     Transactions

              463.   On April 17, 2018 after the market closed, Riot filed its 2017 annual report on Form

   10-K, belatedly disclosing various related party transactions, as set forth herein, that took place in

   2017.      These include the March 2017 Private Placement, Honig’s consultancy role in the

   Coinsquare transaction, the Kairos Agreement, and the December 2017 Private Placement. The

   following trading day, April 18, 2018, the Company’s stock price fell $0.43 per share, or

   approximately 5.8%, from the previous day’s closing price, to close at $6.87 per share on April

   18, 2018, damaging Class members.

              D.     May 29, 2018 – Riot Files a Form 8-K Revising Its Disclosures Concerning
                     the Coinsquare Transaction

              464.   After trading ended on May 25, 2018, Riot disclosed for the first time in an

   amended Form 8-K/A that several Honig Group members were – like Riot – parties to the

   Coinsquare transaction. On this news, on the following trading day, May 29, 2018, Company’s

   stock price fell from an opening share price $7.53 per share to $7.08 per share, a decline of nearly

   6% and damaging Class members.




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              E.     September 7, 2018 – SEC Files Suits Against Honig, O’Rourke, Groussman,
                     Stetson, and Others

              465.   On September 7, 2018, the SEC filed the Honig Action against Defendants Honig,

   O’Rourke, Groussman, and Stetson, and several of their affiliates, finally revealing that, contrary

   to Defendants’ misleading filings on Schedules 13D and 13G, and on Forms S-3 and 10-K, the

   Honig Group was not only a “group” as defined by Section 13(d), but in fact a a highly-orchestrated

   and closely-knit partnership among Honig, O’Rourke, Groussman, and Stetson, who together had

   been engaged in the same fraudulent modus operandi at Riot as at the previous companies at which

   they had operated the pump-and-dump schemes described by the SEC.

              466.   On this news, the price of Riot’s stock dropped $1.38 per share, or approximately

   26.1%, from the previous day’s closing price, to close at $4.30 per share on September 7, 2018,

   damaging Class members.

              467.   As shown above, the timing and magnitude of the price declines in Riot’s common

   stock negate any inference that the losses suffered by Lead Plaintiff and the Class were caused by

   changed market conditions, macroeconomic or industry factors, or Company-specific facts

   unrelated to Defendants’ fraud.

   XIV. CLASS ACTION ALLEGATIONS

              468.   Lead Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those persons or entities who

   purchased or otherwise acquired the securities of Riot and/or Bioptix (NASDAQ: RIOT, BIOP)

   during the Class Period (the “Class”) and were damaged thereby. Excluded from the Class are

   Defendants herein, the officers and directors of the Company, at all relevant times, members of

   their immediate families and their legal representatives, heirs, successors, or assigns, and any entity

   in which Defendants have or had a controlling interest.


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              469.   The members of the Class are so numerous that joinder of all members is

   impracticable. Throughout the Class Period, the Company’s securities were actively traded on the

   NASDAQ. While the exact number of Class members is unknown to Lead Plaintiff at this time

   and can be ascertained only through appropriate discovery, Lead Plaintiff believes that there are

   thousands of members in the proposed Class. The Company reported that as of April 12, 2018, it

   had approximately 1,030 holders of record of its common stock. Record owners and other

   members of the Class may be identified from records maintained by the Company or its transfer

   agent and may be notified of the pendency of this action by mail, using the form of notice similar

   to that customarily used in securities class actions.

              470.   Lead Plaintiff’s claims are typical of the claims of the members of the Class as all

   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

   federal law that is complained of herein.

              471.   Lead Plaintiff will fairly and adequately protect the interests of the members of the

   Class and has retained counsel competent and experienced in class and securities litigation. Lead

   Plaintiff has no interests antagonistic to or in conflict with those of the Class.

              472.   Common questions of law and fact exist as to all members of the Class and

   predominate over any questions solely affecting individual members of the Class. Among the

   questions of law and fact common to the Class are:

              (a)    whether Defendants’ acts as alleged violated the federal securities laws;

              (b)    whether Defendants’ statements to the investing public during the Class Period

                     misrepresented material facts about the financial condition, business, operations,

                     and management of the Company;




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              (c)    whether Defendants’ statements to the investing public during the Class Period

                     omitted material facts necessary to make the statements made, in light of the

                     circumstances under which they were made, not misleading;

              (d)    whether Defendants caused the Company to issue false and misleading SEC filings

                     and public statements during the Class Period;

              (e)    whether Defendants acted knowingly or recklessly in issuing false and misleading

                     SEC filings and public statements during the Class Period;

              (f)    whether Defendants engaged in a fraudulent scheme;

              (g)    whether the prices of the Company’s securities during the Class Period were

                     artificially inflated because of the Defendants’ conduct complained of herein; and

              (h)    whether the members of the Class have sustained damages and, if so, what is the

                     proper measure of damages.

              473.   A class action is superior to all other available methods for the fair and efficient

   adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

   damages suffered by individual Class members may be relatively small, the expense and burden

   of individual litigation make it impossible for members of the Class to individually redress the

   wrongs done to them. There will be no difficulty in the management of this action as a class action.

   XV.        APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD-ON-THE-
              MARKET AND AFFILIATED UTE PRESUMPTION

              474.   Lead Plaintiff will rely upon the presumption of reliance established by the fraud

   on the market doctrine as enunciated in Basic Inc. v. Levinson, 485 U.S. 224 (1988) (“Basic”) and

   the presumption of reliance for omissions as enunciated in Affiliated Ute Citizens of Utah v. United

   States, 406 U.S. 128 (1972) (“Affiliated Ute”).




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              475.   With respect to the Basic presumption, a presumption of reliance under the fraud-

   on-the-market doctrine is appropriate because, among other things:

              (a)    Defendants made public misrepresentations or failed to disclose material facts

                     during the Class Period;

              (b)    the omissions and misrepresentations were material;

              (c)    the Company’s common stock traded in an efficient market;

              (d)    the misrepresentations alleged would tend to induce a reasonable investor to

                     misjudge the value of the Company’s common stock; and

              (e)    Lead Plaintiff and other members of the Class purchased common stock between

                     the time Defendants misrepresented or failed to disclose material facts and the time

                     the true facts were disclosed, without knowledge of the misrepresented or omitted

                     facts.

              476.   At all relevant times, the market for Riot’s common stock was efficient for the

   following reasons, among others:

              (a)    the Company’s common stock met the requirements for listing and was listed and

                     actively traded on the NASDAQ, a highly efficient, electronic stock market;

              (b)    as a regulated issuer, Riot filed periodic public reports with the SEC and the

                     NASDAQ;

              (c)    Riot regularly communicated with public investors via established market

                     communication mechanisms, including regular disseminations of press releases on

                     the national circuits of major newswire services and through other wide-ranging

                     public disclosures, such as communications with the financial press and other

                     similar reporting services; and



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              (d)    Riot was followed by stock analysts employed by major brokerage firms who wrote

                     reports distributed to the sales force and certain customers of their respective

                     brokerage firms. Each of these reports was publicly available and entered the

                     public marketplace.

              477.   As a result of the foregoing, the market for Riot’s common stock promptly digested

   current information regarding the Company from publicly available sources and reflected such

   information in the price of the common stock. Under these circumstances, all purchasers of the

   Company’s common stock during the Class Period suffered similar injury through their purchase

   of such common stock at artificially inflated prices, and a presumption of reliance applies.

              478.   In addition to the Basic presumption, a class-wide presumption of reliance is also

   appropriate in this action under the Supreme Court’s holding in Affiliated Ute because the claims

   alleged are grounded on Defendants’ material omissions.                Because this action involves

   Defendants’ failure to disclose material adverse information regarding Riot’s business operations

   and financial performance – information that Defendants were obligated to disclose – positive

   proof of reliance is not a prerequisite to recovery.

              479.   Moreover, when, as here, a defendant (Honig) has engaged in conduct that amounts

   to manipulation, that conduct creates and independent duty to disclose. Participants in the

   securities markets are entitled to presume that all relevant actors are behaving legally and silence

   that conceals illegal activity is deemed intrinsically misleading.

              480.   All that is necessary to invoke the Affiliated Ute presumption of reliance is that the

   facts withheld would be material in the sense that a reasonable investor might have considered

   them important in making investment decisions. Given the importance of the Class Period material

   misstatements and omissions set forth above, that requirement is satisfied here.



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   XVI. NO SAFE HARBOR

              481.   The statutory safe harbor provided for forward-looking statements under certain

   circumstances does not apply to any of the false statements alleged. Many of the statements herein

   were not identified as “forward-looking statements” when made. To the extent there were any

   forward-looking statements, no meaningful cautionary statements identified important factors that

   could cause actual results to differ materially from those in the purportedly forward-looking

   statements. Alternatively, to the extent that the statutory safe harbor does apply to any forward

   looking statements pleaded herein, Defendants are liable for those false forward-looking

   statements because at the time each of those forward-looking statements was made, the particular

   speaker knew that the particular forward looking statement was false, and/or the forward-looking

   statement was authorized and/or approved by an executive officer of the Company who knew that

   those statements were false when made.

                                                COUNT I

                          Violation of Section 10(b) of the Exchange Act and
                 Rule 10b-5(a) and (c) Promulgated Thereunder Against All Defendants

              482.   Lead Plaintiff repeats and realleges each and every allegation contained in the

   foregoing paragraphs as if fully set forth herein.

              483.   As early as 2016, and continuing throughout the Class Period, Defendants carried

   out a plan, scheme, and course of conduct which was intended to and, did: (i) deceive the investing

   public, including Lead Plaintiff and other members of the Class, as alleged herein; (ii) artificially

   inflate the price of the Company’s common stock; and (iii) cause Lead Plaintiff and other members

   of the Class to purchase Riot’s common stock at artificially inflated prices. The various elements

   of Defendants’ devices, schemes, and artifices that operated as a fraud and deceit on Riot’s public

   investors are laid out in detail in Section IX, supra, and summarized below.


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              484.   First, during the Class Period, Defendants Honig, Groussman, Stetson, and

   DeFrancesco (acting individually and/or through the investment entities they controlled, including

   GRQ 401K, ATG, Melechdavid, Stetson Capital, and Namaste, among others) and pursuant to

   explicit or tacit agreements with each other and the various Selling Stockholders and other

   affiliates to acquire, hold, vote, and/or dispose of shares they acquired in Riot in coordination with

   one another) knowingly or recklessly violated Exchange Act Section 10(b) and Rule 10b-5(a) and

   (c) thereunder by, among other things, directly or indirectly, with scienter obtaining and exercising

   undisclosed control of the management and policies of Riot and selling shares of Riot into the

   market at artificially high prices. Defendants further violated Exchange Act Section 10(b) and

   Rule 10b-5(a) and (c) thereunder by knowingly or recklessly making materially false and

   misleading filings under Section 13(d) – including on Schedules 13G, 13G/A, 13D, and 13D/A –

   that concealed both their control over Riot’s management and policies, as well as their membership

   in a group with each other, pursuant to their explicit or tacit agreement to acquire, hold, vote,

   and/or dispose of their shares in coordination with each other. Defendants further violated

   Exchange Act Section 10(b) and Rule 10b-5(a) and (c) thereunder by knowingly or recklessly by

   failing to make timely and appropriate Section 13(d) filings and amendments (e.g., on Schedule

   13D/A) reflecting their acquisition or disposition of Riot stock (whether individuals or as a group)

   that facilitated their scheme to defraud investors about their group’s control over the management

   and policies of, and the magnitude of the collective investment in, Riot. Defendants further

   violated Exchange Act Section 10(b) and Rule 10b-5(a) and (c) thereunder by engaging in

   manipulative trading in the securities of Riot while failing to make the necessary amendments to

   their Section 13(d) filings or disclosing their membership with each other in a “group” as defined

   by Section 13(d)(3).



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              485.   Second, during the Class Period, Defendants O’Rourke and Beeghley, as officers

   and/or directors of Riot, pursuant to explicit or tacit agreements with Defendants Honig,

   Groussman, Stetson, and DeFrancesco, knowingly or recklessly violated Exchange Act Section

   10(b) and Rule 10b-5(a) and (c) thereunder by causing the Company to issue materially false and

   misleading public filings with the SEC – including on Forms S-3, S-3/A, and 10-K, and Schedule

   14A – that materially misrepresented the Company’s beneficial ownership in violations of Section

   13(d) and Item 403 of Regulation S-K by misrepresenting and concealing the fact that many of

   Riot’s largest shareholders – including Defendants Honig, Groussman, Stetson, and DeFrancesco,

   and the Selling Stockholders listed in Riot’s Forms S-3 and S-3/A were members of a group with

   each other (as defined by Section 13(d)(3)) pursuant to their explicit or tacit agreement to acquire,

   hold, vote, and/or dispose of their shares in coordination with each other. Defendants O’Rourke,

   Beeghley, and Riot also knowingly or recklessly violated Exchange Act Section 10(b) and Rule

   10b-5(a) and (c) thereunder by issuing materially false and misleading Forms 8-k and 10-K that

   misrepresented and concealed various material related-party transactions between and among the

   Company and greater-than-5% shareholders of Riot including Defendants Honig and

   DeFrancesco.

              486.   Each and every Defendant is sued as a primary participant in the wrongful and

   illegal conduct charged herein.

              487.   The scheme, plan, and course of conduct alleged herein was intended to, and did,

   drive sales of Riot’s common stock, and with it, the Company’s share price.

                                                COUNT II

   Violation of Section 10(b) of the Exchange Act and Rule 10b-5(b) Promulgated Thereunder
                                      Against All Defendants




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              488.   Lead Plaintiff repeats and realleges each and every allegation contained above as if

   fully set forth herein.

              489.   This Count is asserted against all Defendants and is based upon Section 10(b) of

   the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5(b) promulgated thereunder by the SEC.

              490.   During the Class Period, Defendants, individually and in concert, directly or

   indirectly, disseminated or approved the false statements specified above, which they knew or

   deliberately disregarded were materially misleading in that they contained misrepresentations and

   failed to disclose material facts necessary in order to make the statements made, in light of the

   circumstances under which they were made, not materially misleading. Defendants violated §

   10(b) of the Exchange Act and Rule 10b-5(b) thereunder in that they made untrue statements of

   material facts or omitted to state material facts necessary in order to make the statements made, in

   light of the circumstances under which they were made, not materially misleading.

              491.   First, during the Class Period, Defendants Honig, Groussman, Stetson, and

   DeFrancesco (acting individually and/or through the investment entities they controlled, including

   GRQ 401K, ATG, Melechdavid, Stetson Capital, and Namaste, among others) and pursuant to

   explicit or tacit agreements with each other and the various Selling Stockholders and other

   affiliates to acquire, hold, vote, and/or dispose of shares they acquired in Riot in coordination with

   one another) knowingly or recklessly violated Exchange Act Section 10(b) and Rule 10b-5(a) and

   (c) thereunder by, among other things, directly or indirectly, with scienter obtaining and exercising

   undisclosed control of the management and policies of Riot and selling shares of Riot into the

   market at artificially high prices. Defendants further violated Exchange Act Section 10(b) and

   Rule 10b Rule 10b-5(b) thereunder by knowingly or recklessly making materially false and

   misleading filings under Section 13(d) – including on Schedules 13G, 13G/A, 13D, and 13D/A –



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   that concealed both their control over Riot’s management and policies, as well as their membership

   in a group with each other, pursuant to their explicit or tacit agreement to acquire, hold, vote,

   and/or dispose of their shares in coordination with each other. Defendants further violated

   Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by knowingly or recklessly by failing

   to make timely and appropriate Section 13(d) filings and amendments (e.g., on Schedule 13D/A)

   reflecting their acquisition or disposition of Riot stock (whether individuals or as a group) that

   facilitated their scheme to defraud investors about their group’s control over the management and

   policies of, and the magnitude of the collective investment in, Riot. Defendants further violated

   Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by engaging in manipulative trading in

   the securities of Riot while failing to make the necessary amendments to their Section 13(d) filings

   or disclosing their membership with each other in a “group” as defined by Section 13(d)(3).

              492.   Second, during the Class Period, Defendants O’Rourke and Beeghley, as officers

   and/or directors of Riot, pursuant to explicit or tacit agreements with Defendants Honig,

   Groussman, Stetson, and DeFrancesco, knowingly or recklessly violated Exchange Act Section

   10(b) and Rule 10b-5(b) thereunder by causing the Company to issue materially false and

   misleading public filings with the SEC – including on Forms S-3, S-3/A, and 10-K, and Schedule

   14A – that materially misrepresented the Company’s beneficial ownership in violations of Section

   13(d) and Item 403 of Regulation S-K by misrepresenting and concealing the fact that many of

   Riot’s largest shareholders – including Defendants Honig, Groussman, Stetson, and DeFrancesco,

   and the Selling Stockholders listed in Riot’s Forms S-3 and S-3/A were members of a group with

   each other (as defined by Section 13(d)(3)) pursuant to their explicit or tacit agreement to acquire,

   hold, vote, and/or dispose of their shares in coordination with each other. Defendants O’Rourke,

   Beeghley, and Riot also knowingly or recklessly violated Exchange Act Section 10(b) and Rule



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   Rule 10b-5(b) thereunder by issuing materially false and misleading Forms 8-k and 10-K that

   misrepresented and concealed various material related-party transactions between and among the

   Company and greater-than-5% shareholders of Riot including Defendants Honig and

   DeFrancesco.

              493.   Defendants acted with scienter in that they knew that the public documents and

   statements issued or disseminated in the name of the Company were materially false and

   misleading; knew that such statements or documents would be issued or disseminated to the

   investing public; and knowingly and substantially participated, or acquiesced in the issuance or

   dissemination of such statements or documents as primary violations of the securities laws. These

   defendants by virtue of their receipt of information reflecting the true facts of the Company, their

   control over, and/or receipt and/or modification of the Company’s allegedly materially misleading

   statements, and/or their associations with the Company which made them privy to confidential

   proprietary information concerning the Company, participated in the fraudulent scheme alleged

   herein.

              494.   Defendants O’Rourke and Beeghley, who were the senior officers and/or directors

   of the Company during the Class Period, had actual knowledge of the material omissions and/or

   the falsity of the material statements set forth above, and intended to deceive Lead Plaintiff and

   the other members of the Class, or, in the alternative, acted with reckless disregard for the truth

   when they failed to ascertain and disclose the true facts in the statements made by them or other

   personnel of the Company to members of the investing public, including Lead Plaintiff and

   members of the Class.

              495.   As a result of the foregoing, the market price of the Company’s securities was

   artificially inflated during the Class Period. In ignorance of the falsity of the Company’s and other



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   Defendants’ statements, Lead Plaintiff and the other members of the Class relied on the statements

   described above and/or the integrity of the market price of the Company’s securities during the

   Class Period in purchasing the Company’s securities at prices that were artificially inflated as a

   result of the Company’s and and other Defendants’ materially false and misleading statements.

              496.   Had Lead Plaintiff and the other members of the Class been aware that the market

   price of the Company’s securities had been artificially and falsely inflated by the Company’s and

   and other Defendants’ materially misleading statements and by the material adverse information

   which the Company’s and Defendants did not disclose, they would not have purchased the

   Company’s securities at the artificially inflated prices that they did, or at all.

              497.   As a result of the wrongful conduct alleged herein, Lead Plaintiff and other

   members of the Class have suffered damages in an amount to be established at trial.

              498.   By reason of the foregoing, the Company and the Defendants have violated Section

   10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder and are liable to Lead Plaintiff

   and the other members of the Class for substantial damages which they suffered in connection with

   their purchases of the Company’s securities during the Class Period.

                                                COUNT III

                             Violation of Section 20(a) of The Exchange Act
                               Against All Defendants (Other than Riot)

              499.   Lead Plaintiff repeats and realleges each and every allegation contained in the

   foregoing paragraphs as if fully set forth herein.

              500.   During the Class Period, Defendants O’Rourke and Beeghley participated in the

   operation and management of the Company, and conducted and participated, directly and

   indirectly, in the conduct of the Company’s business affairs. Each of the foregoing individuals

   owed fiduciary duties to the Company and its shareholders. Because of their positions and


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   interconnected relationships, they knew the adverse non-public information regarding the

   Company’s business practices.

              501.   As officers, directors and/or fiduciaries of a publicly owned company, these

   defendants had a duty to disseminate accurate and truthful information with respect to the

   Company’s financial condition and results of operations, and to correct promptly any public

   statements issued by the Company which had become materially false or misleading. They also

   had an obligation to act, at all times, in the best interests of the Company and its shareholders and

   to refrain from self-dealing for the own benefit at the expense of Riot and the Class.

              502.   Because of their positions of control and authority, Honig and the other Honig

   Group members named in this count were able to, and did, control the contents of the various

   reports, press releases, and public filings which the Company disseminated in the marketplace

   during the Class Period. Throughout the Class Period, these individuals named in this count

   exercised their power and authority to cause the Company to engage in the wrongful acts

   complained of herein and, therefore, were “controlling persons” of the Company within the

   meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful

   conduct alleged which artificially inflated the market price of the Company’s securities.

              503.   By reason of the above conduct, all Defendants (other than Riot) are liable pursuant

   to Section 20(a) of the Exchange Act for the violations committed by the Company.

                                         PRAYER FOR RELIEF

              WHEREFORE, Lead Plaintiff respectfully prays for judgment as follows:

              A.     Determining that this action is a proper class action maintained under Rules 23(a)

   and (b)(3) of the Federal Rules of Civil Procedure, certifying Lead Plaintiff as class representative,

   and appointing Motley Rice LLC as class counsel pursuant to Rule 23(g);



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              B.     Declaring and determining that Defendants violated the Exchange Act by reason of

   the acts and omissions alleged herein;

              C.     Awarding Lead Plaintiff and the Class compensatory damages against all

   Defendants, jointly and severally, in an amount to be proven at trial together with prejudgment

   interest thereon;

              D.     Awarding Lead Plaintiff and the Class their reasonable costs and expenses incurred

   in this action, including, but not limited to, attorney’s fees and costs incurred by consulting and

   testifying expert witnesses; and

              E.     Granting such other and further relief as the Court deems just and proper.

                                     DEMAND FOR TRIAL BY JURY

              Lead Plaintiff hereby demands a trial by jury of all issues so triable.

   Dated: December 24, 2020                         Respectfully submitted,

                                                    LITE DEPALMA GREENBERG, LLC

                                                    By: /s/ Joseph J. DePalma
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                        Exhibit A
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   (212) 336-1023 (Brown)

   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
                                                                          X
   SECURITIES AND EXCHANGE COMMISSION,

                                      Plaintiff,
                                                                               18 Civ.    ( )
                    -- against --
                                                                               ECF CASE
   BARRY C. HONIG, JOHN STETSON,
   MICHAEL BRAUSER, JOHN R. O'ROURKE III,
   MARK GROUSSMAN, PHILLIP FROST,
   ROBERT LADD, ELLIOT MAZA, BRIAN KELLER,                                     COMPLAINT
   JOHN H. FORD, ALPHA CAPITAL ANSTALT, ATG                                    AND JURY DEMAND
   CAPITAL LLC, FROST GAMMA INVESTMENTS
   TRUST, GRQ CONSULTANTS, INC.,
   HS CONTRARIAN INVESTMENTS, LLC,
   GRANDER HOLDINGS, INC., MELECHDAVID,
   INC., OPKO HEALTH, INC.,
    SOUTHERN BIOTECH, INC., and
    STETSON CAPITAL INVESTMENTS INC.,

                                                Defendants.
   ----------------------------------------------------------------------- x

           Plaintiff Securities and Exchange Commission ("Commission"), for its Complaint against

   Defendants Barry C. Honig ("Honig"), John Stetson ("Stetson"), Michael Brauser ("Brauser"),

   John R. O'Rourke III ("O'Rourke"), Mark Groussman ("Groussman"), Phillip Frost ("Frost"),

   Robert Ladd ("Ladd"), Elliot Maza ("Maza"), Brian Keller ("Keller"), John H. Ford ("Ford"),
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   Alpha Capital Anstalt ("Alpha"), ATG Capital LLC ("ATG"), Frost Gamma Investments Trust

   ("FGIT"), GRQ Consultants, Inc. ("GRQ"), HS Contrarian Investments, LLC ("HSCI"), Grander

   Holdings, Inc. ("Grander"), Melechdavid, Inc. ("Melechdavid"), OPKO Health, Inc. ("Opko"),

   Southern Biotech, Inc. ("Southern Biotech"), and Stetson Capital Investments Inc. ("SCI")

   (collectively, "Defendants"), alleges as follows:

                                   SUMMARY OF ALLEGATIONS

                       This case involves three highly profitable "pump-and-dump" schemes

   perpetrated by Honig, Stetson, Brauser, O'Rourke, Groussman, and Frost, and their entities

   GRQ, SCI, Grander, HSCI, Melechdavid, ATG, Opko, FGIT, and Southern Biotech from 2013

   through 2018 in the stock of three public companies (Company A, Company B, and Company C)

   that, while enriching Defendants by millions of dollars, left retail investors holding virtually

   worthless shares.

          2.           Across all three schemes, Honig was the primary strategist, calling upon other

   Defendants to buy or sell stock, arrange for the issuance of shares, negotiate transactions, or

   engage in promotional activity. In each scheme, Honig orchestrated his and his associates'

   acquisition of a large quantity of the issuer's stock at steep discounts, either by acquiring a shell

   and executing a reverse merger or by participating in financings on terms highly unfavorable to

   the company. In every scheme, Honig, and soiree combination of Stetson, Brauser, O'Rourke,

   Groussman and Frost, either explicitly or tacitly agreed to buy, hold or sell their shares in

   coordination with one another, knowing that a pump and dump was in the offing that would

   allow them all to profit handsomely. Once Honig and his associates had secured substantial

   ownership of the issuer, they acted as an undisclosed control group, directing the issuer's

   management for their benefit, including orchestrating transactions designed to create market



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   interest in the company or to solidify their control.

                     To profit from their investment, in each scheme, Honig and his associates

   would arrange and pay for the promotion of the stock, directing their co-defendant Ford, or a

   similar promoter, to write favorable and materially misleading articles about the company whose

   stock price they wanted to inflate. In several instances, to magnify the intended boost to volume

   and price that would follow a promotional article's release, Honig, Brauser, O'Rourke,

   Groussman, Melechdavid and ATG engaged in pre-release manipulative trading to generate a

   misleading picture of market interest in the company's stock, priming investor interest.

           4.        In connection with the Company B and Company C schemes, Honig, Brauser,

   Stetson, O'Rourke, Frost and Groussman, as well as certain of their entities, also violated

   beneficial ownership reporting requirements of the federal securities laws by failing to disclose

   their group beneficial ownership of shares and the fact that as a group they were looking to

   exercise (and, in fact, did exercise) control over the issuers.

                     Management of both Company A and Company B acted to further the

   schemes. Defendants Maza (Company A's CEO), Keller (Company A's Chief Scientific Officer

   and a Director) and Ladd (Company B's CEO), acted separately at the direction of Honig and his

   confederates to take steps beneficial to that group at the expense of each company's public

   shareholders, and signed public filings they knew to be false to hide the group's beneficial

   ownership and existence.

           6.        Maza and Keller signed Company A's public filings, in which they knowingly

   or recklessly omitted to disclose the share ownership as a group of Honig, Brauser, Frost,

   Stetson, and Groussman, or the size of each of their holdings. Similarly, Company B's CEO,

   Ladd, also signed false public filings, making material misstatements in them about the



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   substantial group ownership of Company B shares held by Honig, Brauser, Stetson, O'Rourke,

   and Groussman.

           7.          All told, the three schemes brought Defendants millions of dollars: Company

   A's pump and dump generated for the Defendants more than $9.25 million in stock sales

   proceeds, and Company B's pump and dump generated more than $9.5 million. And their most

   recent venture, the pump and dump scheme with respect to Company C, brought in over $8.3

   million in stock sales proceeds. In the wake of these schemes, public investors were left holding

   virtually worthless stock.

                                              VIOLATIONS

           8.          By virtue of the conduct alleged herein, each of the Defendants, directly or

   indirectly, singly or in concert, violated and are otherwise liable for violations of the federal

   securities laws as follows:

           9.          Honig violated:

                   •    Sections 5(a) and (c) of the Securities Act of 1933 ("Securities Act") [15

                       U.S.C. §§ 77e(a) and (c)];

                   •    Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

                   •    Sections 9(a)(1) and (2) of the Securities Exchange Act of 1934 ("Exchange

                        Act") [15.U.S.C. §§ 78i(a)(1) and (2)];

                   •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5

                        thereunder [17 C.F.R. § 240.10b-5]; and

                   •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                        thereunder [17 C.F.R. § 240.13d-1(a)].

           10.         Stetson violated:
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               •    Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

               •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5

                   thereunder [17 C.F.R. § 240.1Ob-5]; and

               •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)].

         11.       Brauser violated:

               •    Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)];

               •    Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

               •    Section 9(a)(1) of the Exchange Act [15.U.S.C. § 78i(a)(1)];

               •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5

                    thereunder [17 C.F.R. § 240.1Ob-5]; and

               •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                    thereunder [17 C.F.R. § 240.13d-1(a)].

         12.       O'Rourke violated:

               •    Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

               •    Sections 9(a)(1) and (2) of the Exchange Act [15.U.S.C. §§ 78i(a)(1) and (2)];

               •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5

                    thereunder [17 C.F.R. § 240.1Ob-5]; and

               •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                    thereunder [17 C.F.R. § 240.13d-1(a)].

         13.       Groussman violated:

               •    Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)];

               •    Section 9(a)(1) of the Exchange Act [15 U.S.C. § 78i(a)(1)];


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               •     Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                     thereunder [17 C.F.R. § 240.13d-1(a)]; and

               •     Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of

                     the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig's,

                     Stetson's, Brauser's, and O'Rourke's violations of Section 17(a)(1) and (3) of

                     the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)] and Section 10(b) of the

                    Exchange Act [15 U.S.C. § 78j(b)] and Rules lOb-5(a) and (c) thereunder [17

                     C.F.R. §§ 240.1Ob-5(a) and (c)].

         14.        Frost violated:

               •     Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)];

               •     Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)];

               •     Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5(b)

                     thereunder [17 C.F.R. §§ 240.1Ob-5(b)];

               •     Section 13(d) of the Exchange Act [15 U.S.C. § 78in(d)], and Rule 13d-1(a)

                     thereunder [17 C.F.R. § 240.13d-1(a)]; and

               •     Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of

                     the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig's,

                     Stetson's, Brauser's, and O'Rourke's violations of Section 17(a)(1) and (3) of

                     the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)] and Section 10(b) of the

                     Exchange Act [15 U.S.C. § 78j(b)] and Rules lOb-5(a) and (c) thereunder X17

                     C.F.R. §§ 240.10b-5(a) and (c)].

         15.        Ladd violated:

                •    Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)];


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               •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5(b)

                    thereunder [17 C.F.R. § 240.1Ob-5(b)]; and

               •    Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of

                    the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig's,

                     Stetson's, Brauser's, and O'Rourke's violations of Section 17(a)(1) and (3) of

                    the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)] and Section 10(b) of the

                    Exchange Act [15 U.S.C. § 78j(b)] and Rules lOb-5(a) and (c) thereunder [17

                    C.F.R. §§ 240.1Ob-5(a) and (c)] and by aiding and abetting Company B's

                     violations of Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)], and

                    Rules 12b-20 [17 C.F.R. § 240.12b-20] and 13a-1 thereunder [17 C.F.R. §

                     240.13 a-1].

         16.        Maza violated:

               •     Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

               •     Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5

                     thereunder [ 17 C.F.R. § 240.1Ob-5]; and

               •     Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting

                     Company A's violations of Section 15(d) of the Exchange Act [15 U.S.C. §

                     780], and Rule 15d-1 thereunder [17 C.F.R. § 240.15d-1].

         17.        Keller violated:

                •    Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)];

               •     Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5(b)

                     thereunder [17 C.F.R. § 240.1Ob-5(b)]; and




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               •    Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of

                    the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig's,

                    Stetson's, Brauser's, and O'Rourke's violations of Section 17(a)(1) and (3) of

                    the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)] and Section 10(b) of the

                   Exchange Act [15 U.S.C. § 78j(b)], and Rules lOb-5(a) and (c) thereunder [17

                    C.F.R. §§ 240.1Ob-5(a) and (c)], and by aiding and abetting Company A's

                    violations of Section 15(d) of the Exchange Act [15 U.S.C. § 780], and Rule

                    15d-1 thereunder [17 C.F.R. § 240.15d-1].

         18.       Ford violated:

               •    Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)];

               •    Section 17(b) of the Securities Act [15 U.S.C. § 77q(b)]; and

               •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5(b)

                    thereunder [17 C.F.R. § 240.1Ob-5(b)].

         19.       Alpha violated:

               •    Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)].

         20.       ATG violated:

               ~    Sections 17(a)(1) and (3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                    ~3)~~

               •    Sections 9(a)(1) and (2) of the Exchange Act [15.U.S.C. §§ 78i(a)(1) and (2)];

               •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules lOb-5(a)

                    and (c) thereunder [17 C.F.R. §§ 240.1Ob-5(a) and (c)]; and

               •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                    thereunder [17 C.F.R. § 240.13d-1(a)].
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         21.        GRQ violated:

                ~   Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)J;

                •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5

                    thereunder [17 C.F.R. § 240.1Ob-5]; and

                •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                    thereunder [17 C.F.R. § 240.13d-1(a)].

         22.        HSCI violated:

                •    Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

                •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5

                     thereunder [ 17 C.F.R. § 240.1Ob-5]; and

                •    Section 13(d) of the Exchange Act [15 U.S.C. § 78in(d)], and Rule 13d-1(a)

                     thereunder [17 C.F.R. § 240.13d-1(a)].

          23.       Grander violated:

                •    Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)];

                •    Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

                •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5

                     thereunder [17 C.F.R. § 240.1Ob-5]; and

                •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                     thereunder [17 C.F.R. § 240.13d-1(a)].

          24.       Melechdavid violated:

                •    Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)];

                •    Section 9(a)(1) of the Exchange Act [15.U.S.C. § 78i(a)(1)];
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               •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)]; and

               •    Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of

                    the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig's,

                    Stetson's, Brauser's, and O'Rourke's violations of Section 17(a)(1) and (3) of

                    the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)] and Section 10(b) of the

                   Exchange Act [15 U.S.C. § 78j(b)] and Rules lOb-5(a) and (c) thereunder [17

                    C.F.R. §§ 240.1Ob-5(a) and (c)].

         25.       Opko violated:

               •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                    thereunder [17 C.F.R. § 240.13d-1(a)]; and

               •    Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of

                    the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig's,

                    Stetson's, Brauser's, and O'Rourke's violations of Section 17(a)(1) and (3) of

                    the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)] and Section 10(b) of the

                   Exchange Act [15 U.S.C. § 78j(b)] and Rules lOb-5(a) and (c) thereunder [17

                    C.F.R. §§ 240.1Ob-5(a) and (c)].

         26.       FGIT violated:

               •    Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)];

               •    Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule lOb-5(b)

                   thereunder [17 C.F.R. § 240.1Ob-5(b)];

               •    Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)]; and


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                  •   Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of

                      the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig's,

                      Stetson's, Brauser's, and O'Rourke's violations of Section 17(a)(1) and (3) of

                      the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)] and Section 10(b) of the

                      Exchange Act [15 U.S.C. § 78j(b)], and Rules lOb-5(a) and (c) thereunder [17

                      C.F.R. §§ 240.1Ob-5(a) and (c)].

          27.         Southern Biotech violated:

                  •   Sections 17(a)(1) and (3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                      ~3)~~

                  •   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules lOb-5(a)

                      and (c) thereunder [17 C.F.R. §§ 240.1Ob-5(a) and (c)]; and

                  •   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                      thereunder [17 C.F.R. § 240.13d-1(a)].

          28.         SCI violated:

                  •   Sections 17(a)(1) and (3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                      ~3)~~

                  •   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules lOb-5(a)

                      and (c) thereunder [17 C.F.R. §§ 240.1Ob-5(a) and (c)]; and

                  •   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                      thereunder [17 C.F.R. § 240.13d-1(a)].

          29.         The Commission seeks final judgments permanently enjoining Defendants

   from violating the federal securities laws, requiring each Defendant to disgorge his or its ill-

   gotten gains and to pay prejudgment interest on those amounts; requiring Defendants to pay civil


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   monetary penalties; barring Defendants from participating in future penny stock offerings;

   barring Defendants Ladd, Maza, and Keller from serving as officers or directors of publicly

   traded companies; and seeking any other relief that the Court deems just and appropriate.

          30.        Unless Defendants are permanently restrained and enjoined, they each will

   again engage in the acts, practices, and courses of business set forth in this Complaint, or in acts

   and transactions of similar type and object.

                                    JURISDICTION AND VENUE

          31.        The Commission brings this action pursuant to the authority conferred by

   Sections 20(b) and (d) of the Securities Act [15 U.S.C. §§ 77t(b) and (d)], and Sections 21(d) and

   (e) of the Exchange Act [15 U.S.C. §§ 78u(d) and (e)].

          32.        This Court has jurisdiction over this action pursuant to Sections 22(a) and (c)

   of the Securities Act [15 U.S.C. §§ 77v(a) and 77v(c)], and Section 27 of the Exchange Act [15

   U.S.C. § 78aa]. Defendants, directly or indirectly, singly or in concert, have made use of the

   means or instrumentalities of transportation or communication in, interstate commerce, or of the

   mails, in connection with the transactions, acts, practices, and courses of business alleged herein.

          33.        Venue lies in this district pursuant to Sections 22(a) and (c) of the Securities

   Act [15 U.S.C. §§ 77v(a) and (c)], and Section 27 of the Exchange Act [15 U.S.C. § 78aa].

   Certain of the transactions, acts, practices and courses of business constituting the violations

   alleged herein occurred within the Southern District of New York. Among other things, at all

   relevant times, Company B's principal place of business was in Harrison, New York, within this

   District, and Defendants solicited investments in securities from investors in this District and

   sold securities through abroker-dealer located in this District.




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                                        THE DEFENDANTS

            Individual Defendants

          34.       Honig, born in 1971, is a resident of Boca Raton, Florida and currently works

   at an office in Boca Raton with Stetson and O'Rourke, and at times, Groussman. Honig owns

   GRQ, and co-owns, with Stetson, HSCI, and co-owns, with Brauser and Frost, Southern Biotech.

          35.        Stetson, born in 1985, is a resident of Fort Lauderdale, Florida and currently

   works at an office there with Honig and O'Rourke, and at times, Groussman. Stetson owns SCI,

   and co-owns, with Honig, HSCI, of which he is the managing member.

          36.        O'Rourke, born in 1985, is a resident of Fort Lauderdale, Florida and

   currently works at an office in Boca Raton with Honig and Stetson, and at tunes, Groussman.

   O'Rourke owns ATG.

          37.       Brauser, born in 1956, is a resident of Lighthouse Point, Florida and currently

   works in an office in Miami in the same building as Frost. Brauser owns Grander.

          38.        Groussman, born in 1973, is a resident of Miami Beach, Florida and

   occasionally works at an office in Boca Raton with Honig, Stetson and O'Rourke. Groussman

   owns Melechdavid.

          39.       Frost, born in 1936, is a resident of Miami Beach, Florida. Frost founded

   Opko, and is its CEO. Frost is also the trustee for FGIT. Frost enjoys a reputation as a

   successful biotech investor.

          40.       Maza, born in 1955, is a resident of New York, New York. He was the CEO

   of Company A from June 2011 to January 2014. He is a CPA licensed in New York, as well as

   an attorney licensed in New York.

          41.        Keller, born in 1956, is a resident of California. He was Chief Scientific

   Officer of Company A from about March 2011 to January 2014, and was a member of its board

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   of directors. He currently works as President of Sales and Senior Vice President of Research and

   Development at Company A's successor company.

          42.       Ladd, born in 1959, is a resident of Raleigh, North Carolina. At all relevant

   times, he was a resident of New York, New York. He has been the CEO of Company B since

   February 10, 2011.

          43.       Ford, born in 1956, is a resident of Bolinas, California.

              Entity Defendants

          44.        Alpha is a Lichtenstein corporation and hedge fund, managed by an

   unregistered investment adviser located in New York, New York.

          45.        ATG is a Florida corporation that O'Rourke owns and operates with its

   principal place of business in Florida. ATG was incorporated in or around 2012.

          46.       FGIT is a Florida trust that was formed in or around 2002. Frost is FGIT's

   Trustee.

          47.       GRQ is a Florida corporation that Honig owns and operates with its principal

   place of business in Florida. GRQ was incorporated in or around 2004.

          48.       Grander is a Florida corporation that Brauser owns and operates with its

   principal place of business in Florida. Grander was incorporated in or around 2010.

          49.       HSCI is a Delaware corporation that Honig and Stetson co-own and of which

   Stetson is the managing member, with its principal place of business in Florida. HSCI was

   established in or around 2011.

          50.       Melechdavid is a Florida corporation that Groussman owns and operates with

   its principal place of business in Florida. Melechdavid was incorporated in or around 2006.

          51.       Opko is a Delaware corporation. Its principal place of business is in Florida.



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   Frost is Opko's CEO. Opko was incorporated in or around 2007.

          52.       Southern Biotech is a Nevada corporation that Honig operates and co-owns

   with Brauser and Frost with its principal place of business in Florida. Southern Biotech was

   incorporated in or around 2014

          53.        SCI is a Florida corporation that Stetson owns and operates with its principal

   place of business in Florida. SCI was incorporated in or around 2011.

                        OTHER RELEVANT PERSONS AND ENTITIES

          54.        Company A is a Delaware corporation headquartered in Georgia. Company A

   was controlled by Honig, Frost, and Brauser between March 2011 and December 2013. It was

   incorporated in Nevada in 2006. The company filed periodic reports, including Forms 10-K and

   10-Q with the Commission. Company A's stock was quoted on OTC Link (formerly known as

   the "Pink Sheets"), an electronic interdealer quotation system operated by OTC Markets Group,

   Inc. In early 2014, Company A engaged in a reverse merger with a company associated with

   Honig and his associates. The successor company is currently quoted on OTC Link. At all

   relevant times, Company A's stock was a "penny stock" as that teen is defined in Section

   3(a)(51) of the Exchange Act [15 U.S.C. § 78c(a)(51)], and Rule 3a51-1 thereunder [17 C.F.R. §

   240.3a51-1].

          55.        Company B is a Delaware corporation headquartered in Harrison, New York.

   Its common stock is registered with the Commission pursuant to Exchange Act Section 12(b) [15

   U.S.C. § 781(b)], and it files periodic reports, including Forms 10-K and 10-Q with the

   Commission. Company B's common stock was listed on NYSE MKT from 2007 until its

   October 19, 2016 delisting. Its stock is currently quoted on OTC Link. At all relevant times,

   Company B's stock was a "penny stock" as that term is defined in Section 3(a)(51) of the

   Exchange Act [15 U.S.C. § 78c(a)(51)] and Rule 3a51-1 thereunder [17 C.F.R. § 240.3a51-1].

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          56.          Company C is a Delaware corporation headquartered in San Diego,

   California, and was incorporated in 1988. Company C's common stock is registered with the

   Commission pursuant to Exchange Act Section 12(b) [15 U.S.C. § 781(b)], and its common stock

   is listed on NASDAQ. At all relevant times, Company C's stock was a "penny stock" as that

   term is defined in Section 3(a)(51) of the Exchange Act [15 U.S.C. § 78c(a)(51)] and Rule 3a51-

   1 thereunder [17 C.F.R. § 240.3a51-1].

                                                FACTS

                A. The Company A Scheme

                  1.       Honig, Frost a~zd Brauser Obtaiiz Control of Compa~zy A

          57.          In the Company A scheme, Honig and Brauser teamed up with Frost, a

   frequent collaborator in Honig and Brauser deals involving biotech issuers. As alleged below,

   the three men caused the company to issue shares to themselves and their associates through a

   series of so-called "private investments in public equities," or "PIPE" financings, drove the price

   of the stock higher by secretly paying for a misleading promotional campaign and by virtue of

   Honig's and Brauser's manipulative trading, and then unlawfully sold their Company A shares

   into the inflated market for proceeds of approximately $9,260,000.

          58.          In November 2010, Honig, along with his nominees including Stetson and

   Groussman, purchased one-third of apublicly-traded shell company. In December 2010,

   Brauser and Frost each purchased one-half of the remaining two-thirds of the publicly-traded

   shell company. Each of Honig, Stetson, Groussman, Brauser, and Frost, disguised their role in

   the acquisition by purchasing the shares from an entity used to make the purchase of the shell

   company. Soon after they acquired the shell, Honig, Brauser, and Frost installed a Frost

   associate as the sole disclosed director of the company.

          59.          In late 2010, Honig, Brauser, and Frost approached management of a private

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   biotech company ("Company A Labs"), including Keller, the Chief Scientific Officer and

   Director, and Company A Labs then-CEO ("Company A Labs CEO") with a proposal for taking

   the company public. Honig, Brauser, and Frost proposed a reverse merger, by which Company

   A Labs, aprivately-held California company then in the business of manufacturing over-the-

   counter pharmaceutical products, would be merged into Honig's, Brauser's, and Frost's publicly-

   traded shell. At the time, Company A Labs and Keller were working on developing a

   formulation using a patented technology called "Qusomes" that Company A Labs hoped to use

   in large-scale drug markets, and the inanageinent of Company A Labs saw the deal as creating

   financing possibilities to fund the company's research.

          60.       Indeed, Honig, Brauser, and Frost told Keller and Company A Labs CEO that

   the public company deal would include raising $8 to $15 million dollars to support research and

   development ("R&D") into Qusomes. And they further persuaded Company A Labs CEO to go

   along with the merger by promising hiin 6,650,000 shares of the newly created public company.

          61.       The proposed merger hit a snag, however, in March 2011. Pursuant to a $3

   million credit line Company A Labs had with a San Francisco bank, the bank had authority to

   approve all major transactions, and, in March 2011, it declined to approve the proposed merger.

   The merger nonetheless closed in June 2011, and the bank thereafter sent a default notice. On

   September 8, 2011, Maza, who had been installed as the CFO and director of Company A Labs

   by Honig and Brauser, completed the payoff of the credit line thereby removing the obstacle to

   the merger, but saddling Company A Labs with short-term, high-interest rate notes that included

   a conversion option into equity of the company.

          62.       In connection with the reverse merger, Honig, Brauser, and Frost arranged the

   sale of certain unprofitable Frost assets to the public company in exchange for 8,345,310 shares



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   and the obligation of the company to file a registration statement for these shares, providing

   further value to Frost.

          63.        After the closing of the reverse merger of Company A Labs into the shell

   company in June 2011, the surviving public company became Company A. Honig, Brauser,

   Frost, Groussman, and Stetson controlled the vast majority of the Company A's stock and were

   affiliates of Company A.

          64.        After the merger, Company A listed its corporate address at 4400 Biscayne

   Boulevard in Miami, the same business address then shared by Honig, Brauser and Frost.

          65.        In addition to controlling the vast majority of Company A's outstanding shares,

   Honig, Brauser, and Frost exercised control over the management of Company A. Before the

   deal closed, Honig and Brauser, acting with the knowledge and consent of Frost, Stetson and

   Groussman, had installed their associate, Maza, as the CFO and a director of Company A Labs.

   After the merger, Maza became the CEO of Company A. Thereafter, Maza sought approval

   from Honig and. Brauser for every business decision. For example, at the direction of Honig and

   Brauser, Maza agreed to divert funds from Company A to pay rent for the office of an unrelated

   entity co-owned. by Honig and Brauser.

           66.       In their capacity as the three board members of Company A, Keller, Maza, and

   the Frost associate concealed Honig's and Brauser's control of Company A by signing off on

   public filings that failed to disclose the involvement of Honig, Brauser, Stetson and Groussman,

   omissions that made those filings materially misleading. These filings included Company A's

   Form 10-K filed on April 16, 2012.

           67.       At the time they signed these filings, Keller and Maza understood that Honig

   and Brauser, with Frost's knowledge and consent, controlled Company A's management, and not
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   Maza. As Keller explained in a February 12, 2012 email to a Company A colleague, "[t]he real

   power is with Barry Honig and Mike Brauser. Elliot [Maza] is just a mouth piece." Following

   the merger, Company A's filings nonetheless identified only Frost, but not Honig or Brauser, as

   a control person.

          68.          Honig, Brauser, and Frost failed to keep their promises to invest money in

   Company A for R&D. Instead, in a series of PIPE financings, which included warrants for

   additional shares, done between February 24 and March 12, 2012, they limited their investment

   to keep the business operating at a minimal level and to fund Maza's and Keller's generous

   compensation, forcing Company A to abandon its R&D efforts entirely bymid-2012. Kelley's

   compensation snore than doubled once he began working with Honig and Honig's associates,

   whereas Maza's annual compensation ranged from $300,000 to $600,000.

          69.          Honig, Brauser, and Frost also used the financings to amass more, ever-

   cheaper Company A shares, and although the financings did nothing to enhance Company A's

   continued growth, Maza and Keller went along with them because both were promised, and

   ultimately awarded, substantial salaries as well as millions of Company A shares, by Company

   A's real control persons, which included Honig, Brauser, Frost, Stetson and Groussman.

          70.          By April 1, 2013, and pursuant to an agreement to acquire, hold or sell their

   shares in concert, Honig, Frost, Brauser, Maza, Keller, and the Frost associate had amassed

   44,818,312 shares, or almost 71% of the Company A shares outstanding, with Honig alone

   holding 5,542,654 shares, or 8.8% of the company's outstanding shares. Yet, even though

   Company A filed an amendment to its Form 10-K annual report for the 2012 fiscal year on

   September 13, 2013, signed by Maza, Keller, and the third board member, for the specific

   purpose of updating the beneficial ownership table, the annual report failed to disclose the



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   existence of the Honig-allied group, which beneficially owned nearly three-quarters of Company

   A's outstanding shares.

          71.          On July 16, 2012, Company A Labs CEO —who had been ousted from

   Company A by Honig and Brauser with Keller's assistance —sued Company A, Honig, Brauser,

   Maza, and Frost. Brauser, who was not an officer or director of Company A, took the lead in

   negotiating a settlement on behalf of Company A, frequently updating Honig and Frost on his

   negotiations. In September 2013, Brauser and Honig came to terms with Company A Labs CEO,

   agreeing to pay hiin $2 million in return for his relinquishing his claim to the Company A shares

   he had been promised in the merger, and that he had never received. Maza then ratified the

   settlement terms~on September 5, 2013.

                  2.       The Company A Pump andDump

          72.          In preparation for the Company A pump and dump, during August and

   September, 2013, Stetson, at Honig's direction, deposited in a brokerage account almost 4

   million Company A shares that had been issued to Honig. Stetson worked closely with Honig,

   Brauser, and Frost and knew how much Company A stock they controlled, and that Honig and

   Brauser were directing Company A's inanageinent and policies. In connection with the deposit

   of these shares, Stetson submitted Honig's signed answers to the broker's questionnaire, falsely

   denying any relationship between Honig and Company A or its affiliates. At the time that

   Stetson made that submission, and Honig signed it, each knew, or was reckless in not knowing,

   that Honig was an affiliate of Company A because Company A was under Honig's control.

          73.          On September 4, 2013, Stetson facilitated the issuance of false attorney opinion

   letters to Company A's transfer agent in order to remove restrictive legends from Honig's share

   certificates. These opinion letters contained the material misrepresentation that Honig was not



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   an affiliate of Company A, a representation that Stetson knew, or was reckless in not knowing,

   was false, given what he knew about Honig's control over Company A's management and

   polices.

          74.        As part of the process for depositing Honig's shares with a broker, and in

   preparation. for the pump and dump, CEO Maza was also required to issue a letter to confirm the

   authenticity of the stock certificates. In a letter to the broker-dealer, dated September 10, 2013,

   Maza wrote "[w]e further acknowledge and agree that there is no other agreement or

   understanding between Barry Honig and [Company A] that would preclude Barry Honig from

   selling or otherwise disposing of shares represented above." Maza knew, or was reckless in not

   knowing, that this statement was false because Honig was an affiliate of Company A, and that, as

   an affiliate, Honig's ability to sell his Company A shares would be subject, under the federal

   securities laws, to volume limitations.

          75.        Once the restrictions were lifted from Honig's shares and. the shares were

   deposited into a brokerage account, Honig was ready to sell them. In September 2013, Honig

   directed his associate, O'Rourke, to reach out to Ford, a seasoned stock promoter who used his

   platform on the Seeking Alpha website to share his purportedly independent investment analysis

   of selected companies. O'Rourke contacted Ford and proposed that Ford write an article on the

   Seeking Alpha website promoting Company A in exchange for below-market price Company A

   shares. At that time, Honig, Frost, Brauser, Stetson, Groussman, O'Rourke, Keller, Maza, and

   the Frost associate board member owned about 71% of the outstanding Company A shares, and

   the market for Company A was virtually nonexistent (with zero volume on September 20, 2013).

   O'Rourke instructed Ford to write a favorable article about Company A emphasizing Frost's

   involvement (because Frost was known as a billionaire and successful biotech investor) and the



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   supposed rosy prospects of Company A's R&D.

          76.         On September 23, 2013, Honig and some associates began trading Company A

   shares to create the appearance of market activity and interest in Company A in advance of the

   planned Ford article. That day, the trading volume of Company A shares soared to 302,000 from

   zero volume the previous day.

          77.         The September 23rd trading also gave Honig a way to surreptitiously pay Ford

   for his upcoming favorable article on Company A. O'Rourke called Ford and told him to put in

   buy orders for Company A stock at $0.40 in order to ensure his order was executed against the

   corresponding sell order placed by Honig. Honig then sold 180,000 Company A shares to Ford at

   $0.40 in a coordinated trade, a price well below the price at which these shares otherwise traded

   during that day.

          78.         O'Rourke joined the trading at the end of the trading day on September 23rd to

   "mark the close," i.e., to ensure that the last price of the day would be higher, giving the false

   impression that Company A's share price was on an upward trajectory. Specifically, at 3:58 pm

   that day, O'Rourke, through his entity ATG, placed a bid to buy Company A shares at $0.68, a

   significantly higher price than the prior buy order at $0.55, which had been entered at about 3:06

   pm. Another Honig associate, who had purchased shares from Honig earlier in the day, placed a

   corresponding sell order to complete the transaction at the inflated price.

          79.         In further preparation for the publication of the Ford article touting Company

   A, and to enhance the false picture of an active market for the stock, near the end of the trading

   day on September 26th, Honig and his associates engaged in a series of coordinated trades. For

   example, the Barry &Renee Honig Charitable Foundation, controlled by Honig, sold Company

   A shares to a Honig associate at $0.68, and two minutes later Groussman's entity Melechdavid



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   executed a transaction against ATG, O'Rourke's entity, at $0.68.

          80.       Less than half an hour before market close on September 26, 2013, as directed

   by O'Rourke and Honig, and after review by Keller, Ford published a materially misleading

   promotional article on Seeking Alpha, titled "Opko and Its Billionaire CEO Invested in Company

   A." Ford presented a bullish outlook for Company A and concluded that "Company A should be

   trading for more than twice today's valuation." In the article, which included a question and

   answer interview of Keller, Ford quoted Keller touting the benefits of Company A's Qusomes

   technology. Keller misleadingly stated that Company A had a formulation ready for testing to be

   brought to the billion-dollar injectable drug market. Yet, as Keller knew, as of summer 2012, all

   R&D efforts had been shut down without the successful formulation of an injectable drug and

   Company A had ceased all efforts to develop this technology in mid-2012.

          81.       Ford's article failed to disclose that he had been compensated by Honig for

   writing the article, through Honig's sale to hiin ofbelow-market Company A shares on

   September 23, a material omission. Instead, Ford included a disclaimer that merely disclosed "I

   am long [Company A]. I wrote this article myself, and it expresses my own opinions.I am not

   receivin~pensation for it (other than from Seeking Alpha.Ihave no business relationship

   with any company whose stock is mentioned in this article." (Emphasis added.)

          82.        The market reacted strongly to the Company A promotion: the trading volume

   of Company A stock rose from approximately 1,100 shares on September 25, 2013 to over 4.5

   million shares on September 27, 2013 and to more than 6 million shares on October 2, 2013.

   The share price increased from an average of about $0.48 during August 2013 to an intraday

   price of $0.97 on October 17, 2013.

          83.       Between the start of the promotion following the publication of Ford's article



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   on September 26, 2013 and December 31, 2013, Honig and his associates sold shares into the

   inflated market for proceeds of approximately $9,260,000:

                           Com any A Pump and Dum Proceeds
       Defendants                 Trade Dates  Net Quantity                     Proceeds
                                  (2013)        Sold
       Honi                       9/23 — 12/16  (5,892,689)                      $3,416,455.17
       Brauser and Grander        9/27 — 12/23  (2,128,316)                      $1,137,775.46
       Frost                      10/1 — 10/4   (1,987,991)                      $1,085,321.74
       Groussman and              9/26 — 10/14  (1,229,166)                      $677,272.37
       1Vlelechdavid
       Stetson and SCI            9/27 — 12/18  (500,000)                        $279,859.68
       O'Rourke and ATG           9/23 — 12/27  (250,000)                        $148,443.68
       Al ha Capital              10/3 — 11/27  (3,772,200)                      $2,513,724.08
       Total                                    (15,760,362)                     $9,258,852.1.8

          84.          No registration statement was then in effect for any of Honig's, Brauser's,

   Frost's or Groussman's sales in the September through December 2013 period. No exemption

   from registration was available to any of them, or their entities. Moreover, since Company A did

   not trade on a national securities exchange, as affiliates of Company A, these Defendants could

   only lawfully sell 1% of the company's total shares outstanding in any three-month period. As

   of September 2013, Company A had approximately 63 million shares outstanding, and as of

   November 15, 2013, it had approximately 75 million shares outstanding. Because Honig,

   Brauser, Frost, and Groussman, and their respective entities, were under common control with

   Company A, each was an affiliate of Company A, and each sold shares in excess of the

   applicable volume limitations.

                  3.       Alpha's Company A Sales

          85.          Alpha frequently co-invested with Honig, and participated in several rounds of

   the Company A PIPE financings, resulting in Company A's issuance of millions of shares to

   Alpha at steeply discounted prices in January 2012, Apri12013 and September 2013.

          86.          On September 5, 2013, when Honig and Brauser reached their settlement with

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   Company A's CEO, by which he disavowed his ownership of the 6,650,000 shares to which he

   had been entitled, Alpha purchased 1.5 million of those shares at $0.15 per share, with the

   intention of selling the shares into the inflated market created by the Honig-orchestrated

   promotion. Company A issued the shares to Alpha on September 23, 2013, days before the Ford

   article appeared on Seeking Alpha. On October 29, 2013, Alpha obtained an attorney opinion

   letter that it supplied to Company A's transfer agent so that the transfer agent would remove the

   restrictive legend from the share certificate. The attorney opinion letter — as Alpha knew or was

   reckless in not knowing —falsely represented that Alpha had held the shares for at least 6 months

   and that the shares could be sold in accordance with the Securities Act Rule 144 safe harbor, as

   exempt from the registration provisions.

           87.          Between October 3, 2013 and November 18, 2013, Alpha, in lockstep with

   Honig, Brauser, Frost, Groussman, O'Rourke, and Stetson (and their respective entities), sold 3.7

   million Company A shares for proceeds of $2,513,724, including virtually all of the shares Alpha

   had obtained in September 2013.

                 B. The Company B Scheme

                   1.       Honig and Associates SecNetly Obtain Cof~zpany B Shares

           88.          During 2015 and 2016, Honig and his associates used Company B, a publicly

   traded shell, as another vehicle for apump-and-dump scheme. Honig and his partners used

   many of the same tactics they had employed in the Company A scheme: they bought cheap

   shares, intending to exercise control over the management and polices of the company; exercised

   that control; orchestrated a misleading promotion of the company that drove up the stock price

   and the trading volume of the company's shares; and dumped their shares for a profit in the

   inflated market. Despite their control over various actions taken by Company B, and their

   agreement to buy, hold and/or sell their shares in concert, Honig and his associates —this time

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   including Groussman, Brauser, Stetson and O'Rourke —took numerous steps to conceal their

   involvement, and to perpetuate the false appearance that the company was actually being

   controlled by its CEO.

          89.        In 2015, Honig and his associates began planning the pump-and-dump of

   Company B's shares. Honig set the scheme in motion on September 26, 2015 when he informed

   Stetson that "[w]e need to put together a term sheet for Company B," and outlined proposed

   terms of the arrangement. Honig directed Stetson to send the proposal to Ladd, Company B's

   CEO. The deal contemplated the issuance of 2.8 million Company B shares, along with warrants

   to acquire an additional 5.6 million shares, subject to a 4.99% conversion blocker. This deal

   structure allowed the investors repeatedly to convert and sell their shares while appearing

   individually to stay below the 5%threshold ownership at which Exchange Act Section 13(d)

   required public disclosure of holdings. By ostensibly staying below the 5%ownership threshold,

   and evading the public reporting requirements, Honig and his associates increased the likelihood

   that they could disguise their scheme to pump up the price of Company B's shares in anticipation

   of a profitable sell-off to unsuspecting investors.

          90.         Ladd was fully aware of Honig and his associates' combined interest in, and

   control over, the company, but failed to disclose it in Company B's public filings. On October 1,

   2015, Ladd einailed Honig that "NYSE MKT wants to know the buyers. $175,000 x 4 investors

   will be each at 4.9%. . . ." Honig replied that same day, copying Brauser and Stetson, that he

   would "get back to you with names shortly for now use Barry Honig Mike Brauser OBAN [an

   LLC created by Stetson]." On October 5, 2015, Stetson provided Company B with the investors

   who would participate in the financing, which included GRQ (Honig), Melechdavid

   (Groussman), Grander (Brauser), ATG (O'Rourke) and SCI (Stetson).



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          91.          The Honig-led financing ultimately provided $700,000 to Company B (the

   "October 2015 Company B Financing"). On October 8, 2015, Company B filed a Fonn 8-K

   disclosing that the company had "entered into separate subscription agreements . . .with

   accredited investors . . .relating to the issuance and sale of $700,000 of units . . ." In keeping

   with Honig's desire to conceal the large ownership stake of his team, Ladd did not disclose the

   investors' names in the Form 8-K.

                  2.       The Compaizy B Punzp andDump in February 2016

          92.          Having coordinated the accumulation of stock with Groussman, Brauser,

   Stetson and O'Rourke, Honig, with his partners' knowledge and consent, then secretly paid for a

   promotion that included materially misleading information and was supported by his own

   manipulative trading activity.

          93.          On or around January 21, 2016, by which tune Honig, Groussman, Brauser,

   Stetson and O'Rourke had acquired at least 16.3% of Company B's outstanding stock, Honig

   directed Ladd to wire $125,000 to a well-known stock promoter as an up-front payment for the

   promotion of Company B. Shortly after the payment for the stock promotion, on February 3,

   2016, an article was published online touting Company B's positive prospects in social and real

   money gaming sites and intellectual property relating to slot machines. The article did not

   disclose that the author had been paid by Company B — at Honig's direction — to write the article.

   After the article was published on February 3, 2016, there was a 7000% increase from the

   previous day's trading volume, and an intraday price increase of over 60%. Honig, Ladd,

   Stetson, and O'Rourke sold over 430,000 shares into this inflated market for proceeds of

   approximately $198,800.




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          Com an B Pum and Dum Proceeds, Following Februar 2016 Promotion
    Defendants          Trade Dates (2016) Net Quantity Sold Proceeds
    Honig and GRQ       2/3 — 4/6          (231,050)         $123,154.87
    Stetson             2/3 — 2/11         (40,000)          $20,483.33
    O'Rourke and ATG    2/3 — 2/9          (64,366)          $15,960.72
    Ladd                2/3 — 5/3          (96,072)          $39,204.12
    Total                                  (431,488)         $198,803.04

                         3.      The Company B Pump and Duf~tp in May 2016

           94.       Honig soon identified a potential acquisition target for Company B that would

   give Honig and his associates another way to profit from their interest in Company B. The

   proposed deal involved awell-known cybersecurity innovator who had created a popular

   antivirus software bearing his name ("the Cybersecurity Innovator"). O'Rourke took the lead at

   Honig's direction (and with the knowledge and consent of Groussman, Brauser and Stetson) in

   arranging a deal between Company B and the Cybersecurity Innovator. On March 29, 2016,

   O'Rourke sent the Cybersecurity Innovator a term sheet for the asset purchase of Cybersecurity

   Innovator's company, "CI Company," by an "NYSE listed company." The CI Company

   indicated interest on Apri13, 2016. O'Rourke wrote to Honig on Apri13, 2016 and asked Honig

   if he would "still want to pursue [Cybersecurity Innovator] deal." After Honig replied to

   O'Rourke that same day "Yea!", O'Rourke introduced Ladd to the Cybersecurity Innovator on

   Apri14, 2016, to begin negotiating a transaction between Company B and the Cybersecurity

   Innovator's various business interests.

           95.       Subsequent correspondence between Ladd and O'Rourke and between

   O'Rourke and Honig, reflect the ongoing and significant role Honig and O'Rourke played in

   orchestrating the deal. Company B and the Cybersecurity Innovator agreed to terms on May 8,

   2016.

           96.       On May 9, 2016, at 8:30 a.m., Company B issued a press release announcing
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   its merger with CI Company. In the release, Ladd misleadingly described the Cybersecurity

   Innovator's prior financial success. He falsely claimed that the Cybersecurity Innovator had

   "sold his anti-virus company to Intel for $7.6 billion," suggesting that Company B might achieve

   similar success. Yet, as Ladd knew or was reckless in not knowing, the sale of the Cybersecurity

   Innovator's namesake company to Intel at that price had occurred over a decade after the

   Cybersecurity Innovator's departure from that company.

          97.        Knowing that Ladd's misleading announcement of the deal would be released

   later that morning, on May 9, 2016, Honig traded in Company B stock to create the misleading

   appearance of market liquidity. In pre-market trading that morning, Honig bought and sold small

   quantities of Company B stock dozens of tunes. Joining the effort to paint a false picture of

   legitimate market interest in the stock, Brauser, as well as Groussinan, and his entity,

   Melechdavid, engaged in coordinated trades in Company B stock with Honig in pre-market

   trading that morning.

           98.       That same day, StockBeast.com, a well-known Internet stock promotion

   website, published an article by an unnamed author entitled "[Company B] Beastmode engaged —

   [Cybersecurity Innovator] driving the Bus." The StockBeast.com article touted Company B and

   highlighted the Cybersecurity Innovator's involvement, repeating Ladd's materially false claim

   that the Cybersecurity Innovator had "sold his startup company to Intel for $7.6BB," and

   proclaiming: "This is big big big!"

           99.       This promotion and Honig's, Brauser's and Groussman's manipulative trading

   on May 9 were effective in driving up both volume and price: on May 6, 2016 (the last day of

   trading prior to the promotion), Company B had trading volume of 71,005 shares and a closing

   price of $0.36. On May 9, 2016, the stock closed at $0.49 (representing an increase of 34



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   percent over the prior day's close) with trading volume of snore than 10 million shares. The

   trading volume for Company B stock peaked at 109,384,614 on May 17, 2016 with a closing

   price of $4.15.

          100.            In the days immediately following the announcement of the CI Company

   acquisition, Honig, Brauser, Stetson, Groussman and O'Rourke, pursuant to their agreement to

   buy, hold and/or sell their shares in concert, sold over 9.3 million Company B shares, resulting in

   total proceeds of over $9.4 million:

            Com any B Pump and Dump Proceeds, Following Ma 2016 Promotion
   Defendants           Trade Dates Net Quantity Sold     Proceeds
                        (2016)
   Honig and GRQ        5/9 — 5/20  (3,783,001)           $2,393,915.52
   Brauser and Grander 5/9 — 5/18   (2,137,668)           $3,839,295.64
   Groussman and        5/9 — 5/11  (1,415,870)           $999,873.56
   Melechdavid
   Stetson and SCI      5/9 — 5/12  (750,000)             $660,798.20
   O'Rourke and ATG     5/9 — 5/16  (750,000)             $990,661.97
   Ladd                 5/9 — 5/31  (471,000)             $516,554.08
   Total                            (9,307,539)           $9,401,098.97

                     4.       False Statements by Ho~Zig, Frost, Brauser, Stetson, Groussf~za~z,
                              O'Rourke, and Ladd in Beneficial Ownership and Company B Filings
           101.           Although they were acting in concert, and pursuant to an agreement to do so,

   Honig, Frost, Brauser, Stetson, Groussman and O'Rourke knowingly or recklessly concealed

   their concerted efforts from the investing public. Ladd, with full knowledge of both the Honig

   group's ownership and their direction of the management and policies of Company B, also kept

   their control a secret, signing Company B public filings that did not disclose the full extent of

   their ownership or control. After the October 2015 Company B Financing closed, Honig,

   Groussinan, Brauser, Stetson and O'Rourke as a group collectively owned at least 2.6 million

   shares, or over 16% of the shares outstanding after the issuance, and their obligation to file a

   Schedule 13D under Exchange Act Section 13(d) arose as of October 8, 2015. Moreover, they

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   each had warrants to obtain a total of an additiona14.6 million Company B shares, which, if they

   were all converted, would have resulted in Honig, Groussman, Brauser, Stetson and O'Rourke

   controlling at least 42% of the total coininon shares outstanding at that tune.

          102.       Honig, Groussman, Brauser, Stetson and O'Rourke exercised control over

   Ladd and the management and policies of Company B. For example, on October 1, 2015, Ladd

   asked for and received Honig's direction with respect to how to disclose Honig's group's stock

   acquisitions to the NYSE MKT exchange. O'Rourke, at Honig's direction, negotiated on

   Company B's behalf the terms on which the Cybersecurity Innovator would sell CI Company to

   Company B. Indeed, in emails after the CI Company acquisition, Honig freely accepted credit

   for his role in the transaction. On May 12, 2016, for example, Honig received an email from an

   investment firm congratulating him on the recent transaction: "You're invovlved [sic] with

   [Company B]? Impressive!" Honig responded that he was the "[l]argest shareholder, fund and

   relationship with [the Cybersecurity Innovator]." In early August 2016, Honig also admitted his

   undisclosed role at Company B in a chat conversation with Stetson: "its great in [Company B]

   because we are behind the scenes."

           103.      Because they acted in concert for the purpose of acquiring, holding and

   disposing of Company B shares, each of Honig, Groussman, Brauser, Stetson and O'Rourke was

   a member of a group and considered a single "person" under Exchange Act Section 13(d)(3). As

   group members, each individual was required to satisfy the group's reporting obligation by

   making a Schedule 13D filing disclosing that each was a member of the group and disclosing the

   number of shares each of them beneficially owned. However, none of Honig, Groussman,

   Brauser, Stetson or O'Rourke ever made a Schedule 13D filing disclosing their respective

   ownership or membership in a group, acting intentionally to conceal from the market the size of



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   their group's position and their coordination and thereby to deceive investors.

          104.         Instead, on October 19, 2015, Honig filed a Schedule 13G, claiming only his

   own 6.59% beneficial ownership and falsely stating that the securities "are not held for the

   purpose of or with the effect of changing or influencing the control of the issuer" — a

   representation he knew, or was reckless in not knowing, to be false. Indeed, because Honig and

   his associates exercised control over Company B's management and policies — as Honig

   candidly acknowledged in emails — he was disqualified from making a 13G filing. In February

   2016, Honig filed an amended Schedule 13G disclosing an ownership percentage of 9.1%.

   Brauser filed a Schedule 13G on May 4, 2016, in which he claimed 7.4 %beneficial ownership

   via his entity Grander. In each of these filings, Honig and Brauser also falsely claimed that they

   were passive investors without any intention to influence or change control of the company and

   omitted the fact that each was a member of a group.

          105.         Similarly, in Company B's 2015 Form 10-K filed on April 11, 2016, only

   Honig was disclosed as a beneficial owner, holding 8.6%. Notwithstanding that Ladd knew that

   Honig, Groussman, Brauser, Stetson and O'Rourke were working together, he signed the 2015

   Form 10-K failing to disclose their group beneficial ownership. Ladd also signed a materially

   misleading S-1/A registration statement filed on January 13, 2016 for the 8,400,000 Company B

   shares issued in the October 2015 Company B Financing, failing to disclose the group beneficial

   ownership of GRQ, Grander, Melechdavid, ATG and SCI.

              C. The Company C Scheme

                  I.       Honig and Stetson Obtain Coiatrol of Company C

           106.        In early 2014, Honig identified apublicly-traded shell company that was

   unencumbered by debt or pre-existing convertible debt, and sought an appropriate private

   company for purposes of a reverse merger and pump-and-dump scheme.
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          107.       At or about the same tune, the CEO of Company C ("Company C's CEO") was

   introduced to "Entity H," a frequent co-investor alongside Honig and Brauser. At the time,

   Company C, a private company developing cancer therapies and diagnostic products, was

   looking for funding for its research and development efforts, and Entity H suggested to Company

   C's CEO that he turn Company C into a public company. On July 8, 2014, Company C executed

   a reverse merger of Company C into the shell company Honig had identified. Company C's

   CEO understood that the two lead investors in the transaction were Entity H and HSCI, both of

   which had signed the deal documents. Stetson had described HSCI to Company C's CEO as his

   own investment vehicle. In fact, while Stetson was the sole managing ineinber of HSCI, Honig

   actually owned at least 94% of HSCI, a fact that Stetson did not disclose to Company C's CEO

   or the market.

          108.       In an initial $3 million capital raise in February 2014, in connection with the

   contemplated merger, HSCI invested $1 million and Entity H invested $1.7 million in return for

   a substantial position in the shell. As a result, the stake of Entity H and HSCI (including

   conversion of all warrants) amounted to about 67% of the authorized shares of the newly public

   Company C. The terms of the merger included granting a "Consent Right" to Entity H and its

   affiliates, by which Entity H could block or approve many kinds of Company C transactions,

   including issuing additional shares, any change of control and other basic corporate actions.

          109.       In March and Apri12015, Honig orchestrated two private placement financings

   for Company C: Series D and Series E. Honig determined the amount, source and structure of,

   and participants in, these financings. For example, when deciding whether a potential investor

   could take part in the March 2015 financing round, Company C's CEO explicitly deferred to

   Honig, writing in an email to Honig on March 19, 2015, "[h]e might be another party you might



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   want to allow to invest along with the current group. Viewed this as your choice not mine. That

   is why I asked him to call you."

          110.         The Series D financing closed in late March 2015 and included a buyout of

   Entity H's notes, including the Consent Right, at a favorable purchase price. The investors who

   purchased the notes included various entities owned and controlled by Honig, Stetson,

   O'Rourke, Brauser, Frost, and Groussman: HSCI, Southern Biotech, GR.Q, ATG, Grander, and

   Melechdavid.

          111.         The Series E financing, which closed Apri16, 2015, included warrants, and

   raised $12 million for Company C on terms highly favorable to Honig and his chosen investors,

   including Southern Biotech, and Frost's FGIT and Opko.

                  2.       The Company C Pump aizd Duf~ip iiz April 201S

          112.         One of the goals of the private placement financings, as Honig, Stetson,

   O'Rourke, Brauser, Frost, and Groussman knew, was to generate market interest in Company C

   stock in preparation for a planned stock promotion. On April 3, 2015, O'Rourke, acting at

   Honig's direction, drafted a press release (with input from Company C's CEO, Honig and

   Brauser) announcing the $12 million private placement in which Frost's entities had participated.

   Honig then directed O'Rourke to write a promotional article, which O'Rourke published under

   the pseudonym "Wall Street Advisors" on Seeking Alpha on April 8, 2015 at 11:13 a.in. The

   article, titled "Opko Spots Another Overlooked Opportunity in Company C Therapeutics,"

   highlighted Opko's and Frost's investment in Company L. Despite his involvement in

   facilitating the Company C financing and his extensive business relationships with Honig,

   Stetson, Brauser, and Frost, in his article, O'Rourke knowingly and falsely claimed that "[t]he

   author has no business relationship with [Company C]." He also knowingly and falsely claimed



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   that he was "not receiving compensation for [writing the article]."

          113.          Anticipating the release of O'Rourke's Seeking Alpha article, ATG,

   Melechdavid, and O'Rourke engaged in early trading of Company C shares on April 8, 2015

   with the intention of creating a false appearance of market interest in the stock. That trading

   included at least one matched trade, with Melechdavid submitting the buy order and ATG

   submitting the sell order for the same price at 9:38 a.in. The share price of Company C opened

   that day at $3.14 and reached $3.73 in the minutes before the promotion was released.

          114.         The promotion was successful. The trading volume of Company C shares rose

   almost 7500% from 8,833 shares on Apri12, 2015 to 667,454 shares on Apri16, 2015, following

   the announcement of the Series E private placement. The volume increased to 858,709 on April

   9, 2015, the day after O'Rourke's article was published. Company C's share price went from a

   closing price of $1.91 on April 1, 2015 to a closing price of $4.30 on Apri19, 2015. The

   Defendants listed below, acting pursuant to their agreement to buy, hold or sell their Company C

   shares in concert, sold shares into the market from April 6 to June 30, 2015 for total proceeds of

   aver $5.5 million, as detailed below:

            Company C Pum and Dump Proceeds, Following Apri12015 Promotion
      Defendants                Trade Dates (2015) Net Quantity Sold Proceeds
      Brauser                   4/13 — 6/30        (576,400)         $1,600,826.76
      Groussman and Melechdavid 4/6 — 6/23         (99,616)          $342,984.59
      Stetson and HSCI          4/6 — 6/30         (1,080,379)       $3,607,248.91
      O'Rourke and ATG          4/8 — 6/30         (30,064)          $69,744.51
      Total                                        (1,786,459)       $5,620,804.77

                  3.       The Company C PunZp andDump in June/July 2015

           115.        In June 2015, when the market for Company C shares had cooled, O'Rourke

   recruited Ford to publish another Company C tout on Ford's blog. On July 1, 2015, Ford

   published an article titled "[Company C]: Near-Term Catalysts Could Push Shares from $2 to


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   over $5." The article contained materially false statements, including that a licensing deal was

   imminent, when it was not, and that there were near-teen therapy development events that could

   take the share price to $5, when. in fact clinical trials were in early stages. Although, as before,

   Honig compensated Ford for writing the blog post, Ford did not disclose that he had been paid.

           116.      Ford's article had the desired impact on the market: Company C trading

   volume increased from 227,182 shares on June 30, 2015 to 798,213 shares on July 2, 2015.

   Likewise Company C's share price went from a closing price of $2.32 on June 30, 2015 to $2.71

   on July 2, 2015. Pursuant to their agreement to buy, hold or dispose of their shares in concert,

   the Defendants listed below sold shares into the market from July 1 to December 31, 2015 for

   proceeds of over $2.7 million, as detailed below.

             Com any C Pum and Dum Proceeds, Following June 2015 Promotion
      Defendants                Trade Dates (2015) Net Quantity Sold Proceeds
      Brauser                   7/1 — 10/7         (363,050)         $749,025.45
      Groussman and Melechdavid 7/15 — 12/18       (212,034)         $243,250.96
      Stetson and HSCI          7/1 — 12/7         (682,539)         $1,525,588.49
      O'Rourke and ATG          7/1 — 12/31        (179,690)         $235,253.20
      Total                                        (1,437,313)       $2,753,118.10

           117.      Honig and Stetson continued to invest in Company C and directed critical

   business choices for Company C. For example, on more than one occasion, Honig or Stetson

   directed Company C's CEO to name Honig's choice to Company C's board. On January 15,

   2015, Honig and Stetson decided that Company C needed to employ different attorneys and

   shortly thereafter directed Company C's CEO which counsel to retain in connection with

   Company C's corporate filings. And on August 15, 2016, at Honig's and Stetson's direction, as

   a condition to HSCI providing additional. financing to Company C, HSCI and Company C's

   CEO executed a letter agreement requiring Company C to hire the public relations firm that

   Honig and Stetson had selected.


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                  4.       False Beneficial Ow~zership Repofts by Ho~zig and Associates

          118.         Given the agreement among Honig, Brauser, Groussman, Frost, Stetson, and

   O'Rourke to buy, hold and/or dispose of their Company C shares in concert; the group's

   direction of Company C management and policies; and their combined share ownership, all of

   the members of the group were required to make Schedule 13D filings that they did not make.

   They did not make the appropriate filings so that the investing public would not discover their

   control over Company C, and to obscure from investors their planned pump-and-dump scheme.

          119.         Stetson and HSCI were obligated to make a Schedule 13D filing as of July

   2014, after Company C became public and they acquired beneficial ownership of more than 5%

   of Company C shares. Similarly, as of the closing of the private placement financings in April

   2015, Groussman (Melechdavid) and O'Rourke (ATG) were each obligated to make a Schedule

   13D filing, disclosing their own respective holdings and that each was a member of the group

   because they were acting with one another and with Stetson, Honig, and Frost for the purpose of

   acquiring, holding or disposing of Company C shares, and collectively owned greater than 5% of

   Company C's outstanding shares.

          120.         Even though Frost and FGIT acquired the Company C shares with an intention

   to control management, Frost and FGIT made a Schedule 13G filing on April 10, 2015

   incorrectly indicating that they were passive investors. Moreover, the Schedule 13G stated that

   Frost and FGIT had a 6.86% ownership percentage, and did not disclose they were working with

   Honig, Stetson, O'Rourke, Brauser, and Groussman, and that they, with the other members of

   their group, sought to direct and control management. Nor did Frost file a Schedule 13D for

   Opko or Southern Biotech, in which those companies should have disclosed both their own

   holdings and that they, too, were each a member of the group. Instead, Frost improperly made



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   four Schedule 13G/A filings on April 10, 2015, February 8, 2016, February 3, 2017, and January

   18, 2018, ignoring the fact that he was ineligible to file a Schedule 13G because he was not a

   passive investor.

          121.         Other Defendants who invested in Company C also improperly made Schedule

   13G filings, notwithstanding that these Defendants were not passive investors, and also failed to

   disclose their membership in the group, in violation of an express disclosure requirement. For

   example, Honig filed a Schedule 13G on February 17, 2017 disclosing only his 6.22% ownership

   through GRQ; Stetson filed a Schedule 13G on September 19, 2017, disclosing only his 5.64%

   ownership through HSCI, Brauser filed a Schedule 13G on February 2, 2017, disclosing only his

   5.44% ownership through Grander. Each of these Defendants should have made Schedule 13D

   filings because they were not passive investors, and each should have disclosed the existence of a

   group. Additionally, a Schedule 13D filed by Stetson on February 12, 2018, a Schedule 13D

   filed by Honig on February 13, 2018, and a Schedule 13D/A filed by Honig on February 16,

   2018 also failed to disclose the existence of a group.

                                 FIRST CLAIM FOR RELIEF
                 Violations of Section 10(b) of the Exchange Act and Rule lOb-5
         (Against Honig, Stetson, Brauser, O'Rourke, GRQ, Grander, HSCI, and Maza)

           122.        The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           123.        By engaging in the acts and conduct described in this Complaint, Defendants

   Honig, Stetson, Brauser, O'Rourke, GRQ, Grander, HSCI, and Maza, with scienter, directly or

   indirectly, singly or in concert, by use of the means or instruments of transportation or

   communication in interstate commerce, or of the mails, or of the facilities of a national securities

   exchange, in connection with the purchase or sale of Company A, Company Band/or Company
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   C securities, have: (a) employed devices, schemes, or artifices to defraud;

   (b) made untrue statements of material facts or omitted to state material facts necessary in order

   to make the statements made, in light of the circumstances under which they were made, not

   misleading; and/or (c) engaged in acts, practices, or courses of business which operated or would

   operate as a fraud or deceit upon any person.

          124.       By reason of the foregoing, Honig, Stetson, Brauser, O'Rourke, GRQ,

   Grander, HSCI, and Maza, directly or indirectly, singly or in concert, violated Section 10(b) of

   the Exchange Act [15 U.S.C. § 78j(b)] and Rule lOb-5 thereunder [17 C.F.R. § 240.1Ob-5].

                               SECOND CLAIM FOR RELIEF
                     Violations of Section 17(a)(1)-(3) of the Securities Act
         (Against Honig, Stetson, Brauser, O'Rourke, GRQ, Grander, HSCI, and Maza)

          125.       The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

          126.       By engaging in the acts and conduct described in this Complaint, Defendants

   Honig, Stetson, Brauser, O'Rourke, GRQ, Grander, HSCI, and Maza, directly or indirectly,

   singly or in concert, by use of the means or instruments of transportation or communication in

   interstate commerce, in the offer or sale of Company A, Company B, and/or Company C

   securities, have: (a) with scienter, employed devices, schemes, and artifices to defraud; (b)

   knowingly, recklessly or negligently obtained money or property by means of any untrue

   statements of a material fact or omitted to state a material fact necessary in order to make the

   statements made, in the light of the circumstances under which they were made, not misleading;

   or (c) knowingly, recklessly or negligently engaged in transactions, practices, or courses of

   business which operated or would operate as a fraud or deceit upon purchasers of securities of

   Company A, Company B, and/or Company C.



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          127.       By reason of the foregoing, Honig, Stetson, Brauser, O'Rourke, GRQ,

   Grander, HSCI, and Maza, directly or indirectly, singly or in concert, have violated, are

   violating, and unless restrained and enjoined, will continue to violate Sections 17(a)(1)-(3) of the

   Securities Act [15 U.S.C. §§ 77q(a)(1)-(3)].

                                  THIRD CLAIM FOR RELIEF
                 Violations of Section 10(b) of the Exchange Act and Rule lOb-5(b)
                          (Against Frost, FGIT, Ford, Ladd, and Keller)

          128.       The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

          129.       By engaging in the acts and conduct described in this Complaint, Defendants

   Frost, FGIT, Ford, Ladd, and Keller, with scienter, directly or indirectly, singly or in concert, by

   use of the means or instruments of transportation or communication in interstate commerce, or of

   the mails, or of the facilities of a national securities exchange, in connection with the purchase or

   sale of Company A, Company Band/or Company C securities, have made untrue statements of

   material facts or omitted to state material facts necessary in order to make the statements made,

   in light of the circumstances under which they were made, not misleading.

          130.       By reason of the foregoing, Frost, FGIT, Ford, Ladd, and Keller, directly or

   indirectly, singly or in concert, violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]

   and Rule lOb-5(b) thereunder [17 C.F.R. § 240.1Ob-5(b)].

                                  FOURTH CLAIM FOR RELIEF
                          Violations of Section 17(a)(2) of the Securities Act
                           (Against Frost, FGIT, Ford, Ladd, and Keller)

          131.       The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

          132.       By engaging in the acts and conduct described in this Complaint, Defendants



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   Frost, FGIT, Ford, Ladd, and Keller, knowingly, recklessly or negligently, directly or indirectly,

   singly or in concert, by use of the means or instruments of transportation or communication in

   interstate commerce, in the offer or sale of Company A, Company B, and/or Company C

   securities, have obtained money or property by means of any untrue statements of a material fact

   or omitted to state a material fact necessary in order to make the statements made, in the light of

   the circumstances under which they were made, not misleading.

           133.      By reason of the foregoing, Frost, FGIT, Ford, Ladd, and Keller, directly or

   indirectly, singly or in concert, have violated, are violating, and unless restrained and enjoined,

   will continue to violate Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)].

                                   FIFTH CLAIM FOR RELIEF
             Violations of Section 10(b) of the Exchange Act and Rules lOb-5(a) and (c)
                            (Against ATG, Southern Biotech, and SCI)

           134.      The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           135.      By engaging in the acts and conduct described in this, Complaint, Defendants

   ATG, Southern Biotech, and SCI, with scienter, directly or indirectly, singly or in concert, by use

   of the means or instruments of transportation or communication in interstate commerce, or of the

   mails, or of the facilities of a national securities exchange, in connection with the purchase or

   sale of Company A, Company Band/or Company C securities, have: (a) employed devices,

   schemes, or artifices to defraud; or (b) engaged in acts, practices, or courses of business which

   operated or would operate as a fraud or deceit upon any person.

           136.      By reason of the foregoing, ATG, Southern Biotech, and SCI, directly or

   indirectly, singly or in concert, violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)],

   and Rules lOb-5(a) and (c) thereunder [17 C.F.R. §§ 240.1Ob-5(a) and (c)].



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                                    SIXTH CLAIM FOR RELIEF
                      Violations of Sections 17(a)(1) and (3) of the Securities Act
                              (Against ATG, Southern Biotech, and SCI)

           137.       The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           138.       By engaging in the acts and conduct described in this Complaint, Defendants

   ATG, Southern Biotech, and SCI directly or indirectly, singly or in concert, by use of the means

   or instruments of transportation or communication in interstate commerce, in the offer or sale of

   Company A, Company B, and/or Company C securities, have (a) with scienter, employed

   devices, schemes, and artifices to defraud; or (b) knowingly, recklessly or negligently engaged in

   transactions, practices, or courses of business which operated or would operate as a fraud or

   deceit upon purchasers of securities of Company A, Company B, and/or Company C.

           139.       By reason of the foregoing, ATG, Southern Biotech, and SCI, directly or

   indirectly, singly or in concert, have violated, are violating, and unless restrained and enjoined,

   will continue to violate Sections 17(a)(1) and (3) of the Securities Act [15 U.S.C. §§ 77q(a)(1)

   and (3)].

                                  SEVENTH CLAIM FOR RELIEF
                               Aiding and Abetting Violations of Section
                  10(b) of the Exchange Act and Rules lOb-5(a) and (c) Thereunder
               (Against Frost, Groussman, FGIT, Melechdavid, Opko, Ladd, and Keller)

           140.       The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           141.       By engaging in the acts and conduct described in this Complaint, Defendants

   Frost, Groussman, FGIT, Melechdavid, Opko, Ladd, and Keller directly or indirectly, singly or

   in concert, provided knowing and substantial assistance to Honig, Stetson, Brauser, and

   O'Rourke, who, directly or indirectly, singly or in concert with others, in connection with the

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   purchase or sale of a security, with scienter, used the means or instrumentalities of interstate

   coininerce or of the mails or of a facility of a national securities exchange to (a) employ devices,

   schemes, or artifices to defraud; and (b) engage in acts, practices, or courses of business which

   operated or would operate as a fraud or deceit upon others.

           142.      By reason of the foregoing, Frost, Groussman, FGIT, Melechdavid, Opko,

   Ladd, and Keller, aided and abetted, and unless restrained and enjoined, will continue aiding and

   abetting, Honig's, Stetson's, Brauser's, and O'Rourke's violations of Section 10(b) of the

   Exchange Act [15 U.S.C. § 78j(b)], and Rules lOb-5(a) and (c) thereunder [17 C.F.R. § 240.1Ob-

   5(a) and (c)] in violation of Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

                                EIGHTH CLAIM FOR RELIEF
          Aiding and Abetting Violations of Sections 17(a)(1) and (3) of the Securities Act
            (Against Frost, Groussman, FGIT, Melechdavid, Opko, Ladd, and Keller)

           143.      The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           144.      By engaging in the acts and conduct described in this Complaint, Defendants

   Frost, Groussman, FGIT, Melechdavid, Opko, Ladd, and Keller directly or indirectly, singly or

   in concert, provided knowing and substantial assistance to Honig, Stetson, Brauser, and

   O'Rourke, who, directly or indirectly, singly or in concert with others, in the offer or sale of a

   security, used the means or instruments of transportation or communication in interstate

   commerce or used the snails to (a) with scienter employed devices schemes, and artifices to

   defraud; or (b) knowingly, recklessly or negligently engaged in transactions, practices, or courses

   of business which operated or would operate as a fraud or deceit upon purchasers of securities of

   Company A, Company B, and/or Company C.

           145.      By reason of the foregoing, Frost, Groussman, FGIT, Melechdavid, Opko,



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   Ladd, and Keller, aided and abetted, and unless restrained and enjoined, will continue aiding and

   abetting Honig's, Stetson's, Brauser's, and O'Rourke's violations of Sections 17(a)(1) and (3) of

   the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)], in violation of Section 15(b) of the Securities

   Act [15 U.S.C. § 77o(b)].

                                 NINTH CLAIM FOR RELIEF
                        Violations of Section 9(a)(1) of the Exchange Act
            (Against Honig, Brauser, O'Rourke, Groussman, ATG, and Melechdavid)

           146.      The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           147.      By engaging in the acts and conduct described in this Complaint, Defendants

   Honig, Brauser, O'Rourke, Groussman, ATG, and Melechdavid, directly or indirectly, singly or

   in concert , by use of the mails or the means or instrumentalities of interstate commerce, or of a

   facility of a national securities exchange for the purpose of creating a false or misleading

   appearance of active trading in Company A, Company Band/or Company C securities, or a false

   or misleading appearance with respect to the market for Company A, Company Band/or

   Company C securities, entered an order or orders for the purchase and/or sale of such security

   with the knowledge that an order or orders of substantially the same size, at substantially the

   same tune and substantially the same price, for the sale and/or purchase of such security, had

   been or would be entered by or for the same or different parties.

           148.      By virtue of the foregoing, Honig, Stetson, Brauser, O'Rourke, Groussman,

   ATG, and Melechdavid violated, and unless restrained and enjoined, will continue violating

   Section 9(a)(1) of the Exchange Act [15 U.S.C. § 78i(a)(1)].




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                                  TENTH CLAIM FOR RELIEF
                          Violations of Section 9(a)(2) of the Exchange Act
                               (Against Honig, O'Rourke, and ATG)

          149.       The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           150.      By engaging in the acts and conduct described in this Complaint, Defendants

   Honig, O'Rourke, and ATG, directly or indirectly, singly or in concert , by use of the mails or

   the means or instrumentalities of interstate commerce, or of a facility of a national securities

   exchange effected, alone or with one or more other persons, a series of transactions in the

   securities of Company Aand/or Company B creating actual or apparent active trading in such

   security, or raising or depressing the price of such security, for the purpose of inducing the

   purchase or sale of such security by others.

           151.      By virtue of the foregoing, Honig, O'Rourke, and ATG violated, and unless

   restrained and enjoined, will continue violating Section 9(a)(2) of the Exchange Act [15 U.S.C. §

   78i(a)(2)]•

                             ELEVENTH CLAIM FOR RELIEF
     Sale of Unregistered Securities in Violation of Sections 5(a) and (c) of the Securities Act
        (Against Honig, Brauser, Groussman, Frost, Grander, Melechdavid, and Alpha)

           152.      The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           153.      By engaging in the acts and. conduct described in this Complaint, Defendants

   Honig, Brauser, Groussman, Frost, Grander, Melechdavid, and Alpha, directly or indirectly,

   singly or in concert, made use of the means or instruments of transportation or communication in

   interstate commerce or of the mails to offer or sell securities through the use or medium of a

   prospectus or otherwise, or carried or caused to be carried through the mails or in interstate



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   coimnerce, by means or instruments of transportation, securities for the purpose of sale or for

   delivery after sale, when no registration statement had been filed or was in effect as to such

   securities, and when no exemption from registration was applicable. The shares of Company A

   that Honig, Brauser, Groussman, Frost, Grander, Melechdavid, and Alpha offered and sold as

   alleged herein constitute "securities" as defined in the Securities Act and the Exchange Act.

          154.       By reason of the foregoing, Honig, Brauser, Groussman, Frost, Grander,

   Melechdavid, and Alpha have violated and unless restrained and enjoined will continue to violate

   Sections 5(a) and 5(c) of the Securities Act [15 U.S.C. §§ 77e(a) & (c)].

                                TWELTH CLAIM FOR RELIEF
         Violations of Section 13(d) of the Exchange Act and Rule 13d-1(a) Thereunder
       (Against Honig, Stetson, Brauser, O'Rourke, Groussman, Frost, ATG, FGIT, GRQ,
                Grander, HSCI, Melechdavid, Opko, Southern Biotech, and SCI)

           155.      The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

          156.       Pursuant to Exchange Act Section 13(d)(1) and Rule 13d-1(a) thereunder,

   persons who directly or indirectly acquire beneficial ownership of more than 5% of a Section 12-

   registered class of equity securities are required to file a Schedule 13D, or, in limited

   circumstances, a Schedule 13G. Section 13(d)(3) plainly states that "act[ing] as a ... group" in

   furtherance of acquiring, holding, or disposing of equity securities is enough to establish the

   group as a single "person." When a group is required to make a Schedule 13D filing, that group

   must "identify all members of the group."

           157.      Defendants Honig, Stetson, Brauser, O'Rourke, Groussman, ATG, GRQ,

   Grander, Melechdavid, and SCI acquired and held beneficial ownership of more than 5%shares

   in Company B from on or about October 8, 2015 to at least on or about May 20, 2016.

           158.      Honig, Stetson, and HSCI acquired and held beneficial ownership of more than

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   5%shares in Company C from on or about February 2014.

          159.       Honig, Stetson, Brauser, O'Rourke, Groussinan, Frost, ATG, FGIT, GRQ,

   Grander, HSCI, Melechdavid, Opko, Southern Biotech, and SCI acquired and held beneficial

   ownership of more than 5%shares in Company C from on or about April 2015 to at least on or

   about December 2015.

          160.       Honig, Stetson, Brauser, O'Rourke, Groussinan, Frost, ATG, FGIT, GRQ,

   Grander, HSCI, Melechdavid, Opko, Southern Biotech, and SCI were sufficiently interrelated

   that they constituted a group for the purposes of Exchange Act Section 13(d).

          161.       By engaging in the acts and conduct described in this Complaint, Defendants

   Honig, Stetson, Brauser, O'Rourke, Groussman, Frost, ATG, FGIT, GRQ, Grander, HSCI,

   Melechdavid, Opko, Southern Biotech, and SCI were each under an obligation to file with the

   Commission true and accurate reports with respect to their ownership of the Company B and

   Company C securities, and failed to do so.

          162.       By reason of the foregoing, Honig, Stetson, Brauser, O'Rourke, Groussinan,

   Frost, ATG, FGIT, GRQ, Grander, HSCI, Melechdavid, Opko, Southern Biotech, and SCI

   violated, and unless enjoined and restrained will continue to violate, Section 13(d)(1) of the

   Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a) thereunder [17 C.F.R. § 240.13d-1(a)].

                            THIRTEENTH CLAIM FOR RELIEF
             Aiding and Abetting Violations of Section 13(a) of the Exchange Act and
                              Rules 12b-20 and 13a-1 Thereunder
                                         (Against Ladd)

          163.       The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

          164.       By engaging in the acts and conduct described in this Complaint, Company B

   violated Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20 [17 C.F.R. §


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   240.12b-20] and 13a-1 [17 C.F.R. § 240.13a-1(a)] thereunder, which require issuers of registered

   securities under the Exchange Act to file annual reports on Fonn 10-K with the Commission that,

   among other things, do not contain untrue statements of material fact or omit to state material

   information necessary in order to snake the required statements, in the light of the circumstances

   under which they are made, not misleading.

           165.        By engaging in the acts and conduct described in this Complaint, Defendant

   Ladd provided knowing and substantial assistance to Company B's filing of a materially false

   and misleading annual report on Form 10-K.

           166.        By reason of the foregoing, Ladd aided and abetted, and unless restrained and

   enjoined, will continue aiding and abetting, Company B's violations of Section 13(a) of the

   Exchange Act [15 U.S.C. § 78m(a)], and Rules 12b-20 [17 C.F.R. § 240.12b-20] and 13a-1(a)

   thereunder [17 C.F.R. § 240.13a-1(a)], in violation of Section 20(e) of the Exchange Act [15

   U.S.C. § 78t(e)].

                           FOURTEENTH CLAIM FOR RELIEF
             Aiding and Abetting Violations of Section 15(d) of the Exchange Act and
                                    Rule 15d-1 Thereunder
                                   (Against Maza and Keller)

           167.        The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

           168.        By engaging in the acts and conduct described in this Complaint, Company A

   violated Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)] and Rule 15d-1 thereunder [17

   C.F.R. § 240.15d-1], which require issuers of registered securities under the Securities Act to file

   annual reports on Form 10-K with the Commission that, among other things, do not contain

   untrue statements of material fact or omit to state material information necessary in order to

   make the required statements, in the light of the circumstances under which they are made, not

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   misleading.

          169.       By engaging in the acts and conduct described in this Complaint, Defendants

   Maza and Keller provided knowing and substantial assistance to Company A's filing of a

   materially false and misleading annual report on Fonn 10-K.

          170.       By reason of the foregoing, Maza and Keller aided and abetted, and unless

   restrained and enjoined, will continue aiding and abetting, Company A's violations of Section

   15(d) of the Exchange Act [15 U.S.C. § 78o(d)] and Rule 15d-1 thereunder [17 C.F.R. §

   240.15d-1], in violation of Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

                                FIFTEENTH CLAIM FOR RELIEF
                           Violations of Section 17(b) of the Securities Act
                                           (Against Ford)

          171.       The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 121 of this Complaint.

          172.       By engaging in the acts and conduct described in this Complaint, Defendant

   Ford directly or indirectly, singly or in concert, by use of the means or instruments of

   transportation or communication in interstate commerce, or by the use of the mails, in the offer

   or sale of Company A, and/or Company C securities, has published, given publicity to, or

   circulated any notice, circular, advertisement, newspaper, article, letter, investment service, or

   communication which, though not purporting to offer a security for sale, described such security

   for a consideration received or to be received, directly or indirectly, from an issuer, underwriter,

   or dealer, without fully disclosing the receipt, whether past or prospective, of such consideration

   and the amount thereof.

          173.       By reason of the foregoing, Ford, directly or indirectly, has violated, is

   violating, and unless restrained and enjoined, will continue to violate Section 17(b) of the


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   Securities Act [15 U.S.C. § 77q(b)].

                                       PRAYER FOR RELIEF

          WHEREFORE, the Commission respectfully requests that the Court grant the following

   relief, in a Final Judgment:

                                                    I.

          Finding that Defendants violated the federal securities laws and rules promulgated

   thereunder as alleged against them herein;

                                                   II.

          Permanently restraining and enjoining Honig, Brauser, Frost, Groussman, Grander,

   Melechdavid, and Alpha, their agents, servants, employees and attorneys and all persons in

   active concert or participation with them who receive actual notice of the injunction by personal

   service or otherwise, and each of them, from violating, directly or indirectly, Sections 5(a) and

   (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)];

                                                  III.

          Permanently restraining and enjoining Honig, Stetson, Brauser, O'Rourke, Frost,

   Groussman, Ladd, Maza, Keller, Ford, ATG, FGIT, GRQ, Grander, HSCI, Melechdavid, Opko,

   Southern Biotech, and SCI, their agents, servants, employees and attorneys and all persons in

   active concert or participation with them who receive actual notice of the injunction by personal

   service or otherwise, and each of them, from violating, directly or indirectly, Section 17(a) of the

   Securities Act [15 U.S.C. § 77q(a)];




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                                                  IV.

          Permanently restraining and enjoining Ford, his agents, servants, employees and

   attorneys and all persons in active concert or participation with them who receive actual notice of

   the injunction by personal service or otherwise, and each of them, from violating, directly or

   indirectly, Section 17(b) of the Securities Act [15 U.S.C. § 77q(b)];

                                                   V.

          Permanently restraining and enjoining Honig, Brauser, O'Rourke, Groussman, ATG, and

   Melechdavid, their respective agents, servants, employees and attorneys and all persons in active

   concert or participation with them, who receive actual notice of the injunction by personal

   service or otherwise, and each of theirs, from future violations of Section 9(a) of the Exchange

   Act [15 U.S.C. § 78i(a)].

                                                   VI.

           Permanently restraining and enjoining Honig, Stetson, Brauser, O'Rourke, Frost,

   Groussman, Ladd, Maza, Keller, Ford, ATG, FGIT, GRQ, Grander, HSCI, Melechdavid, Opko,

   Southern Biotech, and SCI, their respective agents, servants, employees and attorneys and all

   persons in active concert or participation with them, who receive actual notice of the injunction

   by personal service or otherwise, and each of them, from future violations of Section 10(b) of the

   Exchange Act [15 U.S.C. § 78j(b)] and Rule lOb-5 thereunder [17 C.F.R. § 240.1Ob-5];

                                                  VII.

           Permanently restraining and enjoining Honig, Stetson, Brauser, O'Rourke, Frost,

   Groussman, ATG, FGIT, GRQ, Grander, HSCI, Melechdavid, Opko, Southern Biotech, and SCI,

   their respective agents, servants, employees and attorneys and all persons in active concert or

   participation with them, who receive actual notice of the injunction by personal service or



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   otherwise, and each of them, from future violations of Section 13(d) of the Exchange Act [15

   U.S.C. § 78in(d)] and Rule 13d-1(a) thereunder [17 C.F.R. § 240.13d-1(a)];

                                                 VIII.

          Permanently restraining and enjoining Ladd, his respective agents, servants, employees

   and attorneys and all persons in active concert or participation with them, who receive actual

   notice of the injunction by personal service or otherwise, and each of them, from future

   violations of Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20 [17

   C.F.R. § 240.12b-20] and 13a-1 thereunder [17 C.F.R. § 240.13a-1];

                                                 IX.

          Permanently restraining and enjoining Maza and Keller, their respective agents, servants,

   employees and attorneys and all persons in active concert or participation with them, who

   receive actual notice of the injunction by personal service or otherwise, and each of them, from

   aiding and abetting future violations of Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)]

   and Rule 15d-1 thereunder [17 C.F.R. § 240.15d-1];

                                                   /~

          Permanently barring Ladd, Maza and Keller from acting as an officer or director of a

   public company pursuant to Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)] and Section

   21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)];



          Permanently prohibiting all Defendants from participating in any offering of penny stock

   pursuant to Section 20(g) of the Securities Act [15 U.S.C. § 77t(g)] and Section 21(d)(6) of the

   Exchange Act [15 U.S.C. § 78u(d)(6)].




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                                                    XII.

           Ordering Defendants to disgorge all of the ill-gotten gains from the violations alleged in

   this complaint, and ordering them to pay prejudgment interest thereon;

                                                   XIII.

           Ordering Defendants to pay civil money penalties pursuant to Section 20(d)(2) of the

   Securities Act [15 U.S.C. § 77t(d)(2)] and Section 21(d)(3) of the Exchange Act [15 U.S.C.

   §78u(d)(3)]; and

                                                   XIV.

           Granting such other and further relief as this Court deems just and proper.

                                                JURY DEMAND

           Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Commission demands

   trial by jury as to all issues so triable.



   Dated: September 7, 2018
         New York, New York

                                                   Sanjay Wadhwa
                                                   Michael Paley
                                                   Charu Chandrasekhar
                                                   Nancy Brown
                                                   Katherine Bromberg
                                                   Jon Daniels
                                                   Attorneys for Plaintiff
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                         Exhibit B
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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ------------------------------------------------------------------------x
   SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                           :
                                       Plaintiff,                          :
                                                                           :   18 Civ. 8175 (ER)
                     – against –                                           :
                                                                           :   ECF CASE
   BARRY C. HONIG, ROBERT LADD,                                            :
   ELLIOT MAZA, BRIAN KELLER,                                              :
   JOHN H. FORD, GRQ CONSULTANTS, INC.                                     :   SECOND AMENDED
   and HS CONTRARIAN INVESTMENTS, LLC,                                     :   COMPLAINT
                                                                           :   AND JURY DEMAND
                                       Defendants.                         :
   ------------------------------------------------------------------------x

           Plaintiff Securities and Exchange Commission (“Commission”), for its Second Amended

   Complaint against Defendants Barry C. Honig (“Honig”), Robert Ladd (“Ladd”), Elliot Maza

   (“Maza”), Brian Keller (“Keller”), John H. Ford (“Ford”), GRQ Consultants, Inc. (“GRQ”), and

   HS Contrarian Investments, LLC (“HSCI”) (collectively, “Defendants”),1 alleges as follows:


   1
          Since the filing of the First Amended Complaint (DE 105), Defendants Michael Brauser
   (“Brauser”), Grander Holdings, Inc. (“Grander”), John R. O’Rourke (“O’Rourke”), ATG Capital
   LLC (“ATG”), John Stetson (“Stetson”), and Stetson Capital Investments Inc. (“SCI”) have each
   consented to the entry of final judgments against them in this case. (DE 224-229.) As such, they
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                                   SUMMARY OF ALLEGATIONS

          1.   This case involves a series of highly profitable “pump-and-dump” schemes

   involving the stock of three public companies, “Company A,” “Company B” and “Company C.”

   At the center of all three schemes were Defendants (and former Defendants)2 Honig, Brauser,

   Stetson and O’Rourke, as well as some combination of their entities, Defendants GRQ and HSCI

   and former Defendants, Grander, SCI and ATG. In all three schemes, these Defendants amassed

   a controlling interest in the issuer, concealed their control, drove up the price and trading volume

   of the stock through manipulative trading and/or paid promotional activity, and then dumped

   their shares into the artificially inflated market on unsuspecting retail investors.

          2.   Across all three schemes, Honig was the primary strategist, calling upon other

   Defendants to, among other things, acquire or sell stock, arrange for the issuance of shares,

   negotiate transactions, and/or engage in promotional activity. In each scheme, Honig and some

   combination of Brauser, Stetson and O’Rourke (and often other individuals), either explicitly or

   tacitly agreed to acquire, hold, vote and/or dispose of their shares in coordination with one

   another. Once Honig and his associates had secured substantial ownership of the issuer, they

   acted as an undisclosed control group. Honig and/or other members of the particular investor

   group, with the knowledge and consent of the other group members, directed the issuer’s

   management for their benefit, including orchestrating transactions designed to create market


   are no longer Defendants in this action. Defendants Honig (DE 152), GRQ (DE 151), Keller
   (DE 113), Maza (DE 110), Ford (DE 28), and HSCI (DE 230) have each consented to entry of
   partial judgments imposing certain injunctive relief against them, and leaving their respective
   liability for monetary relief for further resolution. The Commission, while including them as
   named parties in this action, states no new charges against any of these Defendants in this
   Second Amended Complaint.
   2
         Unless otherwise expressly noted, the terms “Defendants” and “Defendant” in this
   Second Amended Complaint refers to both current and former Defendants in this case.



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   interest in the company or to solidify their control.

          3.   Honig and his associates needed to create liquidity so they could sell their stock and

   profit from their investments in Company A, Company B and Company C. To accomplish this

   goal, in each scheme, Honig and his associates would arrange and pay for the promotion of the

   relevant stock by directing Ford or a similar promoter to write favorable and materially

   misleading articles about the company whose trading volume and stock price they wanted to

   inflate. In several instances, to magnify the intended boost to the trading volume and stock price

   that would follow a promotional article’s release, Honig, O’Rourke and ATG and their associates

   engaged in pre-release manipulative trading to generate a misleading picture of market interest in

   the company’s stock.

          4.   Honig and his associates had to conceal their plan to promote and dump stock for

   each scheme to work. They accomplished this concealment by, among other things, evading

   their reporting obligations under the federal securities laws and ensuring that the executives of

   Company A, Company B and Company C did not accurately report Defendants’ collective

   control.

          5.   Specifically, Honig, Brauser, Stetson and O’Rourke, as well as certain of their

   entities and other associates, violated provisions of the federal securities laws that require

   individuals and groups who hold more than a five percent ownership interest in a publicly traded

   company to notify the Commission and inform the investing public by filing a form that

   accurately reflects their ownership interest and that of all members of any group in which they

   are a member. Honig, Brauser, Stetson, O’Rourke, their entities and certain of their associates

   failed to make their required disclosures while acting as a group in the acquisition, holding,

   voting and/or disposition of their shares in Company B and Company C. They also failed




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   appropriately to disclose their intention to exercise (and their actual exercise of) control over

   Company B and Company C.

          6.   Defendants Maza (Company A’s CEO), Keller (Company A’s Chief Scientific

   Officer and a director) and Ladd (Company B’s CEO), acted separately at the direction of Honig

   and his confederates to take steps beneficial to the respective Honig-led group at the expense of

   each company’s public shareholders, and signed public filings they knew, or were reckless in not

   knowing, to be false, to hide the respective group’s beneficial ownership and existence.

          7.   Maza and Keller signed Company A’s public filings, in which they knowingly or

   recklessly failed to disclose that Honig, Brauser, Stetson, their affiliates, and/or their respective

   entities, owned shares of Company A as a group. Company A’s filings similarly failed to

   disclose the size of each member of the Honig group’s holdings and thereby concealed the extent

   of their control over the company from other shareholders and the public. Similarly, Company

   B’s CEO, Ladd, signed false public filings, making material omissions about Honig’s, Brauser’s,

   Stetson’s, O’Rourke’s, their associates’ and their respective entities’ group ownership.

          8.   All told, the three schemes earned Defendants and their associates millions of

   dollars: Company A’s pump and dump generated approximately $9.3 million in stock sales

   proceeds for Honig, Brauser, Stetson, O’Rourke, certain of their respective entities, and

   affiliates. Company B’s pump and dump generated more than $9.5 million for Honig, Brauser,

   Stetson, O’Rourke, certain of their respective entities, affiliates, and/or certain frequent co-

   investors. And, most recently, the pump and dump of Company C brought in over $8.3 million

   in stock sales proceeds for Honig, Brauser, Stetson, O’Rourke, certain of their respective entities

   and/or certain frequent co-investors. These profits were made at the expense of investors who

   purchased shares in Company A, Company B and Company C at artificially high prices based on




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   misleading flattering articles or coverage in the media and matched trades that were orchestrated

   by the Defendants.

            9.    In addition to his other violations alleged herein, Defendant Ladd (i) in May 2016,

   violated the stock sale registration requirements of the federal securities laws by engaging in

   unregistered sales of Company B stock – for which no registration exemption existed – in

   accounts held both in his own name and in the names of two immediate family members,

   “Relative A” and “Relative B” (collectively, the “Relatives”); (ii) in 2015 and 2016, as CEO of

   Company B, repeatedly violated the stock purchase and sales reporting requirements of the

   federal securities laws – and anti-fraud provisions – by failing to file with the Commission

   required public reports and fully and accurately disclosing his purchases and sales of Company B

   stock in his own account, and by filing false SEC Forms 144 regarding stock sales in his and his

   Relatives’ accounts; and (iii) from 2012 to 2016, repeatedly violated the beneficial ownership

   reporting requirements of the federal securities laws by failing to file with the Commission

   required public reports regarding material changes in his beneficial ownership of Company B

   stock.

                                                VIOLATIONS

            10.       By virtue of the conduct alleged herein, each of the Defendants, directly or

   indirectly, singly or in concert, violated and are otherwise liable for violations of the federal

   securities laws as follows:

            11.       Honig violated:

                  x   Sections 5(a) and (c) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C.

                      §§ 77e(a) and (c)];

                  x   Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];




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               x   Sections 9(a)(1) and (a)(2) of the Securities Exchange Act of 1934 (“Exchange

                   Act”) [15.U.S.C. §§ 78i(a)(1) and (a)(2)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5

                   thereunder [17 C.F.R. § 240.10b-5]; and

               x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)].

         12.       Brauser violated:

               x   Sections 17(a)(1) and (a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                   (a)(3)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules 10b-5(a) and

                   (c) thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)]; and

               x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)].

         13.       Stetson violated:

               x   Sections 17(a)(1) and (a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                   (a)(3)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules 10b-5(a) and

                   (c) thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)]; and

               x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)].

         14.       O’Rourke violated:

               x   Sections 17(a)(1) and (a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                   (a)(3)];



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               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules 10b-5(a) and

                   (c) thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)]; and

               x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)].

         15.       Ladd violated:

               x   Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5(b)

                   thereunder [17 C.F.R. § 240.10b-5(b)];

               x   Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of the

                   Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig’s, Brauser’s,

                   Stetson’s, O’Rourke’s and others’ violations of Sections 17(a)(1) and (a)(3) of the

                   Securities Act [15 U.S.C. §§ 77q(a)(1) and (a)(3)] and Section 10(b) of the

                   Exchange Act [15 U.S.C. § 78j(b)] and Rules 10b-5(a) and (c) thereunder [17

                   C.F.R. §§ 240.10b-5(a) and (c)] and by aiding and abetting Company B’s

                   violations of Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)], and Rules

                   12b-20 [17 C.F.R. § 240.12b-20] and 13a-1 thereunder [17 C.F.R. § 240.13a-1];

               x   Sections 5(a) and (c) of the Securities Act [15 U.S.C. §§ 77e(a) and (c)];

               x   Section 13(d) of the Exchange Act, [15 U.S.C. § 78m(d)], and Rule 13d-2

                   thereunder [17 C.F.R. § 240.13d-2]; and

               x   Section 16(a) of the Exchange Act [15 U.S.C. § 78p(a)], and Rule 16a-3

                   thereunder [17 C.F.R. § 240.16a-3].

         16.       Maza violated:

               x   Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];



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               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5

                   thereunder [17 C.F.R. § 240.10b-5]; and

               x   Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting

                   Company A’s violations of Section 15(d) of the Exchange Act [15 U.S.C. § 78o],

                   and Rule 15d-1 thereunder [17 C.F.R. § 240.15d-1].

         17.       Keller violated:

               x   Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5(b)

                   thereunder [17 C.F.R. § 240.10b-5(b)]; and

               x   Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)] and Section 20(e) of the

                   Exchange Act [15 U.S.C. § 78t(e)] by aiding and abetting Honig’s, Brauser’s,

                   Stetson’s, O’Rourke’s and others’ violations of Sections 17(a)(1) and (a)(3) of the

                   Securities Act [15 U.S.C. §§ 77q(a)(1) and (a)(3)] and Section 10(b) of the

                   Exchange Act [15 U.S.C. § 78j(b)], and Rules 10b-5(a) and (c) thereunder [17

                   C.F.R. §§ 240.10b-5(a) and (c)], and by aiding and abetting Company A’s

                   violations of Section 15(d) of the Exchange Act [15 U.S.C. § 78o], and Rule 15d-

                   1 thereunder [17 C.F.R. § 240.15d-1].

         18.       Ford violated:

               x   Section 17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)];

               x   Section 17(b) of the Securities Act [15 U.S.C. § 77q(b)]; and

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5(b)

                   thereunder [17 C.F.R. § 240.10b-5(b)].

         19.       ATG violated:



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               x   Sections 17(a)(1) and (a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                   (a)(3)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules 10b-5(a) and

                   (c) thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)]; and

               x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)].

         20.       GRQ violated:

               x   Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5

                   thereunder [17 C.F.R. § 240.10b-5]; and

               x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)].

         21.       HSCI violated:

               x   Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5

                   thereunder [17 C.F.R. § 240.10b-5]; and

               x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                   thereunder [17 C.F.R. § 240.13d-1(a)].

         22.       Grander violated:

               x   Sections 17(a)(1) and (a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                   (a)(3)];

               x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules 10b-5(a) and

                   (c) thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)]; and



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                x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                    thereunder [17 C.F.R. § 240.13d-1(a)].

          23.       SCI violated:

                x   Sections 17(a)(1) and (a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and

                    (a)(3)];

                x   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rules 10b-5(a) and

                    (c) thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)]; and

                x   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-1(a)

                    thereunder [17 C.F.R. § 240.13d-1(a)].

          24.       The Commission seeks final judgments permanently enjoining Defendant Ladd

   from violating the federal securities laws; requiring each of Defendants Ladd, Honig, GRQ,

   Keller, Maza, Ford, and HSCI to disgorge his or its ill-gotten gains and to pay prejudgment

   interest on those amounts; requiring Defendants Ladd, Honig, GRQ, Keller, Maza, Ford, and

   HSCI to pay civil monetary penalties; barring Defendants Ladd and Maza from participating in

   future penny stock offerings; barring Defendants Ladd and Maza from serving as officers or

   directors of publicly traded companies; and seeking any other relief that the Court deems just and

   appropriate.

          25.       Unless Defendants Ladd and Maza are permanently restrained and enjoined as

   requested herein, they each will again engage in the acts, practices, and courses of business set

   forth in this Complaint, or in acts and transactions of similar type and object.

                                     JURISDICTION AND VENUE

          26.       The Commission brings this action pursuant to the authority conferred by

   Sections 20(b) and (d) of the Securities Act [15 U.S.C. §§ 77t(b) and (d)], and Sections 21(d) and



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   (e) of the Exchange Act [15 U.S.C. §§ 78u(d) and (e)].

          27.     This Court has jurisdiction over this action pursuant to Sections 22(a) and (c) of

   the Securities Act [15 U.S.C. §§ 77v(a) and 77v(c)], and Section 27 of the Exchange Act [15

   U.S.C. § 78aa]. Defendants, directly or indirectly, singly or in concert, have made use of the

   means or instrumentalities of transportation or communication in, interstate commerce, or of the

   mails, in connection with the transactions, acts, practices, and courses of business alleged herein.

          28.     Venue lies in this district pursuant to Sections 22(a) and (c) of the Securities Act

   [15 U.S.C. §§ 77v(a) and (c)], and Section 27 of the Exchange Act [15 U.S.C. § 78aa]. Certain

   of the transactions, acts, practices and courses of business constituting the violations alleged

   herein occurred within the Southern District of New York. Among other things, at all relevant

   times, Company B’s principal place of business was in Harrison, New York, within this District,

   and certain Defendants solicited investments in securities from investors in this District and sold

   securities through a broker-dealer located in this District.

                                          THE DEFENDANTS

             Individual Defendants

          29.     Honig, born in 1971, is a resident of Boca Raton, Florida and, at all relevant

   times, worked at an office in Boca Raton with Stetson and O’Rourke. Honig owns GRQ. Honig

   also owns a majority stake in HSCI, as to which Stetson is the named managing member. Honig

   was also the president and one-third owner of Southern Biotech, Inc. (“Southern Biotech”), a

   now-dissolved Nevada entity.

          30.     Maza, born in 1955, is a resident of New York, New York. He was the CEO of

   Company A from June 2011 to January 2014. He is a CPA licensed in New York, as well as an

   attorney licensed in New York.

          31.     Keller, born in 1956, is a resident of California. He was Chief Scientific Officer


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   of Company A from about March 2011 to January 2014, and was a member of its board of

   directors. He currently works as President of Sales and Senior Vice President of Research and

   Development at Company A’s successor company.

          32.     Ladd, born in 1958, is a resident of Raleigh, North Carolina. At all relevant

   times, he was a resident of Chappaqua, New York. According to Company B Commission

   filings, Ladd is currently the CEO and a director of Company B, and he has served as its CEO

   since February 10, 2011 (except for the following time periods: November 2016 through August

   2017; and September 10, 2018 through April 30, 2019).

          33.     Ford, born in 1956, is a resident of Bolinas, California.

             Entity Defendants

          34.     GRQ is a Florida corporation owned and operated by Defendant Honig and for

   which Honig makes investment decisions. Its principal place of business is in Florida. GRQ was

   incorporated in or around 2004.

          35.     HSCI is a Delaware corporation incorporated in 2011. Its principal place of

   business is in Florida.

             Previously Charged but Fully Settled Individual and Entity Defendants

          36.     Brauser, born in 1956, is a resident of Lighthouse Point, Florida. He owns

   Grander, and owned one third of Southern Biotech.

          37.     Stetson, born in 1985, is a resident of Fort Lauderdale, Florida and, at all relevant

   times, worked at an office in Boca Raton with Honig and O’Rourke. Stetson owns SCI, and has

   a minority investment in HSCI, of which he is the named managing member.

          38.     O’Rourke, born in 1985, is a resident of Fort Lauderdale, Florida and, at all

   relevant times, worked at an office in Boca Raton with Honig and Stetson. O’Rourke owns

   ATG.


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          39.     ATG is a Florida corporation owned and operated by Defendant O’Rourke and

   for which O’Rourke makes investment decisions. Its principal place of business is in Florida.

   ATG was incorporated in or around 2012.

          40.     Grander is a Florida corporation owned and operated by Defendant Brauser and

   for which Brauser makes investment decisions. Its principal place of business is in Florida.

   Grander was incorporated in or around 2010.

          41.     SCI is a Florida corporation owned and operated by Defendant Stetson and for

   which Stetson makes investment decisions. Its principal place of business is in Florida. SCI was

   incorporated in or around 2011.

                        OTHER RELEVANT PERSONS AND ENTITIES

          42.     Company A is a Delaware corporation headquartered in Georgia. It was

   incorporated in Nevada in 2006. Company A was controlled by Honig and Brauser between

   March 2011 and early 2014. The company filed periodic reports, including Forms 10-K and 10-

   Q with the Commission. Company A’s stock was quoted on OTC Link (formerly known as the

   “Pink Sheets”), an electronic interdealer quotation system operated by OTC Markets Group, Inc.

   In early 2014, Company A engaged in a reverse merger with a company associated with Honig

   and his associates. The successor company is currently quoted on OTC Link. At all relevant

   times, Company A’s stock was a “penny stock” as that term is defined in Section 3(a)(51) of the

   Exchange Act [15 U.S.C. § 78c(a)(51)], and Rule 3a51-1 thereunder [17 C.F.R. § 240.3a51-1].

          43.     Company B is a Delaware corporation headquartered in Durham, North Carolina,

   formerly headquartered in Harrison, New York, and was incorporated in 2000. At all relevant

   times, its common stock was registered with the Commission pursuant to Exchange Act Section

   12(b) [15 U.S.C. § 78l(b)], and it is now registered under Exchange Act Section 12(g) [15 U.S.C.

   78l(g)]. It files periodic reports, including Forms 10-K and 10-Q with the Commission.


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   Company B’s common stock was listed on NYSE-MKT from 2007 until its October 19, 2016

   delisting. Its stock is currently quoted on OTC Link.

          44.     Company C is a Delaware corporation headquartered in San Diego, California,

   and was incorporated in 1988. At all relevant times, Company C’s common stock was registered

   with the Commission pursuant to Exchange Act Section 12(b) [15 U.S.C. § 78l(b)], and it was

   listed on NASDAQ from August 2016 until July 11, 2018, when it was suspended and later

   delisted. Company C’s common stock is currently quoted on OTC Link. At relevant times,

   Company C’s stock was a “penny stock” as that term is defined in Section 3(a)(51) of the

   Exchange Act [15 U.S.C. § 78c(a)(51)] and Rule 3a51-1 thereunder [17 C.F.R. § 240.3a51-1].

          45.     Investor 1 was a frequent co-investor with Honig and other Defendants. He is a

   large shareholder, CEO and Chairman of a public company (referred to herein as “Investor 1

   Company”), trustee and indirect beneficiary of a trust (referred to herein as “Investor 1 Trust”)

   and president of a limited liability company (referred to herein as “Investor 1 Group”), and he

   sometimes used Southern Biotech to co-invest with Honig and Brauser. He enjoys a reputation

   as a successful biopharmaceutical investor and has a substantial following among retail

   investors.

          46.     Affiliate 1 occasionally works at Honig’s office in Boca Raton. Affiliate 1 was a

   frequent co-investor with Honig, Brauser, Stetson and O’Rourke, investing in at least 36 issuers

   alongside Honig (and/or a Honig entity) from 2011 through August 2018, either individually, or

   through his entity, “Affiliate 1 Entity.” Affiliate 1 invested in each of Company A, Company B

   and Company C alongside Honig, Brauser, Stetson and O’Rourke.

          47.     Affiliate 2 is a foreign corporation and hedge fund that invested alongside Honig

   in many issuers since 2011. Affiliate 2 invested in Company A alongside Honig, Brauser,




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   Stetson and O’Rourke.

          48.     Southern Biotech was a Nevada corporation that Stetson incorporated at Honig’s

   direction in 2014. It was dissolved in 2017. Honig was listed as the sole officer and president.

   Southern Biotech was co-owned by Honig, Brauser, and Investor 1. It made investments in

   multiple public companies, often in addition to investments each co-owner made separately. At

   Honig’s direction, with Brauser’s knowledge and approval, and Stetson’s help in executing the

   investment, Southern Biotech made investments in Company C.

                                           BACKGROUND

          49.     “Pump-and-dump” schemes typically have two parts. In the first, the fraudsters

   acquire a large amount of stock at little or no cost whereupon a promotion scheme is

   implemented to boost the price of the stock or create trading volume by stimulating market

   interest with false or misleading statements about the company. Once the stock price and trading

   volume have been pumped up, fraudsters move on to the second part, in which they dump their

   large holdings of the stock into the public market at an enormous profit for themselves. After

   these fraudsters dump their shares and stop hyping the stock, the price typically falls, trading

   volume dries up, and investors lose their money. Critical to the success of such a scheme is

   disguising the fact that the fraudsters beneficially own and control a large amount of the

   unrestricted stock which, if known to investors and market participants, would inform investors

   that control persons of the company were dumping their stock.

          50.     The federal securities laws are designed to ensure transparency by requiring that

   investors be provided with timely, accurate information about companies and persons who own

   large amounts of company stock and thus are in a control relationship with the company. The

   Securities Act and the Exchange Act have several provisions designed to ensure that companies,




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   their officers, and large shareholders provide the marketplace with adequate information about

   their holdings and their purchases and sales of their companies’ stock. For example, when a

   person or group of persons acquires beneficial ownership of more than 5% of a voting class of a

   company’s equity securities registered under Section 12 of the Exchange Act, such person

   (colloquially known as a Section 13(d) filer) or group is required to make a filing under

   Exchange Act Section 13(d) with the Commission. When a group of persons agrees to act

   together to acquire, sell, vote or hold more than 5% in the aggregate of any issuer’s stock, they

   must each file a disclosure, even if their individual ownership is below 5%. When their holdings

   materially change, Section 13(d) and Rule 13d-2 thereunder, [17 C.F.R. § 240.13d-2], require

   that Section 13(d) filers make an amended Schedule 13D filing to update the market about the

   change in their holdings. These disclosure provisions are intended to alert the company’s

   stockholders and the marketplace to changes in securities ownership that indicate potential for

   changes in control of the company.

           51.      That kind of disclosure obligation is imposed on issuers, as well. Exchange Act

   Section 13(a) requires all issuers whose securities are registered pursuant to Exchange Act

   Section 12 (such as Company B) to file periodic reports with the Commission, and Exchange Act

   Rule 13a-1 requires such issuers to file annual reports – i.e., a “Form 10-K.” Exchange Act

   Regulation S-K at Item 10 sets out the information that must be disclosed in both Forms S-1

   (Registration Statements) and 10-K. 17 C.F. R. § 229.10(a). Item 403 of Regulation S-K, in

   turn, requires issuers to provide a table listing:

                 any person (including any “group” as that term is used in section 13(d)(3) of
                 the Exchange Act) who is known to the registrant to be the beneficial owner
                 of more than five percent of any class of the registrant's voting securities.

   17 C.F.R. § 229.403(a). Thus, potential investors reading an issuer’s Form 10-K or registration




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   statement on Form S-1 can expect to see a table describing all persons – and all “groups” of

   persons – who beneficially own more than 5% of Company B’s stock. Officers who sign public

   filings on behalf of their companies have a duty to ensure their completeness and accuracy.

          52.        The federal securities laws require disclosure about the holdings of company

   officers and directors, too. Exchange Act Section 16(a) and Rule 16a-3 thereunder [17 C.F.R. §

   240.16a-3] require periodic reporting by officers and directors of their purchases and sales of

   their company’s stock. As reflected in the legislative history of the enactment of Exchange Act

   Section 16(a), “the most potent weapon against the abuse of inside information is full and prompt

   publicity.” H.R. Rep. 73-1383, at 13, 24 (1934). Disclosure of an insider’s purchases and sales

   gives investors an indication of the insider’s private opinion as to the prospects of the company.

          53.        The registration provisions of the Securities Act are also designed to ensure that

   investors have key information when the company or its control persons seek to sell securities.

   Companies are generally required to disclose important financial information in a registration

   statement filed with the Commission, which is available to the public. When participants in a

   pump-and-dump scheme sell large blocks of stock to the investing public without registering the

   transaction, the offer or sale of that stock can violate the registration requirements of the

   Securities Act.

          54.        Fraudulent promotion or manipulative trading used to pump the company’s stock

   price and trading volume can violate the antifraud provisions of the Securities Act and the

   Exchange Act. For example, fraudsters may use online newsletters, bulletin boards, or social

   media to disseminate false and misleading statements to the public in order to encourage

   investors to purchase their undisclosed stake at inflated prices. Promoters may falsely claim to

   offer independent, unbiased recommendations in newsletters and other touts when they stand to




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   profit from convincing others to buy or sell certain stocks – often, but not always, penny stocks.

   Fraudsters frequently use this ploy with small, thinly traded companies because it is easier to

   manipulate a stock when there is little or no information available about the company, and where

   fraudsters can obtain control of a substantial portion of the company’s unrestricted shares. To

   help investors evaluate a stock promotion, promoters are required to disclose any compensation

   they receive from an issuer, underwriter or dealer for touting a security in any media.

          55.     In addition to false promotional pieces, fraudsters sometimes use matched trades

   to drive up the price of a security. Members of a scheme will trade shares between themselves,

   gradually inflating the price. A rising stock price creates the false impression that there is

   investor demand for the security, and thus serves to encourage other investors to buy. If the

   fraudsters have disguised their ownership and control of securities being traded, investors are

   deceived into believing that the matched trades are by outside market participants seeking to

   invest in the company. For this reason, the Exchange Act prohibits entering an order for the

   purchase or sale of a security with knowledge that an order or orders of substantially the same

   size, at substantially the same time and substantially the same price, for the sale or purchase of a

   security, had been or would be entered.

          56.     Collectively, these and other provisions of the federal securities laws protect

   investors from pump-and-dump schemes and ensure that investors understand who is controlling

   a company and whether any large shareholders have amassed a position that will allow them to

   control or influence the company and its securities. When these required disclosures are evaded

   or issued in a misleading fashion, investors are deprived of material information about an issuer.




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                                                    FACTS

          A. Overview of Honig’s, Brauser’s, Stetson’s and O’Rourke’s Pattern of
             Investments

                1.    The Partnership Among Honig, Brauser, Stetson and O’Rourke

          57.     Honig, Brauser, Stetson and O’Rourke, individually or through their entities,

   invested alongside one another in at least 19 issuers at or about the same time, from 2011 to the

   present. While this action concerns three of those issuers, in most cases in which Honig,

   Brauser, Stetson and O’Rourke co-invested, the investments followed a pattern: Honig or

   Brauser would identify a target company and arrange a financing or financings that would give

   them and their chosen co-investors (including Stetson and O’Rourke, among others) a

   controlling position in the company’s outstanding common stock at lower-than-market prices.

   Honig, Brauser, Stetson and O’Rourke would then exercise that control by dictating terms of the

   company’s material management decisions and policies, and voting together to direct the

   company’s major business decisions. When the group determined that the time had arrived to

   exit the investment, they would engineer a publicity-generating event that would both drive the

   price of the stock higher, and also create market demand and trading volume that would allow

   them to sell their positions. Typically, Honig, Brauser, Stetson and O’Rourke would dictate

   some kind of transaction for management to undertake – for example, an acquisition or merger,

   or a new investment by a well-known investor, like Investor 1 – and paid writers, bloggers or

   other public relations professionals to write about it. Once the publicity had its intended effect

   on the stock’s price and trading volume, Honig, Brauser, Stetson, O’Rourke and the other hand-

   picked co-investors would sell their respective positions – generally staggered over a course of

   weeks – into the artificially inflated market.

          58.     Throughout these stages, Honig, Stetson and O’Rourke were in nearly daily



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   contact because they worked out of the same office and were in frequent email and telephone

   contact, at times purposefully moving their conversations to the less permanent medium of text

   or instant messaging. Honig, Stetson and O’Rourke were each in frequent contact with Brauser,

   with whom they shared office space until late 2013.

          59.     Honig, Brauser, Stetson and O’Rourke obtained their interests in these issuers at

   the same time, and agreed to act as a group in holding, disposing and voting the stock they

   acquired, with Honig leading the combined effort. As O’Rourke put it in a February 3, 2014

   email to the officer of a potential merger target, “Barry Honig is the principal investor of our

   small group.” Honig carefully controlled his “small group’s” participants in the financings he

   arranged so that shares were held only by individuals and entities that (1) permitted Honig to

   direct how they voted their shares and/or acquiesced in Honig’s control of the management of

   the company, and (2) refrained from selling their shares until the optimal time for group

   members to profit from the planned post-pump dump.

          60.     Honig worked with Stetson to ensure that members of his groups voted their

   shares in unison. At times, members of the group reached out to Stetson to find out how they

   should vote on various proposals. For example, with respect to one of the issuers in which they

   had co-invested, in July 2015, Brauser forwarded an email request from a co-investor’s staffer to

   Stetson, asking whether to vote for or against a proposal. Stetson, in an email that same day,

   copying Honig, replied, “Yes, vote ‘For.’” In a November 2016 email to members of a Honig

   group of investors in another issuer, Stetson responded to a request for “instructions to vote”

   with “[v]oting in favor of [two named directors]. Against all other members and actions.”

          61.     While Honig was the primary architect of the three schemes detailed below, email

   traffic among Honig, Brauser, Stetson and O’Rourke demonstrates the various key roles each of




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   these Defendants played in the typical Honig-led investment.

          62.     Brauser is a long-time co-investor with Honig, investing (individually, through his

   entity, Grander, or through family members’ accounts) alongside Honig (and/or a Honig entity)

   in more than 40 issuers between approximately 2011 and mid-2018. From at least October 2010

   to approximately 2013, Brauser rented an office with Honig at 4400 Biscayne Boulevard in

   Miami, Florida. Brauser’s business association with Honig was sometimes noted by keen market

   observers: As early as 2013, a short seller published a report on a company in which the two had

   invested and noted that a factor negatively affecting the value of the company’s stock was the

   CEO’s close financial ties with “two serial stock promoters,” whom it identified as Honig and

   Brauser.

          63.     For some of the issuers in which Brauser co-invested alongside Honig, Brauser

   took an active role, at times directing the issuer’s management, finding and negotiating

   transactions for the issuer or bringing in additional investors. In others – particularly while

   Honig and Brauser worked through one of their periodic disputes about who owed whom money

   – Brauser was content to let Honig direct the steps in the scheme; since Brauser had been closely

   involved with respect to the other issuers in which he had co-invested with Honig, he was well-

   familiar with the playbook, knew that Honig would follow it and understood that Honig would

   signal to Brauser when it was time to sell his shares.

          64.     Stetson shared office space with Honig and O’Rourke at all relevant times.

   Individually, through his entity SCI, or through HSCI (the vehicle he nominally controlled),

   Stetson invested alongside Honig (and/or a Honig entity) in more than 65 issuers between 2011

   and August 2018. In connection with most of these investments, Stetson executed Honig’s

   directions, managed the administrative aspects of the Honig group’s investments, and performed




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   pre-investment due diligence. For example, Stetson communicated with brokers to effect

   Honig’s trades, deposited Honig’s shares with brokers, communicated investment terms and wire

   instructions to investors Honig had lined up, tracked the ownership of each group member in a

   particular issuer, corralled shareholder votes from co-investors (and, in some cases, even told co-

   investors how to vote), prepared financial analysis of proposed investments and conveyed

   Honig’s instructions to issuer management. From 2012 to 2013, Stetson also frequently

   managed Honig’s arrangements with Ford to write paid promotional articles about issuers in

   which Honig and his group had invested.

              65.   O’Rourke shared office space with Honig and Stetson at all relevant times,

   beginning in 2012. Through his entity, ATG, or individually, O’Rourke invested alongside

   Honig (and/or a Honig entity) in over 75 issuers between 2011 and August 2018. Beginning in

   2013, O’Rourke managed the Honig group’s promotional efforts by working with writers and

   bloggers to publish favorable articles and posts about issuers the Honig group controlled. He

   arranged for those writers to be compensated for their promotional pieces. For example, in 2013

   and 2014, O’Rourke compensated “Writer E” for writing positive promotional articles.

   O’Rourke made the payments through personal checks and/or sham stock purchases, designed to

   disguise the true purpose of the compensation. O’Rourke knew, or was reckless in not knowing,

   that Writer E did not disclose these payments in the promotional pieces he published on these

   issuers.

              66.   At times, and with Honig’s knowledge and consent, or at his direction, O’Rourke

   wrote and published the promotional articles himself. O’Rourke used a pseudonym for the

   byline and did not disclose his relationship to the issuer being promoted or the compensation

   Honig was paying him for the articles.




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           67.      In addition to his work with promoters and his own promotional activities, in at

   least one instance, O’Rourke took the lead in negotiating a transaction for Company B, in which

   he, Honig, Brauser and Stetson and/or certain of their entities had invested. After about his first

   year with Honig, O’Rourke also began assisting Stetson with the administrative aspects of each

   group investment.

           68.      Investor 1 invested alongside Honig (or a Honig entity) in several issuers from

   2011. For Honig and his co-investors, Investor 1’s participation in a deal brought an aura of

   legitimacy, important publicity for the issuer, and – most helpful in creating market interest in

   the particular issuer – his substantial following among retail investors. As a consequence, Honig

   and Brauser frequently sought to persuade Investor 1 to invest alongside them. As Stetson put it

   in a 2015 email to the CEO of Company C, the “following of [Investor 1] is worth its weight and

   [sic] gold.”

                  2.   Honig’s Efforts to Conceal the Extent of His Investments

           69.      Honig typically sought to conceal the size of his and his group’s investments in

   issuers. To that end, Honig set up various investment vehicles through which he could invest

   indirectly and surreptitiously.

           70.      One such Honig investment vehicle was HSCI, a limited liability company that

   Honig and Stetson set up in 2011. While Honig and Stetson named Stetson as HSCI’s sole

   managing member, Honig controlled 94% of its membership interests and directed many of

   HSCI’s investment decisions, including the size of the allocation HSCI would take in a particular

   financing, the timing of when HSCI would deposit shares or sell its position, and the brokers

   HSCI would use for its transactions. For example, in a November 20, 2013 email, Honig

   directed Stetson to “convert, deposit and purchase [shares in a particular issuer]. . . from

   HS[CI].” In a January 5, 2014 email, Honig directed Stetson to wire $1,700,000 from HSCI to


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   accounts at his broker and bank. In a June 1, 2014 email in which Honig laid out a list of tasks

   for Stetson, he directed Stetson to “change warrant to HS[CI]. Have HS[CI] buy it for $1000.”

   On June 17, 2014, Honig instructed Stetson to “wire out of hs[ci] and then get money wired bacl

   [sic] to me.” In July 2015, Honig directed Stetson to transfer Honig’s Company C shares and

   those held by HSCI to an investment relations consultant he wanted involved in the promotion of

   Company C. And, more recently, in October 2016, Honig negotiated terms for an investment in

   an issuer, which, according to an October 7, 2016 Honig email, included a “$650,000 investment

   from me and or my assignees and I get 100,000 shares for due diligence and structuring fee.”

   Stetson had no part in the negotiations. When the issuer sent the final deal documents, both the

   subscription agreement, and the consulting agreement for “due diligence services” were in the

   name of HSCI, and Stetson signed them both on behalf of HSCI.

          71.     Honig treated HSCI as his own entity in other ways as well. For example, Honig

   directed Stetson to pay through HSCI certain of Honig’s own expenses, including airfare, a

   private jet rental, and a 2015 $75,000 payment to one of the boxers in the stable of professional

   boxers Honig sponsored.

          72.     Stetson understood that HSCI was Honig’s investment vehicle. When Honig

   asked Stetson to list Honig’s various positions in issuers, Stetson would reply with a list that

   included HSCI’s position. But both Stetson and Honig worked to hide that fact from others. In a

   March 9, 2011 application to open a brokerage account for HSCI, where the questionnaire asked

   Stetson for “a list of all principals and beneficial ownership percentage,” Stetson failed to

   identify Honig at all, writing, instead: “John Stetson 100%.”

          73.     HSCI was not the only vehicle Honig used to conceal his investments. Honig

   used Southern Biotech as an entity through which he, Brauser and Investor 1 could each funnel




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   their investments in issuers, including Company C, thus shielding the size of their individual

   investments from disclosure. That Honig was using these vehicles to disguise the extent of his

   and others’ investments was a goal he acknowledged in 2016 in connection with his efforts to set

   up yet another corporate investment vehicle. In a November 2016 email among Honig,

   O’Rourke and others, including Honig’s brother, concerning the setup of a corporation as an

   investment vehicle, Honig agreed that “[t]he goal is to stop people from knowing what Barry

   invests in and avoiding them blogging on the Internet.”

                3.    The Concealed Agreement with Stock Promoter Ford

          74.     Honig first met Ford in the summer of 2012 in San Francisco after having read

   articles Ford had written promoting investments in public companies. By 2012, Ford had

   developed an investor following for his reports on various issuers posted on the Seeking Alpha

   website, a popular investor forum. During their meeting, Honig asked Ford how much he was

   paid to write an article about a publicly traded company. Ford answered that his rate was

   $45,000 per article. Honig proposed that he could compensate Ford to write articles for his

   issuers by inviting him to participate in the private placement financings with his chosen group

   of investors that he negotiated with issuers. Ford understood the value of that opportunity since

   Honig hand-picked the investors invited to participate, the private placement shares were valued

   below market, and Honig’s track record of “successful” investments meant that the shares Ford

   obtained would likely rise in value. Ford also understood that Honig’s invitation to participate in

   his group of investors would be contingent on Ford’s agreement to write favorable articles about

   issuers at Honig’s, Stetson’s and O’Rourke’s requests. By the end of the meeting, Honig and

   Ford had agreed that Honig would secretly compensate Ford to write about companies that

   Honig introduced to him, and that Ford would not publicly disclose that compensation so that

   investors would believe Ford’s articles to be the product of his independent analysis and free


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   from any conflict of interest.

          75.      During their first meeting, Honig presented Ford with a riskless transaction that

   Ford understood was Honig’s way of enticing Ford to participate in the scheme. Honig proposed

   that Ford purchase securities of issuer S (“Issuer S”) (an issuer in which Honig, Stetson and

   O’Rourke were also invested) in a private transaction with a designated third party, and then

   immediately sell the securities at a higher price to another designated party.

          76.     Ford agreed to participate in the transaction and coordinated the specific details

   over email with Stetson in July 2012. In an email on July 27, 2012, Stetson told Ford the amount

   of the purchase wires and the information Ford should put in the reference line for the purchase

   wires. In that same email, Stetson informed Ford that a $125,000 wire had been deposited into

   Ford’s account, even though Ford had yet to purchase the stock for which he was receiving the

   funds. On August 7, 2012, Stetson sent Ford the purchase agreements for the Issuer S shares he

   had “purchased two weeks ago.” Ultimately, Ford earned profits of approximately $90,000.

          77.     Pursuant to the agreement Ford and Honig reached in their summer 2012 meeting

   in California, Ford began writing articles at Honig’s behest, with assistance initially provided by

   Stetson, and later by O’Rourke. For example, in September 2012, Stetson arranged for Ford to

   conduct an interview for a promotional article Ford was writing on Investor 1 Company. Also,

   in 2012, as described more fully below, at Honig’s direction, Stetson arranged to sell some of his

   Company B shares at a discount to Ford in exchange for Ford writing two favorable articles

   about Company B. Stetson knew, or was reckless in not knowing, that Ford was being

   compensated to write these articles, and that Ford was not disclosing the arrangement in the

   disclaimers he included with his posts.

          78.     During the period 2012-2015, Ford wrote and published seemingly independent




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   articles about various companies in which Honig and his co-investors had an interest. He did so

   at Honig’s direction – often communicated through Stetson or O’Rourke – and in return for the

   right to participate in off-market securities transactions or Honig-led private placements. He also

   received at least $125,000 in cash payments during this period. Honig structured the cash

   payments to Ford to disguise their source by enlisting third-party Honig associates to enter into

   sham consulting agreements with Ford, and funneling the payments to Ford through the

   associates, ostensibly pursuant to those agreements.

          79.     Ford communicated with Honig, Stetson and O’Rourke about the companies,

   compensation, and articles. Honig, Stetson and O’Rourke knew that Ford was writing the

   favorable articles because he was being compensated for doing so, and all three knew that Ford

   was not disclosing this compensation to the public readership; indeed, all three understood that if

   Ford had disclosed that he was being paid, investors would have discounted the independence of

   his analysis and would have been less likely to follow Ford’s recommendations.

          80.     Brauser, too, knew, or was reckless in not knowing, that Honig was paying Ford

   to write promotional pieces without disclosing their arrangement. For example, in November

   2013, Honig copied Brauser and O’Rourke on an email outlining a promotional plan for Investor

   1 Company, which included the publication of a Ford article. Honig noted in this email that “we

   are assisting” on the drafting of the “John Ford article.” In December 2013, O’Rourke sent

   Brauser an email linking Ford’s Investor 1 Company article, which did not disclose that Ford had

   been paid to write it. More basically, Brauser (like Stetson and O’Rourke) knew, or was reckless

   in not knowing, that each participant in Honig private placement deals – Honig’s “following” –

   had been invited to participate in these private transactions in exchange for some value each

   could bring to the deal, and that Ford was no different. Brauser understood, for example, that




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   Investor 1 brought his retail investor following and reputation as a successful investor to provide

   liquidity when the participants wished to sell. Brauser knew that others, like Affiliates 1 and 2,

   brought needed cash and a willingness to follow Honig’s directions on how to vote or when to

   sell. Because Honig was inviting Ford to participate in these transactions, Brauser knew, or was

   reckless in not knowing, that Ford was providing value to the group in authoring favorable

   articles on the issuers in which the group was invested.

          81.     Brauser, like Honig, Stetson and O’Rourke, also regularly followed news and

   articles written about the companies in which they were invested. As a result, each of them

   knew, or was reckless in not knowing, that Ford’s promotional articles did not disclose his

   compensation arrangement with Honig.

          B. The Company A Scheme

                  1.      Honig and Brauser Obtain Control of Company A

          82.     In the Company A scheme, Honig and Brauser generated approximately $9.3

   million in proceeds for themselves and their co-investors by secretly paying for a misleading

   promotional campaign, engaging in manipulative trading, and then unlawfully selling Company

   A shares into the artificially inflated trading volume and stock prices that they had generated.

          83.     To acquire control of Company A, Honig and Brauser, acting with Investor 1,

   caused the company to issue shares to them, certain of their entities, and certain of their

   associates through a series of so-called “private investments in public equities,” or “PIPE”

   financings.

          84.     In November 2010, Honig, along with his nominees, including Stetson and

   Affiliate 1, purchased one-third of a publicly traded shell company. In December 2010, Brauser

   and Investor 1 each purchased one-half of the remaining two-thirds of the company. Honig,

   Brauser and Stetson each disguised his role in the acquisition by purchasing the shares of an


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   intermediary entity that owned a majority of the shell company shares. The shell company

   disclosed only the ownership interest of the intermediate entity in its public filings, allowing

   Honig, Brauser and Stetson to conceal their respective ownership interests. Soon after they

   acquired the shell, Honig, Brauser and Investor 1 installed an associate of Investor 1 (the

   “Investor 1 Associate”) as the sole director of the company.

          85.     In late 2010, Honig and Brauser approached management of a private biotech

   company then in the business of manufacturing over-the-counter pharmaceutical products

   (“Company A Labs”) with a proposal to take the company public.

          86.     At the time, Company A Labs and Keller, its Chief Scientific Officer and a

   director, were working on developing a formulation using a patented technology called

   “Qusomes” that Company A Labs hoped to use in large-scale drug markets, but lacked funding

   to support its development. Honig and Brauser promised Keller and the CEO of Company A

   Labs (the “Company A Labs CEO”) that the public company deal would include raising $11-$13

   million to support research and development (“R&D”) of the Qusomes technology.

          87.     On “Honig, Brauser, [Investor 1] Group” letterhead, Brauser sent Company A

   Labs management a Letter of Intent in late January 2011, and Company A Labs management

   countersigned the agreement, as amended, on February 1, 2011. Pursuant to that Letter of Intent,

   Company A Labs agreed to a reverse merger into the publicly traded shell controlled by Honig,

   Brauser and Investor 1. Company A Labs CEO, Keller, and a research scientist employed by

   Company A Labs were each promised 6,650,000 shares of the newly created public company.

          88.     The proposed merger of Company A Labs into the publicly traded shell hit a snag

   in March 2011. Pursuant to a $3 million credit line Company A Labs had with a San Francisco

   community bank (the “Community Bank”), the Community Bank had authority to approve all




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   major transactions. In a letter sent on March 14, 2011, it declined to approve the reverse merger,

   as well as the $2 million bridge financing contemplated to pay for that reverse merger, among

   other things.

           89.     According to its letter, the Community Bank declined to approve the reverse

   merger for two reasons: First, “[u]nder the proposed new transaction, persons who are not

   known to the Bank . . . would assume control of [Company A Labs]. . . .” As its second reason,

   the Community Bank noted:

           The proposed acquisition creates enormous conflicts of interest. There is substantial
           reason to believe that the resulting entity would act for the benefit of [the Honig investor
           group] as a whole, rather than the interests of [Company A Labs].

   In conclusion, the Community Bank warned that if Company A Labs nonetheless proceeded with

   the transactions, they would constitute events of default, and the full amount owing under the

   credit line would become immediately due and payable.

           90.     Despite these warnings, Company A Labs completed the reverse merger and the

   $2 million bridge financing. The Community Bank thereafter sent a default notice. After the

   merger, on September 8, 2011, Maza, who had been installed as the CFO and a director of the

   newly created Company A by Honig and Brauser, authorized the company to pay off the credit

   line.

           91.     After the merger, Company A listed its corporate address at 4400 Biscayne

   Boulevard in Miami, the same business address then shared by Honig, Brauser and Investor 1.

           92.     As a result of the reverse merger, Honig, Brauser and Investor 1 controlled the

   vast majority of Company A’s outstanding shares. In addition, Honig and Brauser, with the

   knowledge and approval of Stetson and other co-investors, also exercised control over the

   management of Company A. After the merger, for example, Honig and Brauser, acting with the




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   knowledge and consent of Stetson and other co-investors, elevated Maza from CFO to CEO of

   Company A. Thereafter, Maza sought approval from Honig, Brauser and sometimes Investor 1

   for material business decisions. For example, at the direction of Honig and Brauser, Maza

   agreed to divert funds from Company A to pay rent for the office of an unrelated entity co-

   owned by Honig and Brauser, also located at 4400 Biscayne Boulevard. Maza also sought the

   permission of Honig and Brauser to take on financing from outside sources. In one email to

   Brauser on February 28, 2013, copying Honig, Maza reported that Honig and Investor 1 were on

   board with the proposals from two separate lenders and sought Brauser’s concurrence:

   “[Investor 1] is OK if you’re OK with it. Work for u?” Maza also sent Honig, Brauser and

   Investor 1 updates at least every month providing details on business operations and business

   opportunities, as well as seeking their approval for material business decisions. For example, in

   June 2013, Maza sent Honig and Brauser, among others, a “business memo for your

   consideration,” which outlined “an approach to stabilize the company” and set out “priority

   initiatives.” In its first public filing after the merger, Company A disclosed that it had retained

   new corporate counsel (“Issuer’s Counsel”) – the same firm as well as the same partner at that

   firm (“Issuer’s Counsel Partner”) that Honig had insisted other issuers in which he was invested

   retain.

             93.   In their capacity as two of the three board members of Company A, Keller and

   Maza concealed Honig’s and Brauser’s control of Company A by signing off on public filings

   that failed to disclose the involvement of Honig, Brauser, Stetson, and Affiliate 1, omissions that

   made those filings materially misleading. At the time they signed these filings, Keller and Maza

   understood that Honig and Brauser substantially controlled Company A’s management, and not

   Maza. As Keller explained in a February 12, 2012 email to a Company A colleague, “[t]he real




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   power is with Barry Honig and Mike Brauser. Elliot [Maza] is just a mouth piece.” Following

   the merger, Company A’s filings nonetheless identified only Investor 1, but not Honig, Brauser,

   or the group of Honig, Brauser, and others, including Stetson and Affiliate 1, as owning a greater

   than 5% interest in Company A.

          94.     Post-closing, Honig and Brauser orchestrated a series of additional PIPE

   financings between March 2011 and June 2012 on very attractive terms for themselves, including

   debt convertible at pennies per share into millions of shares, and warrants for the cheap

   acquisition of even more shares. Some of these financings allowed Company A to refinance debt

   it had amassed both in order to close the reverse merger into the public shell and as a result of

   defaulting on the Community Bank loan.

          95.     Honig and Brauser failed to keep their promises to invest money in Company A

   for R&D. Instead, they limited their personal investments to whatever minimum amount was

   necessary to keep Company A’s business operating and to fund Maza’s and Keller’s generous

   compensation. Keller’s compensation substantially increased once he began working with Honig

   and Brauser, and Maza’s annual compensation ranged from $300,000 to $600,000. As a result of

   the failure to invest money and the high executive compensation payouts, however, Company A

   lacked funds for R&D, and it was forced to abandon its R&D efforts entirely by mid-2012.

          96.     Honig and Brauser used the financings they orchestrated to amass more, ever-

   cheaper Company A shares for themselves and their associates. Honig and Brauser also sold

   some of their convertible debt to their associates, including to Affiliate 1, on September 23,

   2013, and to both Stetson and O’Rourke on October 3, 2013, giving them conversion rights to

   purchase Company A shares for $0.20 a share. Although these financings did nothing to

   enhance Company A’s continued growth, Maza and Keller went along with them. Over the




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   course of their respective tenures at Company A, Maza and Keller received millions of shares of

   Company A stock.

             97.   By April 1, 2013, and pursuant to their tacit or explicit agreement to acquire, hold,

   vote and/or dispose of their shares in concert, Honig, Brauser and other co-investors, including

   Stetson, Investor 1 Company, Investor 1 Group and Investor 1 Trust, had amassed 28,153,845

   shares, or almost 45% of the Company A shares outstanding, with Honig alone holding

   5,542,654 shares, or 8.8% of the company’s outstanding shares. But Company A did not

   disclose the group’s combined ownership. On September 11, 2013, Stetson notified

   management that the beneficial ownership table should be amended to reflect Honig’s substantial

   share ownership, and on September 12, 2013, Stetson provided Maza with the green light to file

   an Amended Form 10-K annual report for the 2012 fiscal year. Nonetheless, even though

   Company A’s September 13, 2013 Form 10-K/A, signed by Maza, Keller, and the Investor 1

   Associate, disclosed that Company A’s amendment was to update the beneficial ownership table,

   the annual report failed to disclose the existence of the Honig-allied group, which beneficially

   owned slightly less than half of Company A’s outstanding shares.

             98.   On July 16, 2012, Company A Labs’ CEO – who had been ousted from Company

   A by Honig and Brauser – sued Company A, Honig, Brauser, Maza, and Investor 1, among other

   defendants, seeking, in part, the 6.65 million shares he had been promised, but which had never

   been delivered to him out of escrow. Company A, acting at Honig’s and Brauser’s direction (on

   behalf of the Honig-led investor group), or with their consent, counter-sued the CEO. In public

   filings about the suit, Company A represented that the CEO had breached his contract with the

   Company, and reported that the Company was seeking damages and cancellation of the escrowed

   shares.




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          99.     Brauser, who was not an officer or director of Company A, took the lead in

   negotiating a settlement of the dispute with Company A Labs’ CEO on behalf of Company A,

   frequently updating Honig on his negotiations, and soliciting his views on settlement proposals

   over email. In September 2013, Brauser and Honig reached settlement terms with Company A

   Labs’ CEO, agreeing to pay him $2 million in return for his relinquishing his claim to the

   Company A shares he had been promised, and that he had never received. Maza ratified the

   settlement terms on September 5, 2013.

                  2.     The Company A Pump and Dump

          100.    In preparation for the Company A pump and dump, during August and

   September, 2013, Stetson, at Honig’s direction, deposited in a brokerage account almost 4

   million Company A shares that had been issued to Honig. Stetson worked closely with Honig

   and Brauser and each of their brokers, Company A, and Company A’s transfer agent to help

   Honig and Brauser ready their Company A shares for sale into the public market. Since part of

   Stetson’s role in working with Honig was to keep track of the amount of each associated

   investor’s holdings, and he had reviewed Company A’s Form 10-K/A, setting out Honig’s and

   Brauser’s ownership and the number of Company A’s outstanding shares, Stetson knew, or was

   reckless in not knowing, how much of Company A’s stock Honig and Brauser controlled.

   Stetson also knew, or was reckless in not knowing, that Honig and Brauser were directing

   Company A’s management and policies.

          101.    Nonetheless, in connection with the deposit of Honig’s shares, on at least two

   occasions, on August 19 and August 30, 2013, Stetson submitted Honig’s signed answers to the

   broker’s questionnaire that both he and Honig knew were false. Honig’s answers falsely denied

   any relationship between him and Company A or its affiliates, and also falsely denied that Honig




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   was an affiliate. At the time that Stetson made that submission, and Honig signed it, each knew,

   or was reckless in not knowing, that Honig was an affiliate of Company A because of the control

   Honig exerted over Company A.

          102.    On September 6, 2013, Stetson was copied on the transmittal of false attorney

   opinion letters to Company A’s transfer agent in order to remove restrictive legends from

   Honig’s Company A share certificates. These opinion letters were sought by Honig because

   both he and Stetson knew that removal of the restrictive legend was a necessary step in readying

   Honig’s Company A shares for sale to the public. Each of the letters contained the material

   misrepresentation that Honig was not an affiliate of Company A, a representation that Stetson

   and Honig knew, or were reckless in not knowing, was false, given what each knew about

   Honig’s control over Company A.

          103.    As part of the process for depositing Honig’s shares with a broker – another

   necessary step, as Honig and Stetson knew, in selling Honig’s shares to the public – CEO Maza

   was also required to issue a representation letter concerning the stock certificates. In a letter to

   the broker-dealer, dated September 10, 2013, Maza wrote “[w]e further acknowledge and agree

   that there is no other agreement or understanding between Barry Honig and [Company A] that

   would preclude Barry Honig from selling or otherwise disposing of shares represented above.”

   Maza knew, or was reckless in not knowing, that this statement was false because Honig was an

   affiliate of Company A, and that, as an affiliate, Honig’s ability to sell his Company A shares

   would be subject, under the federal securities laws, to volume limitations.

          104.    Once the restrictive legends were lifted from Honig’s shares and the shares were

   deposited into a brokerage account, Honig was ready to sell them. In September 2013, Honig

   directed O’Rourke to reach out to Ford to arrange for him to post his purportedly independent




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   investment analysis of Company A on the Seeking Alpha website pursuant to the understanding

   Honig and Ford had reached in 2012.

          105.    O’Rourke contacted Ford and proposed that Ford write a Company A article in

   exchange for Ford obtaining Company A shares at a below-market price. At that time, Honig,

   Brauser, Investor 1, Investor 1 Company and other co-investors, including Stetson, owned about

   45% of the outstanding Company A shares, and the market for Company A stock was virtually

   nonexistent (with zero trading volume on Friday, September 20, 2013). O’Rourke instructed

   Ford to focus his article on Investor 1’s involvement, and the supposed rosy prospects of

   Company A’s R&D.

          106.    On Monday, September 23, 2013, Honig and some associates began trading

   Company A shares to create the appearance of market activity and interest in Company A in

   advance of the planned Ford article. That day, the trading volume of Company A shares soared

   to 302,000 from zero volume the previous trading day.

          107.    The September 23rd trading also gave Honig a way to pay Ford surreptitiously for

   his upcoming favorable article on Company A. On the morning of Friday, September 20, 2013,

   O’Rourke called Ford and told him to put in buy orders for Company A stock at $0.40 per share

   to ensure his order was executed against the corresponding sell order later placed by Honig.

   Because there was so little trading at that time in Company A shares, O’Rourke and Honig knew

   that Ford’s bid would be hit by Honig on the following Monday, September 23, 2013. In that

   transaction, Honig sold 180,000 Company A shares to Ford at $0.40 per share, a price well

   below the price at which these shares otherwise traded during that day.

          108.    O’Rourke joined the trading at the end of the trading day on September 23rd to

   “mark the close,” i.e., to ensure that the last price of the day would be higher, giving the false




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   impression that Company A’s share price was on an upward trajectory. Specifically, at 3:58 p.m.

   that day, O’Rourke, through his entity ATG, placed a bid to buy Company A shares at $0.68 per

   share, a significantly higher price than the prior buy order at $0.55 per share, which had been

   entered at about 3:06 p.m. Another Honig associate, who had purchased shares from Honig

   earlier in the day, placed a corresponding sell order to complete the transaction at the inflated

   price.

            109.   In further preparation for the publication of the Ford article touting Company A,

   and to enhance the false picture of an active market for the stock, near the end of the trading day

   on September 26th, Honig and his associates engaged in a series of coordinated trades. For

   example, the Barry & Renee Honig Charitable Foundation, controlled by Honig, sold Company

   A shares to a Honig associate at $0.68 per share, and two minutes later another entity affiliated

   with Honig executed a transaction against ATG, O’Rourke’s entity, at $0.68 per share.

            110.   Ford published his Company A article on the Seeking Alpha website less than half

   an hour before market close on September 26, 2013. That article, touting Investor 1’s investment

   in Company A, bore the title Honig and O’Rourke had supplied to Ford: “[Investor 1 Company]

   and Its Billionaire CEO Invested in [Company A].” In it, Ford presented a bullish outlook for

   Company A and concluded that “Company A should be trading for more than twice today’s

   valuation.”

            111.   Keller reviewed Ford’s Company A article prior to its publication, and knew, or

   was reckless in not knowing, that Ford was preparing a promotional article. Ford’s article

   included a question and answer interview of Keller, which O’Rourke had arranged earlier in

   September. Ford quoted Keller touting the benefits of Company A’s Qusomes technology.

   Specifically, Ford quoted Keller’s misleading statement that Company A had a formulation




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   ready for testing to be brought to the billion-dollar injectable drug market. Yet, as Keller knew,

   as of summer 2012, Company A had shut down all R&D efforts without the successful

   formulation of an injectable drug and Company A had ceased all efforts to develop this

   technology in mid-2012.

              112.   Ford’s article was also materially false and misleading in failing to disclose that

   Ford had been compensated by Honig for writing the article through Honig’s sale to him of

   below-market Company A shares on September 23. Instead, Ford included a disclaimer that was

   itself false and misleading: “I am long [Company A]. I wrote this article myself, and it

   expresses my own opinions. I am not receiving compensation for it (other than from Seeking

   Alpha). I have no business relationship with any company whose stock is mentioned in this

   article.”

              113.   The market reacted strongly to the Company A promotion: the trading volume of

   Company A stock rose from approximately 1,100 shares on September 25, 2013 to over 4.5

   million shares on September 27, 2013 and to more than 6 million shares on October 2, 2013.

   The share price increased from an average of about $0.48 during August 2013 to an intraday

   price of $0.97 on October 17, 2013. Because many of the Defendants had acquired their shares

   so cheaply, they did not need to capture the immediate post-publication price jump in order to

   profit handsomely, and thus they sold their shares in transactions staggered over a three month

   period. Staggering their sales over a longer period of time allowed them to avoid pushing the

   stock price lower and the scrutiny that might have resulted from the Honig group’s simultaneous

   selling.

              114.   Between the start of the manipulative trading on September 23, 2013 and

   December 31, 2013, Honig and his co-investors sold shares into the inflated market for proceeds




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   of approximately $9,350,000. Between September 23 and December 16, 2013, Honig sold

   5,892,679 shares for proceeds of $3,416,455.17.

          115.    To compensate O’Rourke for his work, including working with Ford on the

   promotional piece, on October 4, 2013, Honig sold to O’Rourke’s ATG one of Honig’s

   Company A notes, with a face value of $50,000, which O’Rourke immediately converted into

   250,000 Company A shares. Despite the fact that Company A shares were trading at a price as

   high as $0.58, pursuant to the terms of the Company A note he bought from Honig, O’Rourke

   paid less than half that price at $0.20 a share when he converted through ATG. O’Rourke then

   sold his ATG shares into the market at the much higher average price of about $0.59 per share

   between September 26, 2013 and December 27, 2013.

                  3.      The Unlawful Distribution of Company A Shares by Honig and Brauser

          116.    Honig and Brauser obtained the Company A shares directly from Company A or a

   Company A affiliate in transactions not involving any public offering. Therefore, the Company

   A shares these Defendants sold were restricted securities as defined in Securities Act Rule

   144(a)(3)(i). No registration statement was in effect for any of the Company A stock sales by

   Honig or Brauser in the September through December 2013 period. No exemption from

   registration was available to either of them, or their entities, with respect to these shares.

          117.    Honig and Brauser were also statutory underwriters under Securities Act Section

   2(a)(11) because they acquired these securities from the issuer or an affiliate of the issuer with a

   view to public distribution. As statutory underwriters, in order to resell the securities to the

   public in reliance on Securities Act Section 4(a)(1), they were required to comply with the

   applicable conditions of Securities Act Rule 144, which they did not.

          118.    Each of Honig and Brauser, and their respective relevant entities, were under




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   common control with Company A, making each of these Defendants an affiliate of Company A

   under Securities Act Rule 144(a)(1). The beneficial ownership of almost 45% of the outstanding

   stock of Company A by Honig, Brauser and Grander, and other co-investors including Affiliate

   1, Affiliate 1 Entity, Stetson, SCI, Investor 1 Company, Investor 1 Trust and Investor 1 Group,

   gave them collective control over the issuer – control they exercised as demonstrated by the

   active involvement of Honig and Brauser, with the knowledge and consent of Stetson, in the

   operations and promotion of Company A.

          119.    As affiliates, Honig and Brauser did not comply with the conditions of Securities

   Act Rule 144 in connection with their distribution of Company A securities. Because Company

   A did not trade on a national securities exchange, as affiliates of Company A, these Defendants

   could only lawfully sell 1% of the company’s total shares outstanding in any three-month period

   pursuant to Securities Act Rule 144(e). As of September 2013, Company A had approximately

   69 million shares outstanding, and as of November 15, 2013, it had approximately 75 million

   shares outstanding. Honig and Brauser each sold shares in excess of 1% of the total outstanding

   shares during the September through December period.

                  4.     Honig’s, Brauser’s, Stetson’s and O’Rourke’s Post-Promotion Use of
                         Company A’s Assets and Marketable Securities for Their Personal
                         Benefit

          120.    After profiting on their sales of Company A stock into the inflated market they

   had created with their paid promotion, Honig, Brauser, Stetson and O’Rourke continued to use

   their control over Company A for their own enrichment. Throughout the period preceding the

   September 2013 pump and dump, behind the scenes Honig, Brauser, Stetson and O’Rourke

   conspired to sell Company A’s assets to another issuer they controlled (“Company M”).

          121.    Each of Honig, Brauser, Stetson and O’Rourke had invested in Company M by




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   the fall of 2013. Honig and another frequent co-investor each also held a lucrative consulting

   contract with Company M at least through July 2013.

             122.   Honig and Brauser exercised influence over the management decisions of

   Company M. Using that influence, Honig and Brauser arranged for Company M to make a

   $2,000,000 investment in Company A on August 26, 2013 through the purchase of a convertible

   promissory note with a one-year term and a 10% interest rate. The terms of this note also

   included a warrant to purchase 10,000,000 Company A shares for either $0.40 per share or on a

   cashless basis in the event that the Company A shares were not registered. Under Company A’s

   analysis, the value of the warrant alone was almost $2,500,000, even without including the

   capacity for the conversion of the value of the note plus interest into shares, making this deal

   extraordinarily favorable to Company M at the expense of Company A shareholders.

             123.   On November 12, 2013, after Honig, Brauser, Stetson and O’Rourke had sold

   Company A shares for millions of dollars, Company A announced that it would sell its assets,

   including its intellectual property and manufacturing facility, to Company M in return for

   1,200,000 shares of Company M’s stock. Maza, Company A’s titular CEO, did not learn of this

   extraordinary transaction until it was announced.

             124.   With Company A now stripped of its assets and rendered a public shell, and less

   than two months after Ford had been compensated to laud Company A’s prospects, Honig and

   Brauser arranged a reverse merger of Company A with a private company (the “Private

   Company”) in which some of their close co-investor associates had a substantial ownership

   interest. Under the terms of the merger agreement, Company A shareholders would own 40% of

   the newly combined entity and the owners of the Private Company would own 60% of the

   shares.




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          125.    On December 26, 2013, Company A filed a Form 8-K in which it disclosed a

   conversion of notes held by Honig and Brauser into newly issued Company A common stock.

          126.    On or about January 2, 2014, the reverse merger of Company A and the Private

   Company closed. Through that merger, Honig and Brauser were able to enhance the value of

   their investments in Company A stock, which, pre-merger, had essentially become an investment

   in a public shell. Post-merger, the value of Honig’s and Brauser’s Company A stock was

   supported by the newly acquired Private Company assets, and Honig and Brauser monetized

   those investments in subsequent post-merger sales of their Company A shares to public market

   investors.

          C. The Company B Scheme

          127.    During 2015 and 2016, Honig and his associates used Company B, once a

   publicly traded shell, as another vehicle for their pump-and-dump schemes. Honig and his

   partners used many of the same tactics they had employed in the Company A scheme: they

   bought millions of cheap shares, intending to exercise control over the management and policies

   of the company; exercised that control; orchestrated a misleading promotion of the company that

   drove up the price and the trading volume of the company’s shares; and dumped their shares for

   a profit in the inflated market. As with Company A, Company B engaged Issuer’s Counsel as

   company counsel. Despite their control over various actions taken by Company B, and their tacit

   or explicit agreement to acquire, hold, vote and/or dispose of their shares in concert, Honig,

   Brauser, Stetson and O’Rourke took numerous steps to conceal their involvement, and to

   perpetuate the false appearance that the company was actually being controlled by its CEO.

                  1.      Pre-2015 Investments in Company B by Honig, Brauser, Stetson and
                          O’Rourke

          128.    By 2015, Company B was well-known to Honig, Brauser, Stetson and O’Rourke



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   – and they were well known to Company B’s CEO Ladd – from an earlier pump and dump

   perpetrated by Honig and his associates in 2012-2013.

          129.    In October 2012, Honig, Affiliate 1 and Stetson had purchased cheap Company B

   convertible preferred shares and 5 year warrants through a $4.5 million PIPE transaction. Honig

   made the transaction contingent on Company B using $300,000 from the capital raise to promote

   Company B’s stock, and required that the company segregate $2 million in cash. As was

   Honig’s practice, he dictated the group of investors who would join him, and notified Ladd in an

   October 11, 2012 email that Ford would be among them.

          130.    Stetson, with the knowledge and consent of the Honig-led investor group, then

   enlisted Ford to write a promotional piece, published on the Seeking Alpha website on November

   5, 2012, which touted Company B’s prospects for providing a “2X near-Term Return,” and

   predicting that Company B’s stock could rise to $18 a share (nearly triple its price on the

   previous trading day). Ford’s promotional piece failed to disclose the compensation he had

   received from Honig, instead assuring investors that he was “express[ing] his own opinions,” and

   was not “receiving compensation for it (other than from Seeking Alpha).”

          131.    When, after Ford’s piece was published, Company B’s stock price failed to reach

   the level desired by the Honig-led group, Honig directed Stetson and/or O’Rourke to retain Ford

   to write another Seeking Alpha article on Company B. At Honig’s direction, in November 2012,

   Stetson sold Ford Company B shares and warrants at a discount in payment for Ford’s planned

   articles on Company B. Ladd knew that Ford held these shares, and had obtained them from

   someone who had participated in the PIPE transaction, because Ford was listed as one of the

   selling shareholders of Company B’s stock in its November 30, 2012 Form S-3 Registration

   Statement, signed by Ladd.




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          132.    In his second Seeking Alpha article, published on April 11, 2013, Ford touted

   Company B’s imminent settlement of a patent enforcement action that would bring Company B a

   substantial recovery. Ford again predicted a significant stock price jump and again failed to

   disclose that he had been compensated pursuant to his agreement with Honig. Ladd knew that

   Ford’s prediction was false, since Company B’s patent enforcement action was not on the brink

   of settlement. This time Ford’s article had the desired effect, pushing Company B’s share price

   from $3.50 on April 10, 2013 to almost $4.50 on April 16, 2013, and increasing trading volume

   significantly. Company B’s market capitalization went from under $16 million on April 10,

   2013 to over $20 million on April 16, 2013. Honig sold approximately 250,000 shares into the

   inflated market, earning $967,224.

          133.    Ladd was aware of the promotional efforts of the Honig-led group. He even

   agreed to be interviewed by Ford for the November 2012 Seeking Alpha article, and spoke to

   Ford several times before the article’s publication. He also knew, or was reckless in not

   knowing, that Ford had a connection to Honig and his group because he had been told that Ford

   would be part of Honig’s investment group in October 2012, and he received emails about Ford’s

   Company B investment from Stetson in early 2013. Ladd knew that Ford’s April 2013 article

   had successfully boosted Company B’s stock price. And Ladd knew, or was reckless in not

   knowing, that Ford was being compensated by Honig and his associates and that he was

   concealing that fact from his Seeking Alpha readers in the April 2013 article, just as he had

   concealed it in his November 2012 article.

          134.    Honig, Stetson and O’Rourke also knew, or were reckless in not knowing, that

   Ford’s April 2013 article failed to disclose the compensation he was receiving from Honig. They

   each also knew, or were reckless in not knowing, that the article falsely claimed that Company B




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   was in settlement talks and on the brink of a lucrative settlement when it was not. Indeed, the

   only settlement Company B reached in its patent lawsuits was a single $100,000 recovery many

   months after the April 11, 2013 Ford article had been published.

                  2.      Honig and Associates Amass Company B Shares in 2015-2016

          135.    In 2015, Honig and his associates began planning a new scheme to pump and

   dump Company B’s shares. At the time, Company B was running out of cash to continue its

   operations, and Ladd and the Board were discussing ways to keep the company going long

   enough to find a reverse merger partner who would be interested in Company B’s clean balance

   sheet and listing on the NYSE-MKT. Honig set the scheme in motion on September 26, 2015

   when he emailed Stetson: “We need to put together a term sheet for [Company B]. . . similar one

   to the [Company B] one we used the first time” and outlined proposed terms of an investment

   deal. The terms included specific provisions designed for Honig and his investor group to have

   access to shares quickly, warrants for more shares on favorable terms, and the ability to restrict

   Company B’s ability to raise other funds.

          136.    On September 27, 2015, Honig directed Stetson to send the proposal to Ladd,

   Company B’s CEO. The deal contemplated the issuance of 2.8 million Company B shares, along

   with warrants to acquire an additional 5.6 million shares, subject to a 4.99% conversion blocker.

   This deal structure allowed the investors repeatedly to convert and sell their shares while

   appearing individually to stay below the 5% threshold ownership at which Exchange Act Section

   13(d) required public disclosure of holdings. By ostensibly staying below the 5% ownership

   threshold, and evading the public reporting requirements, Honig and his associates increased the

   likelihood that they could conceal the millions of shares that they had amassed and thereby mask

   their scheme to pump up the Company B share price and trading volume in anticipation of a




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   profitable sell-off to unsuspecting investors.

          137.    On October 1, 2015, Ladd emailed Honig that “NYSE MKT wants to know the

   buyers. $175,000 x 4 investors will be each at 4.9%. . . .” Honig replied that same day, copying

   Brauser and Stetson, that he would “get back to you with names shortly for now use Barry Honig

   Mike Brauser [and] OBAN [an LLC created by Stetson].” On October 5, 2015, Stetson provided

   Company B with the investors Honig had selected to participate in the financing, which included

   GRQ (Honig), Grander (Brauser), SCI (Stetson) and ATG (O’Rourke), as well as other Honig-

   approved investors. Over the next few days, Honig continued to negotiate the terms of his and

   his investors’ deal with Ladd.

          138.    Ladd obtained his Board’s approval of the financing by touting Honig’s “m.o.” as

   being able to make “the share price go[] up.” In an October 4, 2015 email to Company B’s

   Directors, Ladd also told them that the company could “expect [Honig’s] help in finding a

   reverse takeover candidate” for the company.

          139.    The Honig-led financing ultimately provided $700,000 to Company B (the

   “October 2015 Company B Financing”). On October 8, 2015, Company B filed a Form 8-K

   with the Commission disclosing that the company had “entered into separate subscription

   agreements . . . with accredited investors . . . relating to the issuance and sale of $700,000 of

   units . . . .” The Form 8-K did not disclose the investors’ identities, but acknowledged that the

   “investment was led by Barry Honig, a private investor and a specialist in corporate finance,”

   and listed selected successful investments in microcap companies with which Honig had been

   associated.

          140.    Ladd knew that Honig (through GRQ), Brauser (through Grander), Stetson

   (through SCI) and O’Rourke (through ATG) and other Honig affiliates were operating as a




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   group, that they had acquired Company B shares together, and that they were collectively

   exercising control over the company. In an email dated September 29, 2015 to Company B

   counsel, Stetson, Honig and Company B’s CFO – and in his October 4, 2015 email to Company

   B’s Directors – Ladd referred to the potential investors as an “investor group . . . led by Barry

   Honig,” and attached a “term sheet” (to the September 29 email) that defined Honig as “Lead

   Investor.” Similarly, in November 2015, Ladd wrote Honig: “As for the cap table, we have 17.2

   million common shares outstanding, including your group’s 2.8 million . . . .” (emphasis added).

   Ladd nonetheless failed to disclose Honig’s, Brauser’s, Stetson’s and O’Rourke’s combined

   interest in, and control over, the company in Company B’s public filings.

          141.      By September 2015, Ladd was well versed in the requirements of Section 13(d).

   In connection with a 2014 proxy fight with another investor who sought to oust Ladd and seat

   new directors, Company B’s CFO, writing on behalf of the company, accused that investor firm

   of violating Section 13(d) by failing to make appropriate Schedule 13D filings that disclosed the

   investor’s affiliate relationship with another investor in Company B. In that July 3, 2014 letter,

   which Ladd reviewed and approved, the CFO called the omission a “concealment . . . of the

   ownership interests and trading activity of [the affiliate], not only to [Company B] . . . but to the

   SEC,” and asserted that it “creates a materially misleading communication to [Company B’s]

   stockholders.”

          142.      In late November 2015, and in anticipation of Honig’s delivery of a reverse

   takeover candidate that would boost Company B’s stock price, Ladd began accumulating

   Company B stock in a newly-opened account at E*Trade. In opening that account, as detailed in

   paragraph 166 below, Ladd lied about his affiliation to Company B and failed to disclose his

   purchases, as required in a Form 4 filed with the Commission.




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                  3.      The Company B Pump and Dump in February 2016

          143.    Having coordinated the accumulation of stock with Brauser, Stetson and

   O’Rourke, Honig, with his partners’ knowledge and consent, then arranged for a promotion that

   included materially misleading information.

          144.    On or around January 21, 2016, by which time Honig, Brauser, Stetson, O’Rourke

   and Affiliate 1 through Affiliate 1 Entity, had acquired at least 16.3% of Company B’s

   outstanding stock, Honig directed Ladd to wire $125,000 to a well-known stock promoter as an

   up-front payment for the promotion of Company B. Shortly thereafter, the stock promoter paid a

   portion of the money he had received from Company B to a writer he instructed to publish a tout

   on Company B. On February 3, 2016, the writer published his piece online. In it, he described

   Company B’s rosy prospects in social and “real money” gaming sites and intellectual property

   relating to slot machines. The article did not disclose that the author had been paid by Company

   B – at Honig’s direction – to write the article. After the article was published on February 3,

   2016, there was a 7000% increase from Company B’s previous day’s trading volume, and an

   intraday price increase of over 60%.

          145.    Honig, Ladd, Stetson and O’Rourke knew the promotional article was slated to

   appear, and each either knew, or was reckless in not knowing, that the article’s author failed to

   disclose that he was being compensated by Company B to write it. Honig, Ladd, Stetson and

   O’Rourke took advantage of the promotion’s boost to Company B’s stock price and trading

   volume and sold over 430,000 shares into this inflated market for proceeds of approximately

   $198,800. Honig and GRQ sold 231,050 Company B shares between February 3 and April 6,

   2016 for proceeds of $123,154.87. Ladd sold 96,072 Company B shares for proceeds of

   $39,204.12.




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                  4.     The Company B Pump and Dump in May 2016

          146.    Honig soon identified a potential acquisition target for Company B that would

   give Honig and his associates another way to profit from their interest in Company B. The

   proposed deal involved a well-known cybersecurity innovator who had created a popular

   antivirus software bearing his name (the “Cybersecurity Innovator”).

          147.    At Honig’s direction (and with the knowledge and consent of Brauser and

   Stetson), O’Rourke took the lead in arranging a deal between Company B and the Cybersecurity

   Innovator. On March 29, 2016, O’Rourke sent the Cybersecurity Innovator a term sheet for the

   asset purchase of Cybersecurity Innovator’s company (“CI Company”) by a “NYSE listed

   company.” After CI Company indicated interest on April 3, 2016, O’Rourke wrote to Honig on

   April 3, 2016 and asked Honig if he would “still want to pursue [Cybersecurity Innovator] deal.”

   Honig replied to O’Rourke that same day: “Yea!” O’Rourke introduced Ladd to the

   Cybersecurity Innovator on April 4, 2016 to begin negotiating a transaction between Company B

   and the Cybersecurity Innovator’s various business interests.

          148.    Subsequent correspondence between Ladd and O’Rourke, and between O’Rourke

   and Honig, reflect the ongoing and significant role Honig and O’Rourke played in orchestrating

   the deal. Company B and the Cybersecurity Innovator agreed to terms on May 8, 2016.

          149.    On May 9, 2016, at 8:30 a.m., Company B issued a press release announcing its

   merger with CI Company, and attached it to a Form 8-K, signed by Ladd, filed that same day

   with the Commission. The press release misleadingly described the Cybersecurity Innovator’s

   prior financial success by falsely claiming that the Cybersecurity Innovator had “sold his anti-

   virus company to Intel for $7.6 billion,” suggesting that Company B might achieve similar

   success. Yet, as Ladd knew or was reckless in not knowing, the sale of the Cybersecurity




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   Innovator’s namesake company to Intel at that price had occurred over a decade after the

   Cybersecurity Innovator’s departure from that company.

          150.    Knowing that Company B’s misleading announcement of the deal would be

   disseminated later that morning, on May 9, 2016, Honig traded in Company B stock to create the

   misleading appearance of an active market. In pre-market trading that morning, Honig bought

   and sold small quantities of Company B stock dozens of times. In addition, and also during the

   pre-market hours that morning, Honig engaged in matched trades with an associate in an effort to

   artificially increase Company B’s stock price.

          151.    That same day, StockBeast.com, a well-known internet stock promotion website,

   published an article by an unnamed author entitled “[Company B] Beastmode engaged –

   [Cybersecurity Innovator] driving the Bus.” Ladd, through Company B, had paid

   StockBeast.com for the article to ensure a wide distribution of the news of the impending merger

   with the CI Company. The StockBeast.com article touted Company B and highlighted the

   Cybersecurity Innovator’s involvement, proclaiming: “This is big big big!” It also repeated

   Ladd’s materially false claim contained in Company B’s press release that the Cybersecurity

   Innovator had “sold his startup company to Intel for $7.6BB.”

          152.    This promotion and Honig’s manipulative trading on May 9 were effective in

   driving up both Company B’s trading volume and stock price: on May 6, 2016 (the last day of

   trading prior to the promotion), Company B had trading volume of 71,005 shares and a closing

   share price of $0.36. On May 9, 2016, the stock closed at $0.49 (representing an increase of 34

   percent over the prior day’s close) with trading volume of more than 10 million shares. The

   trading volume for Company B stock peaked at 109,384,614 shares on May 17, 2016 with a

   closing share price of $4.15. Company B’s market capitalization went from just over $8 million




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   on May 6, 2016 to over $95 million on May 17, 2016.

          153.    In the days immediately following the announcement of the CI Company

   acquisition, Honig, Brauser, Stetson and O’Rourke, along with Affiliate 1, pursuant to their tacit

   or explicit agreement to acquire, hold, vote, and/or dispose of their shares in concert, sold over

   9.2 million Company B shares. In order to maximize their Company B profits, Honig, Brauser,

   Stetson and O’Rourke each negotiated with Ladd from May 10 to May 12, 2016 in order to

   exercise their warrants early, giving them more shares to sell into the inflated market. Ladd

   facilitated this warrant exercise and Honig, Brauser, Stetson and O’Rourke were able to dump

   millions more shares than they otherwise could have. Ladd joined them in selling shares during

   this period, capitalizing on the false publicity he had knowingly or recklessly helped to create.

   All told, Honig, Brauser, Stetson, O’Rourke, Ladd and Affiliate 1 grossed $9.4 million from their

   May 2016 sales into the inflated market. Honig and GRQ sold 3,783,001 Company B shares

   between May 9 and May 20, 2016 for proceeds of $2,393,915.52. Ladd sold 852,863 Company

   B shares between May 9 and May 31, 2016 for proceeds of $1,184,662.68, including shares he

   sold through his own accounts and through an account in the name of his Relatives.

          154.    After successfully capitalizing on the promotions, Ladd purported to clarify his

   own false statements that had worked to create the market enthusiasm and that had pushed up the

   price and trading volume of Company B’s stock. In its May 23, 2016 Form 10-Q, signed by

   Ladd and filed with the Commission, Company B stated: “[The Cybersecurity Innovator]

   founded [Cybersecurity Innovator’s company] in 1987, which was acquired by Intel Corporation

   for $7.6 billion in 2010.” While the new disclosure omitted the prior false claim that the

   Cybersecurity Innovator had sold his company to Intel, the May 23 Form 10-Q failed to

   acknowledge the prior misstatement in the Company’s May 9, 2016 Form 8-K and press release,




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   and failed to disclose that the Cybersecurity Innovator had left his company years prior to its

   multi-billion dollar sale to Intel. In any event, the purportedly clarifying disclosure came well

   after the Honig-associated investors and Ladd himself had already profited from the misleading

   press release. By that time, Honig (GRQ), Brauser (Grander), Stetson (SCI), O’Rourke (ATG)

   and Ladd, had already sold their Company B shares into the inflated market.

                  5.      False Statements by Honig, Brauser, Stetson, O’Rourke and Ladd in
                          Beneficial Ownership Reports and Company B Filings
          155.    Although they were acting in concert, and pursuant to an agreement to do so,

   Honig, Brauser, Stetson and O’Rourke knowingly or recklessly concealed their concerted efforts

   from the investing public. Ladd, with full knowledge of both the Honig investors’ stock

   ownership and their collective direction of the management and policies of Company B, also

   kept their control a secret, signing Company B public filings that did not disclose the full extent

   of their ownership or control.

          156.    After the October 2015 Company B Financing closed, Honig, Brauser, Stetson

   and O’Rourke collectively owned at least 1.7 million shares, or over 12% of the shares

   outstanding (as reported in Company B’s August 14, 2015 Form 10-Q) after the issuance, and

   their obligation to file a Schedule 13D under Exchange Act Section 13(d) arose as of October 8,

   2015. Moreover, Honig, Brauser, Stetson and O’Rourke each had warrants to obtain a total of an

   additional 3.4 million Company B shares, which, if they were all converted, would have resulted

   in Honig, Brauser, Stetson and O’Rourke collectively controlling at least 36% of the total

   common shares outstanding at that time.

          157.    Honig, Brauser, Stetson and O’Rourke collectively exercised control over Ladd

   and the management and policies of Company B. For example, on October 1, 2015, Ladd asked

   for and received Honig’s direction with respect to how to disclose the Honig group’s stock



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   acquisitions to the NYSE-MKT exchange. O’Rourke, at Honig’s direction, negotiated on

   Company B’s behalf the terms on which the Cybersecurity Innovator would sell CI Company to

   Company B. Indeed, in emails after the CI Company acquisition, Honig freely accepted credit

   for his role in the transaction. On May 12, 2016, for example, Honig received an email from an

   investment firm congratulating him on the recent transaction: “You’re invovlved [sic] with

   [Company B]? Impressive!” Honig responded that he was the “[l]argest shareholder, funder and

   [had the] relationship with [the Cybersecurity Innovator].” In early August 2016, Honig

   celebrated his undisclosed role at Company B in a chat conversation with Stetson: “its great in

   [Company B] because we are behind the scenes.”

          158.    Brauser, too, sought to keep his involvement behind the scenes, going so far as to

   lie about his relationship to Honig and Company B in a published interview. In a May 18, 2016

   article in Business Insider, the author quoted Brauser and reported: “‘I had no idea whatsoever

   about any deal at [Company B] or with [the Cybersecurity Innovator] . . . [G]ot lucky I guess’ as

   to the moves at [Company B] since he has never had any contact with anyone at [Company B] or

   Ladd himself . . . [and] has had no contact with Honing [sic] regarding [Company B] or

   anything else in some time.” In fact, as Brauser knew, Brauser had been in contact with Ladd by

   email on multiple occasions, including on October 1, 2015 in connection with Grander’s

   investment in the October 2015 financing, and in connection with his attempt to convert his

   warrants into more Company B shares on May 10, 2016. And while the CI Company transaction

   was being negotiated, Brauser was in frequent contact with Honig about their co-investments, by

   phone and by email. Indeed, in a May 10, 2016 email between Brauser and Honig, Honig

   acknowledged his understanding that Brauser had recently sold $1,000,000 in Company B shares

   following the May 2016 promotion.




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          159.    Because they acted in concert to control the management and policies of

   Company B and pursuant to an agreement to acquire, hold, vote, and/or dispose of Company B

   shares in coordination with one another, each of Honig, Brauser, Stetson and O’Rourke was a

   member of a group and considered a single “person” under Exchange Act Section 13(d)(3). As

   group members, each individual was required to satisfy the group’s reporting obligation by

   making a Schedule 13D filing disclosing that each was a member of the group and disclosing the

   number of shares each of them beneficially owned. However, none of Honig, Brauser, Stetson

   or O’Rourke ever made a Schedule 13D filing disclosing their respective ownership or

   membership in a group, acting intentionally to conceal from the market the size of their group’s

   position and their coordination and thereby to deceive investors.

          160.    Instead, on October 19, 2015, Honig filed a Schedule 13G, claiming only his own

   6.59% beneficial ownership and falsely stating that the securities “are not held for the purpose of

   or with the effect of changing or influencing the control of the issuer” – a representation he

   knew, or was reckless in not knowing, to be false. Indeed, because Honig and his associates

   exercised control over Company B’s management and policies – as Honig candidly

   acknowledged in emails – he was disqualified from making a 13G filing. In February 2016,

   Honig filed an amended Schedule 13G disclosing an ownership percentage of 9.1%. Brauser

   filed a Schedule 13G on May 4, 2016, in which he claimed 7.4 % beneficial ownership via his

   entity Grander. In each of these filings, Honig and Brauser also falsely claimed that they were

   passive investors without any intention to influence or change control of the company and

   omitted the fact that each was a member of a group.

          161.    By October 2015, if not before then, Honig, Brauser, Stetson and O’Rourke all

   understood what their respective reporting obligations were under Exchange Act Section 13(d),




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   and that the information included in such filings was material to investors. Indeed, a mere seven

   months earlier, in February 2015, Honig and Brauser had filed a lawsuit in Harris County, Texas,

   alleging that counter-parties had violated Exchange Act Section 13(d) by failing to make

   requisite 13G filings for the more than 5% position they controlled as a group, and that that

   failure constituted a material omission that defrauded Honig and Brauser in their purchase of

   securities from those defendants. In their Complaint in that lawsuit, Brauser v. Sanders Morris

   Harris, Inc., No. 2015-11227 (Tex. Dist. Ct.) (filed February 26, 2015), Honig and Brauser

   alleged:

              [I]nformation regarding a significant beneficial ownership interest in [the issuer’s
              stock] was material. It is the kind of information that the SEC requires to be disclosed
              in connection with solicitations for mergers and in various other filings (e.g.,
              Schedules 13D and/or 13G) precisely because of its materiality. Defendants’ failure to
              disclose to plaintiffs their significant beneficial ownership interest in [the issuer] . . . is
              a material and materially misleading omission. . . . Plaintiffs would not have
              purchased the Shares if they had known the undisclosed facts that [defendants]
              controlled such a large interest in [the issuer’s] stock. . . .

          162.    In email exchanges leading up to its filing, Honig and Brauser discussed drafts of

   the Complaint, and circulated them to Stetson and O’Rourke – non-parties to the lawsuit –

   seeking their comments. Honig and Brauser also discussed with Stetson and O’Rourke each of

   their respective understandings of the requirements imposed by Exchange Act Section 13(d).

   Nonetheless, and despite their understanding of what Section 13(d) required them to disclose and

   how and why those disclosures were material to investors, neither Honig, nor Brauser, Stetson or

   O’Rourke made the requisite filings with respect to Company B.

          163.    Nor did Ladd ensure that Company B made the required disclosure of Honig’s,

   Brauser’s, Stetson’s and O’Rourke’s group stock ownership in Company B’s filings with the

   Commission. On November 6, 2015, Company B filed a Form S-1 registration statement with

   the Commission – signed by Ladd as its President, CEO, and a Director – for the 8,400,000



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   Company B shares issued in the October 2015 Company B Financing. The Form S-1 purported

   to list “each person known by [Company B] to be the beneficial owner of more than 5% of the

   outstanding Common stock” of Company B, as it was required to pursuant to Item 403 of

   Regulation S-K. Although the table listed Honig as a 5% beneficial owner, it failed to disclose

   the combined group ownership of Honig, Brauser, Stetson and O’Rourke (or their entities).

   Ladd knew that Honig, Brauser, Stetson and O’Rourke were working together as a group, but he

   signed the November 2015 Form S-1 without disclosing the Honig group’s collective beneficial

   ownership of Company B stock, which amounted to more than 12% of Company B’s outstanding

   stock.

            164.   Likewise, Company B’s 2015 Form 10-K, filed with the Commission on April 14,

   2016 and signed by Ladd, contained a table that purported to disclose “each person known by

   [Company B] to be the beneficial owner of more than 5% of the outstanding Common stock” of

   Company B as of April 11, 2016, also as required by Item 403 of Regulation S-K. Although the

   table disclosed Honig as a beneficial owner of 8.6%, it failed to disclose the combined group

   ownership of Honig, Brauser, Stetson and O’Rourke (or their entities). Ladd knew that Honig,

   Brauser, Stetson and O’Rourke were working together as a group, but he failed to disclose in the

   Form 10-K their group’s beneficial ownership of Company B’s stock, which amounted to more

   than 16% of Company B’s stock.

            165.   Company B’s Form S-1 and Form 10-K thus hid from Company B investors

   material information regarding potential corporate control of Company B. Such information is

   especially important to investors evaluating microcap issuers such as Company B, which are

   particularly susceptible to manipulation by undisclosed control persons.




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                  6.     Ladd’s Unregistered May 2016 Company B Stock Sales in His and His
                         Relatives’ Accounts
          166.    During the relevant period, Ladd held at least three brokerage accounts in his own

   name through which he traded Company B securities: an IRA account at TD Ameritrade that he

   opened in December 2008 (“TD IRA Account”); another TD Ameritrade account that he opened

   in January 2013 (“TD Account”); and an account at E*Trade that he opened in November 2015

   (“E*Trade Account”). On his new account application for his TD Account, Ladd disclosed that

   he was the president of Company B. Consequently, TD Ameritrade designated both Ladd’s TD

   Account and previously opened TD IRA Account as associated with an “affiliate” of Company

   B. However, on his new account application for his E*Trade Account, filled out in November

   2015, Ladd hid his association with Company B, falsely describing his “Occupation” as

   “Retired,” and falsely answering “No” to the question, “Director, or policy-making office of

   publicly-owned company?” In November 2015, Ladd transferred all of his Company B stock

   from his TD Account to his newly-opened E*Trade Account, telling TD Ameritrade customer

   service personnel on November 25, 2015 that he was doing so because he “did not like SEC 144

   form handling” at TD Ameritrade.

          167.    Ladd’s Relatives held a separate brokerage account at TD Ameritrade in their

   names (“Ladd’s Relatives’ Account”), opened on January 2, 2015. On June 9, 2015, Ladd and

   his Relatives executed a Full Trading Authorization for the Ladd’s Relatives’ Account, giving

   Ladd full trading authority in the account and appointing him as his Relatives’ agent and

   “attorney-in-fact for the purchase and sale of securities.” On that Trading Authorization, Ladd

   and his Relatives also disclosed Ladd’s affiliation to Company B (as TD Ameritrade already

   knew from the new account form Ladd had filled out for his own TD Account). As a result, TD

   Ameritrade designated the Ladd’s Relatives’ Account as having “affiliate” status with respect to



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   trading in Company B securities.

          168.    Between May 9 and May 12, 2016, Ladd sold 435,000 Company B shares in his

   E*Trade Account, for proceeds of $414,448.39. During that same week, on May 12, 2016, Ladd

   sold an additional 340,000 Company B shares in the Ladd’s Relatives’ Account, for additional

   proceeds of $551,979.44. Thus, during the time period May 9-12, 2016, Ladd sold 775,000

   shares of Company B, which generated total proceeds of $966,427.83.

          169.    In addition to the proceeds of his May 2016 Company B stock sales in the

   E*Trade Account, Ladd also received a portion of the proceeds from the May 12, 2016 Company

   B stock he sold from the Ladd’s Relatives’ Account. On May 13, 2016, Relative A wrote a

   $325,000 check on Relative A’s personal bank account made payable to Ladd, which was

   deposited into Ladd’s bank account on May 18, 2016. On May 17, 2016, after the Company B

   stock sales in the Ladd’s Relatives’ Account had cleared – acting at either Ladd’s Relatives’ or

   Ladd’s direction – TD Ameritrade issued to Ladd’s Relatives a $325,000 check from the Ladd’s

   Relatives’ Account. Thus, Ladd’s Relatives transferred to Ladd $325,000 of the proceeds from

   the May 12, 2016 Company B stock sales in the Ladd’s Relatives’ Account. Ladd’s Relatives

   kept for themselves the remaining $226,979.44 from Ladd’s May 12 Company B stock sales in

   the Ladd’s Relatives’ Account.

          170.    No registration statement was in effect for any of Ladd’s May 9-12, 2016,

   Company B stock sales in the E*Trade Account or the Ladd’s Relatives’ Account, and no

   applicable exemption from registration existed. For example, Ladd could not rely upon the

   Securities Act Rule 144 “safe harbor” exemption for his May 2016 Company B stock sales

   because those sales exceeded the volume limitations of Rule 144(e).

          171.    Securities Act Rule 144(e) sets volume limitations for sales of a company’s stock




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   by its affiliates, including by its officers and directors (such as its CEO). Thus, a CEO cannot

   rely upon the Rule 144 safe harbor unless the volume of the CEO’s stock sales during any three

   month period does not exceed the greater of: (a) 1% of the company’s shares outstanding; or (b)

   the stock’s average weekly reported trading volume during the four calendar weeks preceding

   the CEO’s stock sales. Therefore, as Company B’s CEO, Ladd could not rely upon the Rule 144

   safe harbor during the time period May 9-12, 2016, if his Company B stock sales exceeded the

   greater of 180,982 shares (representing 1% of Company B’s total outstanding shares as reported

   in its then most recent filing, its April 14, 2016 Form 10-K) or 392,109 shares (representing

   Company B’s average weekly trading volume during the four weeks prior to May 9, 2016).

   Ladd well exceeded that trading volume limit. Through his combined Company B stock sales in

   his E*Trade Account and the Ladd’s Relatives’ Account from May 9-12, 2016, Ladd sold

   Company B shares that he owned, controlled, or which are aggregated for the purposes of Rule

   144(e), totaling 775,000 shares, for total sales proceeds of $966,427.83.

          172.    The following chart summarizes Ladd’s Company B stock trading from May 9-

   12, 2016, in the E*Trade Account and the Ladd’s Relatives’ Account, and the amount by which

   Ladd’s trading exceeded the Rule 144(e) volume limitation:




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              Summary of Volume Restrictions and Trading in Excess of Rule 144
                      in the E*Trade and Ladd’s Relatives’ Accounts
    Date/Totals    Company B          Account         Account           Proceeds
                   Shares Sold        Holder
    May 9, 2016    40,000             Robert B. Ladd E*TRADE            $24,766.47
                                                      Account
    May 10, 2016   120,000            Robert B. Ladd E*TRADE            $86,003.15
                                                      Account
    May 11, 2016   230,000            Robert B. Ladd E*TRADE            $233,248.97
                                                      Account
    May 12, 2016   340,000            Ladd’s          Ladd’s            $551,979.44
                                      Relatives       Relatives’
                                                      Account
    May 12, 2016   45,000             Robert B. Ladd E*TRADE            $70,429.80
                                                      Account
    Total Shares   775,000
    Sold
    Total Proceeds                                                      $966,427.83
    Excess of      382,891                                              $618,802.85
    Volume
    Limitations


          173.   During the week of May 9, 2016, due largely to Company B’s announcement of

   its pending transaction with CI Company, average trading volume in Company B stock exploded

   to approximately 31 million shares for that week. Consequently, the number of shares Ladd

   could sell pursuant to Rule 144 in the weeks beginning May 16, 2016 grew exponentially.

                 7.     Ladd’s Failure to Submit Appropriate and Accurate SEC Forms 144

          174.   Under Securities Act Rule 144(h), as CEO and a director of Company B, Ladd

   was required to file with the Commission a notification form (“Form 144”) regarding Ladd’s

   intent to sell Company B stock in reliance on Rule 144 whenever the volume of such sales

   during any three-month period exceeded 5,000 shares, or whenever such sales had an aggregate




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   sales price in excess of $50,000.3 Rule 144(h) further provides:

                  The Form 144 shall be signed by the person for whose account the
                  securities are to be sold and shall be transmitted for filing concurrently
                  with either the placing with a broker of an order to execute a sale of
                  securities in reliance upon this rule or the execution directly with a market
                  maker of such a sale. . . . The person filing the notice required by this
                  paragraph shall have a bona fide intention to sell the securities referred to
                  in the notice within a reasonable time after the filing of such notice.

   Thus, when Ladd relied upon Rule 144 for his Company B stock sales, he was required to file a

   Form 144 notifying the Commission and the NYSE-MKT of his intent to sell his Company B

   stock. The Form 144 required Ladd to state, among other things: (1) the number of shares he

   intended to sell; (2) the date of the intended sale(s); and (3) the date and amounts of any

   Company B stock sales that Ladd had made during the prior three months. The Form 144 also

   contained a bolded footer: “ATTENTION: Intentional misstatements or omission of facts

   constitute Federal Criminal Violations (See 18 U.S.C. § 1001).” Pursuant to TD Ameritrade’s

   policies and procedures, prior to making any sales of affiliate-owned stock, TD Ameritrade

   required the customer to submit a Form 144 to it, and it agreed to file the Form with the

   Commission on the customer’s behalf.

          175.    By at least May 9, 2016, Ladd understood the Company B stock held in the

   Ladd’s Relatives’ Account had been coded for “no sales without approval because of Affiliate

   status,” due to Ladd’s Relatives’ relationship to Ladd and the trading authorization the three had

   signed. On May 10, 2016, and at TD Ameritrade’s request, Ladd signed (purportedly as Relative

   B’s “attorney”) and submitted to TD Ameritrade a Form 144 stating Relative B’s intent to sell by

   May 30, 2016, 382,863 Company B shares from the Ladd’s Relatives’ Account (the “Relative


   3
          During the time period that Company B was admitted to trading on the NYSE-MKT,
   Rule 144(h) also required Ladd to transmit a copy of the Form 144 to the NYSE-MKT, and
   regarding each Form 144 alleged herein, Ladd submitted the form to TD Ameritrade.



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   B’s Form 144”). The Form 144 required Ladd to state Ladd’s Relatives’ “relationship to issuer.”

   On Relative B’s Form 144, however, Ladd falsely responded “NONE” to that question, despite

   the form’s express instruction to include “[s]uch person’s relationship to the issuer (e.g., officer,

   director, 10% stockholder, or member of immediate family of any of the foregoing)” (emphasis

   added). Moreover, notwithstanding that Ladd stated in Relative B’s Form 144 that the

   approximate date of sale would be May 30, 2016, Ladd placed his order to sell the 382,863

   Company B shares in the Ladd’s Relatives’ Account on May 12, 2016. In addition, Form 144

   requires disclosure of all sales by persons whose sales are required to be aggregated under Rule

   144(e), which, under Rule 144(e)(3)(vi), includes those who “agree to act in concert for the

   purpose of selling securities of an issuer,” as Ladd and his Relatives had agreed to do.

   Nonetheless, Ladd failed to disclose any of the sales he had made in his own E*Trade Account in

   the prior three months.

          176.    Ladd filed no Form 144 regarding his intent to sell Company B stock from May

   9-12, 2016, from either his E*Trade Account or his TD IRA Account, even though he sold a

   substantial number of shares from his E*Trade Account during the week of May 9. Two weeks

   later, however, Ladd knowingly or recklessly filed a false Form 144 regarding those sales –

   which falsely indicated that Ladd was selling that Company B stock later in May and, thus

   created the false appearance that his May 2016 Company B stock sales satisfied Rule 144(e)’s

   volume restrictions.

          177.    On or about May 25, 2016, Ladd signed and submitted to TD Ameritrade a

   second Form 144 (the “Ladd Form 144”) falsely stating his intent to sell by May 25, 2016,

   41,000 Company B shares from his TD IRA Account and 465,171 Company B shares from his

   E*Trade Account. Those statements were knowingly false, however, because Ladd already had




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   sold 435,000 Company B shares out of his E*Trade account (between May 9 and May 12, 2016),

   and he sold only 11,000 Company B shares after May 25, 2016 (from his TD IRA Account, but

   not until May 31, 2016).

          178.   The Ladd Form 144 also falsely stated the amount of Company B stock that Ladd

   had sold during the prior three months. The Ladd Form 144 disclosed Ladd’s May 12, 2016

   sales of Company B stock from the Ladd’s Relatives’ Account. However, as Ladd knew or

   recklessly disregarded, the Ladd Form 144 failed to disclose that from his E*Trade Account: (a)

   Ladd had sold 435,000 Company B shares from May 9-12, 2016; (b) Ladd had sold an additional

   25,000 Company B shares between May 16 and May 17, 2016; and (c) Ladd had sold 79,072

   shares of Company B stock between February 26 and May 3, 2016. Thus, the Ladd Form 144

   failed to disclose total Ladd sales of 539,072 Company B shares in the prior three months (which

   had generated for Ladd total sales proceeds of $512,471.78).

          179.   On or about May 31, 2016, Ladd filed a Form 4 with the Commission, in which

   he knowingly or recklessly falsely attested that he had sold a total of 157,300 Company B shares

   on May 25, 2016 for which he acknowledged beneficial ownership. As Ladd knew, he made no

   Company B stock sales on or about May 25, 2016.

          180.   By failing to file a Form 144 that accurately reflected his May 9-12, 2016,

   Company B stock sales in the E*Trade Account – combined with his false May 10 Relative B’s

   Form 144, his false May 25 Ladd Form 144, and his false May 31 Form 4 – Ladd knowingly or

   recklessly stated falsely that his May 2016 Company B stock sales were in compliance with the

   stock sale volume limitations of Securities Act Rule 144(e) when they were not.

                 8.      Ladd’s Failure to File SEC Forms 4 and the False and Misleading
                         Form 4 He Did File

          181.   Under Exchange Act Section 16(a) and Rule 16a-3 thereunder, Company B’s



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   officers (including Ladd) were required periodically to file certain forms with the Commission

   disclosing their Company B stock holdings and any of their purchases or sales of Company B stock.

   Thus, within 10 days of becoming a Company B officer, Ladd was required to file a Form 3

   disclosing all Company B stock in which he had a direct or indirect pecuniary interest. To keep that

   information current, Ladd also was required (with limited exceptions not relevant to this Complaint)

   to file Form 4 reports disclosing any Company B stock transactions that resulted in a change in

   Ladd’s beneficial ownership of Company B stock within two business days following the execution

   date of any such transaction. Finally, Ladd was required to file with the Commission an annual

   “clean up” statement on Form 5 within 45 days after Company B’s fiscal year-end to report any

   transactions or holdings that should have been reported on Forms 3 or 4 during the issuer’s most

   recent fiscal year, but were not, and any transactions eligible for deferred reporting (unless Ladd had

   previously reported all such transactions).

          182.    Ladd did not disclose most of the open market Company B stock purchases and

   sales he made in his own brokerage accounts in 2015 and 2016. Ladd filed Forms 4 on October

   7, 2015 and December 1, 2015, in which he failed to disclose over twelve open market purchases

   of Company B stock he made between August 20 and December 1, 2015. Ladd also failed to file

   the required Form 4 for any of the over twenty Company B open market purchases and sales he

   made in the E*Trade Account between December 2, 2015 and May 17, 2016 – including the

   435,000 Company B shares that Ladd sold in the E*Trade Account in the May 9-12, 2016,

   period immediately following the May 9, 2016 press release about Company B’s transaction with

   the CI Company.

          183.    After receiving a May 22, 2016 NYSE inquiry into sales of Company B stock by

   company officers, Ladd finally filed a Form 4 on May 31, 2016, but, in it, he knowingly or




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   recklessly falsely disclosed the extent of his trading. In his May 31, 2016 Form 4, Ladd

   disclosed a sale of 157,300 Company B shares on May 25, 2016, and a sale of 33,603 shares on

   May 31, 2016. Ladd made no sales at all on May 25, 2016 and the Form 4 he filed omitted the

   rest of his trading in Company B shares since December 1, 2015, the date of his prior Form 4.

                  9.     Ladd’s Failure to File Amended Schedules 13D

          184.    Under Exchange Act Section 13(d)(1), Ladd was required to file a Schedule 13D

   disclosure statement with the Commission regarding his beneficial ownership of more than 5%

   of Company B stock within 10 days of acquiring that stock and, under Exchange Act Section

   13(d)(2) and Rule 13d-2(a) thereunder, to make amended Schedule 13D filings “promptly” as

   material changes occurred in any such disclosures Ladd previously had made. An acquisition or

   disposition of 1% or more of Company B’s stock is material for purposes of Rule 13d-2.

          185.    In 2012, Ladd reported to the Commission that he possessed beneficial ownership

   of over 30% of Company B’s stock in a Schedule 13D/A filed January 10, 2012. However, Ladd

   has filed no amendments to his Schedule 13D filings since 2012. Company B’s 2015 Form 10-K

   (filed April 14, 2016) stated that Ladd beneficially owned 5% of Company B’s stock as of April

   11, 2016. However, Ladd did not file a Schedule 13D/A to disclose any of the changes in his

   beneficial ownership. Nor did he file a Schedule 13D/A when he sold 435,000 Company B

   shares between May 9 and May 12, 2016, an amount that constituted 2.6% of Company B’s

   outstanding shares, as reported in its April 14, 2016 Form 10-K.

          D. The Company C Scheme

                  1.     Honig and Stetson Obtain Control of Company C

       186.       In early 2014, Honig identified a publicly traded shell company that was

unencumbered by debt, and sought an appropriate private company for purposes of a reverse merger

and pump and dump scheme. While Honig preferred “‘33 Act shells” – namely, public companies


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that would not be subject to Exchange Act Section 13(d) reporting obligations – in later years, those

shells became too expensive, and the shell he identified in early 2014 was a “‘34 Act shell,” subject

to Section 13(d) reporting.

          187.    At or about the same time as Honig identified the shell, the CEO of privately held

   Company C (“Company C’s CEO”) was looking for funding for its research and development

   efforts in cancer therapies and diagnostic products. Company C’s CEO was introduced to

   “Entity H,” a hedge fund that frequently invested alongside Honig and Brauser. Entity H

   suggested to Company C’s CEO that he turn Company C into a public company by engaging in a

   reverse merger with a public shell. Although Company C’s CEO did not know it, the public

   shell Entity H had in mind was one that Honig had identified. Company C’s CEO agreed to

   proceed with the reverse merger Entity H had suggested.

          188.    In an initial $3 million capital raise in February 2014, in connection with the

   contemplated merger with Company C, HSCI – a company Stetson falsely identified as his own

   to Company C’s CEO – invested $1 million and Entity H invested $1.7 million in return for a

   substantial position in the shell. In fact, while Stetson was the sole named managing member of

   HSCI, Honig actually directed and controlled HSCI’s investment decisions, a fact that Stetson

   did not disclose to Company C’s CEO or to the market.

          189.    Soon after Stetson had introduced HSCI as his company, however, Company C’s

   CEO learned that Honig was actually behind the HSCI investment. In approximately April 2014,

   when Honig first called up Company C’s CEO, Honig announced in words or substance: “I’m

   the owner of your company. You better do what I tell you to do.” Thereafter, Honig began

   peppering Company C’s CEO with frequent telephone calls demanding various corporate

   actions, including directing changes to the composition of the Company C Board, the




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   engagement of Issuer’s Counsel, and the retention of public relations consultants favored by

   Honig, as described below. Company C’s CEO, in need of funding for his company, took those

   calls and often acceded to Honig’s demands.

          190.    Sometimes Honig worked with Stetson to exert his influence over management.

   As early as May 18, 2014, for example, Stetson emailed Company C’s CEO to get updates on

   “IR and PR.” Stetson was referring to investor relations (“IR”) and public relations (“PR”), and

   was pressing his and Honig’s demand that Company C begin aggressively marketing itself and

   paying promoters to do so. Honig added to the discussion the topic of future financings: “[a]nd

   the money raise.”

          191.    On June 1, 2014, Brauser and Affiliate 1 each committed to make a substantial

   investment in the public shell, before the merger into Company C was finalized. As the

   ringleaders for the investor group in Company C, Honig and Stetson led the merger negotiations

   on the group’s behalf.

          192.    On July 8, 2014, Company C executed the reverse merger of the company into the

   public shell controlled by Entity H, HSCI, and, by then, Brauser and Affiliate 1 Entity. At or

   around the time the merger closed, ATG, Brauser and Affiliate 1 Entity also made investments in

   Company C. After the merger, the stake of Entity H, HSCI, Brauser, Affiliate 1 Entity and ATG

   (including conversion of all warrants) amounted to almost 48% of the authorized shares of the

   newly public Company C. The terms of the merger included granting a “Consent Right” to

   Entity H and its affiliates, by which Entity H could block or approve many kinds of transactions

   by Company C, including the issuance of additional shares, any change of control and other

   significant corporate actions.

          193.    In connection with the July 2014 reverse merger, the merger investors obtained




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   warrants that they agreed would not be exercisable until July 8, 2015. However, on September 3,

   2014, Company C agreed to allow merger investors to exercise warrants for additional Company

   C shares before the previously agreed-upon July 8, 2015 exercise date. This warrant exercise

   allowed investors to exchange warrants for shares cheaply. In connection with that exercise,

   Stetson submitted warrants on behalf of several investors, including ATG and Affiliate 1 Entity.

   In a September 15, 2014 email, Company C’s CFO asked Stetson which entities were his or

   HSCI’s affiliates. Stetson answered falsely that he was “not affiliated with any of those entities,”

   and that he “just made private sales for my warrants.”

                    2.      The Series D and Series E Financings

           194.     In March and April 2015, Honig orchestrated two private placement financings

   for Company C that would tighten Honig’s, Brauser’s, Stetson’s and O’Rourke’s control of the

   company: the Series D and Series E offerings. Honig described the deal to Stetson, Brauser and

   Investor 1 in a March 5, 2015 email, characterizing it as a “real good opportunity” that would

   allow them to “make $35 million conservatively in 4 months and our money out [in] 4 weeks. . .

   . I will trade out of it for us.”

           195.     Honig and Stetson pitched the first of these financings, the Series D financing, to

   Company C management as a way to buy out Entity H’s position and repackage the financing on

   more favorable terms to Company C.

           196.     As Company C’s CFO understood, Honig structured both financings to avoid

   disclosing his, Brauser’s, Stetson’s and O’Rourke’s holdings on Schedule 13D or 13G. Since the

   requirement to make those filings is triggered by voting control of securities, Honig insisted that

   the Series D and Series E offerings consist of preferred, convertible and non-voting shares with

   blocker provisions. Pursuant to those blocker provisions, Company C was prohibited from




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   converting any holder’s preferred shares that would give him or it more than 4.99% voting

   control of the total outstanding common shares.

          197.    Honig’s control of the financing group was clear to Company C’s management;

   indeed, when deciding whether a potential investor could take part in the March 2015 Series D

   financing round, Company C’s CEO explicitly deferred to Honig, writing in an email to Honig

   on March 19, 2015, “[h]e might be another party you might want to allow to invest along with

   the current group. Viewed this as your choice not mine. That is why I asked him to call you.”

          198.    Stetson kept up the pressure on Company C to close the financings on the terms

   he and Honig dictated. On March 10, 2015, Stetson told Company C’s CEO in an email that he

   needed to reach an understanding by the next day to proceed with the buyout of the Entity H

   notes and fund the company.

          199.    Honig and Stetson also made it a condition of the March 2015 Series D financing

   round that Company C retain Issuer’s Counsel and Issuer’s Counsel Partner after the closing –

   the law firm and partner that they had required Company A to retain, and the same law firm

   retained by Company B. Not only did Honig and Stetson insist that Issuer’s Counsel represent

   Company C, in a March 12, 2015 email to Company C’s CFO, Stetson also demanded that

   Company C set aside a year of prepaid legal fees as an additional condition to doing the deal.

          200.    Stetson managed the financing process with the investors and lawyers, as though

   he were Company C management, and told Company C management about substantive

   decisions, including, but not limited to, sending a March 18, 2015 email to Company C

   management informing them which bank would be used for a contemplated escrow agreement.

          201.    Stetson introduced Company C management to his and Honig’s chosen IR

   consultant on March 14, 2015, and at Honig’s direction, insisted that the financing include a




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   grant of 300,000 Company C shares as payment to the consultant. On March 23, 2015, Honig

   directed Stetson to engage another IR consultant for Company C, who was also granted

   Company C shares.

          202.    Honig and his associates recognized that the participation of Investor 1 was

   critical to the success of the transaction by creating the market demand necessary for them to sell

   their shares after the planned promotion. As Stetson explained in an email to Company C

   leadership on March 9, 2015, the “following of [Investor 1] is worth its weight and [sic] gold . . .

   .”

          203.    To that end, Honig again demonstrated his control over the selection of investors

   when he asked Brauser to “do [him] a favor” on April 1, 2015 and forego his participation in the

   Series E financing because, as Honig explained, “I would like to let some of our friends do it . . .

   [I]t would be best if we let [Investor 1 and Investor 1 Company and an Investor 1 Company

   executive (“Investor 1 Co. Officer”)] take their full allocation.”

          204.    At the same time, Honig and Brauser understood that public market investors

   might not want to follow Investor 1 into a company dominated by Honig and Brauser, and their

   group. Thus, like Honig’s decision to conceal his initial investment by making it through HSCI,

   Honig and Brauser determined to disguise the full extent of their participation in the financings

   by funneling some of their share acquisitions through a company they co-owned, Southern

   Biotech. Honig informed Stetson and Brauser in early March 2015, “I would like us to do [the

   investment] through Southern Biotech.”

          205.    In an email to Stetson and Brauser on March 13, 2015, Honig laid out a more

   detailed list of investors as well as the proposed investment amount and the method of

   investment for both the Series D and Series E financings: “Southern biotech will invest 3 million




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   to purchase [Entity H’s] notes – 1 million each,” and “[Investor 1] is going to lead pipe [private

   investment in public equity] for 1 million at .75 cents.”

          206.    Issuer’s Counsel also understood the importance of keeping Honig’s and

   Brauser’s investment through Southern Biotech undisclosed. Right before the closing of the

   Series D financing, different counsel involved in the transaction sent proposed Form 8-K

   language to Issuer’s Counsel (which was not yet counsel to Company C and was acting as

   placement agent’s counsel) in which Company C’s then-counsel named Southern Biotech as an

   investor in a footnote. Immediately, on March 25, 2015, Issuer’s Counsel Partner and another

   lawyer from Issuer’s Counsel wrote back that “[n]o stockholder [investor] should be named.”

   Further, at Stetson’s and Honig’s direction, Issuer’s Counsel changed the beneficial ownership

   blocker requirement to 2.49% to create an artificial and deceptive “cap” on the amount of

   common stock that could be held at one time. Stetson explained in a March 24, 2015 email to

   Company C’s CFO that the requirement was “due to Barry being the beneficial owner of both

   GRQ [] and Southern Bio.” While that 2.49% cap prevented GRQ and Southern Biotech from

   collectively owning more than 5%, it did nothing to prevent their aggregate group ownership

   with other associates from exceeding 5% – the reporting threshold – even if their individual

   common stock ownership was kept to 2.49% or below.

          207.    In an April 2015 email to his Board, Company C’s CEO detailed the demands of

   the Honig investors, including that Investor 1 Co. Officer be granted a lucrative consulting

   agreement, and that a new board member, satisfactory to Investor 1 Co. Officer, be appointed at

   a later date. The Board capitulated and pursuant to the consulting agreement, Investor 1 Co.

   Officer was granted 200,000 Company C shares – worth more than $400,000 at the time – in

   exchange for his services. In fact, Investor 1 Co. Officer never provided any services to




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   Company C.

          208.    The Series D financing closed in late March 2015 and included a buyout of Entity

   H’s notes, including the Consent Right, at a favorable purchase price to the investors who

   purchased the notes. The investors who purchased the notes included various entities owned and

   controlled by Defendants Honig, Brauser, Stetson and O’Rourke: HSCI (Honig and Stetson),

   GRQ (Honig), Grander (Brauser) and ATG (O’Rourke). After this transaction closed, Company

   C had 5,827,327 shares of common stock outstanding, and the Series D investors had preferred

   shares convertible into over 23,764,700 shares of common stock. Southern Biotech held only

   145,000 common stock shares at the time, but had conversion rights to as many as 13,376,382

   common shares – more than twice as many common shares than Company C had outstanding at

   the time of the financing.

          209.    The Series E financing, which closed April 6, 2015, included warrants, and raised

   $12 million for Company C on terms highly favorable to Investor 1, Investor 1 Trust and

   Investor 1 Company. Honig and his associates managed the Investor 1, Investor 1 Trust and

   Investor 1 Company investments through the Series E financing. For example, Investor 1

   Company’s investment documentation was transmitted to and discussed with Stetson and

   Brauser rather than any individuals at Company C, reflecting the fact that Honig and his co-

   investors were orchestrating the deal rather than Company C itself.

          210.    Investor 1’s participation gave Honig, Brauser, Stetson and O’Rourke leverage in

   negotiating with Company C, including in solidifying the group’s control over Company C’s

   board. When negotiating the final terms of the Series E financing, including Investor 1

   Company’s right to designate replacement board members, Stetson sought reassurance from

   Issuer’s Counsel Partner in an April 3, 2015 email, asking: “Are you comfortable that we will




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   get control of the board with this language?”

          211.    After the financings closed, Honig attempted to further exert his control over

   Company C. For example, Honig spoke with Company C’s CEO about changing the

   composition of the company’s Board and suggested a specific individual as a candidate. After

   Company C’s CEO interviewed the candidate, Issuer’s Counsel Partner sent the candidate a letter

   containing the signature line of Company C’s CEO inviting him to join the Board on April 1,

   2015. When Company C’s CEO learned of the offer, he contacted Issuer’s Counsel Partner in an

   April 14, 2015 email and instructed him to rescind the offer because it had not been authorized

   by the Board. Issuer’s Counsel Partner agreed to do so, explaining to Company C’s CEO that he

   had been following Honig’s directions in sending the offer letter on behalf of Company C’s

   CEO.

                  3.     The Company C Pump and Dump in April 2015

          212.    One of the goals of the private placement financings, as Honig, Brauser, Stetson

   and O’Rourke knew, was to generate market interest and boost trading volume in Company C

   stock in preparation for a planned stock promotion. On April 3, 2015, O’Rourke, acting at

   Honig’s direction, circulated a press release (with input from Company C’s CEO, Honig and

   Brauser) announcing the $12 million private placement in which Investor 1 and his entities had

   participated, drawing on Investor 1’s reputation among retail investors as a successful biopharma

   investor.

          213.    Honig, with the knowledge of Brauser and Stetson, then directed O’Rourke to

   write a promotional article, which O’Rourke published under the pseudonym “Wall Street

   Advisors” on the Seeking Alpha website on April 8, 2015 at 11:13 a.m. The article, titled

   “[Investor 1 Company] Spots Another Overlooked Opportunity in [Company C],” highlighted




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   Investor 1 Company’s and Investor 1’s investment in Company C, and was designed to inspire

   Investor 1’s retail investor devotees to follow his lead and buy Company C stock. Despite his

   involvement in facilitating the Company C financing and his extensive business relationships

   with Honig, Brauser, Investor 1 and Stetson, in his article, O’Rourke knowingly and falsely

   claimed that “[t]he author has no business relationship with [Company C].” He also knowingly

   and falsely claimed that he was “not receiving compensation for [writing the article].”

          214.     Anticipating the release of O’Rourke’s Seeking Alpha article, ATG and

   O’Rourke engaged in early trading of Company C shares on April 8, 2015 with the intention of

   creating a false appearance of market interest in the stock. That trading included at least one

   matched trade, with a Honig associate submitting the buy order and ATG submitting the sell

   order for the same price at 9:38 a.m. The share price of Company C opened that day at $3.14

   and reached $3.73 in the minutes before the promotional article was released.

          215.    The promotional campaign was successful. The trading volume of Company C

   shares rose almost 7500% from 8,833 shares on April 2, 2015 to 667,454 shares on April 6,

   2015, following the announcement of the Series E private placement involving Investor 1. The

   trading volume further increased to 858,709 on April 9, 2015, the day after O’Rourke’s article

   was published. Company C’s share price went from a closing price of $1.91 on April 1, 2015 to

   a closing price of $4.30 on April 9, 2015, increasing the company’s market capitalization by $23

   million. Honig and his affiliates, acting pursuant to their agreement to acquire, hold, vote and/or

   dispose of their Company C shares in concert, sold shares into the market from April 6 to June

   30, 2015 for total proceeds of over $5.5 million. HSCI, controlled by Stetson and Honig, sold

   1,080,379 Company C shares between April 6 and June 30, 2015 for proceeds of $3,607,248.91.




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                  4.      The Company C Pump and Dump in June/July 2015

          216.    In June 2015, when the market for Company C shares had cooled from over $4

   per share to closing prices hovering just above $2 per share, O’Rourke recruited Ford to publish

   another Company C tout on Ford’s blog. On July 1, 2015, Ford published an article titled

   “[Company C]: Near-Term Catalysts Could Push Shares from $2 to over $5.” The article

   contained materially false statements (as Honig, Brauser, Stetson and O’Rourke knew, or were

   reckless in not knowing) including that a licensing deal was imminent, when it was not, and that

   there were near-term therapy development events that could take the share price to $5, when in

   fact clinical trials were only in early stages. As before, although Honig compensated Ford for

   writing the blog post, Ford did not disclose that he had been paid.

          217.    Ford’s article had the desired impact on the market: Company C trading volume

   increased from 227,182 shares on June 30, 2015 to 798,213 shares on July 2, 2015. Likewise,

   Company C’s share price went from a closing price of $2.32 on June 30, 2015 to $2.71 on July 2,

   2015. Pursuant to their agreement to acquire, hold, vote and/or dispose of their shares in concert,

   Honig and his affiliates sold shares into the market from July 1 to December 31, 2015 for

   proceeds of over $2.7 million. HSCI, controlled by Stetson and Honig, sold 682,539 Company C

   shares between July 1 and December 7, 2015 for proceeds of $1,525,588.49.

          218.    Honig and Stetson thereafter continued to invest in Company C and conferred

   benefits on members of their group and directed critical business decisions for Company C. For

   example, on more than one occasion, Honig or Stetson directed Company C’s CEO to appoint

   Honig’s candidate to Company C’s board. And on August 15, 2016, at Honig’s and Stetson’s

   direction, as a condition to HSCI providing additional financing to Company C, HSCI and

   Company C’s CEO executed a letter agreement requiring Company C to hire the public relations




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   firm that Honig and Stetson had selected. Honig even prevailed on Company C to pay Affiliate

   1 Entity a six-figure “Investor Due Diligence” fee in August 2016.

                  5.     False Beneficial Ownership Reports by Honig, Brauser, Stetson and
                         O’Rourke

          219.    Given the agreement among Honig, Brauser, Stetson and O’Rourke to acquire,

   hold, vote and/or dispose of their Company C shares in concert; the group’s direction of

   Company C management and policies; and their combined share ownership, all of the members

   of the group were required to make Schedule 13D filings that they did not make. They did not

   make the appropriate filings so that the investing public would not discover their control, much

   less the extent of their control, over Company C, and to obscure from investors that they were

   positioning themselves for a pump-and-dump scheme.

          220.    By the end of April 2015 after the closing of the private placement financings,

   Stetson, HSCI, Brauser (through Grander) and O’Rourke (through ATG) all had substantial

   deposits of Company C shares in their brokerage accounts. Therefore, they were all individually

   obligated to make a Schedule 13D filing, disclosing their own holdings and that they were

   members of the group because they were acting together for the purpose of acquiring, holding,

   voting and/or disposing of Company C shares, and collectively owned greater than 5% of

   Company C’s outstanding shares.

          221.    Other Defendants who invested in Company C also improperly made Schedule

   13G filings, by which they falsely represented themselves as passive investors, and also failed to

   disclose their membership in the group, in violation of disclosure requirements. For example,

   Honig filed a Schedule 13G on February 17, 2017 disclosing only his 6.22% ownership through

   GRQ; Stetson filed a Schedule 13G on September 19, 2017, disclosing only his 5.64% (nominal)

   ownership through HSCI; Brauser filed a Schedule 13G on February 2, 2017, disclosing only his



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   5.44% ownership through Grander. Each of these Defendants should have made Schedule 13D

   filings because they were not passive investors, and each should have disclosed the existence of,

   and membership in, a group. Nor were the eventual Schedule 13D filings made by Stetson on

   February 12, 2018, Honig on February 13, 2018, and a Schedule 13D/A filed by Honig on

   February 16, 2018 (all filed after they became aware of a pending regulatory investigation),

   compliant with the federal securities laws since none of them disclosed the existence of a group

   or their membership in it.

                                   FIRST CLAIM FOR RELIEF
                   Violations of Section 10(b) of the Exchange Act and Rule 10b-5
                              (Against Honig, GRQ, HSCI and Maza)

          222.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          223.    By engaging in the acts and conduct described in this Complaint, Defendants

   Honig, GRQ, HSCI and Maza, with scienter, directly or indirectly, singly or in concert, by use of

   the means or instruments of transportation or communication in interstate commerce, or of the

   mails, or of the facilities of a national securities exchange, in connection with the purchase or

   sale of Company A, Company B and/or Company C securities, have: (a) employed devices,

   schemes, or artifices to defraud; (b) made untrue statements of material facts or omitted to state

   material facts necessary in order to make the statements made, in light of the circumstances

   under which they were made, not misleading; and/or (c) engaged in acts, practices, or courses of

   business which operated or would operate as a fraud or deceit upon any person.

          224.    Honig (acting individually and/or through the entities he controlled, including

   GRQ and HSCI, and pursuant to tacit or explicit agreements with Brauser, Stetson, O’Rourke

   and other affiliates to acquire, hold, vote and/or dispose of shares they acquired in Company A,




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   Company B and Company C in coordination with one another) violated Exchange Act Section

   10(b) and Rule 10b-5 thereunder by, among other things, directly or indirectly, with scienter:

   obtaining and exercising undisclosed control of the management and policies of Company A,

   Company B and Company C; paying undisclosed compensation to writers and bloggers to write

   enthusiastic and deceptive articles on each issuer to artificially boost trading volume and stock

   price; and selling shares of each company into the market at artificially high prices. Honig

   further violated Exchange Act Section 10(b) and Rule 10b-5 thereunder by engaging in

   manipulative trading in the securities of Company A and Company B. With respect to Company

   A, Honig further violated Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by, among

   other things, directly or indirectly, knowingly or recklessly making materially false statements to

   brokers and submitting materially false attorney opinion letters to transfer agents, relating to his

   relationship to Company A. With respect to Company B, Honig further violated Exchange Act

   Section 10(b) and Rule 10b-5(b) thereunder by knowingly or recklessly making materially false

   and misleading Schedule 13G filings, concealing both his control over Company B’s

   management and policies, as well as his membership in a group with Brauser, Stetson and

   O’Rourke, and other affiliates, pursuant to their tacit or explicit agreement to acquire, hold, vote

   and/or dispose of their shares in coordination with one another. With respect to Company C,

   Honig further violated Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by knowingly

   or recklessly making both a materially false and misleading Schedule 13G filing (by which he

   concealed his control over Company C’s management and policies as well as his membership in

   a group with Brauser, Stetson, O’Rourke, and offer affiliates, pursuant to their agreement to

   acquire, hold, vote and/or dispose of their shares in coordination with one another), and a

   materially false and misleading Schedule 13D filing (by which he concealed his membership in a




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   group with Brauser, Stetson, O’Rourke, and offer affiliates, pursuant to their agreement to

   acquire, hold, vote and/or dispose of their shares in coordination with one another) Honig’s

   intentional or reckless failure to make timely and appropriate filings under Exchange Act Section

   13(d) with respect to his and his group’s holdings of Company B and Company C shares also

   violated Exchange Act Section 10(b) and Rules 10b-5(a) and (c) as material omissions that

   facilitated his scheme to defraud investors about his and his group’s control of the management

   and policies of, and the magnitude of their individual and collective investment in, both

   companies.

          225.    Maza, pursuant to a tacit or explicit agreement with Honig, Brauser, Stetson and

   O’Rourke, with respect to Company A, violated Exchange Act Section 10(b) and Rule 10b-5

   thereunder by intentionally or recklessly omitting from Company A filings with the Commission

   the true extent of the stock ownership of Honig, Brauser, Stetson, O’Rourke and other affiliates,

   and their collective control over Company A’s management and policies. Maza further violated

   Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by knowingly or recklessly

   submitting materially false statements to Company A’s transfer agent about Honig’s relationship

   to Company A in connection with Honig’s preparation to sell his Company A shares.

          226.    By reason of the foregoing, Honig, GRQ, HSCI and Maza, directly or indirectly,

   singly or in concert, violated Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule

   10b-5 thereunder [17 C.F.R. § 240.10b-5].

                                 SECOND CLAIM FOR RELIEF
            Violations of Section 10(b) of the Exchange Act and Rules 10b-5(a) and (c)
                 (Against Brauser, Stetson, O’Rourke, Grander, SCI and ATG)

          227.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.




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          228.    By engaging in the acts and conduct described in this Complaint, Defendants

   Brauser, Stetson, O’Rourke, Grander, SCI and ATG, with scienter, directly or indirectly, singly

   or in concert, by use of the means or instruments of transportation or communication in interstate

   commerce, or of the mails, or of the facilities of a national securities exchange, in connection

   with the purchase or sale of Company A, Company B and/or Company C securities, have: (a)

   employed devices, schemes, or artifices to defraud; and/or (b) engaged in acts, practices, or

   courses of business which operated or would operate as a fraud or deceit upon any person.

          229.    Brauser (acting individually and/or through the entities he controlled, including

   Grander, and pursuant to tacit or explicit agreements with Honig, Stetson, O’Rourke and other

   affiliates to acquire, hold, vote and/or dispose of shares they acquired in Company A, Company

   B and Company C in coordination with one another) violated Exchange Act Section 10(b) and

   Rules 10b-5(a) and (c) thereunder by, among other things, directly or indirectly, with scienter:

   obtaining and exercising undisclosed control of the management and policies of Company A,

   Company B and Company C; and selling shares of Company A, Company B and Company C

   into the market into trading volume and at prices he knew or was reckless in not knowing were

   artificially inflated by promotional articles that Honig had directly or indirectly secretly paid for

   and orchestrated. Brauser’s intentional or reckless failure to make timely and appropriate filings

   under Exchange Act Section 13(d) with respect to his and his group’s holdings of Company B

   and Company C shares also violated Exchange Act Section 10(b) and Rules 10b-5(a) and (c) as

   material omissions that facilitated his scheme to defraud investors about his and his group’s

   control of the management and policies of, and the magnitude of their individual and collective

   investment in, both companies.

          230.    Stetson (acting individually and/or through the entities he ostensibly and actually




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   controlled, including SCI and HSCI, and pursuant to tacit or explicit agreements with Honig,

   Brauser, O’Rourke and other affiliates to acquire, hold, vote and/or dispose of shares they

   acquired in Company A, Company B and Company C in coordination with one another) violated

   Exchange Act Section 10(b) and Rules 10b-5(a) and (c) thereunder by, among other things,

   directly or indirectly, with scienter: obtaining and exercising undisclosed control of the

   management and policies of Company A, Company B and Company C; paying undisclosed

   compensation to writers and bloggers to write enthusiastic and deceptive articles on each issuer

   to artificially boost trading volume and stock price; and selling shares of each company into the

   market at artificially high prices. Stetson’s intentional or reckless failure to make timely and

   appropriate filings under Exchange Act Section 13(d) with respect to his and his group’s

   holdings of Company B and Company C shares also violated Exchange Act Section 10(b) and

   Rules 10b-5(a) and (c) as material omissions that facilitated his scheme to defraud investors

   about his and his group’s control of the management and policies of, and the magnitude of their

   individual and collective investment in, both companies.

          231.    O’Rourke (acting individually and/or through the entities he controlled, including

   ATG, and pursuant to tacit or explicit agreements with Honig, Brauser, Stetson and other

   affiliates to acquire, hold, vote and/or dispose of shares they acquired in Company A, Company

   B and Company C in coordination with one another) violated Exchange Act Section 10(b) and

   Rules 10b-5(a) and (c) thereunder by, among other things, directly or indirectly, with scienter:

   obtaining and exercising undisclosed control of the management and policies of Company A,

   Company B and Company C; paying undisclosed compensation to writers and bloggers to write

   enthusiastic and deceptive articles on each issuer to artificially boost trading volume and stock

   price, and, on at least one occasion, writing and publishing his own materially false and




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   misleading article about Company C; and selling shares of each company into the market at

   artificially high prices. O’Rourke’s intentional or reckless failure to make timely and appropriate

   filings under Exchange Act Section 13(d) with respect to his and his group’s holdings of

   Company B and Company C shares also violated Exchange Act Section 10(b) and Rules 10b-

   5(a) and (c) as material omissions that facilitated his scheme to defraud investors about his and

   his group’s control of the management and policies of, and the magnitude of their individual and

   collective investment in, both companies.

          232.    By reason of the foregoing, Brauser, Stetson, O’Rourke, Grander, SCI and ATG

   directly or indirectly, singly or in concert, violated Section 10(b) of the Exchange Act [15 U.S.C.

   § 78j(b)] and Rules 10b-5(a) and (c) thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)].

                                   THIRD CLAIM FOR RELIEF
                        Violations of Section 17(a)(1)-(3) of the Securities Act
                              (Against Honig, GRQ, HSCI and Maza)

          233.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

       234.       By engaging in the acts and conduct described in this Complaint, Defendants

Honig, GRQ, HSCI and Maza, directly or indirectly, singly or in concert, by use of the means or

instruments of transportation or communication in interstate commerce, in the offer or sale of

Company A, Company B, and/or Company C securities, have: (a) with scienter, employed devices,

schemes, and artifices to defraud; (b) knowingly, recklessly or negligently obtained money or

property by means of any untrue statements of a material fact or omitted to state a material fact

necessary in order to make the statements made, in the light of the circumstances under which they

were made, not misleading; or (c) knowingly, recklessly or negligently engaged in transactions,

practices, or courses of business which operated or would operate as a fraud or deceit upon




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purchasers of securities of Company A, Company B and/or Company C.

          235.    Honig (acting individually and/or through the entities he controlled, including

   GRQ and HSCI, and pursuant to tacit or explicit agreements with Brauser, Stetson, O’Rourke

   and other affiliates to acquire, hold, vote and/or dispose of shares they acquired in Company A,

   Company B and Company C in coordination with one another) violated Securities Act Sections

   17(a)(1) and (a)(3) by, among other things, directly or indirectly, with scienter: obtaining and

   exercising undisclosed control of the management and policies of Company A, Company B and

   Company C; paying undisclosed compensation to writers and bloggers to write enthusiastic and

   deceptive articles on each issuer to artificially boost trading volume and stock price; and selling

   shares of each company into the market at artificially high prices. Honig further violated

   Securities Act Sections 17(a)(1) and (a)(3) by engaging in manipulative trading in the securities

   of Company A and Company B. With respect to Company A, Honig also violated Securities Act

   Sections 17(a)(1), (a)(2) and (a)(3) by, among other things, directly or indirectly, knowingly or

   recklessly, making materially false statements to brokers, and knowingly or recklessly

   submitting materially false attorney opinion letters to transfer agents, relating to his relationship

   to Company A, and subsequently sold shares in Company A by means of those false statements.

   With respect to Company B, Honig further violated Securities Act Sections 17(a)(1), (a)(2) and

   (a)(3) by knowingly or recklessly making materially false and misleading Schedule 13G filings,

   concealing both his control over Company B’s management and policies, as well as his

   membership in a group with Brauser, Stetson, O’Rourke and other affiliates, pursuant to their

   agreement to acquire, hold, vote and/or dispose of their shares in coordination with one another.

   With respect to Company C, Honig violated Securities Act Sections 17(a)(1), (a)(2) and (a)(3) by

   knowingly or recklessly making both a materially false and misleading Schedule 13G filing, and




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   materially false and misleading Schedule 13D filings, concealing (with respect to his Schedule

   13G filings) his control over Company C’s management and policies, and (with respect to his

   Schedule 13D and 13G filings) his membership in a group with Brauser, Stetson, O’Rourke and

   other affiliates, pursuant to their agreement to acquire, hold, vote and/or dispose of their shares in

   coordination with one another. By means of Honig’s false and misleading filings under

   Exchange Act Section 13(d) with respect to his stock ownership of Company B and Company C,

   Honig was able to acquire additional shares of both companies, and was able to sell his shares in

   the dump into artificially inflated trading volume and stock price. Alternatively, Honig violated

   Securities Act Sections 17(a)(2) and (a)(3) by failing to use the degree of care in this conduct

   that a reasonably careful person would use under like circumstances. Honig’s intentional or

   reckless failure to make timely and appropriate filings under Exchange Act Section 13(d) with

   respect to his and his group’s holdings of Company B and Company C shares also violated

   Securities Act Sections 17(a)(1) and (a)(3) as material omissions that facilitated his scheme to

   defraud investors about his and his group’s control of the management and policies of, and the

   magnitude of their individual and collective investment in, both companies. Alternatively,

   Honig violated Securities Act Section 17(a)(3) by failing to use the degree of care in this conduct

   that a reasonably careful person would use under like circumstances.

          236.    Maza, pursuant to a tacit or explicit agreement with Honig, Brauser, Stetson and

   O’Rourke, with respect to Company A, violated Securities Act Sections 17(a)(1), (a)(2) and

   (a)(3) by intentionally or recklessly omitting from Company A filings with the Commission the

   true extent of the stock ownership of Honig, Brauser, Stetson, O’Rourke and other affiliates, and

   their collective control over Company A’s management and policies. Maza further violated

   Securities Act Sections 17(a)(1), (a)(2) and (a)(3) by knowingly or recklessly submitting




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   materially false statements to Company A’s transfer agent about Honig’s relationship to

   Company A in connection with Honig’s efforts to remove the restrictive legends from his

   Company A shares, and Honig subsequently sold shares in Company A by means of those false

   statements. Alternatively, Maza violated Securities Act Sections 17(a)(2) and (a)(3) by failing to

   use the degree of care in this conduct that a reasonably careful person would use under like

   circumstances.

           237.     By reason of the foregoing, Honig, GRQ, HSCI and Maza, directly or indirectly,

   singly or in concert, violated Sections 17(a)(1)-(3) of the Securities Act [15 U.S.C. §§ 77q(a)(1)-

   (3)].

                                  FOURTH CLAIM FOR RELIEF
                      Violations of Sections 17(a)(1) and (3) of the Securities Act
                    (Against Brauser, Stetson, O’Rourke, Grander, SCI and ATG)

           238.     The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

           239.     By engaging in the acts and conduct described in this Complaint, Defendants

   Brauser, Stetson, O’Rourke, Grander, SCI and ATG directly or indirectly, singly or in concert,

   by use of the means or instruments of transportation or communication in interstate commerce,

   in the offer or sale of Company A, Company B, and/or Company C securities, have: (a) with

   scienter, employed devices, schemes, and artifices to defraud; or (b) knowingly, recklessly or

   negligently engaged in transactions, practices, or courses of business which operated or would

   operate as a fraud or deceit upon purchasers of securities of Company A, Company B and/or

   Company C.

           240.     Brauser (acting individually and/or through the entities he controlled, including

   Grander, and pursuant to tacit or explicit agreements with Honig, Stetson, O’Rourke and other




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   affiliates to acquire, hold, vote and/or dispose of shares they acquired in Company A, Company

   B and Company C in coordination with one another) violated Securities Act Sections 17(a)(1)

   and (a)(3) by, among other things, directly or indirectly, with scienter: obtaining and exercising

   undisclosed control of the management and policies of Company A, Company B and Company

   C; and selling shares of Company A, Company B and Company C into the market into trading

   volume and at prices he knew or was reckless in not knowing were artificially inflated by

   promotional articles that Honig had directly or indirectly secretly paid for and orchestrated.

   With respect to Company B and Company C, Brauser further violated Securities Act Sections

   17(a)(1) and (a)(3) by knowingly or recklessly making materially false and misleading Schedule

   13G filings, concealing both his control over Company B’s and Company C’s management and

   policies through his agreement with Honig and other affiliates to acquire, hold, vote and/or

   dispose of Company B and Company C securities in coordination with one another, as well as

   his membership in a group with Honig, Stetson, O’Rourke and other affiliates pursuant to that

   agreement. Alternatively, Brauser violated Securities Act Section 17(a)(3) by failing to use the

   degree of care in this conduct that a reasonably careful person would use under like

   circumstances. Brauser’s intentional or reckless failure to make timely and appropriate filings

   under Exchange Act Section 13(d) with respect to his and his group’s holdings of Company B

   and Company C shares also violated Securities Act Sections 17(a)(1) and (a)(3) as material

   omissions that facilitated his scheme to defraud investors about his and his group’s control of the

   management and policies of, and the magnitude of their individual and collective investment in,

   both companies. Alternatively, Brauser violated Securities Act Section 17(a)(3) by failing to use

   the degree of care in this conduct that a reasonably careful person would use under like

   circumstances.




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          241.    Stetson (acting individually and/or through the entities he ostensibly and actually

   controlled, including SCI and HSCI, and pursuant to tacit or explicit agreements with Honig,

   Brauser, O’Rourke and other affiliates to acquire, hold, vote and/or dispose of shares they

   acquired in Company A, Company B and Company C in coordination with one another) violated

   Securities Act Sections 17(a)(1) and (a)(3) by, among other things, directly or indirectly, with

   scienter: obtaining and exercising undisclosed control of the management and policies of

   Company A, Company B and Company C; paying undisclosed compensation to writers and

   bloggers to write enthusiastic and deceptive articles on each issuer to artificially boost trading

   volume and stock price; and selling shares of each company into the market at artificially high

   prices. With respect to Company C, Stetson violated Securities Act Sections 17(a)(1) and (a)(3)

   by knowingly or recklessly making materially false and misleading Schedule 13G and Schedule

   13D filings, concealing (with respect to his Schedule 13G filings) his control over Company C’s

   management and policies, and (with respect to his Schedule 13D and 13G filings) his

   membership in a group with Honig, Brauser, O’Rourke and other affiliates, pursuant to their

   agreement to acquire, hold, vote and/or dispose of their shares in coordination with one another.

   Alternatively, Stetson violated Securities Act Section 17(a)(3) by failing to use the degree of care

   in this conduct that a reasonably careful person would use under like circumstances. Stetson’s

   intentional or reckless failure to make timely and appropriate filings under Exchange Act Section

   13(d) with respect to his and his group’s holdings of Company B and Company C shares also

   violated Securities Act Sections 17(a)(1) and (a)(3) as material omissions that facilitated his

   scheme to defraud investors about his and his group’s control of the management and policies of,

   and the magnitude of their individual and collective investment in, both companies.

   Alternatively, Stetson violated Securities Act Section 17(a)(3) by failing to use the degree of care




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   in this conduct that a reasonably careful person would use under like circumstances.

          242.    O’Rourke (acting individually and/or through the entities he controlled, including

   ATG, and pursuant to tacit or explicit agreements with Honig, Brauser, Stetson and other

   affiliates to acquire, hold, vote and/or dispose of shares they acquired in Company A, Company

   B and Company C in coordination with one another) violated Securities Act Sections 17(a)(1)

   and (a)(3) by, among other things, directly or indirectly, with scienter: obtaining and exercising

   undisclosed control of the management and policies of Company A, Company B and Company

   C; paying undisclosed compensation to writers and bloggers to write enthusiastic and deceptive

   articles on each issuer to artificially boost trading volume and stock price, and, on at least one

   occasion, writing and publishing his own materially false and misleading article about Company

   C; and selling shares of each company into the market at artificially high prices. Alternatively,

   O’Rourke violated Securities Act Section 17(a)(3) by failing to use the degree of care in this

   conduct that a reasonably careful person would use under like circumstances. O’Rourke’s

   intentional or reckless failure to make timely and appropriate filings under Exchange Act Section

   13(d) with respect to his and his group’s holdings of Company B and Company C shares also

   violated Securities Act Sections 17(a)(1) and (a)(3) as material omissions that facilitated his

   scheme to defraud investors about his and his group’s control of the management and policies of,

   and the magnitude of their individual and collective investment in, both companies.

   Alternatively, O’Rourke violated Securities Act Section 17(a)(3) by failing to use the degree of

   care in this conduct that a reasonably careful person would use under like circumstances.

          243.    By reason of the foregoing, Brauser, Stetson, O’Rourke, Grander, SCI and ATG

   directly or indirectly, singly or in concert, violated Sections 17(a)(1) and (a)(3) of the Securities

   Act [15 U.S.C. §§ 77q(a)(1) and (a)(3)].




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                                   FIFTH CLAIM FOR RELIEF
                 Violations of Section 10(b) of the Exchange Act and Rule 10b-5(b)
                                  (Against Ford, Ladd and Keller)

          244.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          245.    By engaging in the acts and conduct described in this Complaint, Defendants

   Ford, Ladd and Keller, with scienter, directly or indirectly, singly or in concert, by use of the

   means or instruments of transportation or communication in interstate commerce, or of the mails,

   or of the facilities of a national securities exchange, in connection with the purchase or sale of

   Company A, Company B and/or Company C securities, have made untrue statements of material

   facts or omitted to state material facts necessary in order to make the statements made, in light of

   the circumstances under which they were made, not misleading.

          246.    Ford violated Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by,

   among other things, knowingly or recklessly making material misstatements in the articles Honig

   and his affiliates paid him to write about Company A and Company C, including that he was not

   being paid by anyone other than Seeking Alpha.

          247.    Ladd violated Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by,

   among other things, knowingly or recklessly authoring and issuing Company B’s May 9, 2016

   press release in which he made materially false statements about the sale of Cybersecurity

   Innovator’s former company to Intel. Ladd further violated Section 10(b) and Rule 10b-5(b)

   thereunder by knowingly or recklessly failing to disclose the true extent of the stock ownership

   of Honig, Brauser, Stetson, O’Rourke and other affiliates, and their collective control over

   Company B’s management and policies, in Company B’s 2015 Form 10-K and November 6,

   2015 Form S-1, both of which Ladd signed. Ladd further violated Section 10(b) and Rule 10b-




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   5(b) thereunder by knowingly or recklessly (1) stating falsely on Relative B’s Form 144 that

   Relative B had no relationship to Company B (as “relationship” is defined on Relative B’s Form

   144) and failing to disclose his own sales of Company B stock in the prior three months; (2)

   stating falsely on the Ladd Form 144 that Ladd intended to sell Company B stock that day, and

   falsely omitting his Company B stock sales during the previous three months totaling 539,072

   shares; (3) falsely attesting on a Form 4 filed May 31, 2016 that Ladd had sold 157,300 shares of

   Company B stock on May 25, 2016 over which he acknowledged beneficial ownership and

   omitting the additional shares purchased and sold in his accounts since the last Form 4 filing; and

   (4) filing Forms 4 on October 7, 2015 and December 1, 2015 regarding Ladd’s Company B stock

   transactions that omitted over twelve open market purchases of Company B stock between

   August 20, 2015 and December 1, 2015.

          248.      Keller violated Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by,

   among other things, intentionally or recklessly omitting from Company A filings with the

   Commission the true extent of the stock ownership of Honig, Brauser, Stetson, O’Rourke and

   other affiliates, and their collective control over Company A’s management and policies. Keller

   further violated Exchange Act Section 10(b) and Rule 10b-5(b) thereunder by knowingly or

   recklessly making materially false statements to Ford – which he knew (or was reckless in not

   knowing) were to appear in a published promotional article on Company A – about the status of

   Company A’s development of Qusomes technology.

          249.      By reason of the foregoing, Ford, Ladd and Keller, directly or indirectly, singly or

   in concert, violated, and Ladd, unless restrained and enjoined, will continue to violate, Section

   10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5(b) thereunder [17 C.F.R. §

   240.10b-5(b)].




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                                   SIXTH CLAIM FOR RELIEF
                         Violations of Section 17(a)(2) of the Securities Act
                                  (Against Ford, Ladd and Keller)

          250.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

       251.       By engaging in the acts and conduct described in this Complaint, Defendants

Ford, Ladd and Keller, knowingly, recklessly or negligently, directly or indirectly, singly or in

concert, by use of the means or instruments of transportation or communication in interstate

commerce, in the offer or sale of Company A, Company B and/or Company C securities, have

obtained money or property by means of any untrue statements of a material fact or omitted to state

a material fact necessary in order to make the statements made, in the light of the circumstances

under which they were made, not misleading.

          252.    Ford violated Securities Act Section 17(a)(2) by, among other things, knowingly,

   recklessly or negligently making material misstatements in the articles Honig and his affiliates

   paid him to write about Company A and Company C, including that he was not being paid by

   anyone other than Seeking Alpha.

          253.    Ladd violated Securities Act Section 17(a)(2) by, among other things, knowingly,

   recklessly or negligently authoring and issuing Company B’s May 9, 2016 press release in which

   he made materially false statements about the sale of Cybersecurity Innovator’s former company

   to Intel. Ladd further violated Section 17(a)(2) by knowingly, recklessly or negligently failing to

   disclose the true extent of the stock ownership of Honig, Brauser, Stetson, O’Rourke and other

   affiliates, and their collective control over Company B’s management and policies in Company

   B’s 2015 Form 10-K and November 6, 2015 Form S-1, both of which Ladd signed. By means of

   those false statements, Ladd, along with Honig, Brauser, Stetson and O’Rourke, sold shares in




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   Company B. Ladd further violated Section 17(a)(2) by knowingly, recklessly, or negligently:

   (1) stating falsely on Relative B’s Form 144 that Relative B had no relationship to Company B

   (as “relationship” is defined on Relative B’s Form 144), and failing to disclose his own sales of

   Company B stock in the prior three months; (2) stating falsely on the Ladd Form 144 that Ladd

   intended to sell Company B stock that day, and falsely omitting his Company B stock sales

   during the previous three months totaling 539,072 shares; (3) falsely attesting on a Form 4 filed

   May 31, 2016 that Ladd had sold 157,300 shares of Company B stock on May 25, 2016 over

   which he acknowledged beneficial ownership, and omitting the additional shares purchased and

   sold in his accounts since the last Form 4 filing; and (4) filing Forms 4 on October 7, 2015 and

   December 1, 2015 regarding Ladd’s Company B stock transactions that omitted over twelve

   open market purchases of Company B stock between August 20, 2015 and December 1, 2015.

          254.    Keller violated Securities Act Section 17(a)(2) by, among other things,

   intentionally, recklessly or negligently omitting from Company A filings with the Commission

   the true extent of the stock ownership of Honig, Brauser, Stetson, O’Rourke and other affiliates,

   and their collective control over Company A’s management and policies. Keller further violated

   Securities Act Section 17(a)(2) thereunder by knowingly, recklessly or negligently making

   materially false statements to Ford – which he knew (or was reckless or negligent in not

   knowing) were to appear in a published promotional article on Company A – about the status of

   Company A’s development of Qusomes technology. By means of those false statements, Honig,

   Brauser, Stetson and O’Rourke sold shares in Company A.

          255.    By reason of the foregoing, Ford, Ladd and Keller, directly or indirectly, singly or

   in concert, violated, and Ladd, unless restrained and enjoined, will continue to violate, Section

   17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)].




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                                  SEVENTH CLAIM FOR RELIEF
                              Aiding and Abetting Violations of Section
                        10(b) of the Exchange Act and Rules 10b-5(a) and (c)
                                      (Against Ladd and Keller)

          256.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          257.    By engaging in the acts and conduct described in this Complaint, Defendants

   Ladd and Keller directly or indirectly, singly or in concert, provided knowing and substantial

   assistance to Honig, Brauser, Stetson and O’Rourke, and others, who, directly or indirectly,

   singly or in concert with others, in connection with the purchase or sale of a security, with

   scienter, used the means or instrumentalities of interstate commerce or of the mails or of a

   facility of a national securities exchange to (a) employ devices, schemes, or artifices to defraud;

   and (b) engage in acts, practices, or courses of business which operated or would operate as a

   fraud or deceit upon others.

          258.    Ladd provided knowing and substantial assistance to Honig’s, Brauser’s,

   Stetson’s, O’Rourke’s and others’ violations of Section 10(b) of the Exchange Act, and Rules

   10b-5(a) and (c), as alleged above in the Second Claim for Relief, by, among other things,

   authoring and issuing Company B’s May 9, 2016 press release in which he made materially false

   statements about the sale of Cybersecurity Innovator’s former company to Intel. Ladd provided

   further knowing and substantial assistance to Honig’s, Brauser’s, Stetson’s, O’Rourke’s and

   others’ violations of Section 10(b) of the Exchange Act, and Rules 10b-5(a) and (c) by

   knowingly or recklessly failing to disclose the true extent of the stock ownership of Honig,

   Brauser, Stetson, O’Rourke and others, and their collective control over Company B’s

   management and policies, in Company B’s 2015 Form 10-K and November 6, 2015 Form S-1,

   both of which Ladd signed.



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          259.    Keller provided knowing and substantial assistance to Honig’s, Brauser’s,

   Stetson’s, O’Rourke’s and others’ violations of Section 10(b) of the Exchange Act, and Rules

   10b-5(a) and (c), as alleged above in the Second Claim for Relief, by, among other things,

   omitting from Company A filings with the Commission the true extent of the stock ownership of

   Honig, Brauser, Stetson, O’Rourke and others, and their collective control over Company A’s

   management and policies. Keller provided further knowing and substantial assistance to

   Honig’s, Brauser’s, Stetson’s, O’Rourke’s and others’ violations of Section 10(b) of the

   Exchange Act, and Rules 10b-5(a) and (c) by making materially false statements to Ford – which

   he knew were to appear in a published promotional article on Company A – about the status of

   Company A’s development of Qusomes technology.

          260.    By reason of the foregoing, Ladd and Keller aided and abetted Honig’s,

   Brauser’s, Stetson’s, O’Rourke’s and others’ violations of Section 10(b) of the Exchange Act [15

   U.S.C. § 78j(b)], and Rules 10b-5(a) and (c) thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)] in

   violation of Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)], and Ladd, unless restrained

   and enjoined, will continue aiding and abetting others’ violations of Section 10(b) of the

   Exchange Act [15 U.S.C. § 78j(b)], and Rules 10b-5(a) and (c) thereunder [17 C.F.R. § 240.10b-

   5(a) and (c)] in violation of Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

                               EIGHTH CLAIM FOR RELIEF
        Aiding and Abetting Violations of Sections 17(a)(1) and (a)(3) of the Securities Act
                                   (Against Ladd and Keller)

          261.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          262.    By engaging in the acts and conduct described in this Complaint, Defendants

   Ladd and Keller directly or indirectly, singly or in concert, provided knowing and substantial




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   assistance to Honig, Brauser, Stetson, O’Rourke and others, who, directly or indirectly, singly or

   in concert with others, in the offer or sale of a security, used the means or instruments of

   transportation or communication in interstate commerce or used the mails to (a) with scienter

   employed devices schemes, and artifices to defraud; or (b) knowingly, recklessly or negligently

   engaged in transactions, practices, or courses of business which operated or would operate as a

   fraud or deceit upon purchasers of securities of Company A or Company B.

          263.    Ladd provided knowing and substantial assistance to Honig’s, Brauser’s,

   Stetson’s, O’Rourke’s, and others’ violations of Sections 17(a)(1) and (a)(3) of the Securities

   Act, as alleged in the Fourth Claim for Relief above, by, among other things, authoring and

   issuing Company B’s May 9, 2016 press release in which he made materially false statements

   about the sale of Cybersecurity Innovator’s former company to Intel. Ladd provided further

   knowing and substantial assistance to Honig’s, Brauser’s, Stetson’s, O’Rourke’s, and others’

   violations of Sections 17(a)(1) and (a)(3) of the Securities Act by knowingly or recklessly failing

   to disclose the true extent of the stock ownership of Honig, Brauser, Stetson, O’Rourke and

   others, and their collective control over Company B’s management and policies, in Company B’s

   2015 Form 10-K and November 6, 2015 Form S-1, both of which Ladd signed.

          264.    Keller provided knowing and substantial assistance to Honig’s, Brauser’s,

   Stetson’s, and others’ violations of Sections 17(a)(1) and (a)(3) of the Securities Act, as alleged

   in the Fourth Claim for Relief above, by, among other things, omitting from Company A filings

   with the Commission the true extent of the stock ownership of Honig, Brauser, Stetson,

   O’Rourke and others, and their collective control over Company A’s management and policies.

   Keller provided further knowing and substantial assistance to Honig’s, Brauser’s, Stetson’s,

   O’Rourke’s and others’ violations of Sections 17(a)(1) and (a)(3) of the Securities Act by




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   making materially false statements to Ford – which he knew were to appear in a published

   promotional article on Company A – about the status of Company A’s development of Qusomes

   technology.

          265.    By reason of the foregoing, Ladd and Keller aided and abetted Honig’s,

   Brauser’s, Stetson’s and O’Rourke’s, and others’ violations of Sections 17(a)(1) and (a)(3) of the

   Securities Act [15 U.S.C. §§ 77q(a)(1) and (a)(3)], in violation of Section 15(b) of the Securities

   Act [15 U.S.C. § 77o(b)], and Ladd, unless restrained and enjoined, will continue aiding and

   abetting others’ violations of Sections 17(a)(1) and (a)(3) of the Securities Act [15 U.S.C. §§

   77q(a)(1) and (a)(3)], in violation of Section 15(b) of the Securities Act [15 U.S.C. § 77o(b)].

                                   NINTH CLAIM FOR RELIEF
                          Violations of Section 9(a)(1) of the Exchange Act
                                           (Against Honig)

          266.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          267.    By engaging in the acts and conduct described in this Complaint, Defendant

   Honig, directly or indirectly, singly or in concert, by use of the mails or the means or

   instrumentalities of interstate commerce, or of a facility of a national securities exchange for the

   purpose of creating a false or misleading appearance of active trading in Company A, Company

   B and/or Company C securities, or a false or misleading appearance with respect to the market

   for Company A, Company B and/or Company C securities, entered an order or orders for the

   purchase and/or sale of such security with the knowledge that an order or orders of substantially

   the same size, at substantially the same time and substantially the same price, for the sale and/or

   purchase of such security, had been or would be entered by or for the same or different parties.




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          268.     Honig violated Section 9(a)(1) of the Exchange Act by, among other things,

   engaging with scienter, through the Barry & Renee Honig Foundation, which he controlled, in

   matched trading of Company A shares on September 26, 2013. Honig further violated Section

   9(a)(1) by engaging with scienter in matched trading of Company B shares on May 9, 2016 with

   an associate.

          269.     By virtue of the foregoing, Honig violated Section 9(a)(1) of the Exchange Act

   [15 U.S.C. § 78i(a)(1)].

                                  TENTH CLAIM FOR RELIEF
                          Violations of Section 9(a)(2) of the Exchange Act
                                           (Against Honig)

          270.     The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          271.     By engaging in the acts and conduct described in this Complaint, Defendant

   Honig, directly or indirectly, singly or in concert, by use of the mails or the means or

   instrumentalities of interstate commerce, or of a facility of a national securities exchange

   effected, alone or with one or more other persons, a series of transactions in the securities of

   Company A and/or Company B creating actual or apparent active trading in such security, or

   raising or depressing the price of such security, for the purpose of inducing the purchase or sale

   of such security by others.

          272.     Honig violated Exchange Act Section 9(a)(2) by, among other things,

   intentionally entering dozens of small buy and sell orders of Company B shares on the morning

   of May 9, 2016 for the purpose of creating actual or apparent active trading in Company B shares

   for the purpose of inducing the purchase of Company B shares by other market participants.




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          273.    By virtue of the foregoing, Honig violated Section 9(a)(2) of the Exchange Act

   [15 U.S.C. § 78i(a)(2)].

                             ELEVENTH CLAIM FOR RELIEF
      Unregistered Offering or Sale of Securities in Violation of Sections 5(a) and (c) of the
                                         Securities Act
                                  (Against Honig and Ladd)

          274.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          275.    By engaging in the acts and conduct described in this Complaint, Defendants

   Honig and Ladd, directly or indirectly, singly or in concert, made use of the means or

   instruments of transportation or communication in interstate commerce or of the mails to offer or

   sell securities through the use or medium of a prospectus or otherwise, or carried or caused to be

   carried through the mails or in interstate commerce, by means or instruments of transportation,

   securities for the purpose of sale or for delivery after sale, when no registration statement had

   been filed or was in effect as to such securities, and when no exemption from registration was

   applicable. The shares of Company A that Honig offered and sold, and the shares of Company B

   that Ladd offered and sold, as alleged herein constitute “securities” as defined in the Securities

   Act and the Exchange Act.

          276.    Honig violated Securities Act Sections 5(a) and (c) with respect to his offer and

   sale of Company A shares, by, among other things, selling Company A shares into the public

   market from September through December 2013 while no registration statement was in effect for

   any of the sales, and no exemption from registration was available.

          277.    Ladd violated Securities Act Sections 5(a) and (c) with respect to his offer and

   sale of Company B shares in May 2016, by, among other things, selling Company B shares into

   the public market from May 9-12, 2016 while no registration statement was in effect for any of



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   the sales, and no exemption from registration was available for the sale of shares in excess of the

   volume limitations imposed upon him as an affiliate of Company B.

          278.    By reason of the foregoing, Honig and Ladd violated, and Ladd, unless restrained

   and enjoined, will continue to violate, Sections 5(a) and 5(c) of the Securities Act [15 U.S.C. §§

   77e(a) and (c)].

                                TWELFTH CLAIM FOR RELIEF
                Violations of Section 13(d) of the Exchange Act and Rule 13d-1(a)
       (Against Honig, Brauser, Stetson, O’Rourke, ATG, GRQ, Grander, HSCI and SCI)

          279.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          280.    Pursuant to Exchange Act Section 13(d)(1) and Rule 13d-1(a) thereunder, persons

   who directly or indirectly acquire beneficial ownership of more than 5% of a Section 12-

   registered class of equity securities are required to make a Schedule 13D filing, or, in limited

   circumstances, a Schedule 13G filing. Section 13(d)(3) states that “act[ing] as a . . . group” in

   furtherance of acquiring, holding, voting and/or disposing of equity securities is enough to

   establish the group as a single “person.” When a group is required to make a Schedule 13D

   filing, that group must “identify all members of the group.”

          281.    Honig, Brauser, Stetson, O’Rourke, ATG, GRQ, Grander and SCI acquired and

   held beneficial ownership of more than 5% shares in Company B from on or about October 8,

   2015 through at least on or about May 20, 2016, and collectively controlled the management and

   policies of that company throughout this period. Each of them acquired, held, voted and/or

   disposed of those shares pursuant to an agreement among them to do so.

          282.    Honig, Stetson and HSCI acquired and held beneficial ownership of more than

   5% shares in Company C from on or about February 2014, and collectively controlled the




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   management and policies of that company from that time. Each of them acquired, held, voted

   and/or disposed of those shares pursuant to an agreement among them to do so.

          283.    Honig, Brauser, Stetson, O’Rourke, ATG, GRQ, Grander, HSCI and SCI acquired

   and held beneficial ownership of more than 5% shares in Company C from on or about April

   2015 through at least on or about December 2015, and collectively controlled the management

   and policies of that company throughout this period. Each of them acquired, held, voted and/or

   disposed of those shares pursuant to an agreement among them to do so.

          284.    Honig, Brauser, Stetson, O’Rourke, ATG, GRQ, Grander, HSCI and SCI were

   each under an obligation to file with the Commission true and accurate reports with respect to

   their ownership of the Company B and Company C securities, and failed to do so, thereby

   violating Exchange Act Section 13(d) and Rule 13d-1(a) thereunder.

          285.    By reason of the foregoing, Honig, Brauser, Stetson, O’Rourke, ATG, GRQ,

   Grander, HSCI and SCI violated Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and

   Rule 13d-1(a) thereunder [17 C.F.R. § 240.13d-1(a)].

                              THIRTEENTH CLAIM FOR RELIEF
                  Violations of Section 13(d) of the Exchange Act and Rule 13d-2
                                          (Against Ladd)

       286.       The Commission realleges and incorporates by reference herein each and every

allegation contained in paragraphs 1 through 221 of this Complaint.

          287.    By engaging in the acts and conduct described in this Complaint, Ladd violated

   Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)] and Rule 13d-2 [17 C.F.R. § 240.13d-2]

   thereunder, which require persons who directly or indirectly acquire beneficial ownership of

   more than 5% of a Section 12-registered class of equity securities to make a Schedule 13D filing,

   or, in limited circumstances, a Schedule 13G filing. Exchange Act Section 13(d)(2) and Rule




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   13d-2(a) thereunder require persons to make amended Schedule 13D filings “promptly” as

   material changes occur in previously made disclosures. An acquisition or disposition of 1% or

   more of Company B’s stock is material for purposes of Rule 13d-2.

          288.    Ladd violated Exchange Act Section 13(d) and Rule 13d-2 thereunder by failing

   to make any Schedule 13D/A filings after January 10, 2012 despite the material changes to his

   beneficial ownership of Company B stock in the interim.

          289.    By reason of the foregoing, Ladd violated, and, unless enjoined and restrained,

   will continue to violate, Section 13(d) of the Exchange Act [15 U.S.C. § 78m(d)], and Rule 13d-

   2 thereunder [17 C.F.R. § 240.13d-2].

                            FOURTEENTH CLAIM FOR RELIEF
             Aiding and Abetting Violations of Section 13(a) of the Exchange Act and
                                    Rules 12b-20 and 13a-1
                                         (Against Ladd)

          290.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          291.    By engaging in the acts and conduct described in this Complaint, Company B

   violated Section 13(a) of the Exchange Act [15 U.S.C. § 78m(a)] and Rules 12b-20 [17 C.F.R. §

   240.12b-20] and 13a-1 [17 C.F.R. § 240.13a-1(a)] thereunder, which require issuers of registered

   securities under the Exchange Act to file annual reports on Form 10-K with the Commission that,

   among other things, do not contain untrue statements of material fact or omit to state material

   information necessary in order to make the required statements, in the light of the circumstances

   under which they are made, not misleading.

          292.    Ladd aided and abetted Company B’s violation of Exchange Act Section 13(a)

   and Rule 12b-20 and 13a-1 thereunder, by, among other things, providing knowing and

   substantial assistance to Company B’s filing of a materially false and misleading annual report in



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   signing its 2015 Form 10-K that failed to disclose the group ownership of Company B stock by

   Honig, Brauser, Stetson, O’Rourke and others; and failing properly to disclose his own beneficial

   ownership of Company B securities.

          293.    By reason of the foregoing, Ladd aided and abetted, and, unless restrained and

   enjoined, will continue aiding and abetting, Company B’s violations of Section 13(a) of the

   Exchange Act [15 U.S.C. § 78m(a)], and Rules 12b-20 [17 C.F.R. § 240.12b-20] and 13a-1(a)

   thereunder [17 C.F.R. § 240.13a-1(a)], in violation of Section 20(e) of the Exchange Act [15

   U.S.C. § 78t(e)].

                              FIFTEENTH CLAIM FOR RELIEF
             Aiding and Abetting Violations of Section 15(d) of the Exchange Act and
                                           Rule 15d-1
                                  (Against Maza and Keller)

          294.    The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          295.    By engaging in the acts and conduct described in this Complaint, Company A

   violated Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)] and Rule 15d-1 thereunder [17

   C.F.R. § 240.15d-1], which require issuers of registered securities under the Securities Act to file

   annual reports on Form 10-K with the Commission that, among other things, do not contain

   untrue statements of material fact or omit to state material information necessary in order to

   make the required statements, in the light of the circumstances under which they are made, not

   misleading.

          296.    Maza and Keller aided and abetted Company A’s violation of Exchange Act

   Section 15(d) and Rule 15d-1 thereunder, by, among other things, providing knowing and

   substantial assistance to Company A’s filing of a materially false and misleading annual report in

   signing its 2012 amended Form 10-K that failed to disclose the group ownership of Company A



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   stock by Honig, Brauser, Stetson and other affiliates.

          297.     By reason of the foregoing, Maza and Keller aided and abetted Company A’s

   violations of Section 15(d) of the Exchange Act [15 U.S.C. § 78o(d)] and Rule 15d-1 thereunder

   [17 C.F.R. § 240.15d-1], in violation of Section 20(e) of the Exchange Act [15 U.S.C. § 78t(e)].

                                SIXTEENTH CLAIM FOR RELIEF
                           Violations of Section 17(b) of the Securities Act
                                           (Against Ford)

          298.     The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          299.     By engaging in the acts and conduct described in this Complaint, Defendant Ford

   directly or indirectly, singly or in concert, by use of the means or instruments of transportation or

   communication in interstate commerce, or by the use of the mails, in the offer or sale of

   Company A and/or Company C securities, has published, given publicity to, or circulated any

   notice, circular, advertisement, newspaper, article, letter, investment service, or communication

   which, though not purporting to offer a security for sale, described such security for a

   consideration received or to be received, directly or indirectly, from an issuer, underwriter, or

   dealer, without fully disclosing the receipt, whether past or prospective, of such consideration

   and the amount thereof.

          300.     Ford violated Securities Act Section 17(b) by, among other things, obtaining

   compensation directly or indirectly from Honig, Brauser, Stetson and/or O’Rourke – each a

   statutory underwriter of Company A and Company C – and/or from certain of Honig’s,

   Brauser’s, Stetson’s and/or O’Rourke’s associates– for writing the promotional articles he

   published on Company A and Company C without disclosing his receipt or the amount of that

   compensation.




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          301.     By reason of the foregoing, Ford, directly or indirectly, violated Section 17(b) of

   the Securities Act [15 U.S.C. § 77q(b)].

                               SEVENTEENTH CLAIM FOR RELIEF
                 Violations of Exchange Act Section 16(a) and Rule 16a-3 Thereunder
                                           (Against Ladd)

          302.      The Commission realleges and incorporates by reference herein each and every

   allegation contained in paragraphs 1 through 221 of this Complaint.

          303.     By engaging in the acts and conduct described in this Complaint, Defendant Ladd

   failed to file statements, and filed inaccurate statements, with the Commission required to be

   filed by Exchange Act Section 16(a) and Rule 16a-3 thereunder regarding certain of Ladd’s

   purchases and sales of Company B stock in his E*Trade Account, TD IRA Account and TD

   Account.

          304.     By virtue of the foregoing, Defendant Ladd violated and, unless restrained and

   enjoined, will continue violating, Exchange Act Section 16(a), [15 U.S.C. § 78p(a)], and Rule

   16a-3 thereunder, [17 C.F.R. § 240.16a-3].

                                        PRAYER FOR RELIEF

          WHEREFORE, the Commission respectfully requests that the Court grant the following

   relief, in a Final Judgment:

                                                    I.

          Finding that Defendants violated the federal securities laws and rules promulgated

   thereunder as alleged against them herein;

                                                    II.

          Permanently restraining and enjoining Ladd his agents, servants, employees and attorneys

   and all persons in active concert or participation with him who receive actual notice of the




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   injunction by personal service or otherwise, and each of them, from violating, directly or

   indirectly, Sections 5(a), 5(c), and 17(a) of the Securities Act [15 U.S.C. §§ 77e(a) and (c), and

   77q(a)]; and Sections 10(b), 13(a) and (d), and 16(a) of the Exchange Act [15 U.S.C. §§ 78j(b),

   78m(a) and (d), and 78p(a)] and Rules 10b-5, 12b-20, 13a-1, 13d-2, and 16a-3 thereunder [17

   C.F.R. §§ 240.10b-5, 12b-20, 13a-1, 13d-2, and 16a-3].

                                                   III.

          Permanently barring each of Ladd and Maza from acting as an officer or director of a

   public company pursuant to Section 20(e) of the Securities Act [15 U.S.C. § 77t(e)] and Section

   21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)];

                                                   IV.

          Permanently prohibiting Ladd and Maza from participating in any offering of penny

   stock pursuant to Section 20(g) of the Securities Act [15 U.S.C. § 77t(g)] and Section 21(d)(6) of

   the Exchange Act [15 U.S.C. § 78u(d)(6)].

                                                    V.

          Ordering Defendants Ladd, Honig, GRQ, Keller, Maza, Ford, and HSCI, to disgorge all

   of the ill-gotten gains from the violations alleged in this complaint, and ordering them to pay

   prejudgment interest thereon;

                                                   VI.

          Ordering Defendants Ladd, Honig, GRQ, Keller, Maza, Ford, and HSCI to pay civil

   money penalties pursuant to Section 20(d)(2) of the Securities Act [15 U.S.C. § 77t(d)(2)] and

   Section 21(d)(3) of the Exchange Act [15 U.S.C. §78u(d)(3)]; and




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                        Exhibit D
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                         Exhibit B
Case1:19-mc-24587-MGC
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                         Exhibit E
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                        Exhibit C
 Case1:19-mc-24587-MGC
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                         Exhibit F
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                        Exhibit D
 Case1:19-mc-24587-MGC
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                        Exhibit G
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                         Exhibit E
 Case1:19-mc-24587-MGC
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d for Michael, Josh, Ben, Dan,   + a portion of Grandor 401K
ael's
ael's
ael's
ael's
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                        Exhibit H
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                         Exhibit F
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 IZEA Share Breakdown


 Entity                                         Post Split Shares

 Mike Brauser                                            3,250,000
 Melechdavid (Mark Groussman)
 Barry Honig                                             1,940,023
 HS Contrarian Investments LLC (John Stetson)            1,400,000




 Ben Brauser                                               250,001
 John Stetson                                              225,000
 Frost Gamma Investments Trust




 Josh Brauser                                               84,444
 Dan Brauser                                                84,444




 TOTAL                                                  12,500,000
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                          Exhibit I
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     3:18-cv-02293-FLW-ZNQ Document
                         Document 4-1188
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                         Exhibit J
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                     RIOT BLOCKCHAIN, INC.
                                             Filed by
                                          HONIG BARRY C




                                         FORM SC 13D/A
                                (Amended Statement of Beneficial Ownership)




                                                 Filed 09/13/16


                 Address             202 6TH STREET, SUITE 401
                                     CASTLE ROCK, CO, 80104
            Telephone                303-794-2000
                    CIK              0001167419
                Symbol               RIOT
             SIC Code                2835 - In Vitro and In Vivo Diagnostic Substances
               Industry              Financial & Commodity Market Operators
                 Sector              Financials
            Fiscal Year              12/31




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          Case 3:18-cv-02293-GC-RLS SECURITIES
                                      Document   188 Filed 12/24/20 Page 383 of 491 PageID: 7153
                                               AND EXCHANGE COMMISSION
                                                                      Washington, D.C. 20549

                                                                        SCHEDULE 13D/A
                                                                         Amendment No.1
                                                                          (Rule 13d-101)

                                        INFORMATION TO BE INCLUDED IN STATEMENTS FILED PURSUANT
                                        TO RULE 13d-1(a) AND AMENDMENTS THERETO FILED PURSUANT TO
                                                                 RULE 13d-2(a)

                                                                          VENAXIS, INC.
                                                                          (Name of Issuer)

                                                                   Common Stock, no par value
                                                                    (Title of Class of Securities)

                                                                            92262A206
                                                                          (CUSIP Number)

                                                                        Copy To:
                                                          Sichenzia Ross Friedman Ference LLP
                                                                   Harvey Kesner, Esq.
                                                                61 Broadway, 32 nd Floor
                                                                  New York, NY 10006
                              (Name, Address and Telephone Number of Person Authorized to Receive Notices and Communications)

                                                                       September 13, 2016
                                                       (Date of Event which Requires Filing of this Statement)

If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this Schedule 13D, and is filing this schedule
because of §§ 240.13d-1(e), 240.13d-1(f) or 240.13d-1(g), check the following box. [X]

Note: Schedules filed in paper format shall include a signed original and five copies of the schedule, including all exhibits. See § 240.13d-7 for other parties to
whom copies are to be sent.

*The remainder of this cover page shall be filled out for a reporting person's initial filing on this form with respect to the subject class of securities, and for any
subsequent amendment containing information which would alter disclosures provided in a prior cover page.

The information required on the remainder of this cover page shall not be deemed to be "filed" for the purpose of Section 18 of the Securities Exchange Act of
1934 ("Act") or otherwise subject to the liabilities of that section of the Act but shall be subject to all other provisions of the Act (however, see the Notes).
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CUSIP No. 92262A206

1               NAMES OF REPORTING PERSONS
                I.R.S. IDENTIFICATION NOS. OF ABOVE PERSONS (ENTITIES ONLY)

                Barry Honig
2               CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP (See Instructions)
                (a) [ ]
                (b) [ ]
3               SEC USE ONLY

4               SOURCE OF FUNDS (See Instructions)
                PF
5               CHECK IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT TO ITEMS 2(D) OR 2(E)
                [ ]
6               CITIZENSHIP OR PLACE OF ORGANIZATION
                United States
                                                   7  SOLE VOTING POWER:
                     NUMBER OF                        0
                       SHARES                      8  SHARED VOTING POWER:
                    BENEFICIALLY
                                                      389,159 (1)
                     OWNED BY
                                                   9  SOLE DISPOSITIVE POWER:
                        EACH
                     REPORTING                        0
                       PERSON                      10 SHARED DISPOSITIVE POWER:
                         WITH                         389,159 (1)

11              AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON
                389,159 (1)

12              CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN SHARES (See Instructions)
                [_]
13              PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)
                10.04% (based on 3,876,961 shares of common stock outstanding as of August 10, 2016)

14              TYPE OF REPORTING PERSON (See Instructions)
                IN

(1) Represents 389,159 shares of common stock held by GRQ Consultants, Inc. 401K (“401K”). Mr. Honig is the trustee of 401K in such capacity holds voting
and dispositive power over the securities held by 401K.



                                                                           -1-
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CUSIP No. 92262A206

1                  NAMES OF REPORTING PERSONS
                   I.R.S. IDENTIFICATION NOS. OF ABOVE PERSONS (ENTITIES ONLY)

                   GRQ Consultants, Inc. 401K
2                  CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP (See Instructions)
                   (a) [ ]
                   (b) [ ]
3                  SEC USE ONLY

4                  SOURCE OF FUNDS (See Instructions)
                   WC
5                  CHECK IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT TO ITEMS 2(D) OR 2(E)
                   [ ]
6                  CITIZENSHIP OR PLACE OF ORGANIZATION
                   Florida
 NUMBER OF         7              SOLE VOTING POWER:
   SHARES                              0
 NUMBER OF 8                           SHARED VOTING POWER:
   SHARES
                                       389,159
BENEFICIALLY
 OWNED BY 9                            SOLE DISPOSITIVE POWER:
    EACH                               0
 REPORTING 10                          SHARED DISPOSITIVE POWER:
   PERSON
    WITH
BENEFICIALLY
 OWNED BY
    EACH
 REPORTING
   PERSON
    WITH                       389,159 (1)
11                 AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON



12                 CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN SHARES (See Instructions)
                   [_]
13                 PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)
                   10.04% (based on 3,876,961 shares of common stock outstanding as of August 10, 2016)

14                 TYPE OF REPORTING PERSON (See Instructions)
                   OO

(1) Mr. Honig is the trustee of 401K and in such capacity holds voting and dispositive power over the securities held by 401K.



                                                                                -2-
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Item 1. Security and Issuer

The title and class of equity securities to which this Schedule 13D relates is common stock, no par value, of Venaxis, Inc., a Colorado corporation (the "Issuer").
The address of the principal executive offices of the Issuer is 1585 S. Perry Street, Castle Rock, CO 80104.

Item 2. Identity and Background

(a) This statement is filed on behalf of Barry Honig and GRQ Consultants, Inc. 401K (collectively the “Reporting Person”).

(b) The Reporting Persons’ address is 555 South Federal Highway, #450, Boca Raton, FL 33432.

(c) Not applicable.

(d) During the last five years, the Reporting Person has not been convicted in a criminal proceeding (excluding traffic violations or similar misdemeanors).

(e) During the last five years, the Reporting Person has not been a party to a civil proceeding of a judicial or administrative body of competent jurisdiction and as a
result thereof was or is subject to a judgment, decree or final order enjoining future violations of, or prohibiting or mandating activities subject to, federal or state
securities laws or finding any violation with respect to such laws.

(f) The Reporting Person is a citizen of the United States and the State of Florida.

Item 3. Source and Amount of Funds or Other Considerations

All shares were purchased with the Reporting Persons’ personal funds or working capital.

Item 4. Purpose of Transaction

All of the Issuer’s securities owned by the Reporting Persons have been acquired for investment purposes only. Except as set forth above and herein, the Reporting
Persons have no present plans or proposals that relate to or would result in any of the actions required to be described in subsections (a) through (j) of Item 4 of
Schedule 13D. The Reporting Persons may, at any time, review or reconsider their positions with respect to the Issuer and formulate plans or proposals with
respect to any of such matters, but has no present intention of doing so.

The Reporting Person may engage in discussions with management and security holders of the Issuer and other persons with respect to the subject class of
securities, the Issuer, the Issuer’s industry, business, condition, operations, structure, governance, management, capitalization, policies, plans, and prospects and
related and other matters. In particular, the Reporting Person may engage in discussions with management and security holders of the Issuer regarding the
complexion of the Issuer’s board of directors and options for increasing shareholder value. The Reporting Person plans and proposes to review and analyze such
Reporting Person’s interest in the Issuer on a continuing basis and may engage in such discussions, as well as discussions with the Issuer, the Issuer’s directors and
officers and other persons related to the Issuer, as the Reporting Person deems necessary or appropriate in connection with the Reporting Person’s interest in the
Issuer.

On September 1, 2016, the Reporting Person contacted the Chief Executive Officer of the Issuer to discuss the complexion of the Issuer’s current Board of
Directors. The Reporting Person requested that the Issuer take steps to diversify its Board of Directors and add individuals outside the pharmaceutical and
biotechnology industry with broader diversified business background in light of changes at the Issuer. The Reporting Person proposed to introduce individuals to
the Issuer that could make meaningful contribution to the business of the Company. The Issuer’s Chief Executive Officer referred the Reporting Person to the
Issuer’s Procedures for Shareholder Nominations of Director Candidates and subsequently provided the Reporting Person with a copy of such procedures.

On September 13, 2016, the Reporting Person submitted a letter to the Chief Executive Officer of the Issuer conveying its previously disclosed concerns regarding
the need for changes to the Issuer’s Board of Directors as well as concerns regarding the Issuer’s failed strategic acquisition attempts. The aforementioned letter is
attached to this Schedule 13D as Exhibit 99.2. In connection with the Reporting Person’s letter, pursuant to Section 7-107-102 of the Colorado Revised Statutes
(“CRS”) the Reporting Person submitted a written demand to the Issuer for the calling of a special meeting of shareholders in order to vote upon proposals for (i)
the removal of five (5) directors (other than Stephen T. Lundy); (ii) the declaration of a $7,500,000 dividend; (iii) the setting of the size of the Issuer’s Board of
Directors at no more than six (6) directors and to require shareholder approval for removal or changes to the size of the Board of Directors; and (iv) the election of
five (5) new directors. The written demand is attached as Exhibit 99.3 to this Schedule 13D. The Reporting Person also provided a written statement with respect
to its nomination of five (5) new proposed directors to be voted upon at the special meeting; to wit: John Stetson, John O’Rourke, Jesse Sutton, Michael Beeghley,
and David Danziger. The written nomination submission was submitted to the Issuer pursuant to, and in compliance with, the Issuer’s written Procedures for
Shareholder Nominations of Director Candidates and is attached to this Schedule 13D as Exhibit 99.4.



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Depending upon the factors described below and any other factor that is or becomes relevant, the Reporting Person plans and proposes to: (a) acquire additional
amounts of the subject class of securities or different equity, debt, or other securities of the Issuer, derivative securities related to securities of the Issuer or other
securities related to the Issuer (collectively, “Issuer-Related Securities”) or a combination or combinations of Issuer-Related Securities, including by purchase or
other method, pursuant to open market, private, tender offer, or other transactions, using borrowed or other funds or consideration of or from any source described
herein or other source or via a combination or combinations of such methods, transactions, consideration, and sources; (b) dispose of all or part of the securities
covered by this statement and any other Issuer- Related Securities, including by sale or other method, pursuant to open market, private, or other transactions or via
a combination or combinations of such methods and transactions; (c) engage in financing, lending, hedging, pledging, or similar transactions involving the
securities covered by this statement or other Issuer-Related Securities or a combination or combinations of such transactions; (d) engage in discussions and
otherwise communicate with the Issuer, officers, directors, and security holders of the Issuer and other persons related to the Issuer with respect to Issuer-Related
Securities, the Issuer, the Issuer’s industry, business, condition, operations, structure, governance, management, capitalization, dividend policy, other policies,
plans, and prospects and related and other matters; (e) suggest or recommend a transaction or transactions involving the acquisition, sale, or exchange of all or part
of the Issuer-Related Securities or assets of the Issuer, other actions or a combination or combinations of such actions, in any case, which relates or relate to (or
could result in) a change or changes to the Issuer’s business, condition, operations, structure, governance, management, capitalization, policies, plans, and
prospects and similar and other actions and changes; (f) make a proposal or proposals involving the acquisition or sale of all or part of the Issuer-Related Securities
or assets of the Issuer; (g) make a proposal or proposals to request that the Issuer and/or the security holders of the Issuer consider an extraordinary or other
transaction, such as a merger or reorganization, or a combination or combinations of such transactions; and (h) engage in a combination or combinations of the
foregoing plans and/or proposals.

Each such plan or proposal may be subject to, and depend upon, a variety of factors, including (i) current and anticipated trading prices and the expected value of
applicable Issuer-Related Securities, (ii) the Issuer’s financial condition and position, results of operations, plans, prospects and strategies, (iii) general industry
conditions, (iv) the availability, form and terms of financing and other investment and business opportunities, (v) general stock market and economic conditions,
(vi) tax considerations and (vii) other factors. Each acquisition, disposition, transaction, discussion, communication, suggestion, recommendation, proposal and
other action described herein may be effected, made or taken, as applicable, at any time and/or from time to time without prior notice. Although the plans and
proposals described herein reflect the plans and proposals presently contemplated by the Reporting Person with respect to the Issuer and the Issuer-Related
Securities, as applicable, each such plan and proposal is subject to change at any time and from time to time dependent upon contingencies and assumed and
speculative conditions and other factors, including actions taken by the Issuer, the Issuer’s board of directors, other security holders of the Issuer and other parties
and the outcome of the discussions, communications, transactions and other actions described herein. There can be no assurance that any such plan or proposal will
be consummated or pursued or result in any transaction described herein or other transaction or that any action contemplated by any such plan or proposal (or any
similar action) will be taken.

Item 5. Interest in Securities of the Issuer

(a)   Mr. Honig beneficially owns 389,159 shares or 10.04% of the Issuer’s common stock held by 401K. Mr. Honig is the Trustee of 401K, and, in such
      capacity, has voting and dispositive power over the securities held by such entity.

(b)   Mr. Honig may be deemed to hold sole voting and dispositive power over 0 shares of common stock of the Issuer and shares voting and dispositive power
      over 389,159 shares of common stock. 401K may be deemed to hold shared voting and dispositive power over 389,159 shares of the Issuer’s common stock.

(c)   On July 8, 2016, Mr. Honig sold 1,478 shares of the Issuer’s common stock at a price of $3.48 per share.

      On July 12, 2016, Mr. Honig purchased 100 shares of the Issuer’s common stock at a purchase price of $3.46 per share.

      On July 12, 2016, Mr. Honig purchased 300 shares of the Issuer’s common stock at a purchase price of $3.51 per share.

      On July 18, 2016, Mr. Honig sold 400 shares of the Issuer’s common stock at a price of $3.66 per share.

      On July 22, 2016, Mr. Honig purchased 100 shares of the Issuer’s common stock at a purchase price of $3.60 per share.

      On July 22, 2016, Mr. Honig purchased 100 shares of the Issuer’s common stock at a purchase price of $3.62 per share.

      On July 22, 2016, Mr. Honig sold 200 shares of the Issuer’s common stock at a price of $3.58 per share.

      On July 22, 2016, Mr. Honig purchased 100 shares of the Issuer’s common stock at a purchase price of $3.61 per share.

      On July 22, 2016, Mr. Honig purchased 100 shares of the Issuer’s common stock at a purchase price of $3.60 per share.

      On July 22, 2016, Mr. Honig purchased 100 shares of the Issuer’s common stock at a purchase price of $3.61 per share.

      On July 22, 2016, Mr. Honig purchased 100 shares of the Issuer’s common stock at a purchase price of $3.58 per share.

      On July 22, 2016, Mr. Honig sold 300 shares of the Issuer’s common stock at a price of $3.60 per share

      On July 22, 2016, Mr. Honig sold 100 shares of the Issuer’s common stock at a price of $3.59 per share

      On July 22, 2016, 401K sold 12,000 shares of the Issuer’s common stock at a price of $3.63 per share.

      On August 3, 2016, 401K purchased 25,000 shares of the Issuer’s common stock at a purchase price of $3.26 per share.
   Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 388 of 491 PageID: 7158
On August 9, 2016, 401K purchased 1,300 shares of the Issuer’s common stock at a purchase price of $3.18 per share.



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     On August 10, 2016, 401K purchased 2,400 shares of the Issuer’s common stock at a purchase price of 3.03 per share.

     On August 23, 2016, 401K purchased 21,000 shares of the Issuer’s common stock at a purchase price of $3.24 per share.

     On August 30, 2016, 401K purchased 5,000 shares of the Issuer’s common stock at a purchase price of $3.56 per share.

     On September 2, 2016, 401K sold 27,500 shares of the Issuer’s common stock at a price of $3.87 per share.

     On September 6, 2016, 401K sold 10,415 shares of the Issuer’s common stock at a price of $3.84 per share.

     On September 7, 2016, 401K purchased 66,278 shares of the Issuer’s common stock at a purchase price of $3.81 per share.

     On September 7, 2016, 401K sold 1,000 shares of the Issuer’s common stock at a price of $4.00 per share.

     On September 8, 2016, 401K purchased 6,260 shares of the Issuer’s common stock at a purchase price of $3.75 per share.

     On September 12, 2016, 401K purchased 9,000 shares of the Issuer’s common stock at a purchase price of $4.14 per share.

 (d) To the best knowledge of the Reporting Person, except as set forth in this Schedule 13D, no person other than the Reporting Person has the right to receive,
     or the power to direct the receipt of, dividends from, or the proceeds from the sale of the 389,159 shares of common stock reported in Item 5(a).

  (e) Not applicable.

Item 6. Contracts, Arrangements, Understandings or Relationships with Respect to Securities of the Issuer

Other than as described herein, there are no contracts, arrangements, understandings or relationships (legal or otherwise) between the Reporting Person and any
other person with respect to the Shares.

Item 7. Material to Be Filed as Exhibits

   Exhibit
   Number        Description

      99.1       Joint Filing Agreement with GRQ Consultants, Inc. 401K
      99.2       Shareholder Letter to the Issuer dated September 13, 2016
      99.3       Demand for Special Meeting dated September 13, 2016
      99.4       Nomination of Directors dated September 13, 2016



                                                                              -5-
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                                                                           SIGNATURE

        After reasonable inquiry and to the best of my knowledge and belief, I certify that the information set forth in this statement is true, complete and correct.


Dated: September 13, 2016                                                     /s/ Barry Honig
                                                                              Barry Honig


Dated: September12, 2016                                                      GRQ CONSULTANTS, INC. 401K

                                                                 By:          /s/ Barry Honig
                                                                              Barry Honig
                                                                              Trustee


                                                                                 -6-
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                                                                                         Exhibit 99.1

                                                      AGREEMENT TO FILE JOINT SCHEDULE 13D

            Pursuant to Rule 13d-1(k)(1) under the Securities Exchange Act of 1934, as amended, the undersigned hereby consent to the joint filing on their behalf
of a single Schedule 13D and any amendments thereto, with respect to the beneficial ownership by each of the undersigned of shares of the common stock of
Venaxis, Inc., a Colorado corporation. The undersigned hereby further agree that this statement may be executed in any number of counterparts, each of which
when so executed shall be deemed to be an original, but all of which counterparts shall together constitute one and the same instrument.

Dated: September 13, 2016                                                   /s/ Barry Honig
                                                                            Barry Honig


Dated: September 13, 2016                                                   GRQ CONSULTANTS, INC. 401K

                                                                By:         /s/ Barry Honig
                                                                            Barry Honig
                                                                            Trustee
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 392 of 491 PageID: 7162
                                                                                          Exhibit 99.2
                                                                          Barry Honig
                                                                     555 S. Federal Highway
                                                                            Suite 450
                                                                      Boca Raton, FL 33432


                                                                                                                        September 13, 2016

VIA EMAIL AND OVERNIGHT UPS
Mr. Stephen Lundy
Venaxis, Inc
1585 South Perry Street
Castle Rock, CO 80104


Dear Mr. Lundy,

As Venaxis’ largest shareholder, it has become increasingly clear to me that changes must be made to protect shareholders’ interests and attempt to create value
from the company’s assets. Venaxis' management and board of directors have failed in this regard. The current management and board own a nominal amount of
equity in aggregate, and as a result they are not aligned with the company’s shareholders.

The first change that needs to be made is to immediately reconstitute Venaxis’ board. I have proposed a five person slate of new nominees for the board, whose
biographies are attached to this letter. I have called a special meeting of the shareholders so that these five experienced new nominees may stand for election and
replace the existing ineffectual board for a total of six directors, with you remaining as the sixth director.

Venaxis’ board has continued allowing the company to waste precious resources with no clear direction or strategy. The failed merger with Strand Life Sciences
was an expensive endeavor the brunt or which was borne by your shareholders, of which the board and management represent just a tiny fraction. Had the merger
proceeded it would have resulted in immense dilution for shareholders with a target that Venaxis’ shareholders had not had an interest in owning. The stock’s
positive reaction when the merger failed speaks to how the company’s actual shareholders felt about the deal.

Meanwhile, Venaxis’ cash continues to dwindle while board fees and management salaries continue to be paid. On January 27, 2015, the FDA notified the
company that it had determined that the APPY1 Test does not meet the criteria for market clearance as a class II device based upon data and information in your de
novo submission and subsequent amendment. Just prior to this notification, as of December 31, 2014, Venaxis had approximately $24.5 million in cash and short
term investments. At the most recent quarter end, as of June 30, 2016, Venaxis had approximately $16 million in cash and short term investments with a cash burn
of approximately $900,000 last quarter.

More than $8 million has been burned since the FDA rejection in early 2015. Shareholders cannot continue to wait around with question marks and a board that
has proven to be distracted and ineffective.

In the essence of preserving some of Venaxis’ cash for its rightful owners, the shareholders, we are also asking the shareholders to authorize a special dividend of
$7,500,000 as a return of capital to the shareholders. Following this dividend, the company will still have a minimum of two years of runway to pursue strategic
alternatives under its current overhead structure, which I expect to continue to be reduced. The company is also in line to receive potential milestone and royalty
payments under its licensing deal with Ceva Santé Animale S.A.

The cash dividend returns immediate value to shareholders and diverts a portion of Venaxis ’ assets away from board discretion, who only have managed to deplete
the cash available for shareholders through failed strategies, while entrenching their positions with the Company instead of maximizing shareholder value.

My preference is working together with you on these courses of action to effectuate the proposals immediately with your support rather than going through the
steps of voting to remove your board that we have today initiated through a special meeting. I believe working together we can most effectively protect and grow
shareholders’ interests. I hope that you agree.


                                                                                                                   Sincerely yours,

                                                                                                                   /s/ Barry Honig
                                                                                                                   _______________
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                                                                                          Exhibit 99.3

                                                                       BARRY HONIG
                                                                555 South Federal Highway, #450
                                                                     Boca Raton, FL 33432


                                                                            September 13, 2016


 By Email and UPS Overnight Service
 Stephen T. Lundy
 Chief Executive Officer
 Venaxis, Inc.
 1585 South Perry Street
 Castle Rock, CO 80104

                                              Re:   Demand For Special Meeting of the Shareholders of Venaxis, Inc.

Mr. Lundy:

       Barry Honig (the “Holder”) is the beneficial owner of shares of Venaxis, Inc., a Colorado corporation (“Venaxis” or the “Company”). The Holder
beneficially owns shares representing greater than ten (10%) percent of all the votes entitled to be cast at a meeting of the shareholders of the Company. I have
attached evidence of such ownership which consists of the Broker Statement and Schedule 13D filed with the Securities and Exchange Commission on September
13, 2016 and attached hereto as Exhibit A and Exhibit B , respectively.

       Pursuant to Section 7-107-102 of the Colorado Revised Statutes (“CRS”), the Holder hereby demands a special meeting (the “Meeting”) of the shareholders
of the Company be held. Notice of the Meeting should be provided by the Company to its shareholders within the timeframe allowed pursuant to the CRS and the
Company’s Bylaws.

       Pursuant to CRS 7-108-108, shareholders may remove one or more directors with or without cause. A director may be removed by the shareholders only at
a meeting called for the purpose of removing the director. The purpose of this Meeting demanded by the Holders is to vote on the removal of five (5) directors,
aside from you, currently serving on the Board of Directors. Additionally, proposals for a $7,500,000 dividend, to set the size of the board at no more than six (6)
directors and for the election of five (5) new directors shall take place at the Meeting. These purposes shall be described in the notice of the Meeting you are
required to provide to the shareholders under applicable Colorado law, to be substantially in the form of the form of such proposals included herewith as Exhibit C
.

      Should you have any questions regarding the foregoing, please do not hesitate to contact Harvey Kesner, Esq. at (212) 930-9700.

                                                                                  Very truly yours,

                                                                                  /s/ Barry Honig
                                                                                  __________________________
                                                                                  Barry Honig
                                                                                  Shares Beneficially Owned: 389,159 (10.04%)



                                                                                -1-
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                                     Exhibit A




                                       A-1
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                                      Exhibit B

                                      [Omitted]



                                        B-1
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                                                                              Exhibit C

                                                                         PROPOSAL NO. 1

                                                                    APPROVAL OF DIVIDEND


RESOLVED:

The Company shall be authorized and hereby is directed to declare and pay a special cash dividend to shareholders of record on the close of business on a date that
shall be determined by the Board of Directors (not later than 30 days following shareholder authorization) such dividend to be paid on outstanding shares of the
Company’s common stock, in the amount of $7,500,000 . The dividend paid shall constitute a reduction in capital of the Company.

Vote Required

The affirmative vote of a majority of the votes cast (either in person or by proxy) and entitled to vote on the matter is required to approve Proposal 1.



                                                                                  C-1
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                                                                         PROPOSAL NO. 2

                   APPROVAL TO FIX THE MAXIMUM NUMBER OF DIRECTORS OF THE COMPANY AT SIX (6) DIRECTORS


RESOLVED:

The Company shall be authorized and hereby is directed to establish the size of the Board of Directors and does hereupon fix the number of directors of the
Company at a maximum of six (6) directors, such maximum number not to be revised except upon further shareholder authorization as provided in this resolution.

Vote Required

The affirmative vote of a majority of the votes cast (either in person or by proxy) and entitled to vote on the matter is required to approve Proposal 2.



                                                                                  C-2
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                                                                      PROPOSAL NO. 3

                                                       REMOVAL FROM OFFICE OF DIRECTORS

RESOLVED:

Colorado Revised Statute (C.R.S.) Section 7-108-108 states that shareholders of the Company may remove one or more directors with or without cause at a
meeting called for the purpose of removing the director. The shareholders of the Company do hereby remove at a meeting called for the purpose of removal, the
following directors from the Board of Directors of the Company:

                                                                            Date First
                                                                            Elected or
Name                                       Age                              Appointed                                          Position(s)
Gail S. Schoettler                          72                                 2001                                   Non-Executive Chair and Director
Susan A. Evans                              68                                 2012                                              Director
Daryl J. Faulkner                           67                                 2009                                              Director
David E. Welch                              68                                 2004                                              Director
Stephen A. Williams                         56                                 2013                                              Director

Biographical information concerning the directors can be found in the Company’s Annual Report on Form 10-K for the year ended December 31, 2015.

Vote Required

The number of votes cast in favor of removal exceeds the number of votes cast against removal of each named director is required for Proposal 3.



                                                                               C-3
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                                                                       PROPOSAL NO. 4

                                                            ELECTION OF FIVE (5) DIRECTORS

RESOLVED:

The following persons are hereby nominated for election to the Board of Directors of the Company, and are hereby elected to serve as directors and to serve until
their successor(s) are duly qualified and elected on or following the 2017 annual meeting of shareholders of the Company, such directors may only be removed
“for cause” or resignation. Although it is not contemplated that any person will decline or be unable to serve as a director, in such event, the remaining Board
members are authorized to fill any such vacancies created.


                                                                 Name                        Age
                                                                 John Stetson                 31
                                                                 John O’Rourke                31
                                                                 Jesse Sutton                 47
                                                                 Michael Beeghley             49
                                                                 David Danziger               59

John Stetson has been the Managing Member of HS Contrarian Investments LLC, a private investment firm with a focus on early stage companies since 2010. In
addition, Mr. Stetson served as Executive Vice President, Chief Financial Officer, and Director of Marathon Patent Group, Inc. (NASDAQ:MARA) June 2012 to
February 2015, engaged in patenting, and patent acquisition, enforcement and monetization. Mr. Stetson was President & Co-Founder of Fidelity Property Group,
Inc. from April 2010 to July 2014, a real estate development group focused on acquisition, rehabilitation, and short-term disposition of single family homes. Prior,
Mr. Stetson held positions at Heritage Investment Group and Toll Brothers. Mr. Stetson also served as Chief Financial Officer, Executive Vice President and
Secretary of Majesco Entertainment Company (NASDAQ:COOL) since September 2015. Mr. Stetson received his BA in Economics from the University of
Pennsylvania.

John O’Rourke is an analyst and investor who currently serves as Managing Member of ATG Capital LLC, an investment fund focused on small and mid-cap
growth companies possessing distinct competitive advantages and superior management teams. Mr. O'Rourke currently serves on the Board of Directors of
Customer Acquisition Network Inc., a leading global performance based marketing company that reaches more than two billion users per month. Mr. O’Rourke
formerly served on the Board of Directors of Rant, Inc., an innovator in U.S. digital media, prior to its sale to a Nasdaq listed company. He was formerly CFO of
Fidelity Property Group, a real estate development company with a focus in California. He received his Bachelor of Science in Accounting with Honors from the
University of Maryland and a Master of Science in Finance from George Washington University.

Jesse Sutton is a consultant for various analytic and gaming related companies. Mr. Sutton founded Majesco Entertainment Company (NASDAQ: COOL) in 1998
and served as its Chief Executive Officer until July 2015 , as well as a director from December 5, 2003 until February 6, 2006 and again from August 23, 2006
until December 17, 2014. During this period, Mr. Sutton oversaw the successful launch and development of Zumba! Fitness which sold over $300 million in
games, among many other successful brands brought to market like Cooking Mama, Jillian Michaels Fitness and Disney’s Phineus and Ferb and Alvin and the
Chipmunks. Mr. Sutton consults with various online and digital companies engaged in internet commerce and game development. Mr. Sutton attended Yeshiva
University in New York.

Michael Beeghley has been President and founder of Applied Economics LLC (“Applied Economics”), a national corporate finance and financial advisory
services firm for 18 years. Mr. Beeghley has testified as an expert and provided expert opinions on numerous economic, financial and securities issues. Mr.
Beeghley advises pharmaceutical, biologics and medical device companies. Recently, Mr. Beeghley served as advisor to a drug distribution company sale to a
major private equity firm in a leveraged buy-out. Prior to forming Applied Economics, Mr. Beeghley was a Manager in the Corporate Finance Group of Ernst &
Young, LLP and a Senior Analyst in the Corporate Finance Group of PricewaterhouseCoopers. Mr. Beeghley currently serves as a director of Majesco
Entertainment Company (NASDAQ:COOL) since December 2015.

David Danziger is an Assurance Partner in MNP LLP’s Toronto office. He is the Senior Vice President of Assurance for the firm as well as the National Leader of
MNP’s Public Companies practice. An accounting professional since 1980, Mr. Danziger is proficient in his field, serving in both the audit function and as a
compliance advisor to public companies as well as to private firms looking to become public. His years of experience are a benefit to clients engaging in any form
of public market transaction. Mr. Danziger also assists clients with significant transactions, complex accounting matters and regulatory issues as well as prospectus
filing and other publicly filed documents. Mr. Danziger 's experience with US Reporting Issuers as well as Canadian Reporting Issuers has required him to be
fluent in both IFRS and US GAAP. Mr. Danziger has served as a Director for public companies for many years and currently has significant director positions with
TSX, TSXV, NYSE and AMEX-listed public companies. Mr. Danziger graduated from the University of Toronto with a Bachelor of Commerce in 1980 and
completed the School of Accountancy in 1983.

There are no family relationships between these nominees and any director or executive officer of the Company and there were no related party transactions
between this nominee and the Company. No nominee has had any involvement in any legal proceedings (10 years) pursuant to Item 401 of Regulation S-K.

Vote Required

The affirmative vote of the holders of a plurality of the common stock present at the special meeting of stockholders is required for election of each director
nominee set forth in this proposal.


                                                                                C-4
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                                                                                           Exhibit 99.4
                                                                         BARRY HONIG
                                                                  555 South Federal Highway, #450
                                                                       Boca Raton, FL 33432
                                                                         T: 561-961-4237
                                                                         F: 561-235-5379
                                                                       E: brhonig@aol.com



                                                                              September 13, 2016
By E-Mail and Overnight UPS Mail
Daryl Faulkner
Chair, Nominating Committee
c/o Venaxis, Inc.
1585 South Perry Street
Castle Rock, Colorado 80104

                                                   Re: Nomination of Five (5) Director Candidates of Venaxis, Inc.

Dear Mr. Faulkner:

       I am a record and beneficial holder of shares of Venaxis, Inc., a Colorado corporation (“Venaxis” or the “Company”). Directly and as trustee of GRQ
Consultants, Inc. 401K, I beneficially own shares representing greater than ten (10%) percent of common stock, of the Company. I have attached evidence of such
ownership which consists of the Broker Statement and Schedule 13D filed with the Securities and Exchange Commission on September 13, 2016 and attached
hereto as Exhibit A and Exhibit B , respectively.

       Pursuant to the procedures for nominating a director candidate to the Board of Directors (the “Board”) of the Company, I hereby wish to nominate the
following candidates to stand for election at the special meeting of the shareholders of the Company called to take place on a date of the Company’s choosing
within the timeframe allowed pursuant to the CRS and the Company’s Bylaws:

 1.   John Stetson
 a.   68 Fiesta Way, Boca Raton, FL 33432
 b.   T: 561-961-4371, F: 561-235-5379, E: stetson.john@gmail.com
 c.   Mr. Stetson has been the Managing Member of HS Contrarian Investments LLC, a private investment firm with a focus on early stage companies since 2010.
      In addition, Mr. Stetson served as Executive Vice President, Chief Financial Officer, and Director of Marathon Patent Group, Inc. (NASDAQ:MARA) June
      2012 to February 2015, engaged in patenting, and patent acquisition, enforcement and monetization. Mr. Stetson was President & Co-Founder of Fidelity
      Property Group, Inc. from April 2010 to July 2014, a real estate development group focused on acquisition, rehabilitation, and short-term disposition of single
      family homes. Prior, Mr. Stetson held positions at Heritage Investment Group and Toll Brothers. Mr. Stetson also served as Chief Financial Officer,
      Executive Vice President and Secretary of Majesco Entertainment Company (NASDAQ:COOL) since September 2015. Mr. Stetson received his BA in
      Economics from the University of Pennsylvania.
 d.   There are no family relationships between this nominee and any director or executive officer of the Company.
 e.   No involvement in any legal proceedings (10 years).
 f.   This nominee’s security ownership of the Company is as follows: No ownership.
 g.   There were no related party transactions between this nominee and the Company.

 2. John O’Rourke
 a. 808 Solar Isle Dr., Fort Lauderdale, FL 33301
 b. T: 610-247-3917, F: 561-235-5379, E: john@atgcapitalllc.com
 c. Mr. O’Rourke is an analyst and investor who currently serves as Managing Member of ATG Capital LLC, an investment fund focused on small and mid-cap
    growth companies possessing distinct competitive advantages and superior management teams. Mr. O'Rourke currently serves on the Board of Directors of
    Customer Acquisition Network Inc., a leading global performance based marketing company that reaches more than two billion users per month. Mr.
    O’Rourke formerly served on the Board of Directors of Rant, Inc., an innovator in U.S. digital media, prior to its sale to a Nasdaq listed company. He was
    formerly CFO of Fidelity Property Group, a real estate development company with a focus in California. He received his Bachelor of Science in Accounting
    with Honors from the University of Maryland and a Master of Science in Finance from George Washington University.
 d. There are no family relationships between this nominee and any director or executive officer of the Company.
 e. No involvement in any legal proceedings (10 years).
 f. This nominee’s security ownership of the Company is as follows:

                                  Amount and Nature
         Title of Class        o f Beneficial Ownership       Percent of Class
        Common Stock               12,500 Shares   (1)             .32% (2)

        Represents 12,500 shares of common stock held by ATG Capital LLC (“ATG”). Mr. O’Rourke is the sole manager and member of ATG and in such
    (1) capacity holds voting and dispositive power over the securities held by ATG.
        Calculated based on 3,876,961 shares of the Common Stock outstanding as of August 10, 2016, as reported in the Company’s Form 10-Q for the period
    (2) ended June 30, 2016 filed with the SEC on August 10, 2016.
 g. There were no related party transactions between this nominee and the Company.
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          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 402 of 491 PageID: 7172
3. Jesse Sutton
a. 1989 East 2nd Street, Brooklyn, NY 11223
b. T: 732-233-0436, F: 732-225-8408, E: jesutton@majescoent.com
c. Mr. Sutton is a consultant for various analytic and gaming related companies. Mr. Sutton founded Majesco Entertainment Company (NASDAQ: COOL) in
   1998 and served as its Chief Executive Officer until July 2015 , as well as a director from December 5, 2003 until February 6, 2006 and again from August 23,
   2006 until December 17, 2014. During this period, Mr. Sutton oversaw the successful launch and development of Zumba! Fitness which sold over $300
   million in games, among many other successful brands brought to market like Cooking Mama, Jillian Michaels Fitness and Disney’s Phineus and Ferb and
   Alvin and the Chipmunks. Mr. Sutton consults with various online and digital companies engaged in internet commerce and game development. Mr. Sutton
   attended Yeshiva University in New York.
d. No involvement in any legal proceedings (10 years).
e. This nominee’s security ownership of the Company is as follows: No ownership.
f. There were no related party transactions between this nominee and the Company.

4.   Michael Beeghley
a.   825 West Peachtree Street, Suite 250, Atlanta, GA 30308
b.   T: 404-214-3600, F: 404 ‐ 214 ‐ 3601, E: michael@appliedecon.com
c.   Mr. Beeghley has been President and founder of Applied Economics LLC (“Applied Economics”), a national corporate finance and financial advisory services
     firm for 18 years. Mr. Beeghley has testified as an expert and provided expert opinions on numerous economic, financial and securities issues. Mr. Beeghley
     advises pharmaceutical, biologics and medical device companies. Recently, Mr. Beeghley served as advisor to a drug distribution company sale to a major
     private equity firm in a leveraged buy-out. Prior to forming Applied Economics, Mr. Beeghley was a Manager in the Corporate Finance Group of Ernst &
     Young, LLP and a Senior Analyst in the Corporate Finance Group of PricewaterhouseCoopers. Mr. Beeghley currently serves as a director of Majesco
     Entertainment Company (NASDAQ:COOL) since December 2015.
d.   There are no family relationships between this nominee and any director or executive officer of the Company.
e.   No involvement in any legal proceedings (10 years).
f.   This nominee’s security ownership of the Company is as follows: No ownership.
g.   There were no related party transactions between this nominee and the Company.

5. David Danziger
a. 903 – 10 Bellair Street, Toronto, Ontario M5R 3T8
b. T: 647-296-3658, F: n/a, E: david.danziger@mnp.ca
c. Mr. Danziger is an Assurance Partner in MNP LLP’s Toronto office. He is the Senior Vice President of Assurance for the firm as well as the National Leader
   of MNP’s Public Companies practice. An accounting professional since 1980, Mr. Danziger is proficient in his field, serving in both the audit function and as
   a compliance advisor to public companies as well as to private firms looking to become public. His years of experience are a benefit to clients engaging in any
   form of public market transaction. Mr. Danziger also assists clients with significant transactions, complex accounting matters and regulatory issues as well as
   prospectus filing and other publicly filed documents. Mr. Danziger 's experience with US Reporting Issuers as well as Canadian Reporting Issuers has required
   him to be fluent in both IFRS and US GAAP. Mr. Danziger has served as a Director for public companies for many years and currently has significant director
   positions with TSX, TSXV, NYSE and AMEX-listed public companies. Mr. Danziger graduated from the University of Toronto with a Bachelor of
   Commerce in 1980 and completed the School of Accountancy in 1983.
d. No involvement in any legal proceedings (10 years).
e. This nominee’s security ownership of the Company is as follows: No ownership.
f. There were no related party transactions between this nominee and the Company.

       Furthermore, attached hereto as Exhibit C , are the signed written consents of the nominees for election as director of the Company.

       Should you have any questions regarding the foregoing, please do not hesitate to contact our counsel Harvey Kesner, Esq. at (212) 930-9700.

                                                                                  Very truly yours,

                                                                                  /s/ Barry Honig
                                                                                  _______________________
                                                                                  Barry Honig


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                                     Exhibit A




                                       A-1
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                                      Exhibit B

                                      [Omitted]



                                        B-1
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                                     Exhibit C
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                                       C-1
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                                       C-2
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                        Exhibit K
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Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 419 of 491 PageID: 7189
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 420 of 491 PageID: 7190
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                         Exhibit L
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                                                                         3       7193




          2/26/2020
Case 3:18-cv-02293-GC-RLS   Document
           Case 1:18-cv-08175-ER     188 Filed
                                 Document 213 12/24/20
                                          214           Page 424
                                               Filed 02/26/20
                                                     02/25/20    of 491
                                                              Page  3 of PageID:
                                                                         3       7194
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                        Exhibit M
                      Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 426 of 491 PageID: 7196


                                             GRQ 401K                         KESNER
                                                             O’ROURKE
                               MARCANDY                                                       JAMES




               DEFRANCESCO                                                                                   BEEGHLEY


         GRANDER                                                                                                         ATG



                                                               RIOT
  RICHARDSON                                                                                                                   STOCKWIRE

                                           BIOZONE                               MGT
                                                                                                                                  STETSON
NORTHURST                                                                                                                         CAPITAL




 BRAUSER                             MARATHON
                                                            HONIG                      PERSHING
                                                                                         GOLD
                                                                                                                               STETSON



ALAN HONIG                                                                                                                          AIFOS



   PARADOX                                 MABVAX                                    MUNDO                                     BHANSALI



         POLICY NO.
                                                            POLARITYTE
                                                                                                                      MELECHDAVID
          2013-17




                 KAPLAN                                                                                          SO


                        KARR                                                                            JAD CAPITAL



                                MOLINSKY                    GROUSSMAN                        JONATHAN
                                                                                               HONIG
                                                O’BRAITIS                  NAMASTE
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 427 of 491 PageID: 7197




                        Exhibit N
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 428 of 491 PageID: 7198
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                        Exhibit O
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 431 of 491 PageID: 7201




                     RIOT BLOCKCHAIN, INC.
                    Filed by
         DEFRANCESCO CATHERINE JOHANNA




                                         FORM SC 13D/A
                                (Amended Statement of Beneficial Ownership)




                                                 Filed 09/20/16


                 Address             202 6TH STREET, SUITE 401
                                     CASTLE ROCK, CO, 80104
            Telephone                303-794-2000
                    CIK              0001167419
                Symbol               RIOT
             SIC Code                2835 - In Vitro and In Vivo Diagnostic Substances
               Industry              Financial & Commodity Market Operators
                 Sector              Financials
            Fiscal Year              12/31




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    Distribution and use of this document restricted under EDGAR Online, a division of Donnelley Financial Solutions, Terms of Use.
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 432 of 491 PageID: 7202
                                                                     UNITED STATES
                                                         SECURITIES AND EXCHANGE COMMISSION
                                                                  Washington, D.C. 20549

                                                                         SCHEDULE 13D/A
                                                                          Amendment No. 2
                                                              Under the Securities Exchange Act of 1934

                                                                           Venaxis, Inc.
                                                                             (Name of Issuer)

                                                                     Common stock, no par value
                                                                      (Title of Class of Securities)

                                                                              92262A206
                                                                            (CUSIP Number)

                                                                     Catherine Johanna DeFrancesco
                                                                          365 Bay St. Suite 840
                                                                         Toronto, ON M5H 2V1
                                                                                  Canada
                                                                           Tel. (416) 362-4441

                                                                                Copies to:

                                                                        Joe Laxague, Esq.
                                                                        Laxague Law, Inc.
                                                                     1 East Liberty, Suite 600
                                                                         Reno, NV 89501
                                                                       Tel. (775) 234-5221
                                                   (Name, Address and Telephone Number of Person Authorized to
                                                              Receive Notices and Communications)

                                                                        September 20, 2016
                                                        (Date of Event which Requires Filing of this Statement)

If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this Schedule 13D, and is filing this schedule
because of Sec.Sec.240.13d-1(e), 240.13d-1(f) or 240.13d-1(g), check the following box. o

Note: Schedules filed in paper format shall include a signed original and five copies of the schedule, including all exhibits. See Rule.13d-7 for other parties to
whom copies are to be sent.

* The remainder of this cover page shall be filled out for a reporting person’s initial filing on this form with respect to the subject class of securities, and for any
subsequent amendment containing information which would alter disclosures provided in a prior cover page.

The information required on the remainder of this cover page shall not be deemed to be “filed” for the purpose of Section 18 of the Securities Exchange Act of
1934 (“Act”) or otherwise subject to the liabilities of that section of the Act but shall be subject to all other provisions of the Act (however, see the Notes).
            Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 433 of 491 PageID: 7203

1. Names of Reporting Persons.

Catherine Johanna DeFrancesco

2. Check the Appropriate Box if a Member of a Group
(a) [ ]
(b) [X]

3. SEC Use Only

4. Source of Funds
WC

5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

6. Citizenship or Place of Organization
Canada

                                              7. Sole Voting Power
                                              341,176 (1)
  Number of Shares
  Beneficially                                8. Shared Voting Power
  Owned by                                    0
  Each Reporting
  Person With:                                9. Sole Dispositive Power
                                              341,176 (1)

                                              10. Shared Dispositive Power
                                              0

11. Aggregate Amount Beneficially Owned by Each Reporting Person
341,176 (1)

12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares
o

13. Percent of Class Represented by Amount in Row (11)
8.80% (2)

14. Type of Reporting Person
IN


(1) Includes   shares beneficially owned through the following entities:

DSB Capital, Ltd., a Turks & Caicos company where Ms. DeFrancesco serves as the Trustee – 64,000 shares
DeFrancesco Motorsports, Inc., an Ontario corporation where Ms. DeFrancesco serves as the President – 59,100 shares
Delavalco Holdings, Inc., an Ontario corporation where Ms. DeFrancesco serves as the President – 81,500 shares
Delavalco Holdings, Inc., an Florida corporation where Ms. DeFrancesco serves as the President – 85,466 shares
Marcandy Investments Corp., an Ontario corporation where Ms. DeFrancesco serves as the President – 5,000 shares
Namaste Gorgie, Inc., an Ontario corporation where Ms. DeFrancesco serves as the President – 46,110 shares

(2) Based   on 3,876,961 shares issued and outstanding as of August 10, 2016, as reported on the issuer’s Form 10-Q filed August 10, 2016.
         Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 434 of 491 PageID: 7204

Explanatory Notes

This Amendment No. 2 further amends and supplements the Schedule 13D and Schedule 13D/A filed with the Securities and Exchange Commission on September
12, 2016 (the “Original Filing”) and September 14, 2016 (“Amendment No. 1), respectively, relating to the common stock, no par value (the “Common Stock”), of
Venaxis, Inc. a Colorado corporation (the “Issuer”). The address of the principal executive office of the Issuer is 1585 South Perry Street, Castle Rock, Colorado
80104.


Capitalized terms not defined herein shall have the meaning ascribed to them in the Original Schedule 13D. Except as set forth herein, the Original Schedule 13D
and Amendment No. 1 are unmodified.


ITEM 4. PURPOSE OF TRANSACTION

Item 4 of the Original Filing and Amendment No. 1 are hereby supplemented as follows:

On September 20, 2016, the Reporting Person submitted a letter to the Issuer reiterating her September 14, 2016 demand for special meeting of the Issuer’s
shareholders, joining in the prior demand of shareholder Barry Honig, and joining in Mr. Honig’s director nominations for the Issuer. The letter is attached as
Exhibit 99.1.


ITEM 7. MATERIAL TO BE FILED AS EXHIBITS

Exhibit No .    Description
99.1            Letter to the Issuer dated September 20, 2016
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 435 of 491 PageID: 7205

                                                                            SIGNATURE

After reasonable inquiry and to the best of my knowledge and belief, I certify that the information set forth in this statement is true, complete and correct.


September 20, 2016
Date


/s/ Catherin Johanna DeFrancesco
Catherine Johanna DeFrancesco
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 436 of 491 PageID: 7206
                                                                                           Exhibit 99.1

                                                                CATHERINE JOHANNA DEFRANCESCO
                                                                     365 Bay St. Suite 840
                                                                    Toronto, ON M5H 2V1
                                                                            Canada

                                                                        September 20, 2016

 By email to: dwelch@welchconsul.com ; info@venaxis.com

 Stephen T. Lundy
 Chief Executive Officer
 Venaxis, Inc.
 1585 South Perry Street
 Castle Rock, CO 80104

                                         Re:   Repeated Demand for Special Meeting of the Shareholders of Venaxis, Inc.

Mr. Lundy:

        I am writing to follow-up on my letter transmitted by e-mail on September 14, 2016. As previously stated, I am the beneficial owner of shares of Venaxis,
Inc., a Colorado corporation (“Venaxis” or the “Company”). I beneficially own 341,176 shares representing approximately 8.8% of all the votes entitled to be cast
at a meeting of the shareholders of the Company. A copy of my most recent amended Schedule 13D filed with the Securities and Exchange Commission is
attached as Exhibit A hereto and incorporated by reference. My shares are beneficially owned through several entities, as set forth in my Schedule 13D, as
amended. The shares are held through the following broker-dealers: Richardson GMP Limited, Industrial Alliance Securities Inc., and Merrill Lynch, Pierce,
Fenner, & Smith, Inc.

       Pursuant to Section 7-107-102 of the Colorado Revised Statutes, I repeat my demand made September 14, 2016 for a special meeting of the shareholders of
the Company (the “Meeting”) and join in the demand for a special meeting of the shareholders made by Barry Honig dated September 13, 2016, a copy of which is
attached as Exhibit B hereto and incorporated by reference. The purposes of the meeting should be, as set forth in Mr. Honig’s meeting demand: (1) to vote on the
removal of five (5) directors, aside from you, currently serving on the Board of Directors, (2) to vote on a $7,500,000 shareholder dividend, and (3) to set the size
of the board at no more than six (6) directors and for the election of five (5) new directors as follows: John Stetson, John O’Rourke, Jesse Sutton, Michael
Beeghley, and David Danziger. I join in Mr. Honig’s prior nomination of these individuals to serve as members of the board of directors, a copy of which is
attached as Exhibit C hereto and incorporated by reference.

      Should you have any questions regarding the foregoing, please do not hesitate to contact Joe Laxague, Esq. at (775) 234-5221.

Very truly yours,

/s/ Catherine Johanna DeFrancesco
Catherine Johanna DeFrancesco

Enclosures
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                                 EXHIBIT A
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 438 of 491 PageID: 7208


                                                                     UNITED STATES
                                                         SECURITIES AND EXCHANGE COMMISSION
                                                                  Washington, D.C. 20549

                                                                        SCHEDULE 13D/A
                                                                         Amendment No. 1
                                                              Under the Securities Exchange Act of 1934

                                                                              Venaxis, Inc.
                                                                             (Name of Issuer)


                                                                     Common stock, no par value
                                                                      (Title of Class of Securities)


                                                                              92262A206
                                                                            (CUSIP Number)

                                                                     Catherine Johanna DeFrancesco
                                                                          365 Bay St. Suite 840
                                                                         Toronto, ON M5H 2V1
                                                                                  Canada
                                                                           Tel. (416) 362-4441

                                                                                Copies to:

                                                                        Joe Laxague, Esq.
                                                                        Laxague Law, Inc.
                                                                     1 East Liberty, Suite 600
                                                                         Reno, NV 89501
                                                                       Tel. (775) 234-5221
                                                   (Name, Address and Telephone Number of Person Authorized to
                                                              Receive Notices and Communications)

                                                                        September 13, 2016
                                                        (Date of Event which Requires Filing of this Statement)

If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this Schedule 13D, and is filing this schedule
because of §§240.13d-1(e), 240.13d-1(f) or 240.13d-1(g), check the following box. o

Note: Schedules filed in paper format shall include a signed original and five copies of the schedule, including all exhibits. See Rule.13d-7 for other parties to
whom copies are to be sent.

* The remainder of this cover page shall be filled out for a reporting person’s initial filing on this form with respect to the subject class of securities, and for any
subsequent amendment containing information which would alter disclosures provided in a prior cover page.

The information required on the remainder of this cover page shall not be deemed to be “filed” for the purpose of Section 18 of the Securities Exchange Act of
1934 (“Act”) or otherwise subject to the liabilities of that section of the Act but shall be subject to all other provisions of the Act (however, see the Notes).
            Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 439 of 491 PageID: 7209


1. Names of Reporting Persons.

Catherine Johanna DeFrancesco
2. Check the Appropriate Box if a Member of a Group
(a) [ ]
(b) [X]

3. SEC Use Only

4. Source of Funds
WC

5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)
o

6. Citizenship or Place of Organization
Canada

                                              7. Sole Voting Power
                                              341,176 (1)
  Number of Shares
  Beneficially                                8. Shared Voting Power
  Owned by                                    0
  Each Reporting
  Person With:                                9. Sole Dispositive Power
                                              341,176 (1)

                                              10. Shared Dispositive Power
                                              0

11. Aggregate Amount Beneficially Owned by Each Reporting Person
341,176 (1)

12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares
o

13. Percent of Class Represented by Amount in Row (11)
8.80% (2)

14. Type of Reporting Person
IN


(1) Includes   shares beneficially owned through the following entities:

  DSB Capital, Ltd., a Turks & Caicos company where Ms. DeFrancesco serves as the Trustee – 64,000 shares
  DeFrancesco Motorsports, Inc., an Ontario corporation where Ms. DeFrancesco serves as the President – 59,100 shares
  Delavalco Holdings, Inc., an Ontario corporation where Ms. DeFrancesco serves as the President – 81,500 shares
  Delavalco Holdings, Inc., an Florida corporation where Ms. DeFrancesco serves as the President – 85,466 shares
  Marcandy Investments Corp., an Ontario corporation where Ms. DeFrancesco serves as the President – 5,000 shares
  Namaste Gorgie, Inc., an Ontario corporation where Ms. DeFrancesco serves as the President – 46,110 shares

(2) Based   on 3,876,961 shares issued and outstanding as of August 10, 2016, as reported on the issuer’s Form 10-Q filed August 10, 2016.
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 440 of 491 PageID: 7210

ITEM 1. SECURITY AND ISSUER

        (a) Name of Issuer:

           Venaxis, Inc.

        (b) Address of Issuer's Principal Executive Offices:

           1585 South Perry Street
           Castle Rock, Colorado 80104

        (c) Title of the class of equity securities to which this statement relates:

           Common stock, no par value

ITEM 2. IDENTITY AND BACKGROUND

If the person filing this statement or any person enumerated in Instruction C of this statement is a corporation, general partnership, limited partnership, syndicate or
other group of persons, state its name, the state or other place of its organization, its principal business, the address of its principal office and the information
required by (d) and (e) of this Item. If the person filing this statement or any person enumerated in Instruction C is a natural person, provide the information
specified in (a) through (f) of this Item with respect to such person(s).

        (a) Name:

           Catherine Johanna DeFrancesco

        (b) Residence or business address:

           365 Bay St. Suite 840
           Toronto, ON M5H 2V1
           Canada

      (c) Present principal occupation or employment and the name, principal business and address of any corporation or other organization in which such
employment is conducted:

          Ms. DeFrancesco serves as the President and Owner of Delavalco Holdings, Inc., an Ontario corporation. Her business address is 365 Bay St. Suite
840, Toronto, ON M5H 2V1.

      (d) Whether or not, during the last five years, such person has been convicted in a criminal proceeding (excluding traffic violations or similar
misdemeanors) and, if so, give the dates, nature of conviction, name and location of court, and penalty imposed, or other disposition of the case:

           No.

         (e) Whether or not, during the last five years, such person was a party to a civil proceeding of a judicial or administrative body of competent jurisdiction
and as a result of such proceeding was or is subject to a judgment, decree or final order enjoining future violations of, or prohibiting or mandating activities subject
to, federal or state securities laws or finding any violation with respect to such laws; and, if so, identify and describe such proceedings and summarize the terms of
such judgment, decree or final order:

           No.

        (f) Citizenship:

           Canada
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 441 of 491 PageID: 7211

ITEM 3. SOURCE AND AMOUNT OF FUNDS OR OTHER CONSIDERATION

The source of funds was the working capital of the entities, as detailed above, through which Ms. DeFrancesco holds her beneficial ownership.

ITEM 4. PURPOSE OF TRANSACTION

The reporting person may engage in discussions with management and security holders of the issuer and other persons with respect to the subject class of
securities, the issuer, the issuer’s industry, business, condition, operations, structure, governance, management, capitalization, policies, plans, and prospects and
related and other matters. In particular, the reporting person may engage in discussions with management and security holders of the issuer regarding the
complexion of the issuer’s board of directors and options for increasing shareholder value. The reporting person plans and proposes to review and analyze such
reporting person’s interest in the issuer on a continuing basis and may engage in such discussions, as well as discussions with the issuer, the issuer’s directors and
officers and other persons related to the issuer, as the reporting person deems necessary or appropriate in connection with the reporting person’s interest in the
issuer.

Depending upon the factors described below and any other factor that is or becomes relevant, the reporting person plans and proposes to: (a) acquire additional
amounts of the subject class of securities or different equity, debt, or other securities of the issuer, derivative securities related to securities of the issuer or other
securities related to the issuer (collectively, “Issuer-Related Securities”) or a combination or combinations of Issuer-Related Securities, including by purchase or
other method, pursuant to open market, private, tender offer, or other transactions, using borrowed or other funds or consideration of or from any source described
herein or other source or via a combination or combinations of such methods, transactions, consideration, and sources; (b) dispose of all or part of the securities
covered by this statement and any other Issuer- Related Securities, including by sale or other method, pursuant to open market, private, or other transactions or via
a combination or combinations of such methods and transactions; (c) engage in financing, lending, hedging, pledging, or similar transactions involving the
securities covered by this statement or other Issuer-Related Securities or a combination or combinations of such transactions; (d) engage in discussions and
otherwise communicate with the issuer, officers, directors, and security holders of the issuer and other persons related to the issuer with respect to Issuer-Related
Securities, the issuer, the issuer’s industry, business, condition, operations, structure, governance, management, capitalization, dividend policy, other policies,
plans, and prospects and related and other matters; (e) suggest or recommend a transaction or transactions involving the acquisition, sale, or exchange of all or part
of the Issuer-Related Securities or assets of the issuer, other actions or a combination or combinations of such actions, in any case, which relates or relate to (or
could result in) a change or changes to the issuer’s business, condition, operations, structure, governance, management, capitalization, policies, plans, and
prospects and similar and other actions and changes; (f) make a proposal or proposals involving the acquisition or sale of all or part of the Issuer-Related Securities
or assets of the issuer; (g) make a proposal or proposals to request that the issuer and/or the security holders of the issuer consider an extraordinary or other
transaction, such as a merger or reorganization, or a combination or combinations of such transactions; and (h) engage in a combination or combinations of the
foregoing plans and/or proposals.

Each such plan or proposal may be subject to, and depend upon, a variety of factors, including (i) current and anticipated trading prices and the expected value of
applicable Issuer-Related Securities, (ii) the issuer’s financial condition and position, results of operations, plans, prospects and strategies, (iii) general industry
conditions, (iv) the availability, form and terms of financing and other investment and business opportunities, (v) general stock market and economic conditions,
(vi) tax considerations and (vii) other factors. Each acquisition, disposition, transaction, discussion, communication, suggestion, recommendation, proposal and
other action described herein may be effected, made or taken, as applicable, at any time and/or from time to time without prior notice. Although the plans and
proposals described herein reflect the plans and proposals presently contemplated by the reporting person with respect to the issuer and the Issuer-Related
Securities, as applicable, each such plan and proposal is subject to change at any time and from time to time dependent upon contingencies and assumed and
speculative conditions and other factors, including actions taken by the issuer, the issuer’s board of directors, other security holders of the issuer and other parties
and the outcome of the discussions, communications, transactions and other actions described herein. There can be no assurance that any such plan or proposal will
be consummated or pursued or result in any transaction described herein or other transaction or that any action contemplated by any such plan or proposal (or any
similar action) will be taken. Except as otherwise described herein, no reporting person currently has any plan or proposal that relates to or would result in any of
the actions specified in clause (a) through (h) of Item 4 of Schedule 13D. However, the reporting person may, at any time and from time to time, plan or propose to
effect or cause an action or actions relating to or resulting in one or more of the actions specified in clause (a) through (h) of Item 4 of Schedule 13D.
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 442 of 491 PageID: 7212

ITEM 5. INTEREST IN SECURITIES OF THE ISSUER

        (a) The aggregate number and percentage of the subject class of securities beneficially owned by the reporting person is stated (and those securities for
which the reporting person has a right to acquire, if any, are identified) in items 11 and 13 on the reporting person’s cover page hereto or otherwise herein, based
3,876,960 shares of Common Stock outstanding as of August 10, 2016.

        (b) Number of securities for or as to which each reporting person has:

               (i)     Sole power to vote or to direct the vote:

                       See Item 7 on the reporting person’s cover page hereto.

               (ii)    Shared power to vote or to direct the vote:

                       See Item 8 on the reporting person’s cover page hereto.

               (iii)   Sole power to dispose or to direct the disposition of:

                       See Item 9 on the reporting person’s cover page hereto.

        (c) During the past sixty days, the only transactions in Common Stock effected by the reporting person were the open market purchases set forth in Exhibit
1.1.

ITEM 6. CONTRACTS, ARRANGEMENTS, UNDERSTANDINGS OR RELATIONSHIPS WITH RESPECT TO SECURITIES OF THE ISSUER

There are currently no contracts, arrangements, understandings or relationships (legal or otherwise) between the person named in Item 2 and any other person with
respect to any securities of the issuer, including but not limited to transfer or voting of any of the securities, finder's fees, joint ventures, loan or option
arrangements, puts or calls, guarantees of profits, division of profits or loss, or the giving or withholding of proxies.

ITEM 7. MATERIAL TO BE FILED AS EXHIBITS

Exhibit No .                  Description
1.1                           Transactions in Shares
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 443 of 491 PageID: 7213

                                                                            SIGNATURE

After reasonable inquiry and to the best of my knowledge and belief, I certify that the information set forth in this statement is true, complete and correct.


September 14, 2016
Date



/s/ Catherine Johanna DeFrancesco
Catherine Johanna DeFrancesco
         Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 444 of 491 PageID: 7214

                                         Transactions in Shares by the Reporting Person



                     Purchasing entity                    Trade date                      Shares             Price per Share
Delavalco Holdings, Inc. (FL)                             9/14/2016                                10,100                      3.78
DeFrancesco Motorsports, Inc.                             9/13/2016                                10,000                      4.34
Delavalco Holdings, Inc.                                  9/13/2016                                10,000                      4.29
Delavalco Holdings, Inc. (FL)                             9/13/2016                                  8,000                     4.35
Delavalco Holdings, Inc. (FL)                             9/12/2016                                12,672                      4.08
Delavalco Holdings, Inc. (FL)                              9/9/2016                                  9500                      3.91
Delavalco Holdings, Inc. (FL)                              9/8/2016                                 10194                      3.86
Delavalco Holdings, Inc. (FL)                              9/2/2016                                 35000                      3.86
Namaste Gorgie, Inc.                                       9/2/2016                                 39110                      3.80
DSB Capital, Ltd.                                          9/2/2016                                 25000                      3.79
DeFrancesco Motorsports, Inc.                              9/2/2016                                 39100                      3.74
Delavalco Holdings, Inc.                                   9/1/2016                                  2500                      3.85
Delavalco Holdings, Inc.                                   9/1/2016                                  5000                      3.89
Delavalco Holdings, Inc.                                   9/1/2016                                    580                     3.89
Delavalco Holdings, Inc.                                   9/1/2016                                  4420                      3.85
Delavalco Holdings, Inc.                                   9/1/2016                                  2443                      3.84
Delavalco Holdings, Inc.                                   9/1/2016                                  2500                      3.85
Delavalco Holdings, Inc.                                   9/1/2016                                  7757                      3.85
Delavalco Holdings, Inc.                                   9/1/2016                                  7300                      3.91
DSB Capital, Ltd.                                          9/1/2016                                    200                     3.85
Namaste Gorgie, Inc.                                      8/31/2016                                  2000                      3.37
DSB Capital, Ltd.                                         8/31/2016                                    724                     3.74
DSB Capital, Ltd.                                         8/31/2016                                  6758                      3.62
DSB Capital, Ltd.                                         8/31/2016                                  5682                      3.67
DSB Capital, Ltd.                                         8/31/2016                                  6836                      3.69
Delavalco Holdings, Inc.                                  8/30/2016                                 25000                      3.52
Delavalco Holdings, Inc.                                  8/30/2016                                  4000                      3.37
Delavalco Holdings, Inc.                                  8/30/2016                                  4000                      3.35
Delavalco Holdings, Inc.                                  8/30/2016                                  1000                      3.36
Delavalco Holdings, Inc.                                  8/30/2016                                  5000                      3.67
Namaste Gorgie, Inc.                                      8/30/2016                                  5000                      3.36
DSB Capital, Ltd.                                         8/30/2016                                  8800                      3.52
DSB Capital, Ltd.                                         8/30/2016                                  6000                      3.63
DSB Capital, Ltd.                                         8/30/2016                                  3000                      3.59
DSB Capital, Ltd.                                         8/30/2016                                  1000                      3.62
DeFrancesco Motorsports, Inc.                             8/30/2016                                 10000                      3.64
Marcandy Investments Corp.                                8/30/2016                                  5000                      3.36
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 445 of 491 PageID: 7215


                                 EXHIBIT B
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 446 of 491 PageID: 7216

                                                                       BARRY HONIG
                                                                555 South Federal Highway, #450
                                                                     Boca Raton, FL 33432


                                                                            September 13, 2016


 By Email and UPS Overnight Service
 Stephen T. Lundy
 Chief Executive Officer
 Venaxis, Inc.
 1585 South Perry Street
 Castle Rock, CO 80104

                                              Re:   Demand For Special Meeting of the Shareholders of Venaxis, Inc.

Mr. Lundy:

       Barry Honig (the “Holder”) is the beneficial owner of shares of Venaxis, Inc., a Colorado corporation (“Venaxis” or the “Company”). The Holder
beneficially owns shares representing greater than ten (10%) percent of all the votes entitled to be cast at a meeting of the shareholders of the Company. I have
attached evidence of such ownership which consists of the Broker Statement and Schedule 13D filed with the Securities and Exchange Commission on September
13, 2016 and attached hereto as Exhibit A and Exhibit B , respectively.

       Pursuant to Section 7-107-102 of the Colorado Revised Statutes (“CRS”), the Holder hereby demands a special meeting (the “Meeting”) of the shareholders
of the Company be held. Notice of the Meeting should be provided by the Company to its shareholders within the timeframe allowed pursuant to the CRS and the
Company’s Bylaws.

       Pursuant to CRS 7-108-108, shareholders may remove one or more directors with or without cause. A director may be removed by the shareholders only at
a meeting called for the purpose of removing the director. The purpose of this Meeting demanded by the Holders is to vote on the removal of five (5) directors,
aside from you, currently serving on the Board of Directors. Additionally, proposals for a $7,500,000 dividend, to set the size of the board at no more than six (6)
directors and for the election of five (5) new directors shall take place at the Meeting. These purposes shall be described in the notice of the Meeting you are
required to provide to the shareholders under applicable Colorado law, to be substantially in the form of the form of such proposals included herewith as Exhibit C
.

      Should you have any questions regarding the foregoing, please do not hesitate to contact Harvey Kesner, Esq. at (212) 930-9700.

                                                                                  Very truly yours,

                                                                                  /s/ Barry Honig
                                                                                  __________________________
                                                                                  Barry Honig
                                                                                  Shares Beneficially Owned: 389,159 (10.04%)



                                                                                -1-
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 447 of 491 PageID: 7217


                                     Exhibit A




                                       A-1
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                                      Exhibit B

                                      [Omitted]



                                        B-1
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 449 of 491 PageID: 7219

                                                                              Exhibit C

                                                                         PROPOSAL NO. 1

                                                                    APPROVAL OF DIVIDEND


RESOLVED:

The Company shall be authorized and hereby is directed to declare and pay a special cash dividend to shareholders of record on the close of business on a date that
shall be determined by the Board of Directors (not later than 30 days following shareholder authorization) such dividend to be paid on outstanding shares of the
Company’s common stock, in the amount of $7,500,000 . The dividend paid shall constitute a reduction in capital of the Company.

Vote Required

The affirmative vote of a majority of the votes cast (either in person or by proxy) and entitled to vote on the matter is required to approve Proposal 1.



                                                                                  C-1
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 450 of 491 PageID: 7220

                                                                         PROPOSAL NO. 2

                   APPROVAL TO FIX THE MAXIMUM NUMBER OF DIRECTORS OF THE COMPANY AT SIX (6) DIRECTORS


RESOLVED:

The Company shall be authorized and hereby is directed to establish the size of the Board of Directors and does hereupon fix the number of directors of the
Company at a maximum of six (6) directors, such maximum number not to be revised except upon further shareholder authorization as provided in this resolution.

Vote Required

The affirmative vote of a majority of the votes cast (either in person or by proxy) and entitled to vote on the matter is required to approve Proposal 2.



                                                                                  C-2
         Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 451 of 491 PageID: 7221

                                                                      PROPOSAL NO. 3

                                                       REMOVAL FROM OFFICE OF DIRECTORS

RESOLVED:

Colorado Revised Statute (C.R.S.) Section 7-108-108 states that shareholders of the Company may remove one or more directors with or without cause at a
meeting called for the purpose of removing the director. The shareholders of the Company do hereby remove at a meeting called for the purpose of removal, the
following directors from the Board of Directors of the Company:

                                                                            Date First
                                                                            Elected or
Name                                       Age                              Appointed                                          Position(s)
Gail S. Schoettler                          72                                 2001                                   Non-Executive Chair and Director
Susan A. Evans                              68                                 2012                                              Director
Daryl J. Faulkner                           67                                 2009                                              Director
David E. Welch                              68                                 2004                                              Director
Stephen A. Williams                         56                                 2013                                              Director

Biographical information concerning the directors can be found in the Company’s Annual Report on Form 10-K for the year ended December 31, 2015.

Vote Required

The number of votes cast in favor of removal exceeds the number of votes cast against removal of each named director is required for Proposal 3.



                                                                               C-3
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 452 of 491 PageID: 7222

                                                                       PROPOSAL NO. 4

                                                            ELECTION OF FIVE (5) DIRECTORS

RESOLVED:

The following persons are hereby nominated for election to the Board of Directors of the Company, and are hereby elected to serve as directors and to serve until
their successor(s) are duly qualified and elected on or following the 2017 annual meeting of shareholders of the Company, such directors may only be removed
“for cause” or resignation. Although it is not contemplated that any person will decline or be unable to serve as a director, in such event, the remaining Board
members are authorized to fill any such vacancies created.


                                                                 Name                        Age
                                                                 John Stetson                 31
                                                                 John O’Rourke                31
                                                                 Jesse Sutton                 47
                                                                 Michael Beeghley             49
                                                                 David Danziger               59

John Stetson has been the Managing Member of HS Contrarian Investments LLC, a private investment firm with a focus on early stage companies since 2010. In
addition, Mr. Stetson served as Executive Vice President, Chief Financial Officer, and Director of Marathon Patent Group, Inc. (NASDAQ:MARA) June 2012 to
February 2015, engaged in patenting, and patent acquisition, enforcement and monetization. Mr. Stetson was President & Co-Founder of Fidelity Property Group,
Inc. from April 2010 to July 2014, a real estate development group focused on acquisition, rehabilitation, and short-term disposition of single family homes. Prior,
Mr. Stetson held positions at Heritage Investment Group and Toll Brothers. Mr. Stetson also served as Chief Financial Officer, Executive Vice President and
Secretary of Majesco Entertainment Company (NASDAQ:COOL) since September 2015. Mr. Stetson received his BA in Economics from the University of
Pennsylvania.

John O’Rourke is an analyst and investor who currently serves as Managing Member of ATG Capital LLC, an investment fund focused on small and mid-cap
growth companies possessing distinct competitive advantages and superior management teams. Mr. O'Rourke currently serves on the Board of Directors of
Customer Acquisition Network Inc., a leading global performance based marketing company that reaches more than two billion users per month. Mr. O’Rourke
formerly served on the Board of Directors of Rant, Inc., an innovator in U.S. digital media, prior to its sale to a Nasdaq listed company. He was formerly CFO of
Fidelity Property Group, a real estate development company with a focus in California. He received his Bachelor of Science in Accounting with Honors from the
University of Maryland and a Master of Science in Finance from George Washington University.

Jesse Sutton is a consultant for various analytic and gaming related companies. Mr. Sutton founded Majesco Entertainment Company (NASDAQ: COOL) in 1998
and served as its Chief Executive Officer until July 2015 , as well as a director from December 5, 2003 until February 6, 2006 and again from August 23, 2006
until December 17, 2014. During this period, Mr. Sutton oversaw the successful launch and development of Zumba! Fitness which sold over $300 million in
games, among many other successful brands brought to market like Cooking Mama, Jillian Michaels Fitness and Disney’s Phineus and Ferb and Alvin and the
Chipmunks. Mr. Sutton consults with various online and digital companies engaged in internet commerce and game development. Mr. Sutton attended Yeshiva
University in New York.

Michael Beeghley has been President and founder of Applied Economics LLC (“Applied Economics”), a national corporate finance and financial advisory
services firm for 18 years. Mr. Beeghley has testified as an expert and provided expert opinions on numerous economic, financial and securities issues. Mr.
Beeghley advises pharmaceutical, biologics and medical device companies. Recently, Mr. Beeghley served as advisor to a drug distribution company sale to a
major private equity firm in a leveraged buy-out. Prior to forming Applied Economics, Mr. Beeghley was a Manager in the Corporate Finance Group of Ernst &
Young, LLP and a Senior Analyst in the Corporate Finance Group of PricewaterhouseCoopers. Mr. Beeghley currently serves as a director of Majesco
Entertainment Company (NASDAQ:COOL) since December 2015.

David Danziger is an Assurance Partner in MNP LLP’s Toronto office. He is the Senior Vice President of Assurance for the firm as well as the National Leader of
MNP’s Public Companies practice. An accounting professional since 1980, Mr. Danziger is proficient in his field, serving in both the audit function and as a
compliance advisor to public companies as well as to private firms looking to become public. His years of experience are a benefit to clients engaging in any form
of public market transaction. Mr. Danziger also assists clients with significant transactions, complex accounting matters and regulatory issues as well as prospectus
filing and other publicly filed documents. Mr. Danziger 's experience with US Reporting Issuers as well as Canadian Reporting Issuers has required him to be
fluent in both IFRS and US GAAP. Mr. Danziger has served as a Director for public companies for many years and currently has significant director positions with
TSX, TSXV, NYSE and AMEX-listed public companies. Mr. Danziger graduated from the University of Toronto with a Bachelor of Commerce in 1980 and
completed the School of Accountancy in 1983.

There are no family relationships between these nominees and any director or executive officer of the Company and there were no related party transactions
between this nominee and the Company. No nominee has had any involvement in any legal proceedings (10 years) pursuant to Item 401 of Regulation S-K.

Vote Required

The affirmative vote of the holders of a plurality of the common stock present at the special meeting of stockholders is required for election of each director
nominee set forth in this proposal.


                                                                                C-4
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                                EXHIBIT C
           Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 454 of 491 PageID: 7224

                                                                         BARRY HONIG
                                                                  555 South Federal Highway, #450
                                                                       Boca Raton, FL 33432
                                                                         T: 561-961-4237
                                                                         F: 561-235-5379
                                                                       E: brhonig@aol.com



                                                                              September 13, 2016
By E-Mail and Overnight UPS Mail
Daryl Faulkner
Chair, Nominating Committee
c/o Venaxis, Inc.
1585 South Perry Street
Castle Rock, Colorado 80104

                                                   Re: Nomination of Five (5) Director Candidates of Venaxis, Inc.

Dear Mr. Faulkner:

       I am a record and beneficial holder of shares of Venaxis, Inc., a Colorado corporation (“Venaxis” or the “Company”). Directly and as trustee of GRQ
Consultants, Inc. 401K, I beneficially own shares representing greater than ten (10%) percent of common stock, of the Company. I have attached evidence of such
ownership which consists of the Broker Statement and Schedule 13D filed with the Securities and Exchange Commission on September 13, 2016 and attached
hereto as Exhibit A and Exhibit B , respectively.

       Pursuant to the procedures for nominating a director candidate to the Board of Directors (the “Board”) of the Company, I hereby wish to nominate the
following candidates to stand for election at the special meeting of the shareholders of the Company called to take place on a date of the Company’s choosing
within the timeframe allowed pursuant to the CRS and the Company’s Bylaws:

 1.   John Stetson
 a.   68 Fiesta Way, Boca Raton, FL 33432
 b.   T: 561-961-4371, F: 561-235-5379, E: stetson.john@gmail.com
 c.   Mr. Stetson has been the Managing Member of HS Contrarian Investments LLC, a private investment firm with a focus on early stage companies since 2010.
      In addition, Mr. Stetson served as Executive Vice President, Chief Financial Officer, and Director of Marathon Patent Group, Inc. (NASDAQ:MARA) June
      2012 to February 2015, engaged in patenting, and patent acquisition, enforcement and monetization. Mr. Stetson was President & Co-Founder of Fidelity
      Property Group, Inc. from April 2010 to July 2014, a real estate development group focused on acquisition, rehabilitation, and short-term disposition of single
      family homes. Prior, Mr. Stetson held positions at Heritage Investment Group and Toll Brothers. Mr. Stetson also served as Chief Financial Officer,
      Executive Vice President and Secretary of Majesco Entertainment Company (NASDAQ:COOL) since September 2015. Mr. Stetson received his BA in
      Economics from the University of Pennsylvania.
 d.   There are no family relationships between this nominee and any director or executive officer of the Company.
 e.   No involvement in any legal proceedings (10 years).
 f.   This nominee’s security ownership of the Company is as follows: No ownership.
 g.   There were no related party transactions between this nominee and the Company.

 2. John O’Rourke
 a. 808 Solar Isle Dr., Fort Lauderdale, FL 33301
 b. T: 610-247-3917, F: 561-235-5379, E: john@atgcapitalllc.com
 c. Mr. O’Rourke is an analyst and investor who currently serves as Managing Member of ATG Capital LLC, an investment fund focused on small and mid-cap
    growth companies possessing distinct competitive advantages and superior management teams. Mr. O'Rourke currently serves on the Board of Directors of
    Customer Acquisition Network Inc., a leading global performance based marketing company that reaches more than two billion users per month. Mr.
    O’Rourke formerly served on the Board of Directors of Rant, Inc., an innovator in U.S. digital media, prior to its sale to a Nasdaq listed company. He was
    formerly CFO of Fidelity Property Group, a real estate development company with a focus in California. He received his Bachelor of Science in Accounting
    with Honors from the University of Maryland and a Master of Science in Finance from George Washington University.
 d. There are no family relationships between this nominee and any director or executive officer of the Company.
 e. No involvement in any legal proceedings (10 years).
 f. This nominee’s security ownership of the Company is as follows:

                                  Amount and Nature
         Title of Class        o f Beneficial Ownership       Percent of Class
        Common Stock               12,500 Shares   (1)             .32% (2)

        Represents 12,500 shares of common stock held by ATG Capital LLC (“ATG”). Mr. O’Rourke is the sole manager and member of ATG and in such
    (1) capacity holds voting and dispositive power over the securities held by ATG.
        Calculated based on 3,876,961 shares of the Common Stock outstanding as of August 10, 2016, as reported in the Company’s Form 10-Q for the period
    (2) ended June 30, 2016 filed with the SEC on August 10, 2016.
 g. There were no related party transactions between this nominee and the Company.
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                                        -1-
          Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 456 of 491 PageID: 7226
3. Jesse Sutton
a. 1989 East 2nd Street, Brooklyn, NY 11223
b. T: 732-233-0436, F: 732-225-8408, E: jesutton@majescoent.com
c. Mr. Sutton is a consultant for various analytic and gaming related companies. Mr. Sutton founded Majesco Entertainment Company (NASDAQ: COOL) in
   1998 and served as its Chief Executive Officer until July 2015 , as well as a director from December 5, 2003 until February 6, 2006 and again from August 23,
   2006 until December 17, 2014. During this period, Mr. Sutton oversaw the successful launch and development of Zumba! Fitness which sold over $300
   million in games, among many other successful brands brought to market like Cooking Mama, Jillian Michaels Fitness and Disney’s Phineus and Ferb and
   Alvin and the Chipmunks. Mr. Sutton consults with various online and digital companies engaged in internet commerce and game development. Mr. Sutton
   attended Yeshiva University in New York.
d. No involvement in any legal proceedings (10 years).
e. This nominee’s security ownership of the Company is as follows: No ownership.
f. There were no related party transactions between this nominee and the Company.

4.   Michael Beeghley
a.   825 West Peachtree Street, Suite 250, Atlanta, GA 30308
b.   T: 404-214-3600, F: 404 ‐ 214 ‐ 3601, E: michael@appliedecon.com
c.   Mr. Beeghley has been President and founder of Applied Economics LLC (“Applied Economics”), a national corporate finance and financial advisory services
     firm for 18 years. Mr. Beeghley has testified as an expert and provided expert opinions on numerous economic, financial and securities issues. Mr. Beeghley
     advises pharmaceutical, biologics and medical device companies. Recently, Mr. Beeghley served as advisor to a drug distribution company sale to a major
     private equity firm in a leveraged buy-out. Prior to forming Applied Economics, Mr. Beeghley was a Manager in the Corporate Finance Group of Ernst &
     Young, LLP and a Senior Analyst in the Corporate Finance Group of PricewaterhouseCoopers. Mr. Beeghley currently serves as a director of Majesco
     Entertainment Company (NASDAQ:COOL) since December 2015.
d.   There are no family relationships between this nominee and any director or executive officer of the Company.
e.   No involvement in any legal proceedings (10 years).
f.   This nominee’s security ownership of the Company is as follows: No ownership.
g.   There were no related party transactions between this nominee and the Company.

5. David Danziger
a. 903 – 10 Bellair Street, Toronto, Ontario M5R 3T8
b. T: 647-296-3658, F: n/a, E: david.danziger@mnp.ca
c. Mr. Danziger is an Assurance Partner in MNP LLP’s Toronto office. He is the Senior Vice President of Assurance for the firm as well as the National Leader
   of MNP’s Public Companies practice. An accounting professional since 1980, Mr. Danziger is proficient in his field, serving in both the audit function and as
   a compliance advisor to public companies as well as to private firms looking to become public. His years of experience are a benefit to clients engaging in any
   form of public market transaction. Mr. Danziger also assists clients with significant transactions, complex accounting matters and regulatory issues as well as
   prospectus filing and other publicly filed documents. Mr. Danziger 's experience with US Reporting Issuers as well as Canadian Reporting Issuers has required
   him to be fluent in both IFRS and US GAAP. Mr. Danziger has served as a Director for public companies for many years and currently has significant director
   positions with TSX, TSXV, NYSE and AMEX-listed public companies. Mr. Danziger graduated from the University of Toronto with a Bachelor of
   Commerce in 1980 and completed the School of Accountancy in 1983.
d. No involvement in any legal proceedings (10 years).
e. This nominee’s security ownership of the Company is as follows: No ownership.
f. There were no related party transactions between this nominee and the Company.

       Furthermore, attached hereto as Exhibit C , are the signed written consents of the nominees for election as director of the Company.

       Should you have any questions regarding the foregoing, please do not hesitate to contact our counsel Harvey Kesner, Esq. at (212) 930-9700.

                                                                                  Very truly yours,

                                                                                  /s/ Barry Honig
                                                                                  _______________________
                                                                                  Barry Honig


                                                                                -2-
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                                     Exhibit A




                                       A-1
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                                      Exhibit B

                                      [Omitted]



                                        B-1
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                                     Exhibit C
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 460 of 491 PageID: 7230
                                       C-1
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 461 of 491 PageID: 7231




                                       C-2
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                                       C-5
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 468 of 491 PageID: 7238




                         Exhibit P
Case 3:18-cv-02293-GC-RLS Document 188 Filed 12/24/20 Page 469 of 491 PageID: 7239




                     RIOT BLOCKCHAIN, INC.
                                             Filed by
                                          HONIG BARRY C




                                         FORM SC 13D/A
                                (Amended Statement of Beneficial Ownership)




                                                 Filed 04/18/18


                 Address             202 6TH STREET, SUITE 401
                                     CASTLE ROCK, CO, 80104
            Telephone                303-794-2000
                    CIK              0001167419
                Symbol               RIOT
             SIC Code                2835 - In Vitro and In Vivo Diagnostic Substances
               Industry              Financial & Commodity Market Operators
                 Sector              Financials
            Fiscal Year              12/31




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         Case 3:18-cv-02293-GC-RLS  Document
                                SECURITIES AND188  Filed 12/24/20
                                               EXCHANGE           Page 470 of 491 PageID: 7240
                                                          COMMISSION
                                                        Washington, D.C. 20549

                                                           SCHEDULE 13D/A

                                                Under the Securities Exchange Act of 1934
                                                          (Amendment No. 7)*

                                                           Riot Blockchain, Inc.
                                                             (Name of Issuer)

                                                  Common Stock, no par value per share
                                                     (Title of Class of Securities)

                                                               767292105
                                                             (CUSIP Number)

                                                               Barry Honig
                                                    555 South Federal Highway #450
                                                          Boca Raton, FL 33432
                                                             (561) 307-2287
                                            (Name, Address and Telephone Number of Person
                                           Authorized to Receive Notices and Communications)

                                                            See Footnote 1
                                         (Date of Event Which Requires Filing of This Statement)


If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this Schedule
13D, and is filing this schedule because of Rule 13d-1(e), Rule 13d-1(f) or Rule 13d-1(g), check the following box. [ ]

                                                           (Page 1 of 9 Pages)
______________________________
* The remainder of this cover page shall be filled out for a reporting person's initial filing on this form with respect to the subject
class of securities, and for any subsequent amendment containing information which would alter disclosures provided in a prior
cover page.

The information required on the remainder of this cover page shall not be deemed to be "filed" for the purpose of Section 18 of the
Securities Exchange Act of 1934 ("Act") or otherwise subject to the liabilities of that section of the Act but shall be subject to all
other provisions of the Act (however, see the Notes).

(1) This Amendment No. 7 is being filed to restate Amendment No. 6 filed with the Securities and Exchange Commission on
February 13, 2018. The first date of event which required the filing of an amendment to the Schedule 13D after Amendment No. 5
was March 15, 2017.
       Case
CUSIP No.      3:18-cv-02293-GC-RLS
          767292105                              DocumentSCHEDULE
                                                           188 Filed  12/24/20 Page 471 of 491 PageID:Page
                                                                  13D/A                                 7241
                                                                                                           2 of 9 Pages


                      NAME OF REPORTING PERSON
         1               Barry Honig

         2            CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP
                                                                                                                       (a)   ¨
                                                                                                                       (b)   ¨
                      SEC USE ONLY
         3
                      SOURCE OF FUNDS
         4               PF, WC

         5            CHECK BOX IF DISCLOSURE OF LEGAL PROCEEDING IS REQUIRED PURSUANT TO ITEMS 2(d) or 2(e)
                                                                                                                       ¨
                      CITIZENSHIP OR PLACE OF ORGANIZATION
         6               New York
                                        SOLE VOTING POWER
                              7            200,154 shares of Common Stock (including 151,210 shares of Common Stock issuable upon
                                           conversion of shares of Series B Convertible Preferred Stock and 22,222 shares of Common
                                           Stock issuable upon exercise of the December 2017 Warrants)*
    NUMBER OF
                                        SHARED VOTING POWER
      SHARES                  8            -0-
   BENEFICIALLY
    OWNED BY
                                        SOLE DISPOSITIVE POWER
       EACH                   9            200,154 shares of Common Stock (including 151,210 shares of Common Stock issuable upon
    REPORTING
   PERSON WITH:                            conversion of shares of Series B Convertible Preferred Stock and 22,222 shares of Common
                                           Stock issuable upon exercise of the December 2017 Warrants)*
                                        SHARED DISPOSITIVE POWER
                           10              -0-
                      AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH PERSON
        11               200,154 shares of Common Stock (including 151,210 shares of Common Stock issuable upon conversion of
                         shares of Series B Convertible Preferred Stock and 22,222 shares of Common Stock issuable upon exercise of
                         the December 2017 Warrants)*

        12            CHECK IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN SHARES
                                                                                                                        ¨
                      PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)
        13               1.69%*
                      TYPE OF REPORTING PERSON
        14               IN



* This Amendment No. 7 reflects the Reporting Person's holdings as of February 13, 2018.
       Case
CUSIP No.      3:18-cv-02293-GC-RLS
          767292105                            DocumentSCHEDULE
                                                         188 Filed  12/24/20 Page 472 of 491 PageID:Page
                                                                13D/A                                 7242
                                                                                                         3 of 9 Pages

This Amendment No. 7 (" Amendment No. 7 ") amends and supplements the statement on Schedule 13D filed with the Securities
and Exchange Commission (the " SEC ") on September 8, 2016, as amended, supplemented and restated from time to time (as
amended, including, without limitation, pursuant to this Amendment No. 7, the " Schedule 13D ") with respect to the shares of
Common Stock, no par value per share (the " Common Stock "), of Riot Blockchain, Inc., a Nevada corporation (the " Issuer "). This
Amendment No. 7 is being filed to restate Amendment No. 6 filed with the SEC on February 13, 2018. The first date of event which
required the filing of an amendment to the Schedule 13D after Amendment No. 5 was March 15, 2017. Capitalized terms used herein
and not otherwise defined in this Amendment No. 7 shall have the meanings set forth in the Schedule 13D. This Amendment No. 7
amends Items 2, 3, 5, 6 and 7 as set forth below. This is the final amendment to the Schedule 13D and constitutes an "exit filing" for
the Reporting Person.
 Item 2.       IDENTITY AND BACKGROUND.

 Item 2 of the Schedule 13D is hereby amended and restated in its entirety as follows:

 (a)           This statement is filed by Barry Honig, (" Mr. Honig " or the " Reporting Person "), with respect to the shares of
               Common Stock held by himself and through GRQ Consultants, Inc. 401K (of which Mr. Honig is Trustee) and
               GRQ Consultants, Inc. Roth 401K FBO Barry Honig (of which Mr. Honig is Trustee) (collectively, the " Honig
               Entities ").

               Any disclosures herein with respect to persons other than the Reporting Person are made on information and belief
               after making inquiry to the appropriate party.

               The filing of this statement should not be construed in and of itself as an admission by the Reporting Person as to
               beneficial ownership of the securities reported herein.

 (b)           The address of the business office of the Reporting Person is 555 South Federal Highway #450, Boca Raton,
               Florida 33432.

 (c)           The principal business of the Reporting Person is investing in securities for his personal account.

 (d)           The Reporting Person has not, during the last five years, been convicted in a criminal proceeding (excluding traffic
               violations or similar misdemeanors).

 (e)           The Reporting Person has not, during the last five years, been a party to a civil proceeding of a judicial or
               administrative body of competent jurisdiction and, as a result of such proceeding, was, or is subject to, a judgment,
               decree or final order enjoining future violations of, or prohibiting or mandating activities subject to, Federal or State
               securities laws or finding any violation with respect to such laws.

 (f)           Mr. Honig is a citizen of the United States.
       Case
CUSIP No.      3:18-cv-02293-GC-RLS
          767292105                          DocumentSCHEDULE
                                                       188 Filed  12/24/20 Page 473 of 491 PageID:Page
                                                              13D/A                                 7243
                                                                                                       4 of 9 Pages


Item 3.       SOURCE AND AMOUNT OF FUNDS OR OTHER CONSIDERATION.

Item 3 of the Schedule 13D is hereby amended and restated in its entirety as follows:

              The Reporting Person used a total of $499,995 to acquire the Private Placement Shares (as defined below) and the
              December 2017 Warrants (as defined below). The additional 4,500 shares of Common Stock held by the Reporting
              Person were acquired upon conversion of 45 Series A Preferred Shares (as defined below) at a conversion price of
              $2.50. Such Series A Preferred Shares were acquired for $11,250. The sources of the funds used to acquire the
              Private Placement Shares, the December 2017 Warrants and the Series A Preferred Shares are the personal funds of
              Mr. Honig and the working capital of the Honig Entities. The Series B Preferred Shares (as defined below) reported
              herein were acquired in exchange for 151,210 shares of common stock of Kairos Global Technology, Inc. (" Kairos
              ") as described in Item 6.

Item 5.       INTEREST IN SECURITIES OF THE ISSUER.

Items 5 of the Schedule 13D is hereby amended and restated in its entirety as follows:

(a)           See rows (11) and (13) of the cover pages to this Schedule 13D for the aggregate number of shares of Common
              Stock and percentages of the shares of Common Stock beneficially owned by the Reporting Person as of February
              13, 2018 . The percentages used in this Schedule 13D are calculated based upon 11,652,270 shares of Common
              Stock issued and outstanding as of February 5, 2018, as reported in the Issuer's Registration Statement on
              Amendment No. 1 to Form S-3 filed with the SEC on February 7, 2018 and assumes the conversion of the shares of
              Series B Convertible Preferred Stock and the exercise of the December 2017 Warrants.

(b)           See rows (7) through (10) of the cover pages to this Schedule 13D for the number of shares of Common Stock as to
              which the Reporting Person has the sole or shared power to vote or direct the vote and sole or shared power to
              dispose or to direct the disposition as of February 13, 2018.

(c)           Information concerning all transactions in the shares of Common Stock effected by the Reporting Person from the
              filing of Amendment No. 5 to the filing of Amendment No. 6 is set forth on Schedule A hereto and is incorporated
              herein by reference.

(d)           No person other than the Reporting Person and the Honig Entities is known to have the right to receive, or the
              power to direct the receipt of dividends from, or proceeds from the sale of, the shares of Common Stock held by
              Mr. Honig and the Honig Entities.

(e)           November 20, 2017.
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Item 6.       CONTRACTS, ARRANGEMENTS, UNDERSTANDINGS OR RELATIONSHIPS WITH RESPECT TO
              SECURITIES OF THE ISSUER.

Item 6 of the Schedule 13D is hereby amended and supplemented by the addition of the following:

              On March 15, 2017, the Issuer entered into separate securities purchase agreements (the " Note Purchase
              Agreements ") pursuant to which it agreed to sell to the Reporting Person and a certain Hong Entity $2,250,000 of
              principal amount of promissory notes (the " Notes ") and three year warrants (the " March 2017 Warrants ") to
              purchase up to 700,000 shares of Common Stock. The Notes are convertible into shares of Common Stock at an
              initial conversion price of $2.50. Each March 2017 Warrant is exercisable into shares of Common Stock at an
              exercise price equal to $3.56 per share (such sale and issuance of the Notes and March 2017 Warrants, the " Note
              Private Placement ").

              On March 16, 2017, the Issuer satisfied all closing conditions and closed the Note Private Placement.

              The Notes and the March 2017 Warrants, as well as the proceeds from the sale therefrom, were placed in escrow
              pending the occurrence or non-occurrence of a Qualified Transaction (as defined in the governing purchase
              agreements). On August 18, 2017, the lead investor in the transaction waived the requirement for the occurrence of
              a Qualified Transaction and gross proceeds of the Note Private Placement were released to the Issuer and the Notes
              and the March 2017 Warrants were released to the Reporting Person and the applicable Honig Entity.

              Under the terms of the Note Purchase Agreement, the Notes were automatically, and without any further action on
              the part of the investors, exchanged for shares of Series A C onvertible P referred S tock of the Issuer (the " Series
              A Preferred Shares "). The terms of the Series A Preferred Shares are set forth in the certificate of designations for
              such shares (the " Certificate of Designations of the Series A Preferred Shares "). As such, and pursuant to the Note
              Purchase Agreements, on September 20, 2017, the Issuer issued an aggregate of 7,071.74 Series A Preferred Shares,
              convertible into an aggregate of 707,174 shares of Common Stock, in exchange for the Notes issued in the Note
              Private Placement.

              In connection with the Note Private Placement, the Issuer entered into a Registration Rights Agreement (the "
              March 2017 Registration Rights Agreement "), with the Reporting Person and the applicable Honig Entity which
              required the Issuer to file a registration statement under the Securities Act of 1933, as amended (the " Securities Act
              "), to register the resale of the shares of Common Stock issuable upon (i) conversion of the Notes; (ii) exercise of
              the March 2017 Warrants and (iii) conversion of the Series A Preferred Shares.
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            The terms of the Note Purchase Agreement, the Notes, the March 2017 Warrant, the Certificate of Designations of
            the Series A Preferred Shares and the March 2017 Registration Rights Agreement are incorporated herein by
            reference to the texts of the agreements, which are filed as Exhibit 10.1, Exhibit 4.1. Exhibit 4.2, Exhibit 3.1 and
            Exhibit 10.2, respectively, of the Issuer's Current Report on Form 8-K filed by the Issuer with the SEC on March
            17, 2017 (the " March 17, 2017 Form 8-K "). The Form of Note, the Form of March 2017 Warrant, the Certificate
            of Designations of the Series A Preferred Shares and the Form of March 2017 Registration Rights Agreement are
            referenced as Exhibit 1, Exhibit 2, Exhibit 3 and Exhibit 4, respectively, to this Amendment No. 7.

            On November 1, 2017, the Issuer entered into a share exchange agreement (the " Exchange Agreement ") with
            Kairos, the Reporting Person and the other shareholders of Kairos. On November 3, 2017, pursuant to the Exchange
            Agreement, the shareholders of Kairos, including the Reporting Person, exchanged all outstanding shares of Kairos'
            common stock for shares of Series B Convertible Preferred Stock of the Issuer (the " Series B Preferred Shares
            "). The Reporting Person received 151,210 Series B Preferred Shares pursuant to the Exchange Agreement. The
            terms of the Series B Preferred Shares are set forth in the certificate of designations for such shares (the " Certificate
            of Designations of the Series B Preferred Shares "). The terms of the Series B Preferred Shares are incorporated
            herein by reference to the text of such document, which is filed as Exhibit 3.1 to the Current Report on Form 8-K
            filed by the Issuer with the SEC on November 3, 2017 (the " November 3, 2017 Form 8-K "). The Certificate of
            Designations of the Series B Preferred Shares is referenced as Exhibit 5 to this Amendment No. 7.

            On December 18, 2017, a Honig Entity entered into a securities purchase agreement (the " Securities Purchase
            Agreement ") with the Issuer pursuant to which the Issuer issued 22,222 shares of Common Stock (the " Private
            Placement Shares ") and warrants exercisable into 22,222 shares of Common Stock (the " December 2017 Warrants
            ") to such Honig Entity for a purchase price of $22.50 per combined Private Placement Share and December 2017
            Warrant. The December 2017 Warrants have an exercise price of $40.00 per share, subject to adjustment in certain
            events as set forth therein, and may be exercised from time to time at any time on or after June 21, 2018 through
            June 21, 2021.

            The closing of the transactions contemplated by the Securities Purchase Agreement occurred on December 21,
            2017.
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                 In connection with the purchase of the Private Placement Shares and the December 2017 Warrants, the Issuer
                 entered into a Registration Rights Agreement, effective as of the closing (the " December 2017 Registration Rights
                 Agreement "), with the Honig Entity party to the Securities Purchase Agreement and other investors which required
                 the Issuer to file a registration statement under the Securities Act to register the resale of the Private Placement
                 Shares and the shares of Common Stock underlying the December 2017 Warrants.

                 The foregoing summaries of the Securities Purchase Agreement, the December 2017 Warrant and December 2017
                 Registration Rights Agreement are incorporated herein by reference to the texts of the agreements, which are filed
                 as Exhibit 10.1, Exhibit 4.1 and Exhibit 10.2, respectively, of the Issuer's Current Report on Form 8-K filed by the
                 Issuer with the SEC on December 19, 2017 (the " December 19, 2017 Form 8-K "). The Form of December 2017
                 Warrant and the Form of December 2017 Registration Rights Agreement are referenced as Exhibit 6 and Exhibit 7,
                 respectively, to this Amendment No. 7.

Item 7.              MATERIAL TO BE FILED AS EXHIBITS.

Item 7 of the Schedule 13D is hereby amended and supplemented by the addition of the following:

   Exhibit 1 :       Form of Note (incorporated by reference to Exhibit 4.1 to the March 17, 2017 Form 8-K).

   Exhibit 2 :       Form of March 2017 Warrant (incorporated by reference to Exhibit 4.2 to the March 17, 2017 Form 8-K).

   Exhibit 3 :       Certificate of Designations of the Series A Preferred Shares (incorporated by reference to Exhibit 3.1 to the
                     March 17, 2017 Form 8-K).

   Exhibit 4 :       Form of March 2017 Registration Rights Agreement (incorporated by reference to Exhibit 10.2 to the March
                     17, 2017 Form 8-K).

   Exhibit 5 :       Certificate of Designations of the Series B Preferred Shares (incorporated by reference to Exhibit 3.1 to the
                     November 3, 2017 Form 8-K).

   Exhibit 6 :       Form of December 2017 Warrant (incorporated by reference to Exhibit 4.1 to the December 19, 2017 Form 8-
                     K).

   Exhibit 7 :       Form of December 2017 Registration Rights Agreement (incorporated by reference to Exhibit 10.2 to the
                     December 19, 2017 Form 8-K).
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                                                            SIGNATURES

               After reasonable inquiry and to the best of his or its knowledge and belief, the undersigned certifies that the
information set forth in this statement is true, complete and correct.

Date: April 18, 2018



/s/ Barry Honig
BARRY HONIG
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                                                          SCHEDULE A

Transactions in the Shares of Common Stock of the Issuer From the Filing of Amendment No. 5 to the Filing of Amendment
                                                         No. 6

         The following table sets forth all transactions in the shares of Common Stock effected from the filing of Amendment No. 5 to
the filing of Amendment No. 6 by the Reporting Person. Except as noted below, all such transactions were effected in the open
market through brokers and the price per share is net of commissions.

              Trade Date                           Shares Purchased (Sold)                          Price Per Share ($)

              03/29/2017                                    35,000*                                         2.25
              03/31/2017                                     (4,200)                                        4.10
              04/05/2017                                      (800)                                         4.10
              04/13/2017                                     (3,300)                                        4.07
              04/13/2017                                      (800)                                         4.08
              04/18/2017                                     (4,900)                                        4.16
              04/25/2017                                     (1,200)                                        3.99
              04/26/2017                                      (100)                                         3.90
              04/28/2017                                     (2,100)                                        3.60
              05/01/2017                                     (4,000)                                        3.70
              05/09/2017                                     (5,500)                                        3.82
              05/10/2017                                     (2,500)                                        3.80
              05/16/2017                                     (1,000)                                        3.63
              05/23/2017                                     (1,800)                                        3.75
              05/31/2017                                     (7,000)                                        3.82
              05/31/2017                                     (1,900)                                        3.83
              05/31/2017                                      (500)                                         3.86
              05/31/2017                                      (500)                                         3.83
              06/02/2017                                     (1,971)                                        3.85
              06/05/2017                                     (1,429)                                        3.94
              06/05/2017                                     (4,871)                                        3.94
              06/08/2017                                    (11,301)                                        3.99
              06/12/2017                                     (1,300)                                        3.94
              06/13/2017                                      (400)                                         4.02
              06/14/2017                                     (3,251)                                        4.00
              06/15/2017                                     (1,307)                                        4.05
              06/19/2017                                     (7,412)                                        3.91
              06/20/2017                                     (2,027)                                        3.97
              06/22/2017                                      (744)                                         3.96
              06/22/2017                                     (8,000)                                        4.07
              06/22/2017                                     (1,000)                                        3.95
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    06/23/2017                        (5,000)                         3.94
    06/30/2017                        (3,000)                         3.97
    07/01/2017                        (1,000)                         4.10
    07/10/2017                        (1,200)                         3.95
    07/13/2017                         1,502                          3.77
    07/17/2017                        (1,200)                         4.01
    07/18/2017                         (975)                          4.05
    07/19/2017                        (1,114)                         4.05
    08/04/2017                          (7)                           3.90
    10/04/2017                       (47,520)                         8.92
    10/05/2017                       (11,400)                         7.47
    10/05/2017                      235,960**                         3.56
    10/06/2017                       (10,000)                         7.29
    10/06/2017                       58,990**                         3.56
    10/09/2017                      (136,028)                         8.62
    10/10/2017                       (55,459)                         9.32
    10/10/2017                       (11,070)                         8.43
    10/11/2017                      (130,000)                        10.10
    10/11/2017                      (128,916)                        10.00
    10/11/2017                       (35,000)                        10.00
    10/11/2018                      128,988**                         3.56
    10/11/2017                     505,124***                         2.50
    10/12/2017                       (26,600)                         8.25
    10/12/2017                       (15,000)                         8.44
    10/17/2017                        (4,000)                         8.47
    10/18/2017                        (3,088)                         7.68
    10/19/2017                        (3,700)                         8.17
    10/20/2017                       (45,000)                         8.20
    11/07/2017                        (3,800)                         8.42
    11/09/2017                         (800)                          7.75
    11/10/2017                        (3,972)                         7.25
    11/13/2017                        (9,500)                         7.25
    11/14/2017                        (1,032)                         7.20
    11/14/2017                        (3,968)                         7.10
    11/15/2017                        (5,268)                         7.64
    11/16/2017                       (61,000)                         8.31
    11/17/2017                       (18,588)                         8.81
    11/17/2017                         1,500                          8.26
    11/20/2017                      (262,293)                         9.85
    11/21/2017                      (143,475)                        11.64
    11/21/2017                     202,050***                         2.50
    11/24/2017                       (10,000)                        11.77
    11/24/2017                       (64,235)                        11.77
    11/24/2017                       (64,235)                        11.77
    11/24/2017                       (64,235)                        11.77
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              11/24/2017                                  (64,236)                                     14.19
              11/28/2017                                  (27,907)                                     16.61
              11/28/2017                                   (1,500)                                     16.64
              11/28/2017                                  (58,593)                                     16.64
              11/29/2017                                   15,000                                      12.54
              11/29/2017                                  (36,587)                                     16.94
              11/29/2017                                   (9,248)                                     13.29
              11/30/2017                                   (5,752)                                     13.13
              12/19/2017                                 22,222****                                    22.50


* Represents shares of Common Stock acquired in a private transaction.

** Represents shares of Common Stock acquired from the Issuer upon exercise of the Reporting Person's March 2017 Warrants at an
exercise price of $3.56 per share.

*** Represents shares of Common Stock acquired from the Issuer upon conversion of the Reporting Person's Series A Preferred
Shares at a conversion price of $2.50 per share.

**** Represents shares of Common Stock acquired from the Issuer pursuant to the Securities Purchase Agreement as described in
Item 6.
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                        Exhibit Q
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                     RIOT BLOCKCHAIN, INC.
                                             Filed by
                                          HONIG BARRY C




                                         FORM SC 13D/A
                                (Amended Statement of Beneficial Ownership)




                                                 Filed 01/05/17


                 Address             202 6TH STREET, SUITE 401
                                     CASTLE ROCK, CO, 80104
            Telephone                303-794-2000
                    CIK              0001167419
                Symbol               RIOT
             SIC Code                2835 - In Vitro and In Vivo Diagnostic Substances
               Industry              Financial & Commodity Market Operators
                 Sector              Financials
            Fiscal Year              12/31




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                                             UNITED STATES
                                 SECURITIES AND EXCHANGE COMMISSION
                                                                   Washington, D.C. 20549

                                                               SCHEDULE 13D/A
                                                                          Amendment No.5
                                                                           (Rule 13d-101)

                                        INFORMATION TO BE INCLUDED IN STATEMENTS FILED PURSUANT
                                        TO RULE 13d-1(a) AND AMENDMENTS THERETO FILED PURSUANT TO
                                                                 RULE 13d-2(a)


                                                                   BIOPTIX, INC.
                                                                           (Name of Issuer)

                                                                   Common Stock, no par value
                                                                    (Title of Class of Securities)

                                                                            09074N101
                                                                          (CUSIP Number)

                                                                          Barry Honig
                                                                 555 South Federal Highway #450
                                                                      Boca Raton, FL 33432

                                                                            Copy To:
                                                                Sichenzia Ross Ference Kesner LLP
                                                                     61 Broadway, 32nd Floor
                                                                       New York, NY 10006
                                                                   Attn: Harvey J. Kesner, Esq.

                              (Name, Address and Telephone Number of Person Authorized to Receive Notices and Communications)

                                                                         January 4, 2017
                                                       (Date of Event which Requires Filing of this Statement)

If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this Schedule 13D, and is filing this schedule
because of §§ 240.13d-1(e), 240.13d-1(f) or 240.13d-1(g), check the following box. [X]

Note: Schedules filed in paper format shall include a signed original and five copies of the schedule, including all exhibits. See § 240.13d-7 for other parties to
whom copies are to be sent.

*The remainder of this cover page shall be filled out for a reporting person’s initial filing on this form with respect to the subject class of securities, and for any
subsequent amendment containing information which would alter disclosures provided in a prior cover page.

The information required on the remainder of this cover page shall not be deemed to be “filed” for the purpose of Section 18 of the Securities Exchange Act of
1934 (“Act”) or otherwise subject to the liabilities of that section of the Act but shall be subject to all other provisions of the Act (however, see the Notes).
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        CUSIP No. 09074N101



1        NAMES OF REPORTING PERSONS
         I.R.S. IDENTIFICATION NOS. OF ABOVE PERSONS (ENTITIES ONLY)

         Barry Honig

2        CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP (See Instructions)

         (a) [X]
         (b) [ ]
3        SEC USE ONLY

4        SOURCE OF FUNDS (See Instructions)

         PF

5        CHECK IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT TO ITEMS 2(D) OR 2(E)
         [ ]

6        CITIZENSHIP OR PLACE OF ORGANIZATION

         United States

                         7 SOLE VOTING POWER:
                           29,815
     NUMBER OF
       SHARES            8 SHARED VOTING POWER:
    BENEFICIALLY           474,185 (1)
     OWNED BY
        EACH             9 SOLE DISPOSITIVE POWER:
     REPORTING             29,815
       PERSON
        WITH             10 SHARED DISPOSITIVE POWER:
                            474,185 (1)

11       AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON
         504,000 (2)

12       CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN SHARES (See Instructions)
         [ ]

13       PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)
         11.19 % (based on 4,503,971 shares of common stock outstanding as of November 11, 2016 )

14       TYPE OF REPORTING PERSON (See Instructions)
         IN

     (1) Includes (i) 443,585 shares of common stock held by GRQ Consultants, Inc. 401K (“401K”) and (ii) 30,600 shares of common stock held by GRQ
         Consultants, Inc. Roth 401K FBO Barry Honig (“Roth 401K”). Mr. Honig is the trustee of 401K and Roth 401K in such capacity holds voting and
         dispositive power over the securities held by such entities.

     (2) Includes (i) 29,815 shares of common stock (ii) 443,585 shares of common stock held by 401K and (iii) 30,600 shares of common stock held by Roth
         401K. Mr. Honig is the trustee of 401K and Roth 401K in such capacity holds voting and dispositive power over the securities held by such entities.
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        CUSIP No. 09074N101



1        NAMES OF REPORTING PERSONS
         I.R.S. IDENTIFICATION NOS. OF ABOVE PERSONS (ENTITIES ONLY)

         GRQ Consultants, Inc. 401K

2        CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP (See Instructions)

         (a) [X]
         (b) [ ]
3        SEC USE ONLY

4        SOURCE OF FUNDS (See Instructions)

         WC

5        CHECK IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT TO ITEMS 2(D) OR 2(E)
         [ ]

6        CITIZENSHIP OR PLACE OF ORGANIZATION

         Florida

                        7 SOLE VOTING POWER:
                          0
     NUMBER OF
       SHARES           8 SHARED VOTING POWER:
    BENEFICIALLY          443,585 (1)
     OWNED BY
        EACH            9 SOLE DISPOSITIVE POWER:
     REPORTING            0
       PERSON
        WITH           10 SHARED DISPOSITIVE POWER:
                          443,585 (1)

11       AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON
         443,585 (1)

12       CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN SHARES (See Instructions)
         [ ]

13       PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)
         9. 85% (based on 4,503,971 shares of common stock outstanding as of November 11, 2016)

14       TYPE OF REPORTING PERSON (See Instructions)
         OO

(1) Mr. Honig is the trustee of 401K and in such capacity holds voting and dispositive power over the securities held by 401K.
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        CUSIP No. 09074N101



1        NAMES OF REPORTING PERSONS
         I.R.S. IDENTIFICATION NOS. OF ABOVE PERSONS (ENTITIES ONLY)

         GRQ Consultants, Inc. Roth 401K FBO Barry Honig

2        CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP (See Instructions)

         (a) [X]
         (b) [ ]
3        SEC USE ONLY

4        SOURCE OF FUNDS (See Instructions)

         WC

5        CHECK IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT TO ITEMS 2(D) OR 2(E)
         [ ]

6        CITIZENSHIP OR PLACE OF ORGANIZATION

         Florida

                       7 SOLE VOTING POWER:
                         0
     NUMBER OF
       SHARES          8 SHARED VOTING POWER:
    BENEFICIALLY         30,600 (1)
     OWNED BY
        EACH           9 SOLE DISPOSITIVE POWER:
     REPORTING           0
       PERSON
        WITH           10 SHARED DISPOSITIVE POWER:
                          30,600 (1)

11       AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON
         30,600 (1)

12       CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN SHARES (See Instructions)
         [ ]

13       PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)
         0. 68% (based on 4,503,971 shares of common stock outstanding as of November 11, 2016)

14       TYPE OF REPORTING PERSON (See Instructions)
         OO

(1) Mr. Honig is the trustee of Roth 401K and in such capacity holds voting and dispositive power over the securities held by Roth 401K.
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Item 1. Security and Issuer

The title and class of equity securities to which this Schedule 13D relates is common stock, no par value, of Bioptix, Inc., a Colorado corporation (the “Issuer”).
The address of the principal executive offices of the Issuer is 1775 38 th Street, Boulder, Colorado 80301.

Item 2. Identity and Background

(a) This statement is filed on behalf of Barry Honig, 401K and Roth 401K (collectively the “Reporting Person”).

(b) The Reporting Person’s address is 555 South Federal Highway, #450, Boca Raton, FL 33432.

(c) Not applicable.

(d) During the last five years, the Reporting Person has not been convicted in a criminal proceeding (excluding traffic violations or similar misdemeanors).

(e) During the last five years, the Reporting Person has not been a party to a civil proceeding of a judicial or administrative body of competent jurisdiction and as a
result thereof was or is subject to a judgment, decree or final order enjoining future violations of, or prohibiting or mandating activities subject to, federal or state
securities laws or finding any violation with respect to such laws.

(f) The Reporting Person is a citizen of the United States and the State of Florida.

Item 3. Source and Amount of Funds or Other Considerations

All shares were purchased with the Reporting Person’s personal funds or working capital.

Item 4. Purpose of Transaction

All of the Issuer’s securities owned by the Reporting Person have been acquired for investment purposes only. Except as set forth herein and in Schedule 13D filed
with the Securities and Exchange Commission (the “Commission”) on September 8, 2016, Amendment No. 1 filed with the Commission on September 13, 2016,
Amendment No. 2 filed with the Commission on September 14, 2016, Amendment No. 3 filed with the Commission on November 9, 2016 and Amendment No. 4
filed with the Commission on December 1, 2016, the Reporting Person has no present plans or proposals that relate to or would result in any of the actions required
to be described in subsections (a) through (j) of Item 4 of Schedule 13D. The Reporting Person may, at any time, review or reconsider their positions with respect
to the Issuer and formulate plans or proposals with respect to any of such matters, but has no present intention of doing so.

The Reporting Person may engage in discussions with management and security holders of the Issuer and other persons with respect to the subject class of
securities, the Issuer, the Issuer’s industry, business, condition, operations, structure, governance, management, capitalization, policies, plans, and prospects and
related and other matters. In particular, the Reporting Person may engage in discussions with management and security holders of the Issuer regarding the
complexion of the Issuer’s board of directors and options for increasing shareholder value. The Reporting Person plans and proposes to review and analyze such
Reporting Person’s interest in the Issuer on a continuing basis and may engage in such discussions, as well as discussions with the Issuer, the Issuer’s directors and
officers and other persons related to the Issuer, as the Reporting Person deems necessary or appropriate in connection with the Reporting Person’s interest in the
Issuer.
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Depending upon the factors described below and any other factor that is or becomes relevant, the Reporting Person plans and proposes to: (a) acquire additional
amounts of the subject class of securities or different equity, debt, or other securities of the Issuer, derivative securities related to securities of the Issuer or other
securities related to the Issuer (collectively, “Issuer-Related Securities”) or a combination or combinations of Issuer-Related Securities, including by purchase or
other method, pursuant to open market, private, tender offer, or other transactions, using borrowed or other funds or consideration of or from any source described
herein or other source or via a combination or combinations of such methods, transactions, consideration, and sources; (b) dispose of all or part of the securities
covered by this statement and any other Issuer- Related Securities, including by sale or other method, pursuant to open market, private, or other transactions or via
a combination or combinations of such methods and transactions; (c) engage in financing, lending, hedging, pledging, or similar transactions involving the
securities covered by this statement or other Issuer-Related Securities or a combination or combinations of such transactions; (d) engage in discussions and
otherwise communicate with the Issuer, officers, directors, and security holders of the Issuer and other persons related to the Issuer with respect to Issuer-Related
Securities, the Issuer, the Issuer’s industry, business, condition, operations, structure, governance, management, capitalization, dividend policy, other policies,
plans, and prospects and related and other matters; (e) suggest or recommend a transaction or transactions involving the acquisition, sale, or exchange of all or part
of the Issuer-Related Securities or assets of the Issuer, other actions or a combination or combinations of such actions, in any case, which relates or relate to (or
could result in) a change or changes to the Issuer’s business, condition, operations, structure, governance, management, capitalization, policies, plans, and
prospects and similar and other actions and changes; (f) make a proposal or proposals involving the acquisition or sale of all or part of the Issuer-Related Securities
or assets of the Issuer; (g) make a proposal or proposals to request that the Issuer and/or the security holders of the Issuer consider an extraordinary or other
transaction, such as a merger or reorganization, or a combination or combinations of such transactions; and (h) engage in a combination or combinations of the
foregoing plans and/or proposals.

Each such plan or proposal may be subject to, and depend upon, a variety of factors, including (i) current and anticipated trading prices and the expected value of
applicable Issuer-Related Securities, (ii) the Issuer’s financial condition and position, results of operations, plans, prospects and strategies, (iii) general industry
conditions, (iv) the availability, form and terms of financing and other investment and business opportunities, (v) general stock market and economic conditions,
(vi) tax considerations and (vii) other factors. Each acquisition, disposition, transaction, discussion, communication, suggestion, recommendation, proposal and
other action described herein may be effected, made or taken, as applicable, at any time and/or from time to time without prior notice. Although the plans and
proposals described herein reflect the plans and proposals presently contemplated by the Reporting Person with respect to the Issuer and the Issuer-Related
Securities, as applicable, each such plan and proposal is subject to change at any time and from time to time dependent upon contingencies and assumed and
speculative conditions and other factors, including actions taken by the Issuer, the Issuer’s board of directors, other security holders of the Issuer and other parties
and the outcome of the discussions, communications, transactions and other actions described herein. There can be no assurance that any such plan or proposal will
be consummated or pursued or result in any transaction described herein or other transaction or that any action contemplated by any such plan or proposal (or any
similar action) will be taken.

Item 5. Interest in Securities of the Issuer

(a)   Mr. Honig beneficially owns 29,815 shares of common stock, 443,585 shares of common stock held by 401K and 30,600 shares of common stock held by
      Roth 401K, or an aggregate of 11.19% of the Issuer’s common stock. Mr. Honig is the trustee of 401K and Roth 401K, and, in such capacity, has voting and
      dispositive power over the securities held by such entities.

(b) Mr. Honig may be deemed to hold sole voting and dispositive power over 29,815 shares of common stock of the Issuer and shares voting and dispositive
    power over 474,185 shares of common stock. 401K may be deemed to hold shared voting and dispositive power over 443,585 shares of the Issuer’s common
    stock and Roth 401K may be deemed to hold shared voting and dispositive power over 30,600 shares of the Issuer’s common stock.

(c)   On November 16, 2016, Roth 401K purchased 11,800 shares of the Issuer’s common stock at a purchase price of $2.77 per share.

      On November 18, 2016, 401K purchased 400 shares of the Issuer’s common stock at a purchase price of $2.79 per share.

      On November 28, 2016, Roth 401K purchased 5,400 shares of the Issuer’s common stock at a purchase price of $2.83 per share.
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      On December 1, 2016, Mr. Honig purchased 7,484 shares of the Issuer’s common stock at a purchase price of $4.95 per share.

      On December 1, 2016, Mr. Honig purchased 1,000 shares of the Issuer’s common stock at a purchase price of $5.32 per share.

      On December 1, 2016, Mr. Honig purchased 1,000 shares of the Issuer’s common stock at a purchase price of $5.30 per share.

      On December 1, 2016, Mr. Honig purchased 1,600 shares of the Issuer’s common stock at a purchase price of $5.00 per share.

      On December 1, 2016, Mr. Honig purchased 18,731 shares of the Issuer’s common stock at a purchase price of $5.05 per share.

      On January 4, 2017, 401K purchased 4,000 shares of the Issuer’s common stock at a purchase price of $4.22 per share.

(d) To the best knowledge of the Reporting Person, except as set forth in this Schedule 13D, no person other than the Reporting Person has the right to receive, or
    the power to direct the receipt of, dividends from, or the proceeds from the sale of the 474,185 shares of common stock reported in Item 5(a).

(e)   Not applicable.

Item 6. Contracts, Arrangements, Understandings or Relationships with Respect to Securities of the Issuer

Other than as described herein, there are no contracts, arrangements, understandings or relationships (legal or otherwise) between the Reporting Person and any
other person with respect to the shares.

Item 7. Material to Be Filed as Exhibits

Exhibit Number          Description

99.1 *                  Joint Filing Agreement with GRQ Consultants, Inc. 401K and GRQ Consultants, Inc. Roth 401K FBO Barry Honig

* Previously filed
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                                                                           SIGNATURE

        After reasonable inquiry and to the best of my knowledge and belief, I certify that the information set forth in this statement is true, complete and correct.

Dated: January 4, 2017                                                            /s/ Barry Honig
                                                                                  Barry Honig

Dated: January 4, 2017                                                            GRQ CONSULTANTS, INC. 401K

                                                                                  By: /s/ Barry Honig
                                                                                      Barry Honig
                                                                                      Trustee

Dated: January 4, 2017                                                            GRQ CONSULTANTS, INC. ROTH 401K
                                                                                  FBO BARRY HONIG

                                                                                  By: /s/ Barry Honig
                                                                                      Barry Honig
                                                                                      Trustee
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